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                         BKK WORKING GROUP, an unincorporated
                     7   association, and individual members identified
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                     8
                     9
                                             UNITED STATES DISTRICT COURT
                    10
                                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                    12
                         BKK WORKING GROUP;                         Case No. 2:18-cv-5810
                    13   ANADARKO E&P ONSHORE
                         LLC; ATLANTIC RICHFIELD                    COMPLAINT FOR:
                    14
                         COMPANY; ASHLAND LLC.;                     1. CERCLA: COST RECOVERY
                    15   BAYER CROPSCIENCE INC.;                       [42 U.S.C. § 9607(a)]
                         BHPI SERVICE LLC; THE
                    16   BOEING COMPANY;                            2. CERCLA: CONTRIBUTION
                                                                       [42 U.S.C. § 9613(f)]
                    17   CALIFORNIA RESOURCES
                         CORPORATION; CHEVRON                       3. CERCLA: SUBROGATION
                         ENVIRONMENTAL                                 [42 U.S.C. § 9612(c)(2)]
                    18
                         MANAGEMENT COMPANY;                        4. CERCLA: DECLARATORY
                    19   CHEVRON MARINE PRODUCTS                       RELIEF
                         LLC; CITY OF LOS ANGELES,                     [42 U.S.C. § 9613(g)]
                    20   ACTING BY AND THROUGH                      5. HSAA: CONTRIBUTION
                         THE LOS ANGELES                               [HEALTH AND SAFETY CODE
                    21                                                 §§ 25300, ET SEQ.]
                         DEPARTMENT OF WATER AND
                    22   POWER; CONOCOPHILLIPS                      6. EQUITABLE
                         COMPANY; CROSBY &                             INDEMNIFICATION
                    23   OVERTON, INC.; THE DOW                     7. COMMON LAW
                         CHEMICAL COMPANY;                             SUBROGATION
                    24
                         DUCOMMUN                                   8. DECLARATORY RELIEF
                    25   AEROSTRUCTURES, INC.;                         [CAL. CIV. PROC. CODE §1060]
                         ESSEX CHEMICAL                             9. DECLARATORY RELIEF
                    26   CORPORATION; EXXON MOBIL                      [28 U.S.C. § 2201]
                         CORPORATION; GEMINI
                    27   INDUSTRIES, INC.; GENERAL
                    28   DYNAMICS CORPORATION;
MORGAN, LEWIS &          GENERAL LATEX AND
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES B
                                                                                            COMPLAINT
                                                                                            2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 2 of 334 Page ID #:2



                    1   CHEMICAL CORPORATION; HP
                        INC. (FORMERLY KNOWN AS
                    2   HEWLETT-PACKARD
                    3   COMPANY); AMERICAN
                        HONDA MOTOR CO., INC.;
                    4   HUNTINGTON BEACH
                        COMPANY; LOCKHEED
                    5   MARTIN CORPORATION;
                    6   MARS, INC. (FORMERLY
                        KNOWN AS KAL KAN FOODS
                    7   INC.); MONTROSE CHEMICAL
                        CORPORATION OF
                    8   CALIFORNIA; MORTELL
                        COMPANY; MORTON
                    9   INTERNATIONAL, INC.;
                   10   NATIONAL STEEL AND
                        SHIPBUILDING COMPANY;
                   11   NORTHROP GRUMMAN
                        SYSTEMS CORPORATION; OXY
                   12   USA, INC.; QUEMETCO, INC.;
                   13   ROCKWELL AUTOMATION,
                        INC.; ROHM & HAAS
                   14   COMPANY; ROHR, INC.; SAN
                        DIEGO GAS & ELECTRIC
                   15   COMPANY; SMITH
                        INTERNATIONAL, INC.;
                   16   SOUTHERN CALIFORNIA
                   17   EDISON COMPANY;
                        SOUTHERN CALIFORNIA GAS
                   18   COMPANY; STAUFFER
                        MANAGEMENT COMPANY
                   19   LLC; THE PROCTER &
                   20   GAMBLE MANUFACTURING
                        COMPANY; THUMS LONG
                   21   BEACH COMPANY; UNION
                        CARBIDE CORPORATION;
                   22   UNION PACIFIC
                        RAILROAD/SOUTHERN
                   23   PACIFIC TRANSPORTATION
                   24   COMPANY; UNITED STATES
                        STEEL CORPORATION;
                   25   UNITED TECHNOLOGIES
                        CORPORATION; AND UNIVAR
                   26   USA INC.,
                   27
                                     Plaintiffs,
                   28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                        2                            2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 3 of 334 Page ID #:3



                    1            vs.
                    2   1700 SANTA FE LTD; A & E
                        PLASTICS CO.; A & H PLATING
                    3   INC.; A & Z DECASING CO.; A. B.
                    4   DICK CO., A. C. BARREL & DRUM;
                        A. D. SERVICE PUBLICATIONS; A.
                    5   J. DAW PRINTING INK CORP; A. L.
                        LARSON BOAT SHOP; AAMCO
                    6   TRANSMISSIONS; ABBOTT
                    7   POWER CORP.; ACCENT
                        GENERAL; ACCURATE PLATING
                    8   CO.; ACE INDUSTRIES; ACE
                        PLATING CO.; ACME GENERAL
                    9   CORP.; ACTION COMPUTER
                        PRODUCTS INC.; ADOHR FARMS;
                   10   ADVANCE GALVANIZING CO.;
                   11   ADVANCE GEAR & MACHINE
                        CORP.; ADVANCE PIPE
                   12   PRODUCTS; ADVANCED
                        COATING INC.; ADVANCED
                   13   ENVIRONMENTAL INC.;
                   14   AEROQUIP CORP.;
                        AEROSCIENTIFIC CORP.;
                   15   AEROSOL SERVICES CO. INC.;
                        AETNA METALS CO.; AIR
                   16   INDUSTRIES CORP.; AIRCO CORP.;
                        AIRSTREAM OF CA; AJAX
                   17   HARDWARE CORP.; ALBERT VAN
                   18   LUIT & CO.; ALCAN ALUMINUM
                        CORP.; ALCO CAD NICKEL
                   19   PLATING CORP.; ALCO WELL
                        SERVICE INC.; ALCO-GRAVURE
                   20   INC.; ALFLEX CORP.; ALL
                   21   METALS PROCESSING CO INC.;
                        ALL VALLEY PLATING CO. INC.;
                   22   ALLESANDRO AUTOMATIC INC.;
                        ALLIED CLEANING SPECIALISTS
                   23   INC.; ALLYN TRANSPORTATION
                        CO.; ALTFILLISH GLADDEN;
                   24   ALUM-A-COAT INC.; ALUMINUM
                   25   FORGE DIVISION OF APP;
                        ALUMTREAT INC.; AMCO
                   26   MANUFACTURING CORP.;
                        AMERICAN APPLIANCE
                   27   MANUFACTURING CORP.;
                   28   AMERICAN CHEMICAL &
                        REFINING; AMERICAN DRAWN
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                          3                          2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 4 of 334 Page ID #:4



                    1   STEEL; AMERICAN
                        ENVIRONMENTAL LLC;
                    2   AMERICAN MARBLE & ONYX
                    3   INC.; AMERICAN OCEAN TILE;
                        AMERICAN PACIFIC
                    4   INTERNATIONAL INC.;
                        AMERICAN RACING EQUIPMENT;
                    5   AMERICAN SAFETY EQUIPMENT
                    6   CO.; AMERICAN SCIENTIFIC
                        PRODUCTS; AMERICAN TOOL &
                    7   ENGINEERING CORP.;
                        AMERITONE PAINT CORP.;
                    8   AMEROIL; AMF TUBESCOPE INC.;
                        ANAPLEX CORP.; ANCHOR
                    9   HOCKING CORP.; ANCHOR POST
                   10   PROD INC.; ANDERSON
                        LITHOGRAPH; ANDREW
                   11   CALIFORNIA CORP.; ANGLASS
                        INDUSTRIES; ANJA ENGINEERING
                   12   CORP.; ANODART; ANODYNE
                   13   INC.; APEX DRUM CO.; APEX
                        INTERNATIONAL ALLOYS;
                   14   APODACA & SONS PLATING CO.;
                        APOLLO MANUFACTURING CO.;
                   15   APPLETON ELECTRIC CO.;
                        APPLIED MAGNETICS CORP.;
                   16   AQUARIUS VACUUM TRUCK
                   17   SERVICE; ARBCO ELECTRONICS;
                        ARCHITECTURAL ANODIZING
                   18   INC.; ARMCO STEEL CORP.;
                        ARMSTRONG PET CORP.;
                   19   ARNOLD ELECTRONICS INC.;
                   20   ARROW PLATING CO.;
                        ARROWHEAD MOUNTAIN SPRING
                   21   WATER CO.; ARTESIA DOOR;
                        ARTISTIC POLISHING & PLATING
                   22   INC.; ASBESTOS CLEAN-UP &
                        CONSULTANTS; ASBESTOS
                   23   RESIDENTIAL BLANKET
                   24   NUMBER; ASBURY OIL CO.; ASCO
                        SINTERING CO.; ASSOCIATED
                   25   PACIFIC; ASSOCIATED PLATING
                        CO.; ASTRO PAK CORP.;
                   26   ATLANTIC OIL COMPANY; ATLAS
                   27   COVERALL & SUPPLY; ATLAS
                        FABRICATORS; ATLAS LIGHTING
                   28   CO.; ATSF RAILWAY CO.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                        4                            2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 5 of 334 Page ID #:5



                    1   AUTOMOTIVE BATTERY PROD
                        CO.; AVIATION POWER SUPPLY;
                    2   AZUSA GRANITE; AZUSA
                    3   SALVAGE CO.; B. & B. PIPE &
                        TOOL CO.; B. & C. PLATING CO.; B.
                    4   P. JOHN FURNITURE CO.; BAKER
                        CONSULTANTS INC.; BAKER
                    5   TANKS; BALSER TRUCKING;
                    6   BARRON PLATING CO.; BARRY L.
                        MILLER ENGINEERING CO. INC.;
                    7   BARSOTTIS INC.; BAY DECKING
                        CO. INC.; BEAR PAW MINING;
                    8   BEATRICE HUNT WESSON INC.;
                        BELL INDUSTRIES; BEMIS CO.
                    9   INC.; BENNETT INDUSTRIES;
                   10   BEREN CORP.; BERGANDI
                        MANUFACTURING CO. INC.;
                   11   BERK OIL CO.; BERNARD EPPS &
                        CO.; BERNS CO.; BEST
                   12   WASHINGTON UNIFORM SUPPLY;
                   13   BETHLEHEM STEEL CORP.;
                        BETTY GLASER INVESTMENT
                   14   CO.; BEYLIK DRILLING; BINGO
                        TRUCK STOP; BLACK OXIDE
                   15   INDUSTRIES INC.; BLACKFOOT-
                        CHEROKEE ENERGY INC.; BLISS
                   16   & LAUGHLIN STEEL CO.; BLOCK
                   17   OIL CO.; BLUE SEAL LINEN
                        SUPPLY; BOB MULLER AUTO;
                   18   BOB'S PLATING; BONANZA
                        ALUMINUM INC.; BORTZ OIL CO.;
                   19   BOSS UNIFORMS; BOWMAN
                   20   PLATING CO. INC.; BRADFORD
                        WHITE CORP.; BREA CANYON OIL
                   21   CO.; BREA HIGH SCHOOL;
                        BRISTOL INDUSTRIES; BRITE SOL
                   22   INC.; BROGDEX CORP.; BROOKS &
                        PERKINS BROWNLINE DIVISION;
                   23   BTJ CONSTRUCTION; BUCK DOES
                   24   IT INC.; BUDS OIL SERVICE INC.;
                        BUMPER SHOP; BUMPERLINE
                   25   INC.; BURBANK PLATING
                        SERVICE CORP.; BURBANK
                   26   UNIFIED SCHOOL DISTRICT;
                   27   BURKE CO.; BURTON PLATING
                        CO.; C. & W. CHEMICALS CO. INC.;
                   28   C. E. GLASS COMBUSTION
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                            5                        2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 6 of 334 Page ID #:6



                    1   ENGINEERING INC.; C. M.
                        DODSON OIL; CADET UNIFORM &
                    2   LINEN SUPPLY CO.; CAL BUMPER
                    3   CO.; CAL CHEM CLEANING CO.;
                        CAL CHROME; CAL DURAN INC.;
                    4   CAL INK; CAL LIFT INC.; CAL
                        METALS; CAL NEV PIPELINE CO.;
                    5   CAL STYLE FURNITURE
                    6   MANUFACTURING CO.; CAL USA
                        CHEMICAL CO.; CALBIOCHEM-
                    7   BEHRING CORP.; CALI-BLOK;
                        CALIFOIL INC.; CALIFORNIA
                    8   CARPET CO.; CALIFORNIA
                        CORRUGATED IND; CALIFORNIA
                    9   FINISHED METALS INC.;
                   10   CALIFORNIA METAL ENAMELING
                        CO.; CALIFORNIA MILK
                   11   PRODUCERS; CALIFORNIA
                        MOTOR EXPRESS; CALIFORNIA
                   12   SHIP BUILDING; CALIFORNIA
                   13   TARGET ENTERPRISES;
                        CALIFORNIA TECHNICAL
                   14   PLATING CORP.; CAL-MOLD INC.;
                        CALPRO CO.; CALPROTECH INC.;
                   15   CAL-WEST CIRCUITS INC.;
                        CALZONA TRANSPORTATION;
                   16   CANNEL & CHAFFIN CO.;
                   17   CAPITOL RECORDS INC.; CAPRI
                        PUMPING SERVICE; CAPRO OIL
                   18   CO.; CARNATION CO.; CARTER
                        PRECISION PARTS INC.; CASDEN
                   19   CO.; CASPIAN INC.; CAST METAL
                   20   FINISHING; CBC INDUSTRIES;
                        CEDARGREEN REFINING CO.;
                   21   CEDKO ELECTRONICS; CELOTEX
                        CORP.; CENTRAL INDUSTRIAL
                   22   ENGINEERING; CENTRAL
                        INSULATION CORP.; CENTRAL
                   23   PLANTS INC.; CENTURY PHOENIX
                   24   LAMINATORS INC.; CERTIFIED
                        GROCERS OF CAL; CHACON
                   25   CHEMICAL CORP.; CHALLENGE
                        COOK BROS; CHAMPION
                   26   CHEMICALS INC.; CHAMPION
                   27   POWER WASH; CHARLES
                        BRUNING CO.; CHEM ARROW
                   28   CORP.; CHEM ETCH CORP.; CHEM
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                        6                            2:18-CV-5810
             Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 7 of 334 Page ID #:7



                    1   WEST INDUSTRIES INC.;
                        CHEMICAL CO.; CHEMICAL
                    2   ENERGY; CHEMICAL MACHINING
                    3   CORP.; CHEMICAL MILLING
                        INTERNATIONAL; CHEMICALS
                    4   INC.; CHEMOIL REFINING CORP.;
                        CHEMPLATE CORP.; CHEMRON
                    5   CORP.; CHEMWARE; CHICK
                    6   SALES PLATING CORP.; CHINO
                        VALLEY GALVANIZING CO.; CHP
                    7   FOODS; CHROME CRANKSHAFT
                        CO.; CHROMIZING CO.; CIA
                    8   MINERA DE CANANEA SA;
                        CINTAS UNIFORM CO.; CIRCUIT
                    9   INDUSTRIES; CIRCUIT ONE DIV.
                   10   OF LH RESEARCH INC.; CITY OF
                        CARSON; CITY OF HERMOSA
                   11   BEACH; CITY OF RIVERSIDE;
                        CITY OF SAN DIEGO; CLARKE
                   12   CONTRACTING CORP.; CLEAN
                   13   STEEL INC.; CLEANING
                        DYNAMICS CORP.; CLIMAX TUBE
                   14   CORP.; COAST CONTRACTORS;
                        COGNIS CORP.; COLLINS
                   15   GENERAL CONTRACTORS;
                        COLUMBIA METAL FINISHING
                   16   INC.; COLUMBINE & ASSOCIATES;
                   17   COMMERCIAL CHEMICAL CO.
                        INC.; COMMERCIAL CLEANING
                   18   CORP.; COMMERCIAL TRUCK
                        BODIES; COMPUTER
                   19   AUTOMATION; CONEXX OIL;
                   20   CONNECTOR SERVICE CORP.;
                        CONRAC CORP.; CONROCK CO.;
                   21   CONSOLIDATED AUTO;
                        CONTAINER SUPPLY CO.;
                   22   CONTEMPO FURNITURE;
                        CONTINENTAL CHEMICAL CORP.;
                   23   CONTINENTAL FOREST IND.;
                   24   CONTINENTAL POLYMERS INC.;
                        CONTROL CIRCUITS; CONTROL
                   25   COMPONENTS INC.; CONTROL
                        PLATING CO. INC.; COOPER &
                   26   BRAIN; COOPER LA CLEAR DRUM
                   27   CO.; CORROSION TECHNOLOGY
                        INC.; CORRU-CRAFT II;
                   28   COSMOTRONICS CO.; COTO DE
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                        7                            2:18-CV-5810
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                    1   CAZA DEVELOPMENT CORP.;
                        CRAGAR INDUSTRIES; CRANE &
                    2   UTTERBACK INC.; CRANE-
                    3   HYDROAIRE DIVISION;
                        CRESCENT TRANSPORTATION;
                    4   CRESCENTA VALLEY WATER
                        DISTRICT; CROCKETT
                    5   CONTAINER CORP.; CROWN
                    6   ZELLERBACH CO.; CUMMINS
                        SERVICE & SALES INC.; CUSTOM
                    7   CHEMICAL FORMULATORS;
                        CUSTOM CONTROL SENSORS;
                    8   CUSTOM PLATING CORP.; CUT-
                        OFF MANIFEST; CWOD; CYCLO
                    9   CHEMICAL CO.; CYCLONE
                   10   EXCELSWELD CO.; TORRANCE
                        TUBING AND CONDUIT
                   11   COMPANY, FORMERLY KNOWN
                        AS CYPRUS TUBING & CONDUIT
                   12   CO.; D. E. CALTA
                   13   INTERNATIONAL; D. I. SALVO
                        TRUCKING; D. W. ELLIOTT INC.;
                   14   DAIWA CORP.; DAMSON OIL CO.;
                        DARNELL CORPORATE LTD.;
                   15   DATA CIRCUITS INC.; DATA
                        PRODUCTS CORP.; DATRON
                   16   SYSTEMS INC.; DAVE BECK;
                   17   DAVIDSON PANEL CO.; DAVIS
                        INVESTMENT CO.; DAVIS
                   18   WALKER CO.; DAYGLO COLOR
                        CORP.; DAYTON GRANGER INC.;
                   19   DECRATREND CORP.; G.L.C.
                   20   BUILDING CORP., FORMERLY
                        KNOWN AS DEL AMO ENERGY;
                   21   DEVOE MARINE COATINGS CO.
                        INC.; DIAL PRECISION INC.;
                   22   DIAMOND PLASTICS; DIBBLE
                        ELECTRONICS INC.; DICEON
                   23   ELECTRONICS INC.; DIE CAST
                   24   PRODUCTS INC.; DIESEL RECON
                        CO.; DITRONICS INC.; DITTY
                   25   DRUM CO.; DME CO.;
                        DOMINGUEZ PROPERTIES;
                   26   DOUGLAS FURNITURE OF
                   27   CALIFORNIA; DOWNEY GLASS
                        CO. INC.; DRACKETT CO.; DRAFT
                   28   SYSTEMS INC.; DRILUBE CO.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                        8                            2:18-CV-5810
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                    1   DUBOIS CHEMICAL CO.; DULIEN
                        ENTERPRISES; DURO REFINING
                    2   SMELTING INC.; DYER HE INC.;
                    3   DYNA PLATE INC.; DYNA SHIELD
                        INC.; E. & M. BUILDERS; EAST
                    4   LOS ANGELES COLLEGE; EASTON
                        SPORTS INC. VAN NUYS; ECO
                    5   PETROLEUM INC.; ECOLOGY
                    6   CONTROL INDUSTRIES; EDMUND
                        GREY; EECO INC.; EL CASTILLO
                    7   REAL RESTAURANT; EL FAB; EL
                        MONTE LEAD SALVAGE CO. INC.;
                    8   EL MONTE TOOL & DIE; ELECTRA
                        MOTORS; ELECTRO ADAPTER
                    9   INC.; ELECTROTECH CIRCUITS
                   10   INC.; ELECTRON PLATING;
                        ELECTRONIC MATERIALS CORP.;
                   11   ELECTRONIC PLATING SERVICE
                        INC.; ELECTRONIC
                   12   RECLAMATION SERVICE; EME
                   13   CORP.; EMERY INDUSTRIES INC.;
                        ENERGY & ENVIRONMENT
                   14   RESEARCH CORP.; ENERGY
                        DEVELOPMENT CO. INC.;
                   15   ENERGY PRODUCTION & SALES;
                        ENGARD COATINGS CORP.;
                   16   ENGINEERED POLYMER
                   17   SOLUTIONS INC.;
                        ENVIRONMENTAL CONTROL
                   18   SYSTEMS INC.;
                        ENVIRONMENTALS INC.; ESB
                   19   INC.; ESKIMO RADIATOR
                   20   MANUFACTURING CO.; ESTEE
                        BATTERY CO.; EUROPEAN PARTS
                   21   EXCHANGE INC.; EVEREST &
                        JENNINGS CO. INC.; EXIDE CORP.;
                   22   FAIRCHILD INDUSTRIES; FAITH
                        PLATING CO.; FANSTEEL
                   23   PRECISION SHEET METAL; FARR
                   24   CO.; FEDERATED DEPARTMENT
                        STORES; FELA PRECISION INC.;
                   25   FIBERITE WEST COAST CORP.;
                        FIRESTONE TIRE & RUBBER CO.;
                   26   FIRST NATIONAL FINANCE
                   27   CORP.; FIX & BRAIN VACUUM
                        TRUCK SERVICE; FLASK
                   28   CHEMICAL; FLETCHER OIL &
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                    COMPLAINT
   LOS ANGELES B                                          9                          2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 10 of 334 Page ID #:10



                    1   REFINING CO.; FLIGHT
                        ACCESSORY SERVICE;
                    2   FLINTKOTE CO.; FLYING TIGERS
                    3   LINE; FLYNNS PLATING CO.;
                        FONTANA TRUCK WASH; FORRO
                    4   PRECISION CO.; FORTIN
                        LAMINATING CORP.; FOSS
                    5   ENVIRONMENTAL SERVICES CO.;
                    6   FOTOMAT LABS INC.; FOUR S.
                        BAKERY; FOUR STAR CHEMICAL
                    7   CO.; FOUR STAR DISPOSAL CO.;
                        FRANCISCAN CERAMICS INC.;
                    8   FRAZEE INDUSTRIES; FREEBORN
                        EQUIPMENT CO. INC.; FRESNO
                    9   UNIFIED SCHOOL DISTRICT;
                   10   FRONTIER COMMODORE INC.;
                        FRONTIER CONTAINER CORP.;
                   11   FRYER KNOWLES CORP.
                        INSULATION DEPARTMENT;
                   12   FULLERTON JOINT UNION
                   13   SCHOOL DISTRICT; G. & W. ELCO
                        ISD; G. R. NANCE CO. INC.; G. T.
                   14   BICYCLES INC.; GAFFERS &
                        SATTLER INC.; GAINEY
                   15   CERAMICS; GARDENA CHEESE;
                        GARDENA PLATING CO.; GATES
                   16   ADMIRAL; GEL INDUSTRIES INC.;
                   17   GENERAL BATTERY CORP.;
                        GENERAL CHEMICAL CORP.;
                   18   GENES PLATING & SPECTRUM
                        CO.; GERARD METAL
                   19   CRAFTSMEN INC.; GILLESPIE
                   20   FURNITURE MANUFACTURING;
                        GILMORE ENVELOPE CORP.;
                   21   GLASS ARTS; GLASSTEEL CO.;
                        GLOBE MEAT PACKING; GOLD
                   22   PACK MEAT CO.; GOLDEN WEST
                        AIRLINES; GOLDEN WOOL CO.;
                   23   GOOD TABLES INC.; GOODYEAR
                   24   AEROSPACE CORP.; GPS
                        INDUSTRIES; GRAPHIC
                   25   RESEARCH INC.; GRAVURE WEST;
                        GRAY TRUCK LINES; GREER
                   26   HYDRAULICS INC.; GREER
                   27   PRODUCTS; GREFCO INC.; GREGG
                        INDUSTRIES INC.; GRINDLEY
                   28   MANUFACTURING INC.; GROVER
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       10                           2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 11 of 334 Page ID #:11



                    1   PRODUCTS CO.; GROW GROUP
                        INC.; GUARANTEED PRODUCTS
                    2   INC.; H. & A. PLATING CO.; H. & C.
                    3   DISPOSAL; H. H. ROBERTSON CO.;
                        H. KRASNE MANUFACTURING
                    4   CO. INC.; HALL HEAT TREATING
                        CO.; HALLMARK CIRCUITS INC.;
                    5   HALSTEAD ENTERPRISES;
                    6   HAMILTON CONSTRUCTION CO.;
                        HAMPTON OIL CO.; HANKS
                    7   SERVICE STATION
                        MAINTENANCE INC.; HARLAND
                    8   M. BROWN & CO.; HARLYN
                        PRODUCTS INC.; HARPERS OF
                    9   CALIFORNIA; HARRIS TUBE INC.;
                   10   HARTLEY CO.; HARTWELL CORP.;
                        HEADNALL INC.; HEADS UP
                   11   INDUSTRIES; HEIST
                        MAINTENANCE SERVICES INC.;
                   12   HELENE CURTIS; HENRY SOSS &
                   13   CO. INC.; HERCULES OIL CO.;
                        HERMAN WEISSKER; HERMETIC
                   14   SYSTEMS INC.; HIGHLAND
                        PLATING CO.; HILLCREST
                   15   BEVERLY OIL CORP.; HINES
                        WHOLESALE NURSERIES; HI-
                   16   PRODUCTION FORGE CO.;
                   17   HIXSON METAL FINISHING;
                        HOFFMAN ELECTRONICS;
                   18   HOMEXX INTERNATIONAL
                        CORP.; HON INDUSTRIES;
                   19   HOOKER INDUSTRIES; HORDIS
                   20   BROTHERS; HOYA LENS OF
                        AMERICA INC.; HUCK
                   21   MANUFACTURING CO.;
                        HUFFMAN MANUFACTURING
                   22   CO.; HUMCO PRODUCTS;
                        HUNTINGTON SIGNAL OIL CO.;
                   23   HUNTINGTON TILE INC.;
                   24   HUNTMIX INC.; HYATT DIE CAST
                        & ENGINEERING CORP.;
                   25   HYDRAULIC UNITS INC.;
                        HYDROCHEM INDUSTRIAL
                   26   SERVICES INC.; IBIS SYSTEMS
                   27   INC.; ICN PHARMACEUTICALS;
                        IDEAL UNIFORM; IMCO
                   28   CONTAINER; IMPERIAL METALS
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                         11                         2:18-CV-5810
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                    1   CORP. OF AMERICA; INCA
                        PRODUCTS CO.; INCO UNITED
                    2   STATES INC.; INDUSTRIAL
                    3   CIRCUITS; INDUSTRIAL
                        INSULATORS & SUPPLY INC.;
                    4   INDUSTRIAL INTERNATIONAL
                        CORP.; INDUSTRIAL RUBBER
                    5   CEMENT CO. INC.; INDUSTRIAL
                    6   STEEL TREATING CO.;
                        INDUSTRIAL TECTONICS
                    7   BEARINGS; INDUSTRIAL
                        UNIFORM; INDUSTRIAL WASTE
                    8   ENGINEERING; INDUSTRIAL
                        WIRE CORP.; INGLEWOOD
                    9   UNIFIED SCHOOL DISTRICT;
                   10   INLAND CONTAINER CORP.;
                        INLAND SHOPPING CENTER;
                   11   INNOVATED ELECTRONICS;
                        INTERNATIONAL DECORATIVES
                   12   INC.; INTERNATIONAL
                   13   ELECTRONIC RESEARCH CORP.;
                        INTERNATIONAL EXTRUSION
                   14   CORP.; INTERNATIONAL
                        POLYMER CORP.; INTERWEB;
                   15   INVESTMENT RECOVERY
                        SERVICES INC.; ISAAC COHEN &
                   16   SON METALS; ITT COURIER
                   17   TERMINAL SYSTEMS INC.; J. & S.
                        CHROME PLATING CO. INC.; J. &
                   18   S. LABORATORIES INC.; J. C. INC.;
                        J. L. JONES & CO.; J. L. MANTA
                   19   PLANT SERVICES; J. W. CARROL
                   20   & SONS; JACAT OIL CO.; JACK
                        CLINE; JAMES JONES CO. INC.;
                   21   JAY DIE CASTING; JAYBEE
                        MANUFACTURING CORP.; JCX;
                   22   JENKINS OIL CO. INC.; JENNINGS
                        PLATING CO. INC.; JERRALD
                   23   PROPERTIES; JERRY GOODWILL;
                   24   JERSEY MAID MILK PRODUCTS
                        INC.; JETRONIC INDUSTRIES INC.;
                   25   JMB PROPERTY MANAGEMENT;
                        JOHN D. LUSK & SONS;
                   26   JOHNSTON PUMP CO.; JONES
                   27   CHEMICAL CO.; JORCO INC.; JOY
                        PETROLEUM EQUIPMENT; K. L.
                   28   REDFERN CONSTRUCTION CO.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                            12                      2:18-CV-5810
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                    1   KAISER AEROSPACE; KAISER
                        PIPES & CASING; KAISER
                    2   ROLLMET INC.; KAY BRUNNER;
                    3   KAYNAR MANUFACTURING CO.;
                        KEECO; KELLER STREET
                    4   DEVELOPMENT CO.; KELLEY
                        MANUFACTURING CO.; KELLY
                    5   MOORE PAINT CO.; KEN-AIR INC.;
                    6   KENETEX CHEMICALS; KENOSHA
                        AUTO TRANSPORT; KERN FOODS
                    7   INC.; KERN UNION HIGH SCHOOL
                        DISTRICT; KETEMA ALUMINUM
                    8   EXTRUSION; KEUFFEL & ESSER
                        CO.; KEYSTONE PRODUCTS INC.;
                    9   KIMCO MANUFACTURING;
                   10   KINSBURSKY BROTHERS SUPPLY
                        INC.; KIRKHILL INC.; KLEER PAK;
                   11   KLM OIL CO.; KNAPE & VOGT
                        MANUFACTURING; KNUDSEN
                   12   CORP.; KOBOWAY; KOCH
                   13   ASPHALT CO. OIL; KOPPERS CO.
                        INC.; KORODY COLYER CORP.;
                   14   KRAZY GLUE INC.; KULBERG
                        DEVELOPMENT CORP.; L. & L.
                   15   TANK LINES INC.; LA FON
                        EQUIPMENT CO.; LA SCREW
                   16   PRODUCTS; LA VICTORIA FOODS;
                   17   LABRICATING SPECIALTIES;
                        LACKAWANNA LEATHER;
                   18   LAKEWOOD OIL SERVICE INC.;
                        LAMBDA ELECTRONICS INC.;
                   19   LAMIN ARTS; LAMINATION
                   20   TECHNOLOGY INC.; LANGLOIS
                        FLOUR CO.; LANSCO DIE
                   21   CASTING INC.; LARRY FRICKER
                        CO. INC.; LATCHFORD GLASS CO.;
                   22   LE FIELL MANUFACTURING CO.;
                        LEACH CORP.; LEAR SIEGLER
                   23   INC.; LEE PHARMACEUTICALS
                   24   BRONCO ENTERPRISES; LEWIS
                        FOODS; LIBBEY GLASS INC.;
                   25   LIBBONIA WEST; LIFE PAINT
                        CORP.; LIGHTOLIER WEST; LILLY
                   26   INDUSTRIAL COATINGS INC.;
                   27   LIQUID WASTE MANAGEMENT;
                        LOCKHART INDUSTRIES; LONG &
                   28   CO.; LONG BEACH FABRICATORS
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       13                           2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 14 of 334 Page ID #:14



                    1   INC.; LONG BEACH OIL
                        DEVELOPMENT CO.; LONG
                    2   BEACH PLATING CO.; LONG
                    3   BEACH UNIFIED SCHOOL
                        DISTRICT; LOS ANGELES GAUGE
                    4   CO.; LOS ANGELES PLATING CO.;
                        LOS ANGELES SCREW PRODUCTS
                    5   INC.; LOS ANGELES TANNING
                    6   CO.; LOS ANGELES UNIFIED
                        SCHOOL DISTRICT; LUBE CO.
                    7   INC.; LUBRICATION CO. OF
                        AMERICA; LUCKY STORES INC.;
                    8   LUMIDOR MANUFACTURING CO.;
                        LUNDEEN RAIL CAR REPAIR
                    9   SERVICE; LYCO FOOD
                   10   PRODUCTS; LYLE VAN PATTEN
                        CO. INC.; M. P. MCCAFFREY INC.;
                   11   M. SLAYEN & ASSOCIATES; M. V.
                        JAPAN CANELA; MACDERMID
                   12   PRINTING SOLUTIONS; MACK
                   13   TRUCKS INC.; MACMILLAN OIL
                        CO.; MAGNA MILL PROD.;
                   14   MANESS EXCAVATING; MANTA
                        PLANT SERVICES CO.; MARBETH
                   15   CHEMICAL CO.; MARCO
                        CHEMICAL CO.; MARCREST
                   16   PACIFIC CO. INC.; MARINA
                   17   PACIFICA; MARK INDUSTRIES;
                        MARLEX OIL & REFINING INC.;
                   18   MARMAC RESOURCE CO.;
                        MARQUADT CO.; MARQUIS
                   19   INDUSTRIES; MARTEN
                   20   MANAGEMENT CO.; MASK-OFF
                        CO.; MASTER FENCE FITTINGS;
                   21   MASTER PRODUCTS
                        MANUFACTURING CO.; MATRIX
                   22   SCIENCE CORP.; MATSON
                        TERMINALS; MAXWELL
                   23   LABORATORIES INC.; MAY CO.;
                   24   MAYON FOODS; MCA
                        LABORATORIES; MCALMOND OIL
                   25   & GAS; MCAULEY OIL CO.;
                        MCCALLA BROTHERS DRILLING;
                   26   MCCULLOCH CORP.; MCCURDY
                   27   CIRCUITS; MCGEAN CHEMICAL
                        CO.; MCGILL CORP.; MCKAY
                   28   CHEMICAL CO.; MCMAHON
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       14                           2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 15 of 334 Page ID #:15



                    1   DEVELOPMENT;
                        MCNOTTINGHAM CO. OF
                    2   SOUTHERN CALIFORNIA;
                    3   MERCURY AIR CENTER; MEREL
                        CO. INC.; MERIT OIL CO.; METAL
                    4   BOX CAN; METAL SURFACES
                        INC.; METAL TREATERS INC.;
                    5   METLOX POTTERY;
                    6   METROPOLITAN DISTRIBUTION
                        CENTERS INC.; METROPOLITAN
                    7   WIRE; METROPOLITAN CIRCUITS
                        INC.; MGF INDUSTRIES; MICA
                    8   CORP.; MILLER BREWING CO.;
                        MILLER DIAL CORP.; MILO
                    9   EQUIPMENT CO.; MISSION
                   10   PLATING CO.; MODERN
                        COATINGS INC.; MODERN
                   11   PLATING CO.; MODINE
                        MANUFACTURING CO.; MOLA
                   12   DEVELOPMENT INC.; MONARCH
                   13   MIRROR DOOR CO.; MONITOR
                        PLATING & ANODIZING;
                   14   MONOGRAM/PEACOCK
                        MANUFACTURING; MOTOR
                   15   PROCESSORS INC.; MPC
                        INDUSTRIES; MUSTANG
                   16   EQUIPMENT CO.; N. L.
                   17   INDUSTRIES; NAMOLCO INC.;
                        NARDON MANUFACTURING CO.
                   18   INC.; NARMCO MATERIALS INC.;
                        NATIONAL METAL & STEEL
                   19   CORP.; NATIONAL PAINT &
                   20   VARNISH CO. INC.; NATIONAL
                        SEMICONDUCTOR CORP.;
                   21   NATIONAL STANDARD CO.;
                        NATIONAL TECHNOLOGY;
                   22   NATTIER MANUFACTURING CO.;
                        NELCO OIL REFINING CORP.;
                   23   NELSON NAME PLATE CO.; NEW
                   24   FASHION CLEANERS; NEWARK
                        SIERRA PAPERBOARD CORP.;
                   25   NEWHALL REFINING CO. INC.;
                        NEWPORT ELECTRONICS INC.;
                   26   NIPPONDENSO OF LOS ANGELES;
                   27   NORAC CO.; NORDSKOG CO. INC.;
                        NORMAN HIGH DEMOLITION;
                   28   NORTH AMERICAN CAR CORP.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                         15                         2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 16 of 334 Page ID #:16



                    1   NORTHERN TELECOM; NORTON
                        & SON OF CALIFORNIA INC.; NOW
                    2   CONSTRUCTION CORP.; NU WAY
                    3   PLATING CO. INC.; OAKITE
                        PRODUCTS INC.; OCCIDENTAL
                    4   COATING CO.; O’DONNELL OIL
                        CO.; OIL BASE INC.; OIL CO.;
                    5   OILFIELDS TRUCKING CO.; OLD
                    6   QUAKER PAINT CO.; OLMSTEAD
                        TRUCKING; OLYMPIC PLATING &
                    7   POLISHING INC.; OMAR
                        INDUSTRIES; OMEGA OIL CO.
                    8   INC.; ONTARIO AUTO TRUCK
                        PLAZA; ORANGE CO. MACHINE
                    9   WORKS; ORANGE COAST
                   10   PLATING INC.; ORANGE COUNTY
                        DUST CONTROL INC.; ORANGE
                   11   COUNTY ELECTRONICS CORP.;
                        ORANGE HEIGHTS ORANGE
                   12   ASSOCIATION; ORANGE
                   13   PRECISION CIRCUITS; ORCHIDS
                        PAPER PRODUCTS CO.; ORYX
                   14   ENERGY COMPANY; OZALID
                        CORP.; OZITE CORPORATION; P.
                   15   C. WORLD ORANGE COUNTY; P.
                        W. STEPHENS CONTRACTORS
                   16   INC.; PABST BREWING CO.;
                   17   PACIFIC AIRMOTIVE CORP.;
                        PACIFIC BUILDING
                   18   MANAGEMENT INC.; PACIFIC
                        COAST WAREHOUSE CORP.;
                   19   PACIFIC ELECTRICORD CO.;
                   20   PACIFIC ENGINE; PACIFIC
                        FINANCIAL CENTER; PACIFIC
                   21   INTERMOUNTAIN EXPRESS;
                        PACIFIC OASIS; PACIFIC
                   22   PRECISION METALS; PACIFIC
                        PRESS; PACIFIC SOUTHWEST
                   23   AIRLINES; PACIFIC TREATMENT
                   24   CORP.; PACIFIC TUBE CO.;
                        PACIFIC VACUUM TRUCK CO.;
                   25   PACIFIC VALVES; PACIFICA
                        PLATING INC.; PACKAGING CORP.
                   26   OF AMERICA; PACTRA CO.; PAINT
                   27   & COATINGS CORP.; PALACE
                        PLATING CO.; PAN WESTERN OIL
                   28   CO.; PANEL AIR CORP.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       16                           2:18-CV-5810
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                    1   PARAMOUNT PETROLEUM CORP.;
                        PARK METAL CO.; PARSLEY &
                    2   KENNEDY; PASCOE BUILDING
                    3   SYSTEMS; PASHA INDUSTRIES;
                        PAULEY PETROLEUM CO.; PCA
                    4   METAL FINISHING INC.; PEAIRS
                        ENGINEERS; PEASE & CURREN
                    5   RELIABLE RECOVERY INC.; PEAT
                    6   MANUFACTURING CO.;
                        PENETONE CORP.; PEPPER
                    7   INDUSTRIES INC.; PERLITE
                        PROCESSING; PERMALAB
                    8   EQUIPMENT CORP.; PERVO PAINT
                        CO.; PETERSON
                    9   MANUFACTURING CO. INC.;
                   10   PETERSON PURITAN INC.; PETRO
                        LEWIS CORP.; PETROCHEMICALS
                   11   CO. INC.; PETROLEUM
                        CONTRACTORS INC.; PGP
                   12   INDUSTRIES INC.; PHOTOTRON
                   13   CORP.; PICHEL INDUSTRIES INC.;
                        PILOT CHEMICAL OF
                   14   CALIFORNIA; PLASTIC
                        MATERIALS INC.; POLY DISC
                   15   SYSTEM INC.; POLYCARBON INC.;
                        POLYESTER HUTCO GROUP;
                   16   POLYMER DEVELOPMENT LABS
                   17   INC.; POST TRANSPORTATION
                        CO.; POWER ONE INC.;
                   18   POWERLINE SALES; PRATT &
                        LAMBERT PAINT INC.; PRE
                   19   DELIVERY SERVICE; PRE
                   20   RECORDING CO.; PRECIPITATOR
                        INC.; PRECISION ANODIZING &
                   21   PLATING INC.; PRECISION HEAT
                        TREATING CO.; PRECISION TUBE
                   22   BONDING; PREMIERE ALUM.
                        PROD. INC.; PRESIDENT LINCOLN;
                   23   PRIME MEASUREMENT
                   24   PRODUCTS LLC; PROCESS
                        TECHNOLOGY CO.; PRODUCTION
                   25   PLATING CO.; PRODUCTS
                        ENGINEERING CORP.; PRODUCTS
                   26   RESEARCH & CHEMICAL CORP.;
                   27   PROTO TOOL; PROTOTECH
                        CIRCUITRY; PSI WEST; PUNCH
                   28   PRESS PRODUCTS; PUREX CORP.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       17                           2:18-CV-5810
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                    1   PVO INTERNATIONAL; PYRO
                        ENGINEERING; QUALITY
                    2   ALUMINUM FORGE CO.; QUALITY
                    3   FARMS; QUALITY METAL
                        FINISHING CO.; QUALITY
                    4   SPRAYERS INC.; QUINTEC
                        MANUFACTURING CO.; R. & D.
                    5   LATEX CO.; R. & E. PLATING CO.;
                    6   R. & R. INDUSTRIAL WASTE
                        HAULERS INC.; R. G. WALLACE
                    7   CO. INC.; RAINBOW TRUCKING
                        CO.; RALPH M. PARSONS CO.;
                    8   RALPHS GROCERY CO.;
                        RAYBESTOS MANHATTAN; REAL
                    9   PROPERTY WEST INC.; REBEL OIL
                   10   CO. INC.; REDI-STRIP CO. INC.;
                        REDKEN LABORATORIES INC.;
                   11   REDONDO OIL CO.; REFINERS
                        MARKETING CO.; REGISTER
                   12   PROPERTIES INC.; REHRIG
                   13   PACIFIC; REISNER METALS;
                        RELIABLE RECOVERY INC.;
                   14   RELIANCE UNIVERSAL INC.;
                        RENU PLATING CO. INC.;
                   15   REPLACEMENT PARTS
                        MANUFACTURING; REVERE
                   16   EXTRUDERS INC.; REX PRECISION
                   17   PRODUCTS INC.; REXART CORP.;
                        RHEEM METALS INC.; RHO CHEM
                   18   CORP.; RHS CARPET MILL;
                        RICHARDSON & HOLLAND;
                   19   RICHLYNN TECHNOLOGY INC.;
                   20   RINCHEM CO. INC.; RIVERSIDE
                        CEMENT CO.; ROBERT KEITH &
                   21   CO. INC.; ROBERTS
                        CONSOLIDATED INDUSTRIES
                   22   INC.; ROBERTS MANUFACTURING
                        CO.; ROCKET INDUSTRIES;
                   23   RODDING CLEANING SERVICE;
                   24   ROEHL DISPOSAL SERVICES;
                        ROHRIG BROTHERS; RONALD M.
                   25   JONES; RONSON HYDRAULIC
                        CORP.; ROSE HILLS MEMORIAL
                   26   PARK ASSOCIATION; ROSENS
                   27   ELECT. EQUIP. CO.; ROTARY
                        OFFSET PRINTERS; ROUTH
                   28   TRANSPORTATION; ROYAL
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       18                           2:18-CV-5810
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                    1   ALUMINUM CO.; ROYAL PLATING
                        WORKS; RUPES HYDRAULICS;
                    2   RUSSELL BURDSALL & WARD
                    3   INC.; RUTHERFORD OIL CO.; S. E.
                        RYKOFF & CO.; S. ROSE
                    4   COOPERAGE; S. T. & I. INC.;
                        SAFETRAN SYSTEMS CORP.;
                    5   SAINT JOSEPH HOSPITAL; SALS
                    6   PLATING; SAN DIEGO PIPE LINE
                        CO.; SAN FERNANDO ELECTRIC
                    7   MANUFACTURING CO.; SAN
                        FERNANDO LABORATORIES;
                    8   SANTA ANA DIESEL; SANTA
                        MONICA COLLEGE; SARGENT
                    9   FLETCHER INC.; SARGENT
                   10   INDUSTRIES INC.; SCHLITZ
                        BREWING CO.; SCHROEDER TOOL
                   11   & DIE CORP.; SCOVILL INC.; SCS
                        INDUSTRIES; SEA LAND SERVICE
                   12   INC.; SEA LIFT MARITIME;
                   13   SEALRIGHT CO. INC.; SECURITY
                        ENVIRONMENTAL SYSTEMS;
                   14   SERVICE CHEMICAL CO.; SHAFCO
                        INDUSTRIES INC.; SHASTA PAN
                   15   OIL CO.; SHORING ENGINEERS;
                        SIERRA PACIFIC CONTAINER
                   16   CORP.; SIERRACIN THERMAL
                   17   SYSTEM; SILICON SYSTEMS;
                        SIMPSON PAPER CO.; SINCLAIR
                   18   PAINT; SINGER AEROSPACE;
                        SNOW SUMMIT SKI CORP.;
                   19   SOABAR CO.; SOCAL FINISHING
                   20   CO.; SOUTHERN CALIFORNIA
                        WASTE REDUCTION; SOULE
                   21   STEEL CO.; SOUTH COAST
                        COUNTY WATER DISTRICT;
                   22   SOUTH WEST FOREST PRODUCTS;
                        SOUTHERN CALIFORNIA DRUM
                   23   CO.; SOUTHERN CALIFORNIA
                   24   CHEMICALS; SOUTHWEST
                        AIRCRAFT SERVICES;
                   25   SOUTHWEST METAL CO.;
                        SOUTHWEST PETRO CHEMICAL;
                   26   SOUTHWEST PROCESSORS INC.;
                   27   SOUTHWEST STEEL ROLLING
                        MILLS; SOUTHWESTERN ALLOYS
                   28   INC.; SOUTHWESTERN
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       19                           2:18-CV-5810
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                    1   ENGINEERING; SPACE
                        ORDINANCE SYSTEMS; SPECIFIC
                    2   PLATING CO. INC.; SPECTRUM
                    3   CHEMICAL MANUFACTURING
                        INC.; SPIRIT SILKSCREEN; SSP
                    4   CONSTRUCTION EQUIPMENT
                        INC.; STA RITE INDUSTRIES INC.;
                    5   STANDARD BRANDS PAINT CO.
                    6   INC.; STANDARD CONCRETE;
                        STANDARD CRANKSHAFT INC.;
                    7   STANDARD FELT CO.; STANDARD
                        INDUSTRIAL TOWEL & UNIFORM;
                    8   STANDARD NICKEL CHROMIUM
                        PLATING; STANDUN INC.; STANG
                    9   HYDRONICS; STANLEY DOOR
                   10   SYSTEMS; STANTON
                        CONSTRUCTION; STAR
                   11   NAMEPLATE CO.; STATEK CORP.;
                        STATEWIDE ENVIRONMENTAL
                   12   SERVICES; STEPHEN C. GROAT
                   13   DEVELOPMENT; STEPONOVICH &
                        LONG; STEVERSON BROS;
                   14   STINNES WESTERN CHEMICAL
                        CORP.; STUTZMAN PLATING;
                   15   SUMMIT INK CO.; SUMMIT
                        LIGHTHOUSE; SUN
                   16   EXPLORATION; SUPER TECH;
                   17   SUPERCHROME ENGINEERING
                        CO.; SUPERIOR INDUSTRIAL
                   18   PUMPING; SUPERIOR PACIFIC
                        GALVANIZING CO.; SUPERIOR
                   19   PLATING; SYNRES CHEMICAL
                   20   CORP.; SYSTEMS FURNITURE CO.;
                        T. P. HEARNE CO.; T. P.
                   21   INDUSTRIAL INC.; TAC
                        ALUMINUM PROCESSING;
                   22   TAPMATIC CORP.; TARGET
                        CHEMICAL CO.; TARNUTZER
                   23   VENTURE; TEAL INDUSTRIES;
                   24   TECHNIBILT CORP.; TED LEVINE
                        DRUM; TENNECO OIL CO.;
                   25   TERADYNE; TEXAS
                        INSTRUMENTS INC.; TEXAS
                   26   POLYMERS; TEXTURED
                   27   COATINGS; TGI FRIDAYS;
                        THATCHER GLASS; THOMPSON
                   28   TANK CONSTRUCTION; THRIFTY
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       20                           2:18-CV-5810
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                    1   MART CO.; THRIFTY OIL CO.;
                        TIMCO; TIMES MIRROR PRESS;
                    2   TIODIZE CO. INC.; TITECH
                    3   INTERNATIONAL INC.; TMC
                        PROPERTIES LLC; TOMADUR
                    4   ENGINE; TOOL & JIG PLATING;
                        TOOLEY & CO. INC.; TORRANCE
                    5   BUSINESS PARK; TRANS HARBOR
                    6   SERVICE; TRANSEQUIP PACIFIC
                        INC.; TRE CORP.; TREATOLITE
                    7   CORP.; TRENT TUBE CO.;
                        TREWAX CO.; TRIAD MARINE &
                    8   INDUSTRIAL CLEANING; TRICO
                        INDUSTRIES INC.; TRI-COUNTY
                    9   INSULATION CO. INC.; TRIMM
                   10   INDUSTRIES; TRIZEC
                        PROPERTIES; TROJAN BATTERY
                   11   CO.; TRUCK TRANSPORT;
                        TRUMBULL ASPHALT CO.;
                   12   TUBING SEAL CAP CO.; U.S.
                   13   BORAX & CHEMICAL CORP.; U.S.
                        BRASS DIVISION; U.S. FILTERS;
                   14   U.S. REDUCTION CO.; UNION
                        MANUFACTURING CO.; UNION
                   15   PACKING; UNION TRIBUNE
                        PUBLISHING CO.; UNITED
                   16   COATINGS INC.; UNITED FOAM
                   17   CORP.; UNITOG RENTAL
                        SERVICES INC.; UNIVERSAL
                   18   CIRCUITS INC.; UNIVERSAL
                        PAINT CORP.; UNIVERSAL
                   19   PROPULSION CO.; USA
                   20   PETROLEUM; VAL CIRCUITS INC.;
                        VALCO; VALENTEC
                   21   INTERNATIONAL CORP.; VALLEY
                        BRAKE BOND CO. INC.; VALLEY
                   22   FRICTION MATERIALS; VAN DE
                        KAMP; VAN DER HORST CORP.;
                   23   VANTICO A. & T. US INC.;
                   24   VENTURA TRANSFER CO.;
                        VERNON LEATHER CO.; VISITRON
                   25   CORP.; VISTA METALS CORP.; VOI
                        SHAN; VONS COMPANIES INC.; W.
                   26   L. CHAPMAN CO.; W. S. HATCH
                   27   CO.; W. SMITH CO.; W. W. HENRY
                        CO.; W. W. IRWIN CO.; WADCO;
                   28   WARNERS DEAD STOCK;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       21                           2:18-CV-5810
           Case 2:18-cv-05810-MWF-PLA Document 1 Filed 07/02/18 Page 22 of 334 Page ID #:22



                    1   WATERFRONT SERVICES;
                        WAYMIRE DRUM CO. INC.;
                    2   WEBER AIRCRAFT; WEBER
                    3   METALS INC.; WELCHS UNIFORM;
                        WELL TECH INC.; WELLS MARINE
                    4   INC.; WESCAL INDUSTRIES;
                        WESCO PRODUCTS; WESLOCK
                    5   CORP.; WEST AMERICAN
                    6   RUBBER; WEST VALLEY
                        TOYOTA; WESTERN CIRCUITS;
                    7   WESTERN DYEING & FINISHING;
                        WESTERN ELECTROPLATING
                    8   INC.; WESTERN FUEL OIL CO.;
                        WESTERN GALVANIZING CO.;
                    9   WESTERN KRAFT CORP.;
                   10   WESTERN LITHOGRAPH;
                        WESTERN OIL & REFINING CO.
                   11   INC.; WESTERN REBUILDER INC.;
                        WESTERN SPECIALTY COATINGS
                   12   CO.; WESTERN STATES REFINING;
                   13   WESTERN SYNTHETIC FELT CO.;
                        WESTERN WHEEL
                   14   MANUFACTURING CO.;
                        WESTMINSTER CERAMICS INC.;
                   15   WESTWAY TERMINAL CO. INC.;
                        WHEEL SERVICE GROUP INC.;
                   16   WHITCOMB PLATING INC.;
                   17   WHITEWORTH INC.; WHITFIELD
                        TANK LINES; WHITTAKER CORP.;
                   18   WHITTIER CHROME & PLATING;
                        WILCOR INC.; WILMINGTON
                   19   LIQUID BULK; WILSHIRE
                   20   INDUSTRIES; WINCHESTER INN;
                        WINDOWMASTER PRODUCTS;
                   21   WINONICS INC.; WYNDHAM
                        MANUFACTURING CO. INC.;
                   22   WYNN OIL CO.; XIDEX CORP.;
                        YOPLAIT USA; ZAPATA
                   23   CONSTRUCTION INC.; ZERO
                   24   CORP.; ZIM CONTAINER;
                        ZIMMERS TRUCK STOP;
                   25   ZOLATONE PROCESS INC.;
                        ZONVER DRILLING; and DOES 1-
                   26   10,
                                       Defendants.
                   27
                   28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                   COMPLAINT
   LOS ANGELES B                                       22                           2:18-CV-5810
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                     1       Plaintiffs BKK WORKING GROUP; ANADARKO E&P ONSHORE
                     2   LLC; ATLANTIC RICHFIELD COMPANY; ASHLAND LLC; BAYER
                     3   CROPSCIENCE INC.; BHPI SERVICE LLC; THE BOEING COMPANY;
                     4   CALIFORNIA RESOURCES CORPORATION; CHEVRON
                     5   ENVIRONMENTAL MANAGEMENT COMPANY; CHEVRON MARINE
                     6   PRODUCTS LLC; CITY OF LOS ANGELES, ACTING BY AND
                     7   THROUGH THE LOS ANGELES DEPARTMENT OF WATER AND
                     8   POWER; CONOCOPHILLIPS COMPANY; CROSBY & OVERTON, INC.;
                     9   THE DOW CHEMICAL COMPANY; DUCOMMUN AEROSTRUCTURES,
                    10   INC.; ESSEX CHEMICAL CORPORATION; EXXON MOBIL
                    11   CORPORATION; GEMINI INDUSTRIES, INC.; GENERAL DYNAMICS
                    12   CORPORATION; GENERAL LATEX AND CHEMICAL CORPORATION;
                    13   HP INC. (FORMERLY KNOWN AS HEWLETT-PACKARD COMPANY);
                    14   AMERICAN HONDA MOTOR CO., INC.; HUNTINGTON BEACH
                    15   COMPANY; LOCKHEED MARTIN CORPORATION; MARS, INC.
                    16   (FORMERLY KNOWN AS KAL KAN FOODS INC.); MONTROSE
                    17   CHEMICAL CORPORATION OF CALIFORNIA; MORTELL COMPANY;
                    18   MORTON INTERNATIONAL, INC.; NATIONAL STEEL AND
                    19   SHIPBUILDING COMPANY; NORTHROP GRUMMAN SYSTEMS
                    20   CORPORATION; OXY USA, INC.; QUEMETCO, INC.; ROCKWELL
                    21   AUTOMATION, INC.; ROHM & HAAS COMPANY; ROHR, INC.; SAN
                    22   DIEGO GAS & ELECTRIC COMPANY; SMITH INTERNATIONAL, INC.;
                    23   SOUTHERN CALIFORNIA EDISON COMPANY; SOUTHERN
                    24   CALIFORNIA GAS COMPANY; STAUFFER MANAGEMENT COMPANY
                    25   LLC; THE PROCTER & GAMBLE MANUFACTURING COMPANY;
                    26   THUMS LONG BEACH COMPANY; UNION CARBIDE CORPORATION;
                    27   UNION PACIFIC RAILROAD/SOUTHERN PACIFIC TRANSPORTATION
                    28   COMPANY; UNITED STATES STEEL CORPORATION; UNITED
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                    1   TECHNOLOGIES CORPORATION; AND UNIVAR USA INC. (collectively
                    2   referred to herein as “Plaintiffs” or individually as “Plaintiff”) allege as
                    3   follows:
                    4                              STATEMENT OF THE CASE
                    5         1.     This is a civil action for cost recovery under Section 107(a), an action
                    6   for contribution under Section 113 of the Comprehensive Environmental Response,
                    7   Compensation and Liability Act of 1980, as amended, 42 U.S.C. § 9601 et. seq.
                    8   (“CERCLA”) and contribution under The Carpenter-Presley-Tanner Hazardous
                    9   Substance Account Act (“HSAA”), California Health and Safety Code section
                   10   25300 et seq., relating to the release and/or threatened release of hazardous
                   11   substances, as that term is defined in Section 101(14) of CERCLA, 42 U.S.C.
                   12   § 9601 (“Hazardous Substances”), from a facility known as the BKK Class I
                   13   Landfill. The BKK Class I Landfill is located on a portion of a much larger 583-
                   14   acre property located at 2210 South Azusa Avenue, West Covina, Los Angeles
                   15   County, California. Other facilities located on this property include a closed Class
                   16   III municipal landfill, a Leachate Treatment Plant (“LTP”), service roads, and
                   17   related pollution control equipment. The BKK Class I Landfill and the LTP,
                   18   service roads, and related pollution control equipment, which serve it, are
                   19   collectively referred to hereinafter as the “BKK Class I Facility”1 and are the
                   20   subject of this lawsuit. The closed Class III municipal landfill is not the subject of
                   21   this lawsuit. True and correct copies of the parcel maps describing the property are
                   22   attached hereto as Exhibit A. The State of California has alleged in a series of
                   23   three complaints filed against some or all of the Plaintiffs2 that it has incurred
                   24
                        1
                   25     “BKK Class I Facility,” as used herein, is equivalent to the term “Subject
                        Property” as that term is used in the First, Second Third Partial and Amended Third
                   26   Partial Consent Decrees. The First, Second Third Partial and Amended Third
                        Partial Consent Decrees are defined infra at Paragraphs 1114, 1119 and 1124,
                   27   respectively.
                        2
                   28     The three complaints are described in more detail in paragraphs 1113, 1118, and
                        1123, infra.
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                    1   response costs in connection with actions taken in response to releases or threatened
                    2   releases of Hazardous Substances at the BKK Class I Facility. Each of the parties
                    3   named as a defendant herein at paragraphs 60-1100 and Does 1-10 (collectively
                    4   referred to herein as “Defendants” or individually as “Defendant”) generated,
                    5   transported and/or arranged for disposal of materials containing Hazardous
                    6   Substances to the BKK Facility.
                    7         2.     Plaintiffs seek to recover from each Defendant pursuant to Section
                    8   107(a) of CERCLA, 42 U.S.C. § 9607(a), past and future necessary response costs
                    9   incurred and to be incurred by Plaintiffs in a manner consistent with the National
                   10   Contingency Plan, 40 C.F.R. Part 300 et. seq. (“NCP”), for response activities
                   11   undertaken and to be undertaken at and in relation to the BKK Class I Facility that
                   12   were caused by the release or threatened release of Hazardous Substances at and
                   13   from the BKK Class I Facility.
                   14         3.     Plaintiffs also seek contribution from each Defendant pursuant to
                   15   Section 113(f) of CERCLA, 42 U.S.C. § 9613(f), for past and future necessary
                   16   response costs incurred and to be incurred by Plaintiffs pursuant to the First,
                   17   Second, Third Partial and Amended Third Partial Consent Decrees in a manner
                   18   consistent with the NCP for response activities undertaken and to be undertaken at
                   19   and in relation to the BKK Class I Facility that were caused by the release or
                   20   threatened release of Hazardous Substances at and from the BKK Class I Facility.
                   21         4.     Plaintiffs further seek a declaration as to each Defendant’s liability and
                   22   associated allocation of past and future response costs in accordance with Section
                   23   113(g)(2)(B) of CERCLA, 42 U.S.C. § 9613(g)(2)(B), and Boeing Co. v. Cascade
                   24   Corp., 207 F.3d 1177, 1191 (9th Cir. 2000), that will be binding in any subsequent
                   25   action or actions brought by Plaintiffs against the Defendants to recover further
                   26   response costs.
                   27         5.     Plaintiffs additionally seek contribution from each Defendant pursuant
                   28   to the Hazardous Substance Account Act (“HSAA”), Cal. Health and Safety Code
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                    1   §§ 25300-25395, and Cal. Health and Safety Code § 25363 for past and future
                    2   necessary response costs incurred and to be incurred by Plaintiffs in a manner
                    3   consistent with the NCP to address releases or threatened releases of Hazardous
                    4   Substances at and from the BKK Class I Facility.
                    5          6.      Plaintiffs are also entitled to complete or partial indemnity from
                    6   Defendants for all response costs incurred or to be incurred at the BKK Class I
                    7   Facility, pursuant to the doctrine of equitable indemnification.
                    8          7.      A sub-set of Plaintiffs who allege they have reimbursed entities or
                    9   directly paid for and participated in directing response actions on behalf of other
                   10   entities (including other Plaintiffs) that have incurred past, necessary response
                   11   costs, including pursuant to the First, Second, Third Partial and Amended Third
                   12   Partial Consent Decrees in a manner consistent with the NCP, for response
                   13   activities undertaken at and in relation to the BKK Class I Facility, assert
                   14   subrogated cost recovery and contribution claims against each Defendant pursuant
                   15   to Section 112(c)(3) of CERCLA, 42 U.S.C. § 9612(c)(3), and pursuant to common
                   16   law equitable subrogation.
                   17          8.      Plaintiffs also seek a declaratory judgment pursuant to the Declaratory
                   18   Judgment Act, 28 U.S.C. § 2201, et seq., and California Code of Civil Procedure
                   19   §1060 setting forth the parties’ rights and obligations toward one another for future
                   20   costs incurred to address contamination at or from the BKK Class I Facility
                   21          9.      Through mid-2017, the BKK Working Group has incurred or is
                   22   committed to incur approximately $249 million in costs associated with the BKK
                   23   Class I Facility, and the total cost of necessary response actions to fully remediate
                   24   the BKK Class I Facility was estimated by the State of California Department of
                   25   Toxic Substances Control (“DTSC”) in 2010 at nearly $800 million. Each
                   26   Defendant has declined Plaintiffs’ request(s) to enter into a tolling agreement to
                   27   facilitate settlement discussions, necessitating this lawsuit to resolve Defendants’
                   28   liabilities.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1                                      JURISDICTION
                    2         10.    This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331
                    3   and Section 113(b) of CERCLA, 42 U.S.C. § 9613(b). This Court has jurisdiction
                    4   over the subject matter of the claims made under state law in this action under 28
                    5   U.S.C. § 1367(a) because the claims under state law arise out of the same common
                    6   nucleus of facts as the federal question jurisdiction claims set forth in this
                    7   Complaint, and they are so closely related to the actions brought under federal law
                    8   that they form part of the same case or controversy.
                    9                                          VENUE
                   10         11.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
                   11   because a substantial part of the events giving rise to this action occurred within
                   12   this District, and because the BKK Class I Facility is located within this District.
                   13         12.    Venue is also proper in this District pursuant to Section 113(b) of
                   14   CERCLA, 42 U.S.C. § 9613(b), because both the releases and response costs at
                   15   issue occurred in this District.
                   16                                       PLAINTIFFS
                   17         13.    The BKK Working Group, also known as the BKK Joint Defense
                   18   Group, is an unincorporated association of entities of the type described in Federal
                   19   Rule of Civil Procedure 17(b)(3)(A) and Cal. Code of Civil Procedure § 369.5. The
                   20   BKK Working Group currently is comprised of the Plaintiffs identified in
                   21   paragraphs 15-59 below as members, which assert the claims in this Complaint on
                   22   their own behalf and as assignees of the claims at the BKK Class I Facility of the
                   23   following entities that are also BKK Working Group members: Baker Petrolite
                   24   LLC; Honeywell International Inc., Hugo Neu Proler, Shell Oil Company, Vigor
                   25   Shipyards, Inc., formerly known as Todd Pacific Shipyard Corp., Unisys
                   26   Corporation, and Wyeth Holdings, formerly known as American Cyanamid
                   27   (collectively referred to as the “Member Assignors”). The BKK Working Group is
                   28   also a Plaintiff as assignee of CERCLA claims relating to the BKK Class I Facility
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                    1   of the Member Assignors. Plaintiffs are working together towards the common
                    2   objective of addressing conditions at the BKK Class I Facility in cooperation with
                    3   state and federal agencies. Each Plaintiff has incurred necessary response costs
                    4   consistent with the NCP at the BKK Class I Facility. The BKK Working Group,
                    5   and each of its individual members, is a “person” within the meaning of CERCLA
                    6   § 101(21), 42 U.S.C. § 9601(21).
                    7         14.    Plaintiff Anadarko E&P Onshore LLC is a corporation organized
                    8   under the laws of the State of Delaware. At all times referred to herein, Anadarko
                    9   E&P Onshore LLC, or its corporate predecessor, was and is authorized to do
                   10   business, and was and is doing business, in California. The State of California has
                   11   alleged that Plaintiff Anadarko E&P Onshore LLC arranged for the disposal of a
                   12   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   13   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Anadarko E&P Onshore
                   14   LLC is a member of the BKK Working Group and as a member of the BKK
                   15   Working Group has incurred necessary response costs in a manner consistent with
                   16   the NCP at the BKK Class I Facility. Anadarko E&P Onshore LLC asserts no
                   17   allegations against the following Defendants: Sun Exploration, the City of Carson,
                   18   the City of Hermosa Beach, the City of Riverside, and the City of San Diego.
                   19         15.    Plaintiff Ashland LLC is a limited liability company organized under
                   20   the laws of the State of Kentucky and authorized to do business in the State of
                   21   California. Ashland LLC is the corporate successor of Ashland Chemical Company
                   22   and, for the matters set forth herein, the contractual indemnitor of Filtrol
                   23   Corporation. Both companies were authorized to do business in California at all
                   24   relevant times referred to herein. The State of California has alleged that Ashland
                   25   Chemical Company and Filtrol Corporation are Covered Persons, as described in
                   26   section 107(a) of CERCLA, 42 U.S.C. § 9607(a), who arranged for the disposal of
                   27   Hazardous Substances at the BKK Class I Facility. Ashland LLC and Filtrol
                   28   Corporation are members of the BKK Working Group and as members of the BKK
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                    1   Working Group have incurred necessary response costs in a manner consistent with
                    2   the NCP at the BKK Class I Facility. Filtrol has assigned all of its rights, claims
                    3   and interests relevant hereto to Ashland LCC.
                    4         16.    Plaintiff Atlantic Richfield Company is a corporation organized under
                    5   the laws of the State of Delaware. At all times referred to herein, Atlantic Richfield
                    6   Company, or its corporate predecessor, was and is authorized to do business, and
                    7   was and is doing business, in California. The State of California has alleged that
                    8   Plaintiff Atlantic Richfield Company arranged for the disposal of a Hazardous
                    9   Substance at the BKK Class I Facility, as those terms are described in section
                   10   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Atlantic Richfield Company is a
                   11   member of the BKK Working Group and as a member of the BKK Working Group
                   12   has incurred necessary response costs in a manner consistent with the NCP at the
                   13   BKK Class I Facility.
                   14         17.    Plaintiff Bayer CropScience, Inc. is a corporation organized under the
                   15   laws of the State of Delaware. At all times referred to herein, Bayer CropScience
                   16   Inc., or its corporate predecessor, was and is authorized to do business, and was and
                   17   is doing business, in California. The State of California has alleged that Plaintiff
                   18   Bayer CropScience Inc. arranged for the disposal of a Hazardous Substance at the
                   19   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                   20   42 U.S.C. § 9607(a). Bayer CropScience Inc., as a member of the BKK Working
                   21   Group, has incurred necessary response costs in a manner consistent with the NCP
                   22   at the BKK Class I Facility.
                   23         18.    Plaintiff BHPI Service LLC is a corporation organized under the laws
                   24   of the State of Delaware. At all times referred to herein, BHPI Service LLC, or its
                   25   corporate predecessor, was and is authorized to do business, and was and is doing
                   26   business, in California. The State of California has alleged that the assignee to the
                   27   successor in interest to certain liability of H.J. Heinz Company, arranged for the
                   28   disposal of a Hazardous Substance at the BKK Class I Facility, as those terms are
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                    1   described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff BHPI
                    2   Service LLC is a member of the BKK Working Group and as a member of the
                    3   BKK Working Group has incurred necessary response costs in a manner consistent
                    4   with the NCP at the BKK Class I Facility.
                    5         19.    Plaintiff The Boeing Company is a corporation organized under the
                    6   laws of the State of Delaware. At all times referred to herein, The Boeing
                    7   Company, or its corporate predecessor, was and is authorized to do business, and
                    8   was and is doing business, in California. The State of California has alleged that
                    9   Plaintiff The Boeing Company arranged for the disposal of a Hazardous Substance
                   10   at the BKK Class I Facility, as those terms are described in section 107(a) of
                   11   CERCLA, 42 U.S.C. § 9607(a). Plaintiff The Boeing Company is a member of the
                   12   BKK Working Group. As a member of the BKK Working Group, and also prior to
                   13   becoming a member, The Boeing Company has incurred necessary response costs
                   14   in a manner consistent with the NCP at the BKK Class I Facility.
                   15         20.    Plaintiff California Resources Corporation is a corporation organized
                   16   under the laws of the State of Pennsylvania. At all times referred to herein,
                   17   California Resources Corporation, or its corporate predecessor, was and is
                   18   authorized to do business, and was and is doing business, in California. The State
                   19   of California has alleged that Plaintiff California Resources Corporation arranged
                   20   for the disposal of a Hazardous Substance at the BKK Class I Facility, as those
                   21   terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
                   22   California Resources Corporation is a member of the BKK Working Group and as a
                   23   member of the BKK Working Group has incurred necessary response costs in a
                   24   manner consistent with the NCP at the BKK Class I Facility
                   25         21.    Plaintiff Chevron Environmental Management Company is a
                   26   corporation organized under the laws of the State of California. At all times referred
                   27   to herein, Chevron Environmental Management Company, or its corporate
                   28   affiliate(s), was and is authorized to do business, and was and is doing business, in
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                    1   California. The State of California has alleged that certain corporate affiliates of
                    2   Plaintiff Chevron Environmental Management Company arranged for the disposal
                    3   of a Hazardous Substance at the BKK Class I Facility, as those terms are described
                    4   in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Chevron
                    5   Environmental Management Company is a member of the BKK Working Group
                    6   and as a member of the BKK Working Group has incurred necessary response costs
                    7   in a manner consistent with the NCP at the BKK Class I Facility.
                    8          22.   Plaintiff Chevron Marine Products LLC is a limited liability company
                    9   organized under the laws of the State of Delaware. At all times referred to herein,
                   10   Chevron Marine Products LLC, or its corporate predecessor, was and is authorized
                   11   to do business, and was and is doing business, in California. The State of
                   12   California has alleged that Plaintiff Chevron Marine Products LLC arranged for the
                   13   disposal of a Hazardous Substance at the BKK Class I Facility, as those terms are
                   14   described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Chevron
                   15   Marine Products LLC is a member of the BKK Working Group and as a member of
                   16   the BKK Working Group has incurred necessary response costs in a manner
                   17   consistent with the NCP at the BKK Class I Facility.
                   18          23.   Plaintiff City of Los Angeles, acting by and through the Los Angeles
                   19   Department of Water and Power, is a municipal utility. The State of California has
                   20   alleged that Plaintiff City of Los Angeles arranged for the disposal of a Hazardous
                   21   Substance at the BKK Class I Facility, as those terms are described in section
                   22   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff City of Los Angeles, acting by
                   23   and through the Los Angeles Department of Water and Power, is a member of the
                   24   BKK Working Group and as a member of the BKK Working Group has incurred
                   25   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   26   Facility.
                   27          24.   Plaintiff ConocoPhillips Company is a corporation organized under the
                   28   laws of the State of Delaware. At all times referred to herein, ConocoPhillips
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                    1   Company, or its corporate predecessor, was and is authorized to do business, and
                    2   was and is doing business, in California. The State of California has alleged that
                    3   Plaintiff ConocoPhillips Company arranged for the disposal of a Hazardous
                    4   Substance at the BKK Class I Facility, as those terms are described in section
                    5   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff ConocoPhillips Company is a
                    6   member of the BKK Working Group and as a member of the BKK Working Group
                    7   has incurred necessary response costs in a manner consistent with the NCP at the
                    8   BKK Class I Facility.
                    9          25.   Plaintiff Crosby & Overton, Inc. is a corporation organized under the
                   10   laws of the State of California. At all times referred to herein, Crosby & Overton,
                   11   Inc., or its corporate predecessor, was and is authorized to do business, and was and
                   12   is doing business, in California. The State of California has alleged that Plaintiff
                   13   Crosby & Overton, Inc. arranged for the disposal of a Hazardous Substance at the
                   14   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                   15   42 U.S.C. § 9607(a). Plaintiff Crosby & Overton, Inc. is a member of the BKK
                   16   Working Group and as a member of the BKK Working Group has incurred
                   17   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   18   Facility.
                   19          26.   Plaintiff The Dow Chemical Company is a corporation organized
                   20   under the laws of the State of Delaware. At all times referred to herein, The Dow
                   21   Chemical Company, or its corporate predecessor, was and is authorized to do
                   22   business, and was and is doing business, in California. The State of California has
                   23   alleged that Plaintiff The Dow Chemical Company arranged for the disposal of a
                   24   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   25   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff The Dow Chemical
                   26   Company is a member of the BKK Working Group and as a member of the BKK
                   27   Working Group has incurred necessary response costs in a manner consistent with
                   28   the NCP at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1         27.    Plaintiff Ducommun Aerostructures, Inc. is a corporation organized
                    2   under the laws of the State of Delaware. At all times referred to herein, Ducommun
                    3   Aerostructures, Inc., or its corporate predecessor, was and is authorized to do
                    4   business, and was and is doing business, in California. The State of California has
                    5   alleged that Plaintiff Ducommun Aerostructures, Inc. arranged for the disposal of a
                    6   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                    7   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Ducommun
                    8   Aerostructures, Inc. is a member of the BKK Working Group and as a member of
                    9   the BKK Working Group has incurred necessary response costs in a manner
                   10   consistent with the NCP at the BKK Class I Facility.
                   11         28.    Plaintiff Essex Chemical Corporation is a corporation organized under
                   12   the laws of the State of New Jersey. At all times referred to herein, Essex Chemical
                   13   Corporation, or its corporate predecessor, was and is authorized to do business, and
                   14   was and is doing business, in California. The State of California has alleged that
                   15   Plaintiff Essex Chemical Corporation arranged for the disposal of a Hazardous
                   16   Substance at the BKK Class I Facility, as those terms are described in section
                   17   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Essex Chemical Corporation is
                   18   a member of the BKK Working Group and as a member of the BKK Working
                   19   Group has incurred necessary response costs in a manner consistent with the NCP
                   20   at the BKK Class I Facility.
                   21         29.    Plaintiff Exxon Mobil Corporation is a corporation organized under
                   22   the laws of the State of New Jersey. At all times referred to herein, Exxon Mobil
                   23   Corporation, or its corporate predecessor, was and is authorized to do business, and
                   24   was and is doing business, in California. The State of California has alleged that
                   25   Plaintiff Exxon Mobil Corporation arranged for the disposal of a Hazardous
                   26   Substance at the BKK Class I Facility, as those terms are described in section
                   27   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Exxon Mobil Corporation is a
                   28   member of the BKK Working Group and as a member of the BKK Working Group
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                    1   has incurred necessary response costs in a manner consistent with the NCP at the
                    2   BKK Class I Facility.
                    3          30.   Plaintiff Gemini Industries, Inc. is a corporation organized under the
                    4   laws of the State of California. At all times referred to herein, Gemini Industries,
                    5   Inc. or its corporate predecessor, was and is authorized to do business, and was and
                    6   is doing business, in California. The State of California has alleged that Plaintiff
                    7   Gemini Industries, Inc. arranged for the disposal of a Hazardous Substance at the
                    8   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                    9   42 U.S.C. § 9607(a). Plaintiff Gemini Industries, Inc. is a member of the BKK
                   10   Working Group. As a member of the BKK Working Group, and also prior to
                   11   becoming a Member, Gemini Industries, Inc. has incurred necessary response costs
                   12   in a manner consistent with the NCP at the BKK Class I Facility.
                   13          31.   Plaintiff General Dynamics Corporation is a corporation organized
                   14   under the laws of the State of Delaware. During the years of operation of the BKK
                   15   Class I Landfill, specifically from approximately 1975 until 1984, General
                   16   Dynamics Corporation was authorized to do business, and was doing business, in
                   17   California. The State of California has alleged that Plaintiff General Dynamics
                   18   Corporation arranged for the disposal of a Hazardous Substance at the BKK Class I
                   19   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
                   20   9607(a). Plaintiff General Dynamics Corporation is a member of the BKK
                   21   Working Group and as a member of the BKK Working Group has incurred
                   22   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   23   Facility.
                   24          32.   Plaintiff General Latex and Chemical Corporation is a corporation
                   25   organized under the laws of the State of Massachusetts. At all times referred to
                   26   herein, General Latex and Chemical Corporation, or its corporate predecessor, was
                   27   and is authorized to do business, and was and is doing business, in California. The
                   28   State of California has alleged that Plaintiff General Latex and Chemical
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Corporation arranged for the disposal of a Hazardous Substance at the BKK Class I
                    2   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
                    3   9607(a). Plaintiff General Latex and Chemical Corporation is a member of the
                    4   BKK Working Group and as a member of the BKK Working Group has incurred
                    5   necessary response costs in a manner consistent with the NCP at the BKK Class I
                    6   Facility.
                    7          33.   Plaintiff HP Inc., formerly known as Hewlett-Packard Company, is a
                    8   corporation organized under the laws of the State of Delaware. At all times referred
                    9   to herein, HP Inc., or its corporate predecessor, was and is authorized to do
                   10   business, and was and is doing business, in California. The State of California has
                   11   alleged that Plaintiff HP Inc. any arranged for the disposal of a Hazardous
                   12   Substance at the BKK Class I Facility, as those terms are described in section
                   13   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff HP Inc. is a member of the
                   14   BKK Working Group and as a member of the BKK Working Group has incurred
                   15   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   16   Facility.
                   17          34.   Plaintiff American Honda Motor Co., Inc. is a corporation organized
                   18   under the laws of the State of California. At all times referred to herein, American
                   19   Honda Motor Co., Inc. was and is authorized to do business, and was and is doing
                   20   business, in California. The State of California has alleged that Plaintiff American
                   21   Honda Motor Co., Inc. arranged for the disposal of a Hazardous Substance at the
                   22   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                   23   42 U.S.C. § 9607(a). Plaintiff American Honda Motor Co. is a member of the BKK
                   24   Working Group and as a member of the BKK Working Group has incurred
                   25   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   26   Facility.
                   27          35.   Plaintiff Huntington Beach Company is a corporation organized under
                   28   the laws of the State of California. At all times referred to herein, Huntington Beach
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 BOCKIUS LLP
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                    1   Company, or its corporate predecessor, was and is authorized to do business, and
                    2   was and is doing business, in California. The State of California has alleged that
                    3   Plaintiff Huntington Beach Company arranged for the disposal of a Hazardous
                    4   Substance at the BKK Class I Facility, as those terms are described in section
                    5   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Huntington Beach Company is
                    6   a member of the BKK Working Group and as a member of the BKK Working
                    7   Group has incurred necessary response costs in a manner consistent with the NCP
                    8   at the BKK Class I Facility.
                    9         36.    Plaintiff Lockheed Martin Corporation is a corporation organized
                   10   under the laws of the State of Maryland. At all times referred to herein, Lockheed
                   11   Martin Corporation, or its corporate predecessor, was and is authorized to do
                   12   business, and was and is doing business, in California. The State of California has
                   13   alleged that Plaintiff Lockheed Martin Corporation arranged for the disposal of a
                   14   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   15   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Lockheed Martin
                   16   Corporation is a member of the BKK Working Group. As a Member of the BKK
                   17   Working Group, and also prior to becoming a member, Lockheed Martin
                   18   Corporation has incurred necessary response costs in a manner consistent with the
                   19   NCP at the BKK Class I Facility.
                   20         37.    Plaintiff Mars, Inc. (formerly known as Kal Kan Foods Inc.) is a
                   21   corporation organized under the laws of the State of Delaware. At all times referred
                   22   to herein, Mars, Inc., or its corporate predecessor, was and is authorized to do
                   23   business, and was and is doing business, in California. The State of California has
                   24   alleged that Plaintiff Mars, Inc. arranged for the disposal of a Hazardous Substance
                   25   at the BKK Class I Facility, as those terms are described in section 107(a) of
                   26   CERCLA, 42 U.S.C. § 9607(a). Plaintiff Mars, Inc. is a member of the BKK
                   27   Working Group and as a member of the BKK Working Group has incurred
                   28
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                    1   necessary response costs in a manner consistent with the NCP at the BKK Class I
                    2   Facility.
                    3          38.   Plaintiff Montrose Chemical Corporation of California is a corporation
                    4   organized under the laws of the State of Delaware. At all times referred to herein,
                    5   Montrose Chemical Corporation of California, or its corporate predecessor, was and
                    6   is authorized to do business, and was and is doing business, in California. The
                    7   State of California has alleged that Plaintiff Montrose Chemical Corporation of
                    8   California arranged for the disposal of a Hazardous Substance at the BKK Class I
                    9   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
                   10   9607(a). Plaintiff Montrose Chemical Corporation of California is a member of the
                   11   BKK Working Group and as a member of the BKK Working Group has incurred
                   12   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   13   Facility.
                   14          39.   Plaintiff Mortell Company is a corporation organized under the laws of
                   15   the State of Delaware. At all times referred to herein, Mortell Company or its
                   16   corporate predecessor, was and is authorized to do business, and was and is doing
                   17   business, in California. The State of California has alleged that Plaintiff Mortell
                   18   Company arranged for the disposal of a Hazardous Substance at the BKK Class I
                   19   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
                   20   9607(a). Plaintiff Mortell Company is a member of the BKK Working Group and
                   21   as a member of the BKK Working Group has incurred necessary response costs in a
                   22   manner consistent with the NCP at the BKK Class I Facility.
                   23          40.   Plaintiff Morton International, Inc. is a corporation organized under
                   24   the laws of the State of Indiana. At all times referred to herein, Morton
                   25   International, Inc., or its corporate predecessor, was and is authorized to do
                   26   business, and was and is doing business, in California. The State of California has
                   27   alleged that Plaintiff Morton International, Inc. arranged for the disposal of a
                   28   Hazardous Substance at the BKK Class I Facility, as those terms are described in
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Morton International,
                    2   Inc. is a member of the BKK Working Group and as a member of the BKK
                    3   Working Group has incurred necessary response costs in a manner consistent with
                    4   the NCP at the BKK Class I Facility.
                    5          41.   Plaintiff National Steel and Shipbuilding Company is a corporation
                    6   organized under the laws of the State of Nevada. At all times referred to herein,
                    7   National Steel and Shipbuilding Company, or its corporate predecessor, was and is
                    8   authorized to do business, and was and is doing business, in California. The State
                    9   of California has alleged that Plaintiff National Steel and Shipbuilding Company
                   10   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
                   11   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
                   12   Plaintiff National Steel and Shipbuilding Company is a member of the BKK
                   13   Working Group and as a member of the BKK Working Group has incurred
                   14   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   15   Facility.
                   16          42.   Plaintiff Northrop Grumman Systems Corporation is a corporation
                   17   organized under the laws of the State of Delaware. At all times referred to herein,
                   18   Northrop Grumman Systems Corporation, or its corporate predecessor, was and is
                   19   authorized to do business, and was and is doing business, in California. The State
                   20   of California has alleged that Plaintiff Northrop Grumman Systems Corporation
                   21   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
                   22   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
                   23   Plaintiff Northrop Grumman Systems Corporation is a member of the BKK
                   24   Working Group and as a member of the BKK Working Group has incurred
                   25   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   26   Facility.
                   27          43.   Plaintiff OXY USA, Inc. is a corporation organized under the laws of
                   28   the State of Delaware. At all times referred to herein, OXY USA, Inc., or its
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                    1   corporate predecessor, was and is authorized to do business, and was and is doing
                    2   business, in California. The State of California has alleged that Plaintiff OXY
                    3   USA, Inc. arranged for the disposal of a Hazardous Substance at the BKK Class I
                    4   Facility, as those terms are described in section 107(a) of CERCLA, 42 U.S.C. §
                    5   9607(a). Plaintiff OXY USA, Inc. is a member of the BKK Working Group and as
                    6   a member of the BKK Working Group has incurred necessary response costs in a
                    7   manner consistent with the NCP at the BKK Class I Facility
                    8         44.    Plaintiff Quemetco, Inc. is a corporation organized under the laws of
                    9   the State of Delaware. At all times referred to herein, Quemetco, Inc., or its
                   10   corporate predecessor, was and is authorized to do business, and was and is doing
                   11   business, in California. The State of California has alleged that Plaintiff Quemetco,
                   12   Inc. arranged for the disposal of a Hazardous Substance at the BKK Class I Facility,
                   13   as those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
                   14   Plaintiff Quemetco, Inc. is a member of the BKK Working Group and as a member
                   15   of the BKK Working Group has incurred necessary response costs in a manner
                   16   consistent with the NCP at the BKK Class I Facility.
                   17         45.    Plaintiff Rockwell Automation, Inc. is a corporation organized under
                   18   the laws of the State of Delaware. At all times referred to herein, Rockwell
                   19   Automation, Inc., or its corporate predecessor, was and is authorized to do business,
                   20   and was and is doing business, in California. The State of California has alleged
                   21   that Plaintiff Rockwell Automation, Inc. arranged for the disposal of a Hazardous
                   22   Substance at the BKK Class I Facility, as those terms are described in section
                   23   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Rockwell Automation, Inc. is a
                   24   member of the BKK Working Group and as a member of the BKK Working Group
                   25   has incurred necessary response costs in a manner consistent with the NCP at the
                   26   BKK Class I Facility.
                   27         46.    Plaintiff Rohm & Haas Company is a corporation organized under the
                   28   laws of the State of Delaware. At all times referred to herein, Rohm & Haas
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 BOCKIUS LLP
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                    1   Company, or its corporate predecessor, was and is authorized to do business, and
                    2   was and is doing business, in California. The State of California has alleged that
                    3   Plaintiff Rohm & Haas Company arranged for the disposal of a Hazardous
                    4   Substance at the BKK Class I Facility, as those terms are described in section
                    5   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Rohm & Haas Company is a
                    6   member of the BKK Working Group and as a member of the BKK Working Group
                    7   has incurred necessary response costs in a manner consistent with the NCP at the
                    8   BKK Class I Facility.
                    9         47.    Plaintiff Rohr, Inc. is a corporation organized under the laws of the
                   10   State of Delaware. At all times referred to herein, Rohr, Inc., or its corporate
                   11   predecessor, was and is authorized to do business, and was and is doing business, in
                   12   California. The State of California has alleged that Plaintiff Rohr, Inc. arranged for
                   13   the disposal of a Hazardous Substance at the BKK Class I Facility, as those terms
                   14   are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Rohr,
                   15   Inc. is a member of the BKK Working Group and as a member of the BKK
                   16   Working Group has incurred necessary response costs in a manner consistent with
                   17   the NCP at the BKK Class I Facility.
                   18         48.    Plaintiff San Diego Gas & Electric Company is a corporation
                   19   organized under the laws of the State of California. At all times referred to herein,
                   20   San Diego Gas & Electric Company, or its corporate predecessor, was and is
                   21   authorized to do business, and was and is doing business, in California. The State
                   22   of California has alleged that Plaintiff San Diego Gas & Electric Company arranged
                   23   for the disposal of a Hazardous Substance at the BKK Class I Facility, as those
                   24   terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff
                   25   San Diego Gas & Electric Company is a member of the BKK Working Group and
                   26   as a member of the BKK Working Group has incurred necessary response costs in a
                   27   manner consistent with the NCP at the BKK Class I Facility.
                   28
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                    1         49.    Plaintiff Smith International, Inc. is a corporation organized under the
                    2   laws of the State of California. At all times referred to herein, Smith International,
                    3   Inc., or its corporate predecessor, was and is authorized to do business, and was and
                    4   is doing business, in California. The State of California has alleged that Plaintiff
                    5   Smith International, Inc. arranged for the disposal of a Hazardous Substance at the
                    6   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                    7   42 U.S.C. § 9607(a). Plaintiff Smith International, Inc. is a member of the BKK
                    8   Working Group and as a member of the BKK Working Group has incurred
                    9   necessary response costs in a manner consistent with the NCP at the BKK Class I
                   10   Facility
                   11         50.    Plaintiff Southern California Edison Company is a corporation
                   12   organized under the laws of the State of California. At all times referred to herein,
                   13   Southern California Edison Company, or its corporate predecessor, was and is
                   14   authorized to do business, and was and is doing business, in California. The State
                   15   of California has alleged that Plaintiff Southern California Edison Company
                   16   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
                   17   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
                   18   Plaintiff Southern California Edison Company is a member of the BKK Working
                   19   Group and as a member of the BKK Working Group has incurred necessary
                   20   response costs in a manner consistent with the NCP at the BKK Class I Facility.
                   21         51.    Plaintiff Southern California Gas Company is a corporation organized
                   22   under the laws of the State of California. At all times referred to herein, Southern
                   23   California Gas Company, or its corporate predecessor, was and is authorized to do
                   24   business, and was and is doing business, in California. The State of California has
                   25   alleged that Plaintiff Southern California Gas Company arranged for the disposal of
                   26   a Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   27   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Southern California Gas
                   28   Company is a member of the BKK Working Group and as a member of the BKK
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Working Group has incurred necessary response costs in a manner consistent with
                    2   the NCP at the BKK Class I Facility.
                    3         52.    Plaintiff Stauffer Management Company LLC is a limited liability
                    4   corporation organized under the laws of the State of Delaware. At all times referred
                    5   to herein, Stauffer Management Company LLC was and is authorized to do
                    6   business, and was and is doing business, in California. Stauffer Management
                    7   Company LLC is a contractual indemnitor of Bayer CropScience Inc., and through
                    8   this legal obligation, has paid the response costs incurred by Bayer CropScience,
                    9   Inc. and has participated in directing remediation efforts as an agent for Bayer
                   10   CropScience, Inc. at the BKK Class I Facility. Stauffer Management Company
                   11   LLC also is an assignee to the subrogation and other rights or causes of action
                   12   Syngenta Crop Protection, LLC, a Delaware limited liability company, may have as
                   13   a result of reimbursements it has made to Stauffer Management Company LLC for
                   14   response costs paid for by Stauffer Management Company LLC in connection with
                   15   the BKK Class I Facility. Prior to filing this lawsuit, Bayer CropScience, Inc. and
                   16   Stauffer Management Company LLC submitted demands to Defendants as
                   17   contemplated by CERCLA § 112(b) and (c), thereby making them each a
                   18   “claimant” as that term is used in the statute. Although Stauffer Management
                   19   Company LLC and Syngenta Crop Protection, LLC are not members of the BKK
                   20   Working Group, because the costs they have incurred result directly from Bayer
                   21   CropScience’s participation in the BKK Working Group, for purposes of the
                   22   allegations in this Complaint relating to the incurrence of response costs, the term
                   23   “BKK Working Group” includes Stauffer Management Company LLC and
                   24   Syngenta Crop Protection, LLC.
                   25         53.    Plaintiff The Procter & Gamble Manufacturing Company is a
                   26   corporation organized under the laws of the State of Ohio. At all times referred to
                   27   herein, The Procter & Gamble Manufacturing Company, or its corporate
                   28   predecessor, was and is authorized to do business, and was and is doing business, in
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 ATTORNEYS AT LAW                                                                                 COMPLAINT
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                    1   California. The State of California has alleged that Plaintiff The Procter & Gamble
                    2   Manufacturing Company arranged for the disposal of a Hazardous Substance at the
                    3   BKK Class I Facility, as those terms are described in section 107(a) of CERCLA,
                    4   42 U.S.C. § 9607(a). Plaintiff The Procter & Gamble Manufacturing Company is a
                    5   member of the BKK Working Group and as a member of the BKK Working Group
                    6   has incurred necessary response costs in a manner consistent with the NCP at the
                    7   BKK Class I Facility.
                    8         54.    Plaintiff THUMS Long Beach Company is a corporation organized
                    9   under the laws of the State of Delaware. At all times referred to herein, THUMS
                   10   Long Beach Company, or its corporate predecessor, was and is authorized to do
                   11   business, and was and is doing business, in California. The State of California has
                   12   alleged that Plaintiff THUMS Long Beach Company arranged for the disposal of a
                   13   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   14   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff THUMS Long Beach
                   15   Company is a member of the BKK Working Group and as a member of the BKK
                   16   Working Group has incurred necessary response costs in a manner consistent with
                   17   the NCP at the BKK Class I Facility.
                   18         55.    Plaintiff Union Carbide Corporation is a corporation organized under
                   19   the laws of the State of New York. At all times referred to herein, Union Carbide
                   20   Corporation, or its corporate predecessor, was and is authorized to do business, and
                   21   was and is doing business, in California. The State of California has alleged that
                   22   Plaintiff Union Carbide Corporation arranged for the disposal of a Hazardous
                   23   Substance at the BKK Class I Facility, as those terms are described in section
                   24   107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Union Carbide Corporation is a
                   25   member of the BKK Working Group and as a member of the BKK Working Group
                   26   has incurred necessary response costs in a manner consistent with the NCP at the
                   27   BKK Class I Facility.
                   28
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                    1         56.    Plaintiff Union Pacific Railroad, formerly known as Southern Pacific
                    2   Transportation Company, is a corporation organized under the laws of the State of
                    3   Delaware. At all times referred to herein, Union Pacific Railroad, or its corporate
                    4   predecessor, was and is authorized to do business, and was and is doing business, in
                    5   California. The State of California has alleged that Plaintiff Union Pacific Railroad
                    6   arranged for the disposal of a Hazardous Substance at the BKK Class I Facility, as
                    7   those terms are described in section 107(a) of CERCLA, 42 U.S.C. § 9607(a).
                    8   Plaintiff Union Pacific Railroad is a member of the BKK Working Group and as a
                    9   member of the BKK Working Group has incurred necessary response costs in a
                   10   manner consistent with the NCP at the BKK Class I Facility.
                   11         57.    Plaintiff United States Steel Corporation is a corporation organized
                   12   under the laws of the State of Delaware. At all times referred to herein, United
                   13   States Steel Corporation, or its corporate predecessor, was and is authorized to do
                   14   business, and was and is doing business, in California. The State of California has
                   15   alleged that Plaintiff United States Steel Corporation arranged for the disposal of a
                   16   Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   17   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff United States Steel
                   18   Corporation is a member of the BKK Working Group and as a member of the BKK
                   19   Working Group has incurred necessary response costs in a manner consistent with
                   20   the NCP at the BKK Class I Facility.
                   21         58.    Plaintiff United Technologies Corporation is a corporation organized
                   22   under the laws of the State of Delaware. At all times referred to herein, United
                   23   Technologies Corporation, or its corporate predecessor, was and is authorized to do
                   24   business, and was and is doing business, in California. The State of California has
                   25   alleged that Plaintiff United Technologies Corporation arranged for the disposal of
                   26   a Hazardous Substance at the BKK Class I Facility, as those terms are described in
                   27   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff United Technologies
                   28   Corporation is a member of the BKK Working Group and as a member of the BKK
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                    1   Working Group has incurred necessary response costs in a manner consistent with
                    2   the NCP at the BKK Class I Facility.
                    3         59.    Plaintiff Univar USA Inc. (f/k/a Van Waters & Rogers) is a
                    4   corporation organized under the laws of the State of Washington. At all times
                    5   referred to herein, Univar USA Inc., or its corporate predecessor, was and is
                    6   authorized to do business, and was and is doing business, in California. The State
                    7   of California has alleged that Plaintiff Univar USA Inc. arranged for the disposal of
                    8   a Hazardous Substance at the BKK Class I Facility, as those terms are described in
                    9   section 107(a) of CERCLA, 42 U.S.C. § 9607(a). Plaintiff Univar USA Inc. is a
                   10   member of the BKK Working Group and as a member of the BKK Working Group
                   11   has incurred necessary response costs in a manner consistent with the NCP at the
                   12   BKK Class I Facility.
                   13                                     DEFENDANTS
                   14         60.    Defendants are: 1700 Santa Fe Ltd; A & E Plastics Co.; A & H Plating
                   15   Inc.; A & Z Decasing Co.; A. B. Dick Co., A. C. Barrel & Drum; A. D. Service
                   16   Publications; A. J. Daw Printing Ink Corp; A. L. Larson Boat Shop; Aamco
                   17   Transmissions; Abbott Power Corp.; Accent General; Accurate Plating Co.; Ace
                   18   Industries; Ace Plating Co.; Acme General Corp.; Action Computer Products Inc.;
                   19   Adohr Farms; Advance Galvanizing Co.; Advance Gear & Machine Corp.;
                   20   Advance Pipe Products; Advanced Coating Inc.; Advanced Environmental Inc.;
                   21   Aeroquip Corp.; Aeroscientific Corp.; Aerosol Services Co. Inc.; Aetna Metals Co.;
                   22   Air Industries Corp.; Airco Corp.; Airstream of CA; Ajax Hardware Corp.; Albert
                   23   Van Luit & Co.; Alcan Aluminum Corp.; Alco Cad Nickel Plating Corp.; Alco
                   24   Well Service Inc.; AlCo-Gravure Inc.; Alflex Corp.; ALL Metals Processing Co
                   25   Inc.; ALL Valley Plating Co. Inc.; Allesandro Automatic Inc.; Allied Cleaning
                   26   Specialists Inc.; Allyn Transportation Co.; Altfillish Gladden; Alum-A-Coat Inc.;
                   27   Aluminum Forge Division of APP; Alumtreat Inc.; Amco Manufacturing Corp.;
                   28   American Appliance Manufacturing Corp.; American Chemical & Refining;
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                    1   American Drawn Steel; American Environmental LLC; American Marble & Onyx
                    2   Inc.; American Ocean Tile; American Pacific International Inc.; American Racing
                    3   Equipment; American Safety Equipment Co.; American Scientific Products;
                    4   American Tool & Engineering Corp.; Ameritone Paint Corp.; Ameroil; AMF
                    5   Tubescope Inc.; Anaplex Corp.; Anchor Hocking Corp.; Anchor Post Prod Inc.;
                    6   Anderson Lithograph; Andrew California Corp.; Anglass Industries; Anja
                    7   Engineering Corp.; Anodart; Anodyne Inc.; Apex Drum Co.; Apex International
                    8   Alloys; Apodaca & Sons Plating Co.; Apollo Manufacturing Co.; Appleton Electric
                    9   Co.; Applied Magnetics Corp.; Aquarius Vacuum Truck Service; Arbco
                   10   Electronics; Architectural Anodizing Inc.; Armco Steel Corp.; Armstrong Pet
                   11   Corp.; Arnold Electronics Inc.; Arrow Plating Co.; Arrowhead Mountain Spring
                   12   Water Co.; Artesia Door; Artistic Polishing & Plating Inc.; Asbestos Clean-Up &
                   13   Consultants; Asbestos Residential Blanket Number; Asbury Oil Co.; Asco Sintering
                   14   Co.; Associated Pacific; Associated Plating Co.; Astro Pak Corp.; Atlantic Oil
                   15   Company; Atlas Coverall & Supply; Atlas Fabricators; Atlas Lighting Co.; ATSF
                   16   Railway Co.; Automotive Battery Prod Co.; Aviation Power Supply; Azusa
                   17   Granite; Azusa Salvage Co.; B. & B. Pipe & Tool Co.; B. & C. Plating Co.; B. P.
                   18   John Furniture Co.; Baker Consultants Inc.; Baker Tanks; Balser Trucking; Barron
                   19   Plating Co.; Barry L. Miller Engineering Co. Inc.; Barsottis Inc.; Bay Decking Co.
                   20   Inc.; Bear Paw Mining; Beatrice Hunt Wesson Inc.; Bell Industries; Bemis Co. Inc.;
                   21   Bennett Industries; Beren Corp.; Bergandi Manufacturing Co. Inc.; Berk Oil Co.;
                   22   Bernard Epps & Co.; Berns Co.; Best Washington Uniform Supply; Bethlehem
                   23   Steel Corp.; Betty Glaser Investment Co.; Beylik Drilling; Bingo Truck Stop; Black
                   24   Oxide Industries Inc.; Blackfoot-Cherokee Energy Inc.; Bliss & Laughlin Steel Co.;
                   25   Block Oil Co.; Blue Seal Linen Supply; Bob Muller Auto; Bob's Plating; Bonanza
                   26   Aluminum Inc.; Bortz Oil Co.; Boss Uniforms; Bowman Plating Co. Inc.; Bradford
                   27   White Corp.; Brea Canyon Oil Co.; Brea High School; Bristol Industries; Brite Sol
                   28   Inc.; Brogdex Corp.; Brooks & Perkins Brownline Division; BTJ Construction;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                               COMPLAINT
   LOS ANGELES B                                                46                              2:18-CV-5810
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                    1   Buck Does It Inc.; Buds Oil Service Inc.; Bumper Shop; Bumperline Inc.; Burbank
                    2   Plating Service Corp.; Burbank Unified School District; Burke Co.; Burton Plating
                    3   Co.; C. & W. Chemicals Co. Inc.; C. E. Glass Combustion Engineering Inc.; C. M.
                    4   Dodson Oil; Cadet Uniform & Linen Supply Co.; Cal Bumper Co.; Cal Chem
                    5   Cleaning Co.; Cal Chrome; Cal Duran Inc.; Cal Ink; Cal Lift Inc.; Cal Metals; Cal
                    6   Nev Pipeline Co.; Cal Style Furniture Manufacturing Co.; Cal USA Chemical Co.;
                    7   Calbiochem-Behring Corp.; Cali-Blok; Califoil Inc.; California Carpet Co.;
                    8   California Corrugated Ind; California Finished Metals Inc.; California Metal
                    9   Enameling Co.; California Milk Producers; California Motor Express; California
                   10   Ship Building; California Target Enterprises; California Technical Plating Corp.;
                   11   Cal-Mold Inc.; Calpro Co.; Calprotech Inc.; Cal-West Circuits Inc.; Calzona
                   12   Transportation; Cannel & Chaffin Co.; Capitol Records Inc.; Capri Pumping
                   13   Service; Capro Oil Co.; Carnation Co.; Carter Precision Parts Inc.; Casden Co.;
                   14   Caspian Inc.; Cast Metal Finishing; CBC Industries; Cedargreen Refining Co.;
                   15   Cedko Electronics; Celotex Corp.; Central Industrial Engineering; Central
                   16   Insulation Corp.; Central Plants Inc.; Century Phoenix Laminators Inc.; Certified
                   17   Grocers of Cal; Chacon Chemical Corp.; Challenge Cook Bros; Champion
                   18   Chemicals Inc.; Champion Power Wash; Charles Bruning Co.; Chem Arrow Corp.;
                   19   Chem Etch Corp.; Chem West Industries Inc.; Chemical Co.; Chemical Energy;
                   20   Chemical Machining Corp.; Chemical Milling International; Chemicals Inc.;
                   21   Chemoil Refining Corp.; Chemplate Corp.; Chemron Corp.; Chemware; Chick
                   22   Sales Plating Corp.; Chino Valley Galvanizing Co.; CHP Foods; Chrome
                   23   Crankshaft Co.; Chromizing Co.; Cia Minera De Cananea SA; Cintas Uniform Co.;
                   24   Circuit Industries; Circuit One Div. of LH Research Inc.; City of Carson; City of
                   25   Hermosa Beach; City of Riverside; City of San Diego; Clarke Contracting Corp.;
                   26   Clean Steel Inc.; Cleaning Dynamics Corp.; Climax Tube Corp.; Coast Contractors;
                   27   Cognis Corp.; Collins General Contractors; Columbia Metal Finishing Inc.;
                   28   Columbine & Associates; Commercial Chemical Co. Inc.; Commercial Cleaning
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                47                               2:18-CV-5810
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                    1   Corp.; Commercial Truck Bodies; Computer Automation; Conexx Oil; Connector
                    2   Service Corp.; Conrac Corp.; Conrock Co.; Consolidated Auto; Container Supply
                    3   Co.; Contempo Furniture; Continental Chemical Corp.; Continental Forest Ind.;
                    4   Continental Polymers Inc.; Control Circuits; Control Components Inc.; Control
                    5   Plating Co. Inc.; Cooper & Brain; Cooper LA Clear Drum Co.; Corrosion
                    6   Technology Inc.; Corru-Craft II; Cosmotronics Co.; Coto De Caza Development
                    7   Corp.; Cragar Industries; Crane & Utterback Inc.; Crane-Hydroaire Division;
                    8   Crescent Transportation; Crescenta Valley Water District; Crockett Container
                    9   Corp.; Crown Zellerbach Co.; Cummins Service & Sales Inc.; Custom Chemical
                   10   Formulators; Custom Control Sensors; Custom Plating Corp.; Cut-Off Manifest;
                   11   CWOD; Cyclo Chemical Co.; Cyclone Excelsweld Co.; Torrance Tubing and
                   12   Conduit Company, formerly known as Cyprus Tubing & Conduit Co.; D. E. Calta
                   13   International; D. I. Salvo Trucking; D. W. Elliott Inc.; Daiwa Corp.; Damson Oil
                   14   Co.; Darnell Corporate Ltd.; Data Circuits Inc.; Data Products Corp.; Datron
                   15   Systems Inc.; Dave Beck; Davidson Panel Co.; Davis Investment Co.; Davis
                   16   Walker Co.; Dayglo Color Corp.; Dayton Granger Inc.; Decratrend Corp.; G.L.C.
                   17   Building Corp., formerly known as Del Amo Energy; Devoe Marine Coatings Co.
                   18   Inc.; Dial Precision Inc.; Diamond Plastics; Dibble Electronics Inc.; Diceon
                   19   Electronics Inc.; Die Cast Products Inc.; Diesel Recon Co.; Ditronics Inc.; Ditty
                   20   Drum Co.; DME Co.; Dominguez Properties; Douglas Furniture of California;
                   21   Downey Glass Co. Inc.; Drackett Co.; Draft Systems Inc.; Drilube Co.; Dubois
                   22   Chemical Co.; Dulien Enterprises; Duro Refining Smelting Inc.; Dyer He Inc.;
                   23   Dyna Plate Inc.; Dyna Shield Inc.; E. & M. Builders; East Los Angeles College;
                   24   Easton Sports Inc. Van Nuys; Eco Petroleum Inc.; Ecology Control Industries;
                   25   Edmund Grey; Eeco Inc.; El Castillo Real Restaurant; El Fab; El Monte Lead
                   26   Salvage Co. Inc.; El Monte Tool & Die; Electra Motors; Electro Adapter Inc.;
                   27   Electrotech Circuits Inc.; Electron Plating; Electronic Materials Corp.; Electronic
                   28   Plating Service Inc.; Electronic Reclamation Service; EME Corp.; Emery Industries
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                 COMPLAINT
   LOS ANGELES B                                                 48                               2:18-CV-5810
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                    1   Inc.; Energy & Environment Research Corp.; Energy Development Co. Inc.;
                    2   Energy Production & Sales; Engard Coatings Corp.; Engineered Polymer Solutions
                    3   Inc.; Environmental Control Systems Inc.; Environmentals Inc.; ESB Inc.; Eskimo
                    4   Radiator Manufacturing Co.; Estee Battery Co.; European Parts Exchange Inc.;
                    5   Everest & Jennings Co. Inc.; Exide Corp.; Fairchild Industries; Faith Plating Co.;
                    6   Fansteel Precision Sheet Metal; Farr Co.; Federated Department Stores; Fela
                    7   Precision Inc.; Fiberite West Coast Corp.; Firestone Tire & Rubber Co.; First
                    8   National Finance Corp.; Fix & Brain Vacuum Truck Service; Flask Chemical;
                    9   Fletcher Oil & Refining Co.; Flight Accessory Service; Flintkote Co.; Flying Tigers
                   10   Line; Flynns Plating Co.; Fontana Truck Wash; Forro Precision Co.; Fortin
                   11   Laminating Corp.; Foss Environmental Services Co.; Fotomat Labs Inc.; Four S.
                   12   Bakery; Four Star Chemical Co.; Four Star Disposal Co.; Franciscan Ceramics Inc.;
                   13   Frazee Industries; Freeborn Equipment Co. Inc.; Fresno Unified School District;
                   14   Frontier Commodore Inc.; Frontier Container Corp.; Fryer Knowles Corp.
                   15   Insulation Department; Fullerton Joint Union School District; G. & W. Elco ISD;
                   16   G. R. Nance Co. Inc.; G. T. Bicycles Inc.; Gaffers & Sattler Inc.; Gainey Ceramics;
                   17   Gardena Cheese; Gardena Plating Co.; Gates Admiral; Gel Industries, Inc.; General
                   18   Battery Corp.; General Chemical Corp.; Genes Plating & Spectrum Co.; Gerard
                   19   Metal Craftsmen Inc.; Gillespie Furniture Manufacturing; Gilmore Envelope Corp.;
                   20   Glass Arts; Glassteel Co.; Globe Meat Packing; Gold Pack Meat Co.; Golden West
                   21   Airlines; Golden Wool Co.; Good Tables Inc.; Goodyear Aerospace Corp.; GPS
                   22   Industries; Graphic Research Inc.; Gravure West; Gray Truck Lines; Greer
                   23   Hydraulics Inc.; Greer Products; Grefco Inc.; Gregg Industries Inc.; Grindley
                   24   Manufacturing Inc.; Grover Products Co.; Grow Group Inc.; Guaranteed Products
                   25   Inc.; H. & A. Plating Co.; H. & C. Disposal; H. H. Robertson Co.; H. Krasne
                   26   Manufacturing Co. Inc.; Hall Heat Treating Co.; Hallmark Circuits Inc.; Halstead
                   27   Enterprises; Hamilton Construction Co.; Hampton Oil Co.; Hanks Service Station
                   28   Maintenance Inc.; Harland M. Brown & Co.; Harlyn Products Inc.; Harpers of
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                 49                              2:18-CV-5810
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                    1   California; Harris Tube Inc.; Hartley Co.; Hartwell Corp.; Headnall Inc.; Heads Up
                    2   Industries; Heist Maintenance Services Inc.; Helene Curtis; Henry Soss & Co. Inc.;
                    3   Hercules Oil Co.; Herman Weissker; Hermetic Systems Inc.; Highland Plating Co.;
                    4   Hillcrest Beverly Oil Corp.; Hines Wholesale Nurseries; Hi-Production Forge Co.;
                    5   Hixson Metal Finishing; Hoffman Electronics; Homexx International Corp.; Hon
                    6   Industries; Hooker Industries; Hordis Brothers; Hoya Lens of America Inc.; Huck
                    7   Manufacturing Co.; Huffman Manufacturing Co.; Humco Products; Huntington
                    8   Signal Oil Co.; Huntington Tile Inc.; Huntmix Inc.; Hyatt Die Cast & Engineering
                    9   Corp.; Hydraulic Units Inc.; Hydrochem Industrial Services Inc.; Ibis Systems Inc.;
                   10   ICN Pharmaceuticals; Ideal Uniform; IMCO Container; Imperial Metals Corp. of
                   11   America; Inca Products Co.; Inco United States Inc.; Industrial Circuits; Industrial
                   12   Insulators & Supply Inc.; Industrial International Corp.; Industrial Rubber Cement
                   13   Co. Inc.; Industrial Steel Treating Co.; Industrial Tectonics Bearings; Industrial
                   14   Uniform; Industrial Waste Engineering; Industrial Wire Corp.; Inglewood Unified
                   15   School District; Inland Container Corp.; Inland Shopping Center; Innovated
                   16   Electronics; International Decoratives Inc.; International Electronic Research Corp.;
                   17   International Extrusion Corp.; International Polymer Corp.; Interweb; Investment
                   18   Recovery Services Inc.; Isaac Cohen & Son Metals; ITT Courier Terminal Systems
                   19   Inc.; J. & S. Chrome Plating Co. Inc.; J. & S. Laboratories Inc.; J. C. Inc.; J. L.
                   20   Jones & Co.; J. L. Manta Plant Services; J. W. Carrol & Sons; Jacat Oil Co.; Jack
                   21   Cline; James Jones Co. Inc.; Jay Die Casting; Jaybee Manufacturing Corp.; JCX;
                   22   Jenkins Oil Co. Inc.; Jennings Plating Co. Inc.; Jerrald Properties; Jerry Goodwill;
                   23   Jersey Maid Milk Products Inc.; Jetronic Industries Inc.; JMB Property
                   24   Management; John D. Lusk & Sons; Johnston Pump Co.; Jones Chemical Co.;
                   25   Jorco Inc.; Joy Petroleum Equipment; K. L. Redfern Construction Co.; Kaiser
                   26   Aerospace; Kaiser Pipes & Casing; Kaiser Rollmet Inc.; Kay Brunner; Kaynar
                   27   Manufacturing Co.; Keeco; Keller Street Development Co.; Kelley Manufacturing
                   28   Co.; Kelly Moore Paint Co.; Ken-Air Inc.; Kenetex Chemicals; Kenosha Auto
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
   LOS ANGELES B                                                  50                                2:18-CV-5810
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                    1   Transport; Kern Foods Inc.; Kern Union High School District; Ketema Aluminum
                    2   Extrusion; Keuffel & Esser Co.; Keystone Products Inc.; Kimco Manufacturing
                    3   Inc.; Kinsbursky Brothers Supply Inc.; Kirkhill Inc.; Kleer Pak; KLM Oil Co.;
                    4   Knape & Vogt Manufacturing; Knudsen Corp.; Koboway; Koch Asphalt Co. Oil;
                    5   Koppers Co. Inc.; Korody Colyer Corp.; Krazy Glue Inc.; Kulberg Development
                    6   Corp.; L. & L. Tank Lines Inc.; La Fon Equipment Co.; LA Screw Products; La
                    7   Victoria Foods; Labricating Specialties; Lackawanna Leather; Lakewood Oil
                    8   Service Inc.; Lambda Electronics Inc.; Lamin Arts; Lamination Technology Inc.;
                    9   Langlois Flour Co.; Lansco Die Casting Inc.; Larry Fricker Co. Inc.; Latchford
                   10   Glass Co.; Le Fiell Manufacturing Co.; Leach Corp.; Lear Siegler Inc.; Lee
                   11   Pharmaceuticals Bronco Enterprises; Lewis Foods; Libbey Glass Inc.; Libbonia
                   12   West; Life Paint Corp.; Lightolier West; Lilly Industrial Coatings Inc.; Liquid
                   13   Waste Management; Lockhart Industries; Long & Co.; Long Beach Fabricators
                   14   Inc.; Long Beach Oil Development Co.; Long Beach Plating Co.; Long Beach
                   15   Unified School District; Los Angeles Gauge Co.; Los Angeles Plating Co.; Los
                   16   Angeles Screw Products Inc.; Los Angeles Tanning Co.; Los Angeles Unified
                   17   School District; Lube Co. Inc.; Lubrication Co. of America; Lucky Stores Inc.;
                   18   Lumidor Manufacturing Co.; Lundeen Rail Car Repair Service; Lyco Food
                   19   Products; Lyle Van Patten Co. Inc.; M. P. McCaffrey Inc.; M. Slayen & Associates;
                   20   M. V. Japan Canela; Macdermid Printing Solutions; Mack Trucks Inc.; Macmillan
                   21   Oil Co.; Magna Mill Prod.; Maness Excavating; Manta Plant Services Co.; Marbeth
                   22   Chemical Co.; Marco Chemical Co.; Marcrest Pacific Co. Inc.; Marina Pacifica;
                   23   Mark Industries; Marlex Oil& Refining Inc.; Marmac Resource Co.; Marquadt Co.;
                   24   Marquis Industries; Marten Management Co.; Mask-Off Co.; Master Fence
                   25   Fittings; Master Products Manufacturing Co.; Matrix Science Corp.; Matson
                   26   Terminals; Maxwell Laboratories Inc.; May Co.; Mayon Foods; MCA
                   27   Laboratories; McAlmond Oil & Gas; McAuley Oil Co.; McCalla Brothers Drilling;
                   28   McCulloch Corp.; McCurdy Circuits; McGean Chemical Co.; McGill Corp.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                51                               2:18-CV-5810
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                    1   McKay Chemical Co.; McMahon Development; McNottingham Co. of Southern
                    2   California; Mercury Air Center; Merel Co. Inc.; Merit Oil Co.; Metal Box Can;
                    3   Metal Surfaces Inc.; Metal Treaters Inc.; Metlox Pottery; Metropolitan Distribution
                    4   Centers Inc.; Metropolitan Wire; Metropolitan Circuits Inc.; MGF Industries; Mica
                    5   Corp.; Miller Brewing Co.; Miller Dial Corp.; Milo Equipment Co.; Mission
                    6   Plating Co.; Modern Coatings Inc.; Modern Plating Co.; Modine Manufacturing
                    7   Co.; Mola Development Inc.; Monarch Mirror Door Co.; Monitor Plating &
                    8   Anodizing; Monogram/Peacock Manufacturing; Motor Processors Inc.; MPC
                    9   Industries; Mustang Equipment Co.; N. L. Industries; Namolco Inc.; Nardon
                   10   Manufacturing Co. Inc.; Narmco Materials Inc.; National Metal & Steel Corp.;
                   11   National Paint & Varnish Co. Inc.; National Semiconductor Corp.; National
                   12   Standard Co.; National Technology; Nattier Manufacturing Co.; Nelco Oil Refining
                   13   Corp.; Nelson Name Plate Co.; New Fashion Cleaners; Newark Sierra Paperboard
                   14   Corp.; Newhall Refining Co. Inc.; Newport Electronics Inc.; Nippondenso of Los
                   15   Angeles; Norac Co.; Nordskog Co. Inc.; Norman High Demolition; North
                   16   American Car Corp.; Northern Telecom; Norton & Son of California Inc.; Now
                   17   Construction Corp.; Nu Way Plating Co. Inc.; Oakite Products Inc.; Occidental
                   18   Coating Co.; O’Donnell Oil Co.; Oil Base Inc.; Oil Co.; Oilfields Trucking Co.;
                   19   Old Quaker Paint Co.; Olmstead Trucking; Olympic Plating & Polishing Inc.;
                   20   Omar Industries; Omega Oil Co. Inc.; Ontario Auto Truck Plaza; Orange Co.
                   21   Machine Works; Orange Coast Plating Inc.; Orange County Dust Control Inc.;
                   22   Orange County Electronics Corp.; Orange Heights Orange Association; Orange
                   23   Precision Circuits; Orchids Paper Products Co.; Oryx Energy Company; Ozalid
                   24   Corp.; Ozite Corporation; P. C. World Orange County; P. W. Stephens Contractors
                   25   Inc.; Pabst Brewing Co.; Pacific Airmotive Corp.; Pacific Building Management
                   26   Inc.; Pacific Coast Warehouse Corp.; Pacific Electricord Co.; Pacific Engine;
                   27   Pacific Financial Center; Pacific Intermountain Express; Pacific Oasis; Pacific
                   28   Precision Metals; Pacific Press; Pacific Southwest Airlines; Pacific Treatment
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                 52                              2:18-CV-5810
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                    1   Corp.; Pacific Tube Co.; Pacific Vacuum Truck Co.; Pacific Valves; Pacifica
                    2   Plating Inc.; Packaging Corp. of America; Pactra Co.; Paint & Coatings Corp.;
                    3   Palace Plating Co.; Pan Western Oil Co.; Panel Air Corp.; Paramount Petroleum
                    4   Corp.; Park Metal Co.; Parsley & Kennedy; Pascoe Building Systems; Pasha
                    5   Industries; Pauley Petroleum Co.; PCA Metal Finishing Inc.; Peairs Engineers;
                    6   Pease & Curren Reliable Recovery Inc.; Peat Manufacturing Co.; Penetone Corp.;
                    7   Pepper Industries Inc.; Perlite Processing; Permalab Equipment Corp.; Pervo Paint
                    8   Co.; Peterson Manufacturing Co. Inc.; Peterson Puritan Inc.; Petro Lewis Corp.;
                    9   Petrochemicals Co. Inc.; Petroleum Contractors Inc.; PGP Industries Inc.;
                   10   Phototron Corp.; Pichel Industries Inc.; Pilot Chemical of California; Plastic
                   11   Materials Inc.; Poly Disc System Inc.; Polycarbon Inc.; Polyester Hutco Group;
                   12   Polymer Development Labs Inc.; Post Transportation Co.; Power One Inc.;
                   13   Powerline Sales; Pratt & Lambert Paint Inc.; Pre Delivery Service; Pre Recording
                   14   Co.; Precipitator Inc.; Precision Anodizing & Plating Inc.; Precision Heat Treating
                   15   Co.; Premiere Alum. Prod. Inc.; President Lincoln; Prime Measurement Products
                   16   LLC; Process Technology Co.; Production Plating Co.; Products Engineering
                   17   Corp.; Products Research & Chemical Corp.; Proto Tool; Prototech Circuitry; PSI
                   18   West; Punch Press Products; Purex Corp.; PVO International; Pyro Engineering;
                   19   Quality Aluminum Forge Co.; Quality Farms; Quality Metal Finishing Co.; Quality
                   20   Sprayers Inc.; Quintec Manufacturing Co.; R. & D. Latex Co.; R. & E. Plating Co.;
                   21   R. & R. Industrial Waste Haulers Inc.; R. G. Wallace Co. Inc.; Rainbow Trucking
                   22   Co.; Ralph M. Parsons Co.; Ralphs Grocery Co.; Raybestos Manhattan; Real
                   23   Property West Inc.; Rebel Oil Co. Inc.; Redi-Strip Co. Inc.; Redken Laboratories
                   24   Inc.; Redondo Oil Co.; Refiners Marketing Co.; Register Properties Inc.; Rehrig
                   25   Pacific; Reisner Metals; Reliable Recovery Inc.; Reliance Universal Inc.; Renu
                   26   Plating Co. Inc.; Replacement Parts Manufacturing; Revere Extruders Inc.; Rex
                   27   Precision Products Inc.; Rexart Corp.; Rheem Metals Inc.; Rho Chem Corp.; RHS
                   28   Carpet Mill; Richardson & Holland; Richlynn Technology Inc.; Rinchem Co. Inc.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                 COMPLAINT
   LOS ANGELES B                                                 53                               2:18-CV-5810
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                    1   Riverside Cement Co.; Robert Keith & Co. Inc.; Roberts Consolidated Industries
                    2   Inc.; Roberts Manufacturing Co.; Rocket Industries; Rodding Cleaning Service;
                    3   Roehl Disposal Services; Rohrig Brothers; Ronald M. Jones; Ronson Hydraulic
                    4   Corp.; Rose Hills Memorial Park Association; Rosens Elect. Equip. Co.; Rotary
                    5   Offset Printers; Routh Transportation; Royal Aluminum Co.; Royal Plating Works;
                    6   Rupes Hydraulics; Russell Burdsall & Ward Inc.; Rutherford Oil Co.; S. E. Rykoff
                    7   & Co.; S. Rose Cooperage; S. T. & I. Inc.; Safetran Systems Corp.; Saint Joseph
                    8   Hospital; Sals Plating; San Diego Pipe Line Co.; San Fernando Electric
                    9   Manufacturing Co.; San Fernando Laboratories; Santa Ana Diesel; Santa Monica
                   10   College; Sargent Fletcher Inc.; Sargent Industries Inc.; Schlitz Brewing Co.;
                   11   Schroeder Tool & Die Corp.; Scovill Inc.; SCS Industries; Sea Land Service Inc.;
                   12   Sea Lift Maritime; Sealright Co. Inc.; Security Environmental Systems; Service
                   13   Chemical Co.; Shafco Industries Inc.; Shasta Pan Oil Co.; Shoring Engineers;
                   14   Sierra Pacific Container Corp.; Sierracin Thermal System; Silicon Systems;
                   15   Simpson Paper Co.; Sinclair Paint; Singer Aerospace; Snow Summit Ski Corp.;
                   16   Soabar Co.; SoCal Finishing Co.; Southern California Waste Reduction; Soule
                   17   Steel Co.; South Coast County Water District; South West Forest Products;
                   18   Southern California Drum Co.; Southern California Chemicals; Southwest Aircraft
                   19   Services; Southwest Metal Co.; Southwest Petro Chemical; Southwest Processors
                   20   Inc.; Southwest Steel Rolling Mills; Southwestern Alloys Inc.; Southwestern
                   21   Engineering; Space Ordinance Systems; Specific Plating Co. Inc.; Spectrum
                   22   Chemical Manufacturing Inc.; Spirit Silkscreen; SSP Construction Equipment Inc.;
                   23   Sta Rite Industries Inc.; Standard Brands Paint Co. Inc.; Standard Concrete;
                   24   Standard Crankshaft Inc.; Standard Felt Co.; Standard Industrial Towel & Uniform;
                   25   Standard Nickel Chromium Plating; Standun Inc.; Stang Hydronics; Stanley Door
                   26   Systems; Stanton Construction; Star Nameplate Co.; Statek Corp.; Statewide
                   27   Environmental Services; Stephen C. Groat Development; Steponovich & Long;
                   28   Steverson Bros; Stinnes Western Chemical Corp.; Stutzman Plating; Summit Ink
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                 54                              2:18-CV-5810
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                    1   Co.; Summit Lighthouse; Sun Exploration; Super Tech; Superchrome Engineering
                    2   Co.; Superior Industrial Pumping; Superior Pacific Galvanizing Co.; Superior
                    3   Plating; Synres Chemical Corp.; Systems Furniture Co.; T. P. Hearne Co.; T. P.
                    4   Industrial Inc.; Tac Aluminum Processing; Tapmatic Corp.; Target Chemical Co.;
                    5   Tarnutzer Venture; Teal Industries; Technibilt Corp.; Ted Levine Drum; Tenneco
                    6   Oil Co.; Teradyne; Texas Instruments Inc.; Texas Polymers; Textured Coatings;
                    7   TGI Fridays; Thatcher Glass; Thompson Tank Construction; Thrifty Mart Co.;
                    8   Thrifty Oil Co.; Timco; Times Mirror Press; Tiodize Co. Inc.; Titech International
                    9   Inc.; TMC Properties LLC; Tomadur Engine; Tool & Jig Plating; Tooley & Co.
                   10   Inc.; Torrance Business Park; Trans Harbor Service; Transequip Pacific Inc.; TRE
                   11   Corp.; Treatolite Corp.; Trent Tube Co.; Trewax Co.; Triad Marine & Industrial
                   12   Cleaning; Trico Industries Inc.; Tri-County Insulation Co. Inc.; Trimm Industries;
                   13   Trizec Properties; Trojan Battery Co.; Truck Transport; Trumbull Asphalt Co.;
                   14   Tubing Seal Cap Co.; U.S. Borax & Chemical Corp.; U.S. Brass Division; U.S.
                   15   Filters; U.S. Reduction Co.; Union Manufacturing Co.; Union Packing; Union
                   16   Tribune Publishing Co.; United Coatings Inc.; United Foam Corp.; Unitog Rental
                   17   Services Inc.; Universal Circuits Inc.; Universal Paint Corp.; Universal Propulsion
                   18   Co.; USA Petroleum; Val Circuits Inc.; Valco; Valentec International Corp.; Valley
                   19   Brake Bond Co. Inc.; Valley Friction Materials; Van De Kamp; Van Der Horst
                   20   Corp.; Vantico A. & T. US Inc.; Ventura Transfer Co.; Vernon Leather Co.;
                   21   Visitron Corp.; Vista Metals Corp.; Voi Shan; Vons Companies Inc.; W. L.
                   22   Chapman Co.; W. S. Hatch Co.; W. Smith Co.; W. W. Henry Co.; W. W. Irwin
                   23   Co.; Wadco; Warners Dead Stock; Waterfront Services; Waymire Drum Co. Inc.;
                   24   Weber Aircraft; Weber Metals Inc.; Welchs Uniform; Well Tech Inc.; Wells
                   25   Marine Inc.; Wescal Industries; Wesco Products; Weslock Corp.; West American
                   26   Rubber; West Valley Toyota; Western Circuits; Western Dyeing & Finishing;
                   27   Western Electroplating Inc.; Western Fuel Oil Co.; Western Galvanizing Co.;
                   28   Western Kraft Corp.; Western Lithograph; Western Oil & Refining Co. Inc.;
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                COMPLAINT
   LOS ANGELES B                                                55                               2:18-CV-5810
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                    1   Western Rebuilder Inc.; Western Specialty Coatings Co.; Western States Refining;
                    2   Western Synthetic Felt Co.; Western Wheel Manufacturing Co.; Westminster
                    3   Ceramics Inc.; Westway Terminal Co. Inc.; Wheel Service Group Inc.; Whitcomb
                    4   Plating Inc.; Whiteworth Inc.; Whitfield Tank Lines; Whittaker Corp.; Whittier
                    5   Chrome & Plating; Wilcor Inc.; Wilmington Liquid Bulk; Wilshire Industries;
                    6   Winchester Inn; Windowmaster Products; Winonics Inc.; Wyndham Manufacturing
                    7   Co. Inc.; Wynn Oil Co.; Xidex Corp.; Yoplait USA; Zapata Construction Inc.; Zero
                    8   Corp.; Zim Container; Zimmers Truck Stop; Zolatone Process Inc.; Zonver
                    9   Drilling; and Does 1-10.
                   10         61.    According to historical BKK Corp. records, Defendant 1700 Santa Fe
                   11   Ltd contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant 1700 Santa Fe Ltd generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   1700 Santa Fe Ltd has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         62.    According to historical BKK Corp. records, Defendant A & E Plastics
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that A & E Plastics Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, A & E Plastics Co
                   21   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   22   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         63.    According to historical BKK Corp. records, Defendant A & H Plating
                   24   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant A & H Plating Inc.
                   26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   27   Defendant A & H Plating Inc. has not incurred any response costs at the BKK Class
                   28
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    2   the BKK Class I Facility.
                    3          64.   According to historical BKK Corp. records, Defendant A & Z
                    4   Decasing Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant A & Z Decasing
                    6   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant A & Z Decasing Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          65.   According to historical BKK Corp. records, Defendant A. B. Dick Co.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant A. B. Dick Co. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant A. B.
                   14   Dick Co. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          66.   According to historical BKK Corp. records, Defendant A. C. Barrel &
                   18   Drum contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant A. C. Barrel & Drum
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant A. C. Barrel & Drum has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          67.   According to historical BKK Corp. records, Defendant A. D. Service
                   25   Publications contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant A. D. Service
                   27   Publications generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant A. D. Service Publications has not incurred any response costs
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    2   by the Plaintiffs at the BKK Class I Facility.
                    3         68.    According to historical BKK Corp. records, Defendant A. J. Daw
                    4   Printing Ink Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant A. J. Daw
                    6   Printing Ink Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant A. J. Daw Printing Ink Corp. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         69.    According to historical BKK Corp. records, Defendant A. L. Larson
                   11   Boat Shop contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant A. L. Larson
                   13   Boat Shop generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant A. L. Larson Boat Shop has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         70.    According to historical BKK Corp. records, Defendant Aamco
                   18   Transmissions contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Aamco
                   20   Transmissions generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Aamco Transmissions has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24         71.    According to historical BKK Corp. records, Defendant Abbott Power
                   25   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Abbott Power Corp.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Abbott Power Corp. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
   LOS ANGELES B                                                  58                                2:18-CV-5810
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          72.   According to historical BKK Corp. records, Defendant Accent General
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Accent General generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Accent
                    7   General has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          73.   According to historical BKK Corp. records, Defendant Accurate
                   11   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Accurate Plating
                   13   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Accurate Plating Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          74.   According to historical BKK Corp. records, Defendant Ace Industries
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Ace Industries generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ace
                   21   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          75.   According to historical BKK Corp. records, Defendant Ace Plating
                   25   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Ace Plating Co. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Ace Plating Co. has not incurred any response costs at the BKK Class I Facility nor
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                   59                                2:18-CV-5810
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          76.   According to historical BKK Corp. records, Defendant Acme General
                    4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Acme General Corp.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Acme General Corp. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          77.   According to historical BKK Corp. records, Defendant Action
                   11   Computer Products Inc. contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Action
                   13   Computer Products Inc. generated and/or arranged for its disposal at the BKK Class
                   14   I Facility. To date, Defendant Action Computer Products Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17          78.   According to historical BKK Corp. records, Defendant Adohr Farms
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Adohr Farms generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Adohr
                   21   Farms has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          79.   According to historical BKK Corp. records, Defendant Advance
                   25   Galvanizing Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Advance
                   27   Galvanizing Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Advance Galvanizing Co. has not incurred any
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                   60                                2:18-CV-5810
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         80.    According to historical BKK Corp. records, Defendant Advance Gear
                    4   & Machine Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Advance Gear &
                    6   Machine Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Advance Gear & Machine Corp. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         81.    According to historical BKK Corp. records, Defendant Advance Pipe
                   11   Products contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Advance Pipe
                   13   Products generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Advance Pipe Products has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         82.    According to historical BKK Corp. records, Defendant Advanced
                   18   Coating Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Advanced
                   20   Coating Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Advanced Coating Inc. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         83.    According to historical BKK Corp. records, Defendant Advanced
                   25   Environmental Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Advanced
                   27   Environmental Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Advanced Environmental Inc. has not incurred any
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          84.   According to historical BKK Corp. records, Defendant Aeroquip Corp.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Aeroquip Corp. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Aeroquip
                    7   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          85.   According to historical BKK Corp. records, Defendant Aeroscientific
                   11   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Aeroscientific Corp.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Aeroscientific Corp. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          86.   According to historical BKK Corp. records, Defendant Aerosol
                   18   Services Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Aerosol Services
                   20   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Aerosol Services Co. Inc. has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          87.   According to historical BKK Corp. records, Defendant Aetna Metals
                   25   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Aetna Metals Co. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Aetna Metals Co. has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                   62                                2:18-CV-5810
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          88.   According to historical BKK Corp. records, Defendant Air Industries
                    4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Air Industries Corp.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Air Industries Corp. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          89.   According to historical BKK Corp. records, Defendant Airco Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Airco Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Airco
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          90.   According to historical BKK Corp. records, Defendant Airstream of
                   18   CA contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Airstream of CA generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Airstream of CA has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          91.   According to historical BKK Corp. records, Defendant Ajax Hardware
                   25   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Ajax Hardware Corp.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Ajax Hardware Corp. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                   63                                2:18-CV-5810
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         92.    According to historical BKK Corp. records, Defendant Albert Van
                    4   Luit & Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Albert Van Luit
                    6   & Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Albert Van Luit & Co. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         93.    According to historical BKK Corp. records, Defendant Alcan
                   11   Aluminum Corp. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Alcan Aluminum
                   13   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Alcan Aluminum Corp. has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         94.    According to historical BKK Corp. records, Defendant Alco Cad
                   18   Nickel Plating Corp. contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Alco Cad
                   20   Nickel Plating Corp. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Alco Cad Nickel Plating Corp. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         95.    According to historical BKK Corp. records, Defendant Alco Well
                   25   Service Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Alco Well
                   27   Service Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Alco Well Service Inc. has not incurred any response costs at
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3          96.   According to historical BKK Corp. records, Defendant AlCo-Gravure
                    4   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant AlCo-Gravure Inc.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant AlCo-Gravure Inc. has not incurred any response costs at the BKK Class
                    8   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10          97.   According to historical BKK Corp. records, Defendant Alflex Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Alflex Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Alflex
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          98.   According to historical BKK Corp. records, Defendant ALL Metals
                   18   Processing Co Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant ALL Metals
                   20   Processing Co Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant ALL Metals Processing Co Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          99.   According to historical BKK Corp. records, Defendant ALL Valley
                   25   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant ALL Valley
                   27   Plating Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant ALL Valley Plating Co. Inc. has not incurred any
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         100. According to historical BKK Corp. records, Defendant Allesandro
                    4   Automatic Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Allesandro
                    6   Automatic Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Allesandro Automatic Inc. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         101. According to historical BKK Corp. records, Defendant Allied
                   11   Cleaning Specialists Inc. contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Allied
                   13   Cleaning Specialists Inc. generated and/or arranged for its disposal at the BKK
                   14   Class I Facility. To date, Defendant Allied Cleaning Specialists Inc. has not
                   15   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   16   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         102. According to historical BKK Corp. records, Defendant Allyn
                   18   Transportation Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Allyn
                   20   Transportation Co. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Allyn Transportation Co. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         103. According to historical BKK Corp. records, Defendant Altfillish
                   25   Gladden contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Altfillish Gladden generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Altfillish Gladden has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         104. According to historical BKK Corp. records, Defendant Alum-A-Coat
                    4   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Alum-A-Coat Inc. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Alum-A-Coat Inc. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         105. According to historical BKK Corp. records, Defendant Aluminum
                   11   Forge Division of APP contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Aluminum
                   13   Forge Division of APP generated and/or arranged for its disposal at the BKK Class
                   14   I Facility. To date, Defendant Aluminum Forge Division of APP has not incurred
                   15   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   16   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         106. According to historical BKK Corp. records, Defendant Alumtreat Inc.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Alumtreat Inc. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Alumtreat
                   21   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         107. According to historical BKK Corp. records, Defendant Amco
                   24   Manufacturing Corp. contributed manifested waste to the BKK Class I Facility.
                   25   This manifested waste contained Hazardous Substances that Defendant Amco
                   26   Manufacturing Corp. generated and/or arranged for its disposal at the BKK Class I
                   27   Facility. To date, Defendant Amco Manufacturing Corp. has not incurred any
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
   LOS ANGELES B                                                  67                                2:18-CV-5810
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         108. According to historical BKK Corp. records, Defendant American
                    4   Appliance Manufacturing Corp. contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   American Appliance Manufacturing Corp. generated and/or arranged for its
                    7   disposal at the BKK Class I Facility. To date, Defendant American Appliance
                    8   Manufacturing Corp. has not incurred any response costs at the BKK Class I
                    9   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   10   the BKK Class I Facility.
                   11         109. According to historical BKK Corp. records, Defendant American
                   12   Chemical & Refining contributed manifested waste to the BKK Class I Facility.
                   13   This manifested waste contained Hazardous Substances that Defendant American
                   14   Chemical & Refining generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant American Chemical & Refining has not incurred any
                   16   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   17   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   18         110. According to historical BKK Corp. records, Defendant American
                   19   Drawn Steel contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant American Drawn
                   21   Steel generated and/or arranged for its disposal at the BKK Class I Facility. To
                   22   date, Defendant American Drawn Steel has not incurred any response costs at the
                   23   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25         111. According to historical BKK Corp. records, Defendant American
                   26   Environmental LLC contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant American
                   28   Environmental LLC generated and/or arranged for its disposal at the BKK Class I
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                    1   Facility. To date, Defendant American Environmental LLC has not incurred any
                    2   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    3   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4         112. According to historical BKK Corp. records, Defendant American
                    5   Marble & Onyx Inc. contributed manifested waste to the BKK Class I Facility. This
                    6   manifested waste contained Hazardous Substances that Defendant American
                    7   Marble & Onyx Inc. generated and/or arranged for its disposal at the BKK Class I
                    8   Facility. To date, Defendant American Marble & Onyx Inc. has not incurred any
                    9   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   10   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         113. According to historical BKK Corp. records, Defendant American
                   12   Ocean Tile contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant American Ocean
                   14   Tile generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant American Ocean Tile has not incurred any response costs at the BKK
                   16   Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18         114. According to historical BKK Corp. records, Defendant American
                   19   Pacific International Inc. contributed manifested waste to the BKK Class I Facility.
                   20   This manifested waste contained Hazardous Substances that Defendant American
                   21   Pacific International Inc. generated and/or arranged for its disposal at the BKK
                   22   Class I Facility. To date, Defendant American Pacific International Inc. has not
                   23   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   24   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   25         115. According to historical BKK Corp. records, Defendant American
                   26   Racing Equipment contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant American
                   28   Racing Equipment generated and/or arranged for its disposal at the BKK Class I
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                    1   Facility. To date, Defendant American Racing Equipment has not incurred any
                    2   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    3   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4         116. According to historical BKK Corp. records, Defendant American
                    5   Safety Equipment Co. contributed manifested waste to the BKK Class I Facility.
                    6   This manifested waste contained Hazardous Substances that Defendant American
                    7   Safety Equipment Co. generated and/or arranged for its disposal at the BKK Class I
                    8   Facility. To date, Defendant American Safety Equipment Co. has not incurred any
                    9   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   10   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         117. According to historical BKK Corp. records, Defendant American
                   12   Scientific Products contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant American
                   14   Scientific Products generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant American Scientific Products has not incurred any
                   16   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   17   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   18         118. According to historical BKK Corp. records, Defendant American Tool
                   19   & Engineering Corp. contributed manifested waste to the BKK Class I Facility.
                   20   This manifested waste contained Hazardous Substances that Defendant American
                   21   Tool & Engineering Corp. generated and/or arranged for its disposal at the BKK
                   22   Class I Facility. To date, Defendant American Tool & Engineering Corp. has not
                   23   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   24   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   25         119. According to historical BKK Corp. records, Defendant Ameritone
                   26   Paint Corp. contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Ameritone Paint
                   28   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
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                    1   date, Defendant Ameritone Paint Corp. has not incurred any response costs at the
                    2   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4          120. According to historical BKK Corp. records, Defendant Ameroil
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Ameroil generated and/or arranged
                    7   for its disposal at the BKK Class I Facility. To date, Defendant Ameroil has not
                    8   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    9   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          121. According to historical BKK Corp. records, Defendant AMF
                   11   Tubescope Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant AMF Tubescope
                   13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant AMF Tubescope Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          122. According to historical BKK Corp. records, Defendant Anaplex Corp.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Anaplex Corp. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Anaplex
                   21   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          123. According to historical BKK Corp. records, Defendant Anchor
                   25   Hocking Corp. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Anchor Hocking
                   27   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Anchor Hocking Corp. has not incurred any response costs at the
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         124. According to historical BKK Corp. records, Defendant Anchor Post
                    4   Prod Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Anchor Post
                    6   Prod Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Anchor Post Prod Inc. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         125. According to historical BKK Corp. records, Defendant Anderson
                   11   Lithograph contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Anderson
                   13   Lithograph generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Anderson Lithograph has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         126. According to historical BKK Corp. records, Defendant Andrew
                   18   California Corp. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Andrew
                   20   California Corp. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Andrew California Corp. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24         127. According to historical BKK Corp. records, Defendant Anglass
                   25   Industries contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Anglass
                   27   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Anglass Industries has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         128. According to historical BKK Corp. records, Defendant Anja
                    4   Engineering Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Anja
                    6   Engineering Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Anja Engineering Corp. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         129. According to historical BKK Corp. records, Defendant Anodart
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Anodart generated and/or arranged
                   13   for its disposal at the BKK Class I Facility. To date, Defendant Anodart has not
                   14   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   15   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         130. According to historical BKK Corp. records, Defendant Anodyne Inc.
                   17   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   18   contained Hazardous Substances that Defendant Anodyne Inc. generated and/or
                   19   arranged for its disposal at the BKK Class I Facility. To date, Defendant Anodyne
                   20   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   21   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         131. According to historical BKK Corp. records, Defendant Apex Drum
                   23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Apex Drum Co. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Apex Drum Co. has not incurred any response costs at the BKK Class I Facility nor
                   27   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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                    1         132. According to historical BKK Corp. records, Defendant Apex
                    2   International Alloys contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Apex
                    4   International Alloys generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Apex International Alloys has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         133. According to historical BKK Corp. records, Defendant Apodaca &
                    9   Sons Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Apodaca & Sons
                   11   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Apodaca & Sons Plating Co. has not incurred any response
                   13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   14   incurred by the Plaintiffs at the BKK Class I Facility.
                   15         134. According to historical BKK Corp. records, Defendant Apollo
                   16   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Apollo
                   18   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Apollo Manufacturing Co. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         135. According to historical BKK Corp. records, Defendant Appleton
                   23   Electric Co. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Appleton
                   25   Electric Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Appleton Electric Co. has not incurred any response costs at the
                   27   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1         136. According to historical BKK Corp. records, Defendant Applied
                    2   Magnetics Corp. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Applied
                    4   Magnetics Corp. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Applied Magnetics Corp. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         137. According to historical BKK Corp. records, Defendant Aquarius
                    9   Vacuum Truck Service contributed manifested waste to the BKK Class I Facility.
                   10   This manifested waste contained Hazardous Substances that Defendant Aquarius
                   11   Vacuum Truck Service generated and/or arranged for its disposal at the BKK Class
                   12   I Facility. To date, Defendant Aquarius Vacuum Truck Service has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         138. According to historical BKK Corp. records, Defendant Arbco
                   16   Electronics contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Arbco
                   18   Electronics generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Arbco Electronics has not incurred any response costs at the
                   20   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         139. According to historical BKK Corp. records, Defendant Architectural
                   23   Anodizing Inc. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Architectural
                   25   Anodizing Inc. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Architectural Anodizing Inc. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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                    1         140. According to historical BKK Corp. records, Defendant Armco Steel
                    2   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Armco Steel Corp.
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Armco Steel Corp. has not incurred any response costs at the BKK Class
                    6   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    7   the BKK Class I Facility.
                    8         141. According to historical BKK Corp. records, Defendant Armstrong Pet
                    9   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Armstrong Pet Corp.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Armstrong Pet Corp. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         142. According to historical BKK Corp. records, Defendant Arnold
                   16   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Arnold
                   18   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Arnold Electronics Inc. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22         143. According to historical BKK Corp. records, Defendant Arrow Plating
                   23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Arrow Plating Co. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Arrow Plating Co. has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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                    1         144. According to historical BKK Corp. records, Defendant Arrowhead
                    2   Mountain Spring Water Co. contributed manifested waste to the BKK Class I
                    3   Facility. This manifested waste contained Hazardous Substances that Defendant
                    4   Arrowhead Mountain Spring Water Co. generated and/or arranged for its disposal
                    5   at the BKK Class I Facility. To date, Defendant Arrowhead Mountain Spring Water
                    6   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    7   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         145. According to historical BKK Corp. records, Defendant Artesia Door
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Artesia Door generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Artesia
                   12   Door has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14         146. According to historical BKK Corp. records, Defendant Artistic
                   15   Polishing & Plating Inc. contributed manifested waste to the BKK Class I Facility.
                   16   This manifested waste contained Hazardous Substances that Defendant Artistic
                   17   Polishing & Plating Inc. generated and/or arranged for its disposal at the BKK
                   18   Class I Facility. To date, Defendant Artistic Polishing & Plating Inc. has not
                   19   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   20   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   21         147. According to historical BKK Corp. records, Defendant Asbestos
                   22   Clean-Up & Consultants contributed manifested waste to the BKK Class I Facility.
                   23   This manifested waste contained Hazardous Substances that Defendant Asbestos
                   24   Clean-Up & Consultants generated and/or arranged for its disposal at the BKK
                   25   Class I Facility. To date, Defendant Asbestos Clean-Up & Consultants has not
                   26   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   27   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1         148. According to historical BKK Corp. records, Defendant Asbestos
                    2   Residential Blanket Number contributed manifested waste to the BKK Class I
                    3   Facility. This manifested waste contained Hazardous Substances that Defendant
                    4   Asbestos Residential Blanket Number generated and/or arranged for its disposal at
                    5   the BKK Class I Facility. To date, Defendant Asbestos Residential Blanket Number
                    6   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    7   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         149. According to historical BKK Corp. records, Defendant Asbury Oil Co.
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Asbury Oil Co. generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Asbury Oil
                   12   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14         150. According to historical BKK Corp. records, Defendant Asco Sintering
                   15   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   16   waste contained Hazardous Substances that Defendant Asco Sintering Co.
                   17   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   18   Defendant Asco Sintering Co. has not incurred any response costs at the BKK Class
                   19   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   20   the BKK Class I Facility.
                   21         151. According to historical BKK Corp. records, Defendant Associated
                   22   Pacific contributed manifested waste to the BKK Class I Facility. This manifested
                   23   waste contained Hazardous Substances that Defendant Associated Pacific generated
                   24   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   25   Associated Pacific has not incurred any response costs at the BKK Class I Facility
                   26   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   27   Class I Facility.
                   28
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                    1         152. According to historical BKK Corp. records, Defendant Associated
                    2   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Associated
                    4   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Associated Plating Co. has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8         153. According to historical BKK Corp. records, Defendant Astro Pak
                    9   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Astro Pak Corp. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Astro Pak Corp. has not incurred any response costs at the BKK Class I Facility nor
                   13   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         154. According to historical BKK Corp. records, Defendant Atlantic Oil
                   16   Company contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Atlantic Oil
                   18   Company generated and/or arranged for its disposal at the BKK Class I Facility. To
                   19   date, Defendant Atlantic Oil Company has not incurred any response costs at the
                   20   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility
                   22         155. According to historical BKK Corp. records, Defendant Atlas Coverall
                   23   & Supply contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Atlas Coverall &
                   25   Supply generated and/or arranged for its disposal at the BKK Class I Facility. To
                   26   date, Defendant Atlas Coverall & Supply has not incurred any response costs at the
                   27   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1         156. According to historical BKK Corp. records, Defendant Atlas
                    2   Fabricators contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Atlas Fabricators
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Atlas Fabricators has not incurred any response costs at the BKK Class I
                    6   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    7   the BKK Class I Facility.
                    8         157. According to historical BKK Corp. records, Defendant Atlas Lighting
                    9   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Atlas Lighting Co.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Atlas Lighting Co. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         158. According to historical BKK Corp. records, Defendant ATSF Railway
                   16   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant ATSF Railway Co.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant ATSF Railway Co. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         159. According to historical BKK Corp. records, Defendant Automotive
                   23   Battery Prod Co. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Automotive
                   25   Battery Prod Co. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Automotive Battery Prod Co. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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                    1          160. According to historical BKK Corp. records, Defendant Aviation Power
                    2   Supply contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Aviation Power Supply
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Aviation Power Supply has not incurred any response costs at the BKK
                    6   Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8          161. According to historical BKK Corp. records, Defendant Azusa Granite
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Azusa Granite generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Azusa
                   12   Granite has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          162. According to historical BKK Corp. records, Defendant Azusa Salvage
                   16   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Azusa Salvage Co.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Azusa Salvage Co. has not incurred any response costs at the BKK Class
                   20   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   21   the BKK Class I Facility.
                   22          163. According to historical BKK Corp. records, Defendant B. & B. Pipe &
                   23   Tool Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant B. & B. Pipe & Tool Co.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant B. & B. Pipe & Tool Co. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1          164. According to historical BKK Corp. records, Defendant B. & C. Plating
                    2   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant B. & C. Plating Co.
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant B. & C. Plating Co. has not incurred any response costs at the BKK
                    6   Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8          165. According to historical BKK Corp. records, Defendant B. P. John
                    9   Furniture Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant B. P. John
                   11   Furniture Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant B. P. John Furniture Co. has not incurred any response costs at
                   13   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   14   the Plaintiffs at the BKK Class I Facility.
                   15          166. According to historical BKK Corp. records, Defendant Baker
                   16   Consultants Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Baker
                   18   Consultants Inc. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Baker Consultants Inc. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22          167. According to historical BKK Corp. records, Defendant Baker Tanks
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Baker Tanks generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Baker
                   26   Tanks has not incurred any response costs at the BKK Class I Facility nor has it
                   27   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   28   Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         168. According to historical BKK Corp. records, Defendant Balser
                    2   Trucking contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Balser Trucking
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Balser Trucking has not incurred any response costs at the BKK Class I
                    6   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    7   the BKK Class I Facility.
                    8         169. According to historical BKK Corp. records, Defendant Barron Plating
                    9   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Barron Plating Co.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Barron Plating Co. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         170. According to historical BKK Corp. records, Defendant Barry L. Miller
                   16   Engineering Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   17   This manifested waste contained Hazardous Substances that Defendant Barry L.
                   18   Miller Engineering Co. Inc. generated and/or arranged for its disposal at the BKK
                   19   Class I Facility. To date, Defendant Barry L. Miller Engineering Co. Inc. has not
                   20   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   21   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         171. According to historical BKK Corp. records, Defendant Barsottis Inc.
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Barsottis Inc. generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Barsottis
                   26   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   27   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1          172. According to historical BKK Corp. records, Defendant Bay Decking
                    2   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Bay Decking Co. Inc.
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Bay Decking Co. Inc. has not incurred any response costs at the BKK
                    6   Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8          173. According to historical BKK Corp. records, Defendant Bear Paw
                    9   Mining contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Bear Paw Mining generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Bear Paw Mining has not incurred any response costs at the BKK Class I Facility
                   13   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15          174. According to historical BKK Corp. records, Defendant Beatrice Hunt
                   16   Wesson Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Beatrice Hunt
                   18   Wesson Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Beatrice Hunt Wesson Inc. has not incurred any response costs
                   20   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   21   by the Plaintiffs at the BKK Class I Facility.
                   22          175. According to historical BKK Corp. records, Defendant Bell Industries
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Bell Industries generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Bell
                   26   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   27   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   28   Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          176. According to historical BKK Corp. records, Defendant Bemis Co. Inc.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Bemis Co. Inc. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Bemis Co.
                    5   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7          177. According to historical BKK Corp. records, Defendant Bennett
                    8   Industries contributed manifested waste to the BKK Class I Facility. This
                    9   manifested waste contained Hazardous Substances that Defendant Bennett
                   10   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   11   date, Defendant Bennett Industries has not incurred any response costs at the BKK
                   12   Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14          178. According to historical BKK Corp. records, Defendant Beren Corp.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Beren Corp. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Beren
                   18   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   19   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   20   Facility.
                   21          179. According to historical BKK Corp. records, Defendant Bergandi
                   22   Manufacturing Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   23   This manifested waste contained Hazardous Substances that Defendant Bergandi
                   24   Manufacturing Co. Inc. generated and/or arranged for its disposal at the BKK Class
                   25   I Facility. To date, Defendant Bergandi Manufacturing Co. Inc. has not incurred
                   26   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   27   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         180. According to historical BKK Corp. records, Defendant Berk Oil Co.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Berk Oil Co. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Berk Oil
                    5   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         181. According to historical BKK Corp. records, Defendant Bernard Epps
                    8   & Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    9   waste contained Hazardous Substances that Defendant Bernard Epps & Co.
                   10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   11   Defendant Bernard Epps & Co. has not incurred any response costs at the BKK
                   12   Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14         182. According to historical BKK Corp. records, Defendant Berns Co.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Berns Co. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Berns Co.
                   18   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   19   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   20         183. According to historical BKK Corp. records, Defendant Best
                   21   Washington Uniform Supply contributed manifested waste to the BKK Class I
                   22   Facility. This manifested waste contained Hazardous Substances that Defendant
                   23   Best Washington Uniform Supply generated and/or arranged for its disposal at the
                   24   BKK Class I Facility. To date, Defendant Best Washington Uniform Supply has not
                   25   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   26   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27         184. According to historical BKK Corp. records, Defendant Bethlehem
                   28   Steel Corp. contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant Bethlehem Steel
                    2   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    3   date, Defendant Bethlehem Steel Corp. has not incurred any response costs at the
                    4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    5   Plaintiffs at the BKK Class I Facility.
                    6          185. According to historical BKK Corp. records, Defendant Betty Glaser
                    7   Investment Co. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Betty Glaser
                    9   Investment Co. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Betty Glaser Investment Co. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13          186. According to historical BKK Corp. records, Defendant Beylik Drilling
                   14   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   15   contained Hazardous Substances that Defendant Beylik Drilling generated and/or
                   16   arranged for its disposal at the BKK Class I Facility. To date, Defendant Beylik
                   17   Drilling has not incurred any response costs at the BKK Class I Facility nor has it
                   18   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   19   Facility.
                   20          187. According to historical BKK Corp. records, Defendant Bingo Truck
                   21   Stop contributed manifested waste to the BKK Class I Facility. This manifested
                   22   waste contained Hazardous Substances that Defendant Bingo Truck Stop generated
                   23   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   24   Bingo Truck Stop has not incurred any response costs at the BKK Class I Facility
                   25   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   26   Class I Facility.
                   27          188. According to historical BKK Corp. records, Defendant Black Oxide
                   28   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   manifested waste contained Hazardous Substances that Defendant Black Oxide
                    2   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
                    3   Facility. To date, Defendant Black Oxide Industries Inc. has not incurred any
                    4   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    5   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    6         189. According to historical BKK Corp. records, Defendant Blackfoot-
                    7   Cherokee Energy Inc. contributed manifested waste to the BKK Class I Facility.
                    8   This manifested waste contained Hazardous Substances that Defendant Blackfoot-
                    9   Cherokee Energy Inc. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Blackfoot-Cherokee Energy Inc. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         190. According to historical BKK Corp. records, Defendant Bliss &
                   14   Laughlin Steel Co. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Bliss & Laughlin
                   16   Steel Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   17   date, Defendant Bliss & Laughlin Steel Co. has not incurred any response costs at
                   18   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   19   the Plaintiffs at the BKK Class I Facility.
                   20         191. According to historical BKK Corp. records, Defendant Block Oil Co.
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Block Oil Co. generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Block Oil
                   24   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   25   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         192. According to historical BKK Corp. records, Defendant Blue Seal
                   27   Linen Supply contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Blue Seal Linen
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Supply generated and/or arranged for its disposal at the BKK Class I Facility. To
                    2   date, Defendant Blue Seal Linen Supply has not incurred any response costs at the
                    3   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5          193. According to historical BKK Corp. records, Defendant Bob Muller
                    6   Auto contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Bob Muller Auto generated
                    8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Bob
                    9   Muller Auto has not incurred any response costs at the BKK Class I Facility nor has
                   10   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   11   Facility.
                   12          194. According to historical BKK Corp. records, Defendant Bob's Plating
                   13   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   14   contained Hazardous Substances that Defendant Bob's Plating generated and/or
                   15   arranged for its disposal at the BKK Class I Facility. To date, Defendant Bob's
                   16   Plating has not incurred any response costs at the BKK Class I Facility nor has it
                   17   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   18   Facility.
                   19          195. According to historical BKK Corp. records, Defendant Bonanza
                   20   Aluminum Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Bonanza
                   22   Aluminum Inc. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant Bonanza Aluminum Inc. has not incurred any response
                   24   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   25   incurred by the Plaintiffs at the BKK Class I Facility.
                   26          196. According to historical BKK Corp. records, Defendant Bortz Oil Co.
                   27   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   28   contained Hazardous Substances that Defendant Bortz Oil Co. generated and/or
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                    1   arranged for its disposal at the BKK Class I Facility. To date, Defendant Bortz Oil
                    2   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    3   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4          197. According to historical BKK Corp. records, Defendant Boss Uniforms
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Boss Uniforms generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Boss
                    8   Uniforms has not incurred any response costs at the BKK Class I Facility nor has it
                    9   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   10   Facility.
                   11          198. According to historical BKK Corp. records, Defendant Bowman
                   12   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Bowman Plating
                   14   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   15   date, Defendant Bowman Plating Co. Inc. has not incurred any response costs at the
                   16   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18          199. According to historical BKK Corp. records, Defendant Bradford White
                   19   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   20   waste contained Hazardous Substances that Defendant Bradford White Corp.
                   21   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   22   Defendant Bradford White Corp. has not incurred any response costs at the BKK
                   23   Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25          200. According to historical BKK Corp. records, Defendant Brea Canyon
                   26   Oil Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant Brea Canyon Oil Co.
                   28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
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                    1   Defendant Brea Canyon Oil Co. has not incurred any response costs at the BKK
                    2   Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4         201. According to historical BKK Corp. records, Defendant Brea High
                    5   School contributed manifested waste to the BKK Class I Facility. This manifested
                    6   waste contained Hazardous Substances that Defendant Brea High School generated
                    7   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    8   Brea High School has not incurred any response costs at the BKK Class I Facility
                    9   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   10   Class I Facility.
                   11         202. According to historical BKK Corp. records, Defendant Bristol
                   12   Industries contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Bristol Industries
                   14   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant Bristol Industries has not incurred any response costs at the BKK Class I
                   16   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   17   the BKK Class I Facility.
                   18         203. According to historical BKK Corp. records, Defendant Brite Sol Inc.
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Brite Sol Inc. generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Brite Sol
                   22   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   23   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         204. According to historical BKK Corp. records, Defendant Brogdex Corp.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Brogdex Corp. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Brogdex
                   28   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          205. According to historical BKK Corp. records, Defendant Brooks &
                    4   Perkins Brownline Division contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   Brooks & Perkins Brownline Division generated and/or arranged for its disposal at
                    7   the BKK Class I Facility. To date, Defendant Brooks & Perkins Brownline Division
                    8   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    9   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          206. According to historical BKK Corp. records, Defendant BTJ
                   11   Construction contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant BTJ
                   13   Construction generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant BTJ Construction has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          207. According to historical BKK Corp. records, Defendant Buck Does It
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Buck Does It Inc. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Buck Does It Inc. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          208. According to historical BKK Corp. records, Defendant Buds Oil
                   25   Service Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Buds Oil Service
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Buds Oil Service Inc. has not incurred any response costs at the BKK
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         209. According to historical BKK Corp. records, Defendant Bumper Shop
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Bumper Shop generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Bumper
                    7   Shop has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         210. According to historical BKK Corp. records, Defendant Bumperline
                   10   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Bumperline Inc. generated
                   12   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   13   Bumperline Inc. has not incurred any response costs at the BKK Class I Facility nor
                   14   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   15   Class I Facility.
                   16         211. According to historical BKK Corp. records, Defendant Burbank
                   17   Plating Service Corp. contributed manifested waste to the BKK Class I Facility.
                   18   This manifested waste contained Hazardous Substances that Defendant Burbank
                   19   Plating Service Corp. generated and/or arranged for its disposal at the BKK Class I
                   20   Facility. To date, Defendant Burbank Plating Service Corp. has not incurred any
                   21   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   22   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         212. According to historical BKK Corp. records, Defendant Burbank
                   24   Unified School District contributed manifested waste to the BKK Class I Facility.
                   25   This manifested waste contained Hazardous Substances that Defendant Burbank
                   26   Unified School District generated and/or arranged for its disposal at the BKK Class
                   27   I Facility. To date, Defendant Burbank Unified School District has not incurred any
                   28
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         213. According to historical BKK Corp. records, Defendant Burke Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Burke Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Burke Co.
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         214. According to historical BKK Corp. records, Defendant Burton Plating
                   10   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Burton Plating Co.
                   12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Burton Plating Co. has not incurred any response costs at the BKK Class
                   14   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   15   the BKK Class I Facility.
                   16         215. According to historical BKK Corp. records, Defendant C. & W.
                   17   Chemicals Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant C. & W.
                   19   Chemicals Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   20   Facility. To date, Defendant C. & W. Chemicals Co. Inc. has not incurred any
                   21   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   22   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         216. According to historical BKK Corp. records, Defendant C. E. Glass
                   24   Combustion Engineering Inc. contributed manifested waste to the BKK Class I
                   25   Facility. This manifested waste contained Hazardous Substances that Defendant C.
                   26   E. Glass Combustion Engineering Inc. generated and/or arranged for its disposal at
                   27   the BKK Class I Facility. To date, Defendant C. E. Glass Combustion Engineering
                   28
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                    1   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          217. According to historical BKK Corp. records, Defendant C. M. Dodson
                    4   Oil contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant C. M. Dodson Oil generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant C.
                    7   M. Dodson Oil has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10          218. According to historical BKK Corp. records, Defendant Cadet Uniform
                   11   & Linen Supply Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Cadet Uniform
                   13   & Linen Supply Co. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Cadet Uniform & Linen Supply Co. has not incurred
                   15   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   16   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17          219. According to historical BKK Corp. records, Defendant Cal Bumper
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Cal Bumper Co. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal
                   21   Bumper Co. has not incurred any response costs at the BKK Class I Facility nor has
                   22   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          220. According to historical BKK Corp. records, Defendant Cal Chem
                   25   Cleaning Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Cal Chem
                   27   Cleaning Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Cal Chem Cleaning Co. has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3          221. According to historical BKK Corp. records, Defendant Cal Chrome
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Cal Chrome generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal
                    7   Chrome has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          222. According to historical BKK Corp. records, Defendant Cal Duran Inc.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Cal Duran Inc. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal Duran
                   14   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   15   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16          223. According to historical BKK Corp. records, Defendant Cal Ink
                   17   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   18   contained Hazardous Substances that Defendant Cal Ink generated and/or arranged
                   19   for its disposal at the BKK Class I Facility. To date, Defendant Cal Ink has not
                   20   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   21   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22          224. According to historical BKK Corp. records, Defendant Cal Lift Inc.
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Cal Lift Inc. generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal Lift
                   26   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   27   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1         225. According to historical BKK Corp. records, Defendant Cal Metals
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Cal Metals generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal Metals
                    5   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    6   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         226. According to historical BKK Corp. records, Defendant Cal Nev
                    8   Pipeline Co. contributed manifested waste to the BKK Class I Facility. This
                    9   manifested waste contained Hazardous Substances that Defendant Cal Nev Pipeline
                   10   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   11   Defendant Cal Nev Pipeline Co. has not incurred any response costs at the BKK
                   12   Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14         227. According to historical BKK Corp. records, Defendant Cal Style
                   15   Furniture Manufacturing Co. contributed manifested waste to the BKK Class I
                   16   Facility. This manifested waste contained Hazardous Substances that Defendant Cal
                   17   Style Furniture Manufacturing Co. generated and/or arranged for its disposal at the
                   18   BKK Class I Facility. To date, Defendant Cal Style Furniture Manufacturing Co.
                   19   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   20   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   21         228. According to historical BKK Corp. records, Defendant Cal USA
                   22   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Cal USA
                   24   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                   25   Facility. To date, Defendant Cal USA Chemical Co. has not incurred any response
                   26   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   27   incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1         229. According to historical BKK Corp. records, Defendant Calbiochem-
                    2   Behring Corp. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Calbiochem-
                    4   Behring Corp. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Calbiochem-Behring Corp. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         230. According to historical BKK Corp. records, Defendant Cali-Blok
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Cali-Blok generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cali-Blok
                   12   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   13   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14         231. According to historical BKK Corp. records, Defendant Califoil Inc.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Califoil Inc. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Califoil
                   18   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   19   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   20         232. According to historical BKK Corp. records, Defendant California
                   21   Carpet Co. contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant California Carpet
                   23   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   24   Defendant California Carpet Co. has not incurred any response costs at the BKK
                   25   Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27         233. According to historical BKK Corp. records, Defendant California
                   28   Corrugated Ind contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant California
                    2   Corrugated Ind generated and/or arranged for its disposal at the BKK Class I
                    3   Facility. To date, Defendant California Corrugated Ind has not incurred any
                    4   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    5   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    6         234. According to historical BKK Corp. records, Defendant California
                    7   Finished Metals Inc. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant California
                    9   Finished Metals Inc. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant California Finished Metals Inc. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         235. According to historical BKK Corp. records, Defendant California
                   14   Metal Enameling Co. contributed manifested waste to the BKK Class I Facility.
                   15   This manifested waste contained Hazardous Substances that Defendant California
                   16   Metal Enameling Co. generated and/or arranged for its disposal at the BKK Class I
                   17   Facility. To date, Defendant California Metal Enameling Co. has not incurred any
                   18   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   19   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   20         236. According to historical BKK Corp. records, Defendant California Milk
                   21   Producers contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant California Milk
                   23   Producers generated and/or arranged for its disposal at the BKK Class I Facility. To
                   24   date, Defendant California Milk Producers has not incurred any response costs at
                   25   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   26   the Plaintiffs at the BKK Class I Facility.
                   27         237. According to historical BKK Corp. records, Defendant California
                   28   Motor Express contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant California Motor
                    2   Express generated and/or arranged for its disposal at the BKK Class I Facility. To
                    3   date, Defendant California Motor Express has not incurred any response costs at the
                    4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    5   Plaintiffs at the BKK Class I Facility.
                    6         238. According to historical BKK Corp. records, Defendant California Ship
                    7   Building contributed manifested waste to the BKK Class I Facility. This manifested
                    8   waste contained Hazardous Substances that Defendant California Ship Building
                    9   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   10   Defendant California Ship Building has not incurred any response costs at the BKK
                   11   Class I Facility nor has it paid its fair share of response costs incurred by the
                   12   Plaintiffs at the BKK Class I Facility.
                   13         239. According to historical BKK Corp. records, Defendant California
                   14   Target Enterprises contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant California Target
                   16   Enterprises generated and/or arranged for its disposal at the BKK Class I Facility.
                   17   To date, Defendant California Target Enterprises has not incurred any response
                   18   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   19   incurred by the Plaintiffs at the BKK Class I Facility.
                   20         240. According to historical BKK Corp. records, Defendant California
                   21   Technical Plating Corp. contributed manifested waste to the BKK Class I Facility.
                   22   This manifested waste contained Hazardous Substances that Defendant California
                   23   Technical Plating Corp. generated and/or arranged for its disposal at the BKK Class
                   24   I Facility. To date, Defendant California Technical Plating Corp. has not incurred
                   25   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   26   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27         241. According to historical BKK Corp. records, Defendant Cal-Mold Inc.
                   28   contributed manifested waste to the BKK Class I Facility. This manifested waste
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                    1   contained Hazardous Substances that Defendant Cal-Mold Inc. generated and/or
                    2   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cal-Mold
                    3   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    4   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         242. According to historical BKK Corp. records, Defendant Calpro Co.
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant Calpro Co. generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Calpro Co.
                    9   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   10   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         243. According to historical BKK Corp. records, Defendant Calprotech Inc.
                   12   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   13   contained Hazardous Substances that Defendant Calprotech Inc. generated and/or
                   14   arranged for its disposal at the BKK Class I Facility. To date, Defendant Calprotech
                   15   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   16   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         244. According to historical BKK Corp. records, Defendant Cal-West
                   18   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Cal-West
                   20   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Cal-West Circuits Inc. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         245. According to historical BKK Corp. records, Defendant Calzona
                   25   Transportation contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Calzona
                   27   Transportation generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Calzona Transportation has not incurred any response
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         246. According to historical BKK Corp. records, Defendant Cannel &
                    4   Chaffin Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Cannel &
                    6   Chaffin Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Cannel & Chaffin Co. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         247. According to historical BKK Corp. records, Defendant Capitol
                   11   Records Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Capitol Records
                   13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Capitol Records Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         248. According to historical BKK Corp. records, Defendant Capri Pumping
                   18   Service contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Capri Pumping Service
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Capri Pumping Service has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         249. According to historical BKK Corp. records, Defendant Capro Oil Co.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Capro Oil Co. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Capro Oil
                   28
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                    1   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         250. According to historical BKK Corp. records, Defendant Carnation Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Carnation Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Carnation
                    7   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         251. According to historical BKK Corp. records, Defendant Carter
                   10   Precision Parts Inc. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Carter Precision
                   12   Parts Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   13   date, Defendant Carter Precision Parts Inc. has not incurred any response costs at
                   14   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   15   the Plaintiffs at the BKK Class I Facility.
                   16         252. According to historical BKK Corp. records, Defendant Casden Co.
                   17   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   18   contained Hazardous Substances that Defendant Casden Co. generated and/or
                   19   arranged for its disposal at the BKK Class I Facility. To date, Defendant Casden
                   20   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   21   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         253. According to historical BKK Corp. records, Defendant Caspian Inc.
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Caspian Inc. generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Caspian
                   26   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   27   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1          254. According to historical BKK Corp. records, Defendant Cast Metal
                    2   Finishing contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Cast Metal
                    4   Finishing generated and/or arranged for its disposal at the BKK Class I Facility. To
                    5   date, Defendant Cast Metal Finishing has not incurred any response costs at the
                    6   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8          255. According to historical BKK Corp. records, Defendant CBC Industries
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant CBC Industries generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant CBC
                   12   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          256. According to historical BKK Corp. records, Defendant Cedargreen
                   16   Refining Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Cedargreen
                   18   Refining Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Cedargreen Refining Co. has not incurred any response costs at
                   20   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   21   the Plaintiffs at the BKK Class I Facility.
                   22          257. According to historical BKK Corp. records, Defendant Cedko
                   23   Electronics contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Cedko
                   25   Electronics generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Cedko Electronics has not incurred any response costs at the
                   27   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1          258. According to historical BKK Corp. records, Defendant Celotex Corp.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Celotex Corp. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Celotex
                    5   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          259. According to historical BKK Corp. records, Defendant Central
                    9   Industrial Engineering contributed manifested waste to the BKK Class I Facility.
                   10   This manifested waste contained Hazardous Substances that Defendant Central
                   11   Industrial Engineering generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Central Industrial Engineering has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15          260. According to historical BKK Corp. records, Defendant Central
                   16   Insulation Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Central
                   18   Insulation Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Central Insulation Corp. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22          261. According to historical BKK Corp. records, Defendant Central Plants
                   23   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Central Plants Inc. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Central Plants Inc. has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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                    1         262. According to historical BKK Corp. records, Defendant Century
                    2   Phoenix Laminators Inc. contributed manifested waste to the BKK Class I Facility.
                    3   This manifested waste contained Hazardous Substances that Defendant Century
                    4   Phoenix Laminators Inc. generated and/or arranged for its disposal at the BKK
                    5   Class I Facility. To date, Defendant Century Phoenix Laminators Inc. has not
                    6   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    7   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         263. According to historical BKK Corp. records, Defendant Certified
                    9   Grocers of Cal contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Certified Grocers
                   11   of Cal generated and/or arranged for its disposal at the BKK Class I Facility. To
                   12   date, Defendant Certified Grocers of Cal has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         264. According to historical BKK Corp. records, Defendant Chacon
                   16   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Chacon
                   18   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Chacon Chemical Corp. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22         265. According to historical BKK Corp. records, Defendant Challenge
                   23   Cook Bros contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Challenge Cook
                   25   Bros generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Challenge Cook Bros has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1         266. According to historical BKK Corp. records, Defendant Champion
                    2   Chemicals Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Champion
                    4   Chemicals Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Champion Chemicals Inc. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         267. According to historical BKK Corp. records, Defendant Champion
                    9   Power Wash contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Champion Power
                   11   Wash generated and/or arranged for its disposal at the BKK Class I Facility. To
                   12   date, Defendant Champion Power Wash has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         268. According to historical BKK Corp. records, Defendant Charles
                   16   Bruning Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Charles Bruning
                   18   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Charles Bruning Co. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         269. According to historical BKK Corp. records, Defendant Chem Arrow
                   23   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Chem Arrow Corp.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Chem Arrow Corp. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1         270. According to historical BKK Corp. records, Defendant Chem Etch
                    2   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Chem Etch Corp. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Chem Etch Corp. has not incurred any response costs at the BKK Class I Facility
                    6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8         271. According to historical BKK Corp. records, Defendant Chem West
                    9   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Chem West
                   11   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Chem West Industries Inc. has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         272. According to historical BKK Corp. records, Defendant Chemical Co.
                   16   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   17   contained Hazardous Substances that Defendant Chemical Co. generated and/or
                   18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Chemical
                   19   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   20   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   21         273. According to historical BKK Corp. records, Defendant Chemical
                   22   Energy contributed manifested waste to the BKK Class I Facility. This manifested
                   23   waste contained Hazardous Substances that Defendant Chemical Energy generated
                   24   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   25   Chemical Energy has not incurred any response costs at the BKK Class I Facility
                   26   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   27   Class I Facility.
                   28
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                    1         274. According to historical BKK Corp. records, Defendant Chemical
                    2   Machining Corp. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Chemical
                    4   Machining Corp. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Chemical Machining Corp. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         275. According to historical BKK Corp. records, Defendant Chemical
                    9   Milling International contributed manifested waste to the BKK Class I Facility.
                   10   This manifested waste contained Hazardous Substances that Defendant Chemical
                   11   Milling International generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Chemical Milling International has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         276. According to historical BKK Corp. records, Defendant Chemicals Inc.
                   16   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   17   contained Hazardous Substances that Defendant Chemicals Inc. generated and/or
                   18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Chemicals
                   19   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   20   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   21         277. According to historical BKK Corp. records, Defendant Chemoil
                   22   Refining Corp. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Chemoil
                   24   Refining Corp. generated and/or arranged for its disposal at the BKK Class I
                   25   Facility. To date, Defendant Chemoil Refining Corp. has not incurred any response
                   26   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   27   incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1          278. According to historical BKK Corp. records, Defendant Chemplate
                    2   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Chemplate Corp. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Chemplate Corp. has not incurred any response costs at the BKK Class I Facility
                    6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8          279. According to historical BKK Corp. records, Defendant Chemron Corp.
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Chemron Corp. generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Chemron
                   12   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          280. According to historical BKK Corp. records, Defendant Chemware
                   16   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   17   contained Hazardous Substances that Defendant Chemware generated and/or
                   18   arranged for its disposal at the BKK Class I Facility. To date, Defendant Chemware
                   19   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   20   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   21          281. According to historical BKK Corp. records, Defendant Chick Sales
                   22   Plating Corp. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Chick Sales
                   24   Plating Corp. generated and/or arranged for its disposal at the BKK Class I Facility.
                   25   To date, Defendant Chick Sales Plating Corp. has not incurred any response costs at
                   26   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   27   the Plaintiffs at the BKK Class I Facility.
                   28
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                    1          282. According to historical BKK Corp. records, Defendant Chino Valley
                    2   Galvanizing Co. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Chino Valley
                    4   Galvanizing Co. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Chino Valley Galvanizing Co. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8          283. According to historical BKK Corp. records, Defendant CHP Foods
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant CHP Foods generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant CHP
                   12   Foods has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          284. According to historical BKK Corp. records, Defendant Chrome
                   16   Crankshaft Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Chrome
                   18   Crankshaft Co. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Chrome Crankshaft Co. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22          285. According to historical BKK Corp. records, Defendant Chromizing
                   23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Chromizing Co. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Chromizing Co. has not incurred any response costs at the BKK Class I Facility nor
                   27   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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                    1         286. According to historical BKK Corp. records, Defendant Cia Minera De
                    2   Cananea SA contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Cia Minera De
                    4   Cananea SA generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Cia Minera De Cananea SA has not incurred any response costs
                    6   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    7   by the Plaintiffs at the BKK Class I Facility.
                    8         287. According to historical BKK Corp. records, Defendant Cintas Uniform
                    9   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Cintas Uniform Co.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Cintas Uniform Co. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         288. According to historical BKK Corp. records, Defendant Circuit
                   16   Industries contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Circuit Industries
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Circuit Industries has not incurred any response costs at the BKK Class I
                   20   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   21   the BKK Class I Facility.
                   22         289. According to historical BKK Corp. records, Defendant Circuit One
                   23   Div. of LH Research Inc. contributed manifested waste to the BKK Class I Facility.
                   24   This manifested waste contained Hazardous Substances that Defendant Circuit One
                   25   Div. of LH Research Inc. generated and/or arranged for its disposal at the BKK
                   26   Class I Facility. To date, Defendant Circuit One Div. of LH Research Inc. has not
                   27   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   28   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1          290. According to historical BKK Corp. records, Defendant City of Carson
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant City of Carson generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant City of
                    5   Carson has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          291. According to historical BKK Corp. records, Defendant City of
                    9   Hermosa Beach contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant City of Hermosa
                   11   Beach generated and/or arranged for its disposal at the BKK Class I Facility. To
                   12   date, Defendant City of Hermosa Beach has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15          292. According to historical BKK Corp. records, Defendant City of
                   16   Riverside contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant City of Riverside
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant City of Riverside has not incurred any response costs at the BKK Class I
                   20   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   21   the BKK Class I Facility.
                   22          293. According to historical BKK Corp. records, Defendant City of San
                   23   Diego contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant City of San Diego generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   City of San Diego has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1         294. According to historical BKK Corp. records, Defendant Clarke
                    2   Contracting Corp. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Clarke
                    4   Contracting Corp. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Clarke Contracting Corp. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         295. According to historical BKK Corp. records, Defendant Clean Steel
                    9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Clean Steel Inc. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Clean Steel Inc. has not incurred any response costs at the BKK Class I Facility nor
                   13   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         296. According to historical BKK Corp. records, Defendant Cleaning
                   16   Dynamics Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Cleaning
                   18   Dynamics Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Cleaning Dynamics Corp. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         297. According to historical BKK Corp. records, Defendant Climax Tube
                   23   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Climax Tube Corp.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Climax Tube Corp. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          298. According to historical BKK Corp. records, Defendant Coast
                    2   Contractors contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Coast
                    4   Contractors generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Coast Contractors has not incurred any response costs at the
                    6   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8          299. According to historical BKK Corp. records, Defendant Cognis Corp.
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Cognis Corp. generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Cognis
                   12   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          300. According to historical BKK Corp. records, Defendant Collins General
                   16   Contractors contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Collins General
                   18   Contractors generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Collins General Contractors has not incurred any response costs
                   20   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   21   by the Plaintiffs at the BKK Class I Facility.
                   22          301. According to historical BKK Corp. records, Defendant Columbia
                   23   Metal Finishing Inc. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Columbia Metal
                   25   Finishing Inc. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Columbia Metal Finishing Inc. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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                    1         302. According to historical BKK Corp. records, Defendant Columbine &
                    2   Associates contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Columbine &
                    4   Associates generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Columbine & Associates has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8         303. According to historical BKK Corp. records, Defendant Commercial
                    9   Chemical Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Commercial
                   11   Chemical Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Commercial Chemical Co. Inc. has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         304. According to historical BKK Corp. records, Defendant Commercial
                   16   Cleaning Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Commercial
                   18   Cleaning Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Commercial Cleaning Corp. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         305. According to historical BKK Corp. records, Defendant Commercial
                   23   Truck Bodies contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Commercial
                   25   Truck Bodies generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Commercial Truck Bodies has not incurred any response costs
                   27   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   28   by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1          306. According to historical BKK Corp. records, Defendant Computer
                    2   Automation contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Computer
                    4   Automation generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Computer Automation has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8          307. According to historical BKK Corp. records, Defendant Conexx Oil
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Conexx Oil generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Conexx
                   12   Oil has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14          308. According to historical BKK Corp. records, Defendant Connector
                   15   Service Corp. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Connector
                   17   Service Corp. generated and/or arranged for its disposal at the BKK Class I Facility.
                   18   To date, Defendant Connector Service Corp. has not incurred any response costs at
                   19   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   20   the Plaintiffs at the BKK Class I Facility.
                   21          309. According to historical BKK Corp. records, Defendant Conrac Corp.
                   22   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   23   contained Hazardous Substances that Defendant Conrac Corp. generated and/or
                   24   arranged for its disposal at the BKK Class I Facility. To date, Defendant Conrac
                   25   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   26   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   27   Facility.
                   28
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                    1         310. According to historical BKK Corp. records, Defendant Conrock Co.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Conrock Co. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Conrock
                    5   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         311. According to historical BKK Corp. records, Defendant Consolidated
                    8   Auto contributed manifested waste to the BKK Class I Facility. This manifested
                    9   waste contained Hazardous Substances that Defendant Consolidated Auto
                   10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   11   Defendant Consolidated Auto has not incurred any response costs at the BKK Class
                   12   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   13   the BKK Class I Facility.
                   14         312. According to historical BKK Corp. records, Defendant Container
                   15   Supply Co. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Container
                   17   Supply Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   18   To date, Defendant Container Supply Co. has not incurred any response costs at the
                   19   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   20   Plaintiffs at the BKK Class I Facility.
                   21         313. According to historical BKK Corp. records, Defendant Contempo
                   22   Furniture contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Contempo
                   24   Furniture generated and/or arranged for its disposal at the BKK Class I Facility. To
                   25   date, Defendant Contempo Furniture has not incurred any response costs at the
                   26   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   27   Plaintiffs at the BKK Class I Facility.
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1         314. According to historical BKK Corp. records, Defendant Continental
                    2   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Continental
                    4   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Continental Chemical Corp. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         315. According to historical BKK Corp. records, Defendant Continental
                    9   Forest Ind. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Continental
                   11   Forest Ind. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Continental Forest Ind. has not incurred any response costs at
                   13   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   14   the Plaintiffs at the BKK Class I Facility.
                   15         316. According to historical BKK Corp. records, Defendant Continental
                   16   Polymers Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Continental
                   18   Polymers Inc. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Continental Polymers Inc. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         317. According to historical BKK Corp. records, Defendant Control
                   23   Circuits contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Control Circuits generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Control Circuits has not incurred any response costs at the BKK Class I Facility nor
                   27   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1         318. According to historical BKK Corp. records, Defendant Control
                    2   Components Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Control
                    4   Components Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Control Components Inc. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         319. According to historical BKK Corp. records, Defendant Control Plating
                    9   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Control Plating Co. Inc.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Control Plating Co. Inc. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         320. According to historical BKK Corp. records, Defendant Cooper &
                   16   Brain contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Cooper & Brain generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   Cooper & Brain has not incurred any response costs at the BKK Class I Facility nor
                   20   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22         321. According to historical BKK Corp. records, Defendant Cooper LA
                   23   Clear Drum Co. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Cooper LA Clear
                   25   Drum Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   26   date, Defendant Cooper LA Clear Drum Co. has not incurred any response costs at
                   27   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   28   the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          322. According to historical BKK Corp. records, Defendant Corrosion
                    2   Technology Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Corrosion
                    4   Technology Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Corrosion Technology Inc. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8          323. According to historical BKK Corp. records, Defendant Corru-Craft II
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Corru-Craft II generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Corru-
                   12   Craft II has not incurred any response costs at the BKK Class I Facility nor has it
                   13   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          324. According to historical BKK Corp. records, Defendant Cosmotronics
                   16   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Cosmotronics Co. generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   Cosmotronics Co. has not incurred any response costs at the BKK Class I Facility
                   20   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22          325. According to historical BKK Corp. records, Defendant Coto De Caza
                   23   Development Corp. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Coto De Caza
                   25   Development Corp. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Coto De Caza Development Corp. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1         326. According to historical BKK Corp. records, Defendant Cragar
                    2   Industries contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Cragar Industries
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Cragar Industries has not incurred any response costs at the BKK Class I
                    6   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    7   the BKK Class I Facility.
                    8         327. According to historical BKK Corp. records, Defendant Crane &
                    9   Utterback Inc. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Crane &
                   11   Utterback Inc. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Crane & Utterback Inc. has not incurred any response
                   13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   14   incurred by the Plaintiffs at the BKK Class I Facility.
                   15         328. According to historical BKK Corp. records, Defendant Crane-
                   16   Hydroaire Division contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Crane-Hydroaire
                   18   Division generated and/or arranged for its disposal at the BKK Class I Facility. To
                   19   date, Defendant Crane-Hydroaire Division has not incurred any response costs at
                   20   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   21   the Plaintiffs at the BKK Class I Facility.
                   22         329. According to historical BKK Corp. records, Defendant Crescent
                   23   Transportation contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Crescent
                   25   Transportation generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Crescent Transportation has not incurred any response
                   27   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   28   incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1         330. According to historical BKK Corp. records, Defendant Crescenta
                    2   Valley Water District contributed manifested waste to the BKK Class I Facility.
                    3   This manifested waste contained Hazardous Substances that Defendant Crescenta
                    4   Valley Water District generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Crescenta Valley Water District has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         331. According to historical BKK Corp. records, Defendant Crockett
                    9   Container Corp. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Crockett
                   11   Container Corp. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Crockett Container Corp. has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         332. According to historical BKK Corp. records, Defendant Crown
                   16   Zellerbach Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Crown
                   18   Zellerbach Co. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Crown Zellerbach Co. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22         333. According to historical BKK Corp. records, Defendant Cummins
                   23   Service & Sales Inc. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Cummins
                   25   Service & Sales Inc. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Cummins Service & Sales Inc. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1         334. According to historical BKK Corp. records, Defendant Custom
                    2   Chemical Formulators contributed manifested waste to the BKK Class I Facility.
                    3   This manifested waste contained Hazardous Substances that Defendant Custom
                    4   Chemical Formulators generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Custom Chemical Formulators has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         335. According to historical BKK Corp. records, Defendant Custom
                    9   Control Sensors contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Custom Control
                   11   Sensors generated and/or arranged for its disposal at the BKK Class I Facility. To
                   12   date, Defendant Custom Control Sensors has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         336. According to historical BKK Corp. records, Defendant Custom Plating
                   16   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Custom Plating Corp.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Custom Plating Corp. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         337. According to historical BKK Corp. records, Defendant Cut-Off
                   23   Manifest contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Cut-Off Manifest generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Cut-Off Manifest has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         338. According to historical BKK Corp. records, Defendant CWOD
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant CWOD generated and/or arranged
                    4   for its disposal at the BKK Class I Facility. To date, Defendant CWOD has not
                    5   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    6   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         339. According to historical BKK Corp. records, Defendant Cyclo
                    8   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                    9   manifested waste contained Hazardous Substances that Defendant Cyclo Chemical
                   10   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   11   Defendant Cyclo Chemical Co. has not incurred any response costs at the BKK
                   12   Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14         340. According to historical BKK Corp. records, Defendant Cyclone
                   15   Excelsweld Co. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Cyclone
                   17   Excelsweld Co. generated and/or arranged for its disposal at the BKK Class I
                   18   Facility. To date, Defendant Cyclone Excelsweld Co. has not incurred any response
                   19   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   20   incurred by the Plaintiffs at the BKK Class I Facility.
                   21         341. According to historical BKK Corp. records, Defendant Torrance
                   22   Tubing and Conduit Company, formerly known as Cyprus Tubing & Conduit Co.
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Torrance Tubing and Conduit
                   25   Company, formerly known as Cyprus Tubing & Conduit Co. generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Torrance
                   27   Tubing and Conduit Company, formerly known as Cyprus Tubing & Conduit Co.
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    2   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         342. According to historical BKK Corp. records, Defendant D. E. Calta
                    4   International contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant D. E. Calta
                    6   International generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant D. E. Calta International has not incurred any response costs at
                    8   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    9   the Plaintiffs at the BKK Class I Facility.
                   10         343. According to historical BKK Corp. records, Defendant D. I. Salvo
                   11   Trucking contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant D. I. Salvo
                   13   Trucking generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant D. I. Salvo Trucking has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         344. According to historical BKK Corp. records, Defendant D. W. Elliott
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant D. W. Elliott Inc. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant D.
                   21   W. Elliott Inc. has not incurred any response costs at the BKK Class I Facility nor
                   22   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         345. According to historical BKK Corp. records, Defendant Daiwa Corp.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Daiwa Corp. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Daiwa
                   28   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          346. According to historical BKK Corp. records, Defendant Damson Oil
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Damson Oil Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Damson Oil Co. has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10          347. According to historical BKK Corp. records, Defendant Darnell
                   11   Corporate Ltd. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Darnell
                   13   Corporate Ltd. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Darnell Corporate Ltd. has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17          348. According to historical BKK Corp. records, Defendant Data Circuits
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Data Circuits Inc. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Data Circuits Inc. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          349. According to historical BKK Corp. records, Defendant Data Products
                   25   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Data Products Corp.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Data Products Corp. has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         350. According to historical BKK Corp. records, Defendant Datron
                    4   Systems Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Datron Systems
                    6   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Datron Systems Inc. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         351. According to historical BKK Corp. records, Defendant Dave Beck
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Dave Beck generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Dave Beck
                   14   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   15   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         352. According to historical BKK Corp. records, Defendant Davidson Panel
                   17   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Davidson Panel Co.
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Davidson Panel Co. has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         353. According to historical BKK Corp. records, Defendant Davis
                   24   Investment Co. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Davis
                   26   Investment Co. generated and/or arranged for its disposal at the BKK Class I
                   27   Facility. To date, Defendant Davis Investment Co. has not incurred any response
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         354. According to historical BKK Corp. records, Defendant Davis Walker
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Davis Walker Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Davis Walker Co. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         355. According to historical BKK Corp. records, Defendant Dayglo Color
                   11   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Dayglo Color Corp.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Dayglo Color Corp. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         356. According to historical BKK Corp. records, Defendant Dayton
                   18   Granger Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Dayton Granger
                   20   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Dayton Granger Inc. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         357. According to historical BKK Corp. records, Defendant Decratrend
                   25   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Decratrend Corp. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Decratrend Corp. has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         358. According to historical BKK Corp. records, Defendant G.L.C.
                    4   Building Corp., formerly known as Del Amo Energy contributed manifested waste
                    5   to the BKK Class I Facility. This manifested waste contained Hazardous
                    6   Substances that Defendant G.L.C. Building Corp., formerly known as Del Amo
                    7   Energy generated and/or arranged for its disposal at the BKK Class I Facility. To
                    8   date, Defendant G.L.C. Building Corp., formerly known as Del Amo Energy has
                    9   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                   10   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         359. According to historical BKK Corp. records, Defendant Devoe Marine
                   12   Coatings Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Devoe Marine
                   14   Coatings Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant Devoe Marine Coatings Co. Inc. has not incurred any
                   16   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   17   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   18         360. According to historical BKK Corp. records, Defendant Dial Precision
                   19   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   20   waste contained Hazardous Substances that Defendant Dial Precision Inc. generated
                   21   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   22   Dial Precision Inc. has not incurred any response costs at the BKK Class I Facility
                   23   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   24   Class I Facility.
                   25         361. According to historical BKK Corp. records, Defendant Diamond
                   26   Plastics contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant Diamond Plastics generated
                   28   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Diamond Plastics has not incurred any response costs at the BKK Class I Facility
                    2   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    3   Class I Facility.
                    4         362. According to historical BKK Corp. records, Defendant Dibble
                    5   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
                    6   manifested waste contained Hazardous Substances that Defendant Dibble
                    7   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
                    8   Facility. To date, Defendant Dibble Electronics Inc. has not incurred any response
                    9   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   10   incurred by the Plaintiffs at the BKK Class I Facility.
                   11         363. According to historical BKK Corp. records, Defendant Diceon
                   12   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Diceon
                   14   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant Diceon Electronics Inc. has not incurred any response
                   16   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   17   incurred by the Plaintiffs at the BKK Class I Facility.
                   18         364. According to historical BKK Corp. records, Defendant Die Cast
                   19   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Die Cast
                   21   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   22   To date, Defendant Die Cast Products Inc. has not incurred any response costs at
                   23   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   24   the Plaintiffs at the BKK Class I Facility.
                   25         365. According to historical BKK Corp. records, Defendant Diesel Recon
                   26   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant Diesel Recon Co. generated
                   28   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Diesel Recon Co. has not incurred any response costs at the BKK Class I Facility
                    2   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    3   Class I Facility.
                    4          366. According to historical BKK Corp. records, Defendant Ditronics Inc.
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Ditronics Inc. generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ditronics
                    8   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    9   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility
                   10          367. According to historical BKK Corp. records, Defendant Ditty Drum Co.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Ditty Drum Co. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ditty
                   14   Drum Co. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          368. According to historical BKK Corp. records, Defendant DME Co.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant DME Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant DME Co.
                   21   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   22   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23          369. According to historical BKK Corp. records, Defendant Dominguez
                   24   Properties contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Dominguez
                   26   Properties generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Dominguez Properties has not incurred any response costs at the
                   28
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         370. According to historical BKK Corp. records, Defendant Douglas
                    4   Furniture of California contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Douglas
                    6   Furniture of California generated and/or arranged for its disposal at the BKK Class
                    7   I Facility. To date, Defendant Douglas Furniture of California has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         371. According to historical BKK Corp. records, Defendant Downey Glass
                   11   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Downey Glass Co. Inc.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Downey Glass Co. Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         372. According to historical BKK Corp. records, Defendant Drackett Co.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Drackett Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Drackett
                   21   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         373. According to historical BKK Corp. records, Defendant Draft Systems
                   24   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Draft Systems Inc. generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Draft Systems Inc. has not incurred any response costs at the BKK Class I Facility
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         374. According to historical BKK Corp. records, Defendant Drilube Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Drilube Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Drilube
                    7   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         375. According to historical BKK Corp. records, Defendant Dubois
                   10   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Dubois Chemical
                   12   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Dubois Chemical Co. has not incurred any response costs at the BKK
                   14   Class I Facility nor has it paid its fair share of response costs incurred by the
                   15   Plaintiffs at the BKK Class I Facility.
                   16         376. According to historical BKK Corp. records, Defendant Dulien
                   17   Enterprises contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Dulien
                   19   Enterprises generated and/or arranged for its disposal at the BKK Class I Facility.
                   20   To date, Defendant Dulien Enterprises has not incurred any response costs at the
                   21   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         377. According to historical BKK Corp. records, Defendant Duro Refining
                   24   Smelting Inc. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Duro Refining
                   26   Smelting Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   27   To date, Defendant Duro Refining Smelting Inc. has not incurred any response
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         378. According to historical BKK Corp. records, Defendant Dyer He Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Dyer He Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Dyer He
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         379. According to historical BKK Corp. records, Defendant Dyna Plate Inc.
                   10   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   11   contained Hazardous Substances that Defendant Dyna Plate Inc. generated and/or
                   12   arranged for its disposal at the BKK Class I Facility. To date, Defendant Dyna Plate
                   13   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   14   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         380. According to historical BKK Corp. records, Defendant Dyna Shield
                   16   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Dyna Shield Inc. generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   Dyna Shield Inc. has not incurred any response costs at the BKK Class I Facility
                   20   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22         381. According to historical BKK Corp. records, Defendant E. & M.
                   23   Builders contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant E. & M. Builders generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant E.
                   26   & M. Builders has not incurred any response costs at the BKK Class I Facility nor
                   27   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1         382. According to historical BKK Corp. records, Defendant East Los
                    2   Angeles College contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant East Los Angeles
                    4   College generated and/or arranged for its disposal at the BKK Class I Facility. To
                    5   date, Defendant East Los Angeles College has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8         383. According to historical BKK Corp. records, Defendant Easton Sports
                    9   Inc. Van Nuys contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Easton Sports
                   11   Inc. Van Nuys generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Easton Sports Inc. Van Nuys has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         384. According to historical BKK Corp. records, Defendant Eco Petroleum
                   16   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Eco Petroleum Inc.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Eco Petroleum Inc. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         385. According to historical BKK Corp. records, Defendant Ecology
                   23   Control Industries contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Ecology Control
                   25   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   26   date, Defendant Ecology Control Industries has not incurred any response costs at
                   27   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   28   the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         386. According to historical BKK Corp. records, Defendant Edmund Grey
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Edmund Grey generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Edmund
                    5   Grey has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         387. According to historical BKK Corp. records, Defendant Eeco Inc.
                    8   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    9   contained Hazardous Substances that Defendant Eeco Inc. generated and/or
                   10   arranged for its disposal at the BKK Class I Facility. To date, Defendant Eeco Inc.
                   11   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   12   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         388. According to historical BKK Corp. records, Defendant El Castillo Real
                   14   Restaurant contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant El Castillo Real
                   16   Restaurant generated and/or arranged for its disposal at the BKK Class I Facility.
                   17   To date, Defendant El Castillo Real Restaurant has not incurred any response costs
                   18   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   19   by the Plaintiffs at the BKK Class I Facility.
                   20         389. According to historical BKK Corp. records, Defendant El Fab
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant El Fab generated and/or arranged
                   23   for its disposal at the BKK Class I Facility. To date, Defendant El Fab has not
                   24   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   25   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         390. According to historical BKK Corp. records, Defendant El Monte Lead
                   27   Salvage Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant El Monte Lead
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Salvage Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant El Monte Lead Salvage Co. Inc. has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5          391. According to historical BKK Corp. records, Defendant El Monte Tool
                    6   & Die contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant El Monte Tool & Die
                    8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant El Monte Tool & Die has not incurred any response costs at the BKK
                   10   Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12          392. According to historical BKK Corp. records, Defendant Electra Motors
                   13   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   14   contained Hazardous Substances that Defendant Electra Motors generated and/or
                   15   arranged for its disposal at the BKK Class I Facility. To date, Defendant Electra
                   16   Motors has not incurred any response costs at the BKK Class I Facility nor has it
                   17   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   18   Facility.
                   19          393. According to historical BKK Corp. records, Defendant Electro
                   20   Adapter Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Electro Adapter
                   22   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   23   Defendant Electro Adapter Inc. has not incurred any response costs at the BKK
                   24   Class I Facility nor has it paid its fair share of response costs incurred by the
                   25   Plaintiffs at the BKK Class I Facility.
                   26          394. According to historical BKK Corp. records, Defendant Electrotech
                   27   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Electrotech
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    2   To date, Defendant Electrotech Circuits Inc. has not incurred any response costs at
                    3   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    4   the Plaintiffs at the BKK Class I Facility.
                    5         395. According to historical BKK Corp. records, Defendant Electron
                    6   Plating contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Electron Plating generated
                    8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    9   Electron Plating has not incurred any response costs at the BKK Class I Facility nor
                   10   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   11   Class I Facility.
                   12         396. According to historical BKK Corp. records, Defendant Electronic
                   13   Materials Corp. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Electronic
                   15   Materials Corp. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Electronic Materials Corp. has not incurred any
                   17   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   18   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         397. According to historical BKK Corp. records, Defendant Electronic
                   20   Plating Service Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Electronic
                   22   Plating Service Inc. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant Electronic Plating Service Inc. has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         398. According to historical BKK Corp. records, Defendant Electronic
                   27   Reclamation Service contributed manifested waste to the BKK Class I Facility.
                   28   This manifested waste contained Hazardous Substances that Defendant Electronic
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Reclamation Service generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant Electronic Reclamation Service has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5          399. According to historical BKK Corp. records, Defendant EME Corp.
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant EME Corp. generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant EME
                    9   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   10   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   11   Facility.
                   12          400. According to historical BKK Corp. records, Defendant Emery
                   13   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Emery Industries
                   15   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant Emery Industries Inc. has not incurred any response costs at the BKK
                   17   Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19          401. According to historical BKK Corp. records, Defendant Energy &
                   20   Environment Research Corp. contributed manifested waste to the BKK Class I
                   21   Facility. This manifested waste contained Hazardous Substances that Defendant
                   22   Energy & Environment Research Corp. generated and/or arranged for its disposal at
                   23   the BKK Class I Facility. To date, Defendant Energy & Environment Research
                   24   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   25   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   26   Facility.
                   27          402. According to historical BKK Corp. records, Defendant Energy
                   28   Development Co. Inc. contributed manifested waste to the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   This manifested waste contained Hazardous Substances that Defendant Energy
                    2   Development Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                    3   Facility. To date, Defendant Energy Development Co. Inc. has not incurred any
                    4   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    5   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    6         403. According to historical BKK Corp. records, Defendant Energy
                    7   Production & Sales contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Energy
                    9   Production & Sales generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Energy Production & Sales has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         404. According to historical BKK Corp. records, Defendant Engard
                   14   Coatings Corp. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Engard Coatings
                   16   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   17   date, Defendant Engard Coatings Corp. has not incurred any response costs at the
                   18   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20         405. According to historical BKK Corp. records, Defendant Engineered
                   21   Polymer Solutions Inc. contributed manifested waste to the BKK Class I Facility.
                   22   This manifested waste contained Hazardous Substances that Defendant Engineered
                   23   Polymer Solutions Inc. generated and/or arranged for its disposal at the BKK Class
                   24   I Facility. To date, Defendant Engineered Polymer Solutions Inc. has not incurred
                   25   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   26   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27         406. According to historical BKK Corp. records, Defendant Environmental
                   28   Control Systems Inc. contributed manifested waste to the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   This manifested waste contained Hazardous Substances that Defendant
                    2   Environmental Control Systems Inc. generated and/or arranged for its disposal at
                    3   the BKK Class I Facility. To date, Defendant Environmental Control Systems Inc.
                    4   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    5   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    6         407. According to historical BKK Corp. records, Defendant Environmentals
                    7   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    8   waste contained Hazardous Substances that Defendant Environmentals Inc.
                    9   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   10   Defendant Environmentals Inc. has not incurred any response costs at the BKK
                   11   Class I Facility nor has it paid its fair share of response costs incurred by the
                   12   Plaintiffs at the BKK Class I Facility.
                   13         408. According to historical BKK Corp. records, Defendant ESB Inc.
                   14   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   15   contained Hazardous Substances that Defendant ESB Inc. generated and/or
                   16   arranged for its disposal at the BKK Class I Facility. To date, Defendant ESB Inc.
                   17   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   18   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         409. According to historical BKK Corp. records, Defendant Eskimo
                   20   Radiator Manufacturing Co. contributed manifested waste to the BKK Class I
                   21   Facility. This manifested waste contained Hazardous Substances that Defendant
                   22   Eskimo Radiator Manufacturing Co. generated and/or arranged for its disposal at
                   23   the BKK Class I Facility. To date, Defendant Eskimo Radiator Manufacturing Co.
                   24   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   25   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         410. According to historical BKK Corp. records, Defendant Estee Battery
                   27   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant Estee Battery Co. generated
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                    1   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    2   Estee Battery Co. has not incurred any response costs at the BKK Class I Facility
                    3   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    4   Class I Facility.
                    5          411. According to historical BKK Corp. records, Defendant European Parts
                    6   Exchange Inc. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant European Parts
                    8   Exchange Inc. generated and/or arranged for its disposal at the BKK Class I
                    9   Facility. To date, Defendant European Parts Exchange Inc. has not incurred any
                   10   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   11   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12          412. According to historical BKK Corp. records, Defendant Everest &
                   13   Jennings Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Everest &
                   15   Jennings Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Everest & Jennings Co. Inc. has not incurred any
                   17   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   18   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19          413. According to historical BKK Corp. records, Defendant Exide Corp.
                   20   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   21   contained Hazardous Substances that Defendant Exide Corp. generated and/or
                   22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Exide
                   23   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   24   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   25   Facility.
                   26          414. According to historical BKK Corp. records, Defendant Fairchild
                   27   Industries contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Fairchild
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                    1   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                    2   date, Defendant Fairchild Industries has not incurred any response costs at the BKK
                    3   Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5         415. According to historical BKK Corp. records, Defendant Faith Plating
                    6   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Faith Plating Co. generated
                    8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    9   Faith Plating Co. has not incurred any response costs at the BKK Class I Facility
                   10   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   11   Class I Facility.
                   12         416. According to historical BKK Corp. records, Defendant Fansteel
                   13   Precision Sheet Metal contributed manifested waste to the BKK Class I Facility.
                   14   This manifested waste contained Hazardous Substances that Defendant Fansteel
                   15   Precision Sheet Metal generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Fansteel Precision Sheet Metal has not incurred any
                   17   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   18   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         417. According to historical BKK Corp. records, Defendant Farr Co.
                   20   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   21   contained Hazardous Substances that Defendant Farr Co. generated and/or arranged
                   22   for its disposal at the BKK Class I Facility. To date, Defendant Farr Co. has not
                   23   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   24   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   25         418. According to historical BKK Corp. records, Defendant Federated
                   26   Department Stores contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Federated
                   28   Department Stores generated and/or arranged for its disposal at the BKK Class I
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                    1   Facility. To date, Defendant Federated Department Stores has not incurred any
                    2   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    3   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4         419. According to historical BKK Corp. records, Defendant Fela Precision
                    5   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    6   waste contained Hazardous Substances that Defendant Fela Precision Inc. generated
                    7   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    8   Fela Precision Inc. has not incurred any response costs at the BKK Class I Facility
                    9   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   10   Class I Facility.
                   11         420. According to historical BKK Corp. records, Defendant Fiberite West
                   12   Coast Corp. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Fiberite West
                   14   Coast Corp. generated and/or arranged for its disposal at the BKK Class I Facility.
                   15   To date, Defendant Fiberite West Coast Corp. has not incurred any response costs
                   16   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   17   by the Plaintiffs at the BKK Class I Facility.
                   18         421. According to historical BKK Corp. records, Defendant Firestone Tire
                   19   & Rubber Co. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Firestone Tire &
                   21   Rubber Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   22   To date, Defendant Firestone Tire & Rubber Co. has not incurred any response
                   23   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   24   incurred by the Plaintiffs at the BKK Class I Facility.
                   25         422. According to historical BKK Corp. records, Defendant First National
                   26   Finance Corp. contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant First National
                   28   Finance Corp. generated and/or arranged for its disposal at the BKK Class I
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                    1   Facility. To date, Defendant First National Finance Corp. has not incurred any
                    2   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    3   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4          423. According to historical BKK Corp. records, Defendant Fix & Brain
                    5   Vacuum Truck Service contributed manifested waste to the BKK Class I Facility.
                    6   This manifested waste contained Hazardous Substances that Defendant Fix & Brain
                    7   Vacuum Truck Service generated and/or arranged for its disposal at the BKK Class
                    8   I Facility. To date, Defendant Fix & Brain Vacuum Truck Service has not incurred
                    9   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   10   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11          424. According to historical BKK Corp. records, Defendant Flask Chemical
                   12   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   13   contained Hazardous Substances that Defendant Flask Chemical generated and/or
                   14   arranged for its disposal at the BKK Class I Facility. To date, Defendant Flask
                   15   Chemical has not incurred any response costs at the BKK Class I Facility nor has it
                   16   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   17   Facility.
                   18          425. According to historical BKK Corp. records, Defendant Fletcher Oil &
                   19   Refining Co. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Fletcher Oil &
                   21   Refining Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   22   To date, Defendant Fletcher Oil & Refining Co. has not incurred any response costs
                   23   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   24   by the Plaintiffs at the BKK Class I Facility.
                   25          426. According to historical BKK Corp. records, Defendant Flight
                   26   Accessory Service contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Flight Accessory
                   28   Service generated and/or arranged for its disposal at the BKK Class I Facility. To
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                    1   date, Defendant Flight Accessory Service has not incurred any response costs at the
                    2   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4         427. According to historical BKK Corp. records, Defendant Flintkote Co.
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Flintkote Co. generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Flintkote
                    8   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    9   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         428. According to historical BKK Corp. records, Defendant Flying Tigers
                   11   Line contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Flying Tigers Line generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Flying Tigers Line has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         429. According to historical BKK Corp. records, Defendant Flynns Plating
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Flynns Plating Co. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Flynns Plating Co. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         430. According to historical BKK Corp. records, Defendant Fontana Truck
                   25   Wash contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Fontana Truck Wash
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Fontana Truck Wash has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         431. According to historical BKK Corp. records, Defendant Forro Precision
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Forro Precision Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Forro Precision Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         432. According to historical BKK Corp. records, Defendant Fortin
                   11   Laminating Corp. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Fortin
                   13   Laminating Corp. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Fortin Laminating Corp. has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17         433. According to historical BKK Corp. records, Defendant Foss
                   18   Environmental Services Co. contributed manifested waste to the BKK Class I
                   19   Facility. This manifested waste contained Hazardous Substances that Defendant
                   20   Foss Environmental Services Co. generated and/or arranged for its disposal at the
                   21   BKK Class I Facility. To date, Defendant Foss Environmental Services Co. has not
                   22   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   23   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         434. According to historical BKK Corp. records, Defendant Fotomat Labs
                   25   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Fotomat Labs Inc. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Fotomat Labs Inc. has not incurred any response costs at the BKK Class I Facility
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          435. According to historical BKK Corp. records, Defendant Four S. Bakery
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Four S. Bakery generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Four S.
                    7   Bakery has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          436. According to historical BKK Corp. records, Defendant Four Star
                   11   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Four Star
                   13   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Four Star Chemical Co. has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17          437. According to historical BKK Corp. records, Defendant Four Star
                   18   Disposal Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Four Star
                   20   Disposal Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Four Star Disposal Co. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24          438. According to historical BKK Corp. records, Defendant Franciscan
                   25   Ceramics Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Franciscan
                   27   Ceramics Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Franciscan Ceramics Inc. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         439. According to historical BKK Corp. records, Defendant Frazee
                    4   Industries contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Frazee Industries
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Frazee Industries has not incurred any response costs at the BKK Class I
                    8   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10         440. According to historical BKK Corp. records, Defendant Freeborn
                   11   Equipment Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Freeborn
                   13   Equipment Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Freeborn Equipment Co. Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         441. According to historical BKK Corp. records, Defendant Fresno Unified
                   18   School District contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Fresno Unified
                   20   School District generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Fresno Unified School District has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         442. According to historical BKK Corp. records, Defendant Frontier
                   25   Commodore Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Frontier
                   27   Commodore Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Frontier Commodore Inc. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         443. According to historical BKK Corp. records, Defendant Frontier
                    4   Container Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Frontier
                    6   Container Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Frontier Container Corp. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         444. According to historical BKK Corp. records, Defendant Fryer Knowles
                   11   Corp. Insulation Department contributed manifested waste to the BKK Class I
                   12   Facility. This manifested waste contained Hazardous Substances that Defendant
                   13   Fryer Knowles Corp. Insulation Department generated and/or arranged for its
                   14   disposal at the BKK Class I Facility. To date, Defendant Fryer Knowles Corp.
                   15   Insulation Department has not incurred any response costs at the BKK Class I
                   16   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   17   the BKK Class I Facility.
                   18         445. According to historical BKK Corp. records, Defendant Fullerton Joint
                   19   Union School District contributed manifested waste to the BKK Class I Facility.
                   20   This manifested waste contained Hazardous Substances that Defendant Fullerton
                   21   Joint Union School District generated and/or arranged for its disposal at the BKK
                   22   Class I Facility. To date, Defendant Fullerton Joint Union School District has not
                   23   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   24   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   25         446. According to historical BKK Corp. records, Defendant G. & W. Elco
                   26   ISD contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant G. & W. Elco ISD generated
                   28   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant G.
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                    1   & W. Elco ISD has not incurred any response costs at the BKK Class I Facility nor
                    2   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    3   Class I Facility.
                    4         447. According to historical BKK Corp. records, Defendant G. R. Nance
                    5   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    6   waste contained Hazardous Substances that Defendant G. R. Nance Co. Inc.
                    7   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    8   Defendant G. R. Nance Co. Inc. has not incurred any response costs at the BKK
                    9   Class I Facility nor has it paid its fair share of response costs incurred by the
                   10   Plaintiffs at the BKK Class I Facility.
                   11         448. According to historical BKK Corp. records, Defendant G. T. Bicycles
                   12   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   13   waste contained Hazardous Substances that Defendant G. T. Bicycles Inc.
                   14   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant G. T. Bicycles Inc. has not incurred any response costs at the BKK Class
                   16   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   17   the BKK Class I Facility.
                   18         449. According to historical BKK Corp. records, Defendant Gaffers &
                   19   Sattler Inc. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Gaffers & Sattler
                   21   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   22   Defendant Gaffers & Sattler Inc. has not incurred any response costs at the BKK
                   23   Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25         450. According to historical BKK Corp. records, Defendant Gainey
                   26   Ceramics contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Gainey Ceramics
                   28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
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                    1   Defendant Gainey Ceramics has not incurred any response costs at the BKK Class I
                    2   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    3   the BKK Class I Facility.
                    4          451. According to historical BKK Corp. records, Defendant Gardena
                    5   Cheese contributed manifested waste to the BKK Class I Facility. This manifested
                    6   waste contained Hazardous Substances that Defendant Gardena Cheese generated
                    7   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    8   Gardena Cheese has not incurred any response costs at the BKK Class I Facility nor
                    9   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   10   Class I Facility.
                   11          452. According to historical BKK Corp. records, Defendant Gardena
                   12   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Gardena Plating
                   14   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant Gardena Plating Co. has not incurred any response costs at the BKK
                   16   Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18          453. According to historical BKK Corp. records, Defendant Gates Admiral
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Gates Admiral generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Gates
                   22   Admiral has not incurred any response costs at the BKK Class I Facility nor has it
                   23   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   24   Facility.
                   25          454. Upon information and belief, Gel Industries, Inc. is the successor to
                   26   Sun Exploration and/or otherwise liable for such manifested waste that was
                   27   contributed to the BKK Class I Facility by Quality Aluminum Forge. According to
                   28   historical BKK Corp. records, Defendant Quality Aluminum Forge Co. contributed
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                    1   manifested waste to the BKK Class I Facility. This manifested waste contained
                    2   Hazardous Substances that Defendant Quality Aluminum Forge Co. generated
                    3   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    4   Quality Aluminum Forge Co. has not incurred any response costs at the BKK Class
                    5   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    6   the BKK Class I Facility.
                    7         455. According to historical BKK Corp. records, Defendant General
                    8   Battery Corp. contributed manifested waste to the BKK Class I Facility. This
                    9   manifested waste contained Hazardous Substances that Defendant General Battery
                   10   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   11   date, Defendant General Battery Corp. has not incurred any response costs at the
                   12   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14         456. According to historical BKK Corp. records, Defendant General
                   15   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant General
                   17   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
                   18   Facility. To date, Defendant General Chemical Corp. has not incurred any response
                   19   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   20   incurred by the Plaintiffs at the BKK Class I Facility.
                   21         457. According to historical BKK Corp. records, Defendant Genes Plating
                   22   & Spectrum Co. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Genes Plating &
                   24   Spectrum Co. generated and/or arranged for its disposal at the BKK Class I
                   25   Facility. To date, Defendant Genes Plating & Spectrum Co. has not incurred any
                   26   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   27   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1         458. According to historical BKK Corp. records, Defendant Gerard Metal
                    2   Craftsmen Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Gerard Metal
                    4   Craftsmen Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Gerard Metal Craftsmen Inc. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         459. According to historical BKK Corp. records, Defendant Gillespie
                    9   Furniture Manufacturing contributed manifested waste to the BKK Class I Facility.
                   10   This manifested waste contained Hazardous Substances that Defendant Gillespie
                   11   Furniture Manufacturing generated and/or arranged for its disposal at the BKK
                   12   Class I Facility. To date, Defendant Gillespie Furniture Manufacturing has not
                   13   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   14   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         460. According to historical BKK Corp. records, Defendant Gilmore
                   16   Envelope Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Gilmore
                   18   Envelope Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Gilmore Envelope Corp. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22         461. According to historical BKK Corp. records, Defendant Glass Arts
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Glass Arts generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Glass Arts
                   26   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   27   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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                    1         462. According to historical BKK Corp. records, Defendant Glassteel Co.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Glassteel Co. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Glassteel
                    5   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         463. According to historical BKK Corp. records, Defendant Globe Meat
                    8   Packing contributed manifested waste to the BKK Class I Facility. This manifested
                    9   waste contained Hazardous Substances that Defendant Globe Meat Packing
                   10   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   11   Defendant Globe Meat Packing has not incurred any response costs at the BKK
                   12   Class I Facility nor has it paid its fair share of response costs incurred by the
                   13   Plaintiffs at the BKK Class I Facility.
                   14         464. According to historical BKK Corp. records, Defendant Gold Pack
                   15   Meat Co. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Gold Pack Meat
                   17   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   18   Defendant Gold Pack Meat Co. has not incurred any response costs at the BKK
                   19   Class I Facility nor has it paid its fair share of response costs incurred by the
                   20   Plaintiffs at the BKK Class I Facility.
                   21         465. According to historical BKK Corp. records, Defendant Golden West
                   22   Airlines contributed manifested waste to the BKK Class I Facility. This manifested
                   23   waste contained Hazardous Substances that Defendant Golden West Airlines
                   24   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   25   Defendant Golden West Airlines has not incurred any response costs at the BKK
                   26   Class I Facility nor has it paid its fair share of response costs incurred by the
                   27   Plaintiffs at the BKK Class I Facility.
                   28
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                    1          466. According to historical BKK Corp. records, Defendant Golden Wool
                    2   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Golden Wool Co. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Golden Wool Co. has not incurred any response costs at the BKK Class I Facility
                    6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8          467. According to historical BKK Corp. records, Defendant Good Tables
                    9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Good Tables Inc. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Good Tables Inc. has not incurred any response costs at the BKK Class I Facility
                   13   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15          468. According to historical BKK Corp. records, Defendant Goodyear
                   16   Aerospace Corp. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Goodyear
                   18   Aerospace Corp. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Goodyear Aerospace Corp. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22          469. According to historical BKK Corp. records, Defendant GPS Industries
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant GPS Industries generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant GPS
                   26   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   27   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   28   Facility.
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                    1         470. According to historical BKK Corp. records, Defendant Graphic
                    2   Research Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Graphic
                    4   Research Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Graphic Research Inc. has not incurred any response costs at the
                    6   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8         471. According to historical BKK Corp. records, Defendant Gravure West
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Gravure West generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Gravure
                   12   West has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14         472. According to historical BKK Corp. records, Defendant Gray Truck
                   15   Lines contributed manifested waste to the BKK Class I Facility. This manifested
                   16   waste contained Hazardous Substances that Defendant Gray Truck Lines generated
                   17   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   18   Gray Truck Lines has not incurred any response costs at the BKK Class I Facility
                   19   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   20   Class I Facility.
                   21         473. According to historical BKK Corp. records, Defendant Greer
                   22   Hydraulics Inc. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Greer Hydraulics
                   24   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   25   Defendant Greer Hydraulics Inc. has not incurred any response costs at the BKK
                   26   Class I Facility nor has it paid its fair share of response costs incurred by the
                   27   Plaintiffs at the BKK Class I Facility.
                   28
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                    1          474. According to historical BKK Corp. records, Defendant Greer Products
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Greer Products generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Greer
                    5   Products has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          475. According to historical BKK Corp. records, Defendant Grefco Inc.
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Grefco Inc. generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Grefco
                   12   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14          476. According to historical BKK Corp. records, Defendant Gregg
                   15   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Gregg Industries
                   17   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   18   Defendant Gregg Industries Inc. has not incurred any response costs at the BKK
                   19   Class I Facility nor has it paid its fair share of response costs incurred by the
                   20   Plaintiffs at the BKK Class I Facility.
                   21          477. According to historical BKK Corp. records, Defendant Grindley
                   22   Manufacturing Inc. contributed manifested waste to the BKK Class I Facility. This
                   23   manifested waste contained Hazardous Substances that Defendant Grindley
                   24   Manufacturing Inc. generated and/or arranged for its disposal at the BKK Class I
                   25   Facility. To date, Defendant Grindley Manufacturing Inc. has not incurred any
                   26   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   27   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         478. According to historical BKK Corp. records, Defendant Grover
                    2   Products Co. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Grover Products
                    4   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Grover Products Co. has not incurred any response costs at the BKK
                    6   Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8         479. According to historical BKK Corp. records, Defendant Grow Group
                    9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Grow Group Inc. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Grow Group Inc. has not incurred any response costs at the BKK Class I Facility
                   13   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         480. According to historical BKK Corp. records, Defendant Guaranteed
                   16   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Guaranteed
                   18   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Guaranteed Products Inc. has not incurred any response costs at
                   20   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   21   the Plaintiffs at the BKK Class I Facility.
                   22         481. According to historical BKK Corp. records, Defendant H. & A. Plating
                   23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant H. & A. Plating Co.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant H. & A. Plating Co. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         482. According to historical BKK Corp. records, Defendant H. & C.
                    2   Disposal contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant H. & C. Disposal generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant H.
                    5   & C. Disposal has not incurred any response costs at the BKK Class I Facility nor
                    6   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8         483. According to historical BKK Corp. records, Defendant H. H.
                    9   Robertson Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant H. H. Robertson
                   11   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant H. H. Robertson Co. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         484. According to historical BKK Corp. records, Defendant H. Krasne
                   16   Manufacturing Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   17   This manifested waste contained Hazardous Substances that Defendant H. Krasne
                   18   Manufacturing Co. Inc. generated and/or arranged for its disposal at the BKK Class
                   19   I Facility. To date, Defendant H. Krasne Manufacturing Co. Inc. has not incurred
                   20   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   21   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         485. According to historical BKK Corp. records, Defendant Hall Heat
                   23   Treating Co. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Hall Heat
                   25   Treating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Hall Heat Treating Co. has not incurred any response costs at
                   27   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   28   the Plaintiffs at the BKK Class I Facility.
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                    1         486. According to historical BKK Corp. records, Defendant Hallmark
                    2   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Hallmark
                    4   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Hallmark Circuits Inc. has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8         487. According to historical BKK Corp. records, Defendant Halstead
                    9   Enterprises contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Halstead
                   11   Enterprises generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Halstead Enterprises has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         488. According to historical BKK Corp. records, Defendant Hamilton
                   16   Construction Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Hamilton
                   18   Construction Co. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Hamilton Construction Co. has not incurred any
                   20   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   21   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         489. According to historical BKK Corp. records, Defendant Hampton Oil
                   23   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Hampton Oil Co. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Hampton Oil Co. has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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                    1         490. According to historical BKK Corp. records, Defendant Hanks Service
                    2   Station Maintenance Inc. contributed manifested waste to the BKK Class I Facility.
                    3   This manifested waste contained Hazardous Substances that Defendant Hanks
                    4   Service Station Maintenance Inc. generated and/or arranged for its disposal at the
                    5   BKK Class I Facility. To date, Defendant Hanks Service Station Maintenance Inc.
                    6   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    7   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         491. According to historical BKK Corp. records, Defendant Harland M.
                    9   Brown & Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Harland M.
                   11   Brown & Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Harland M. Brown & Co. has not incurred any response costs at
                   13   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   14   the Plaintiffs at the BKK Class I Facility.
                   15         492. According to historical BKK Corp. records, Defendant Harlyn
                   16   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Harlyn Products
                   18   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Harlyn Products Inc. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         493. According to historical BKK Corp. records, Defendant Harpers of
                   23   California contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Harpers of
                   25   California generated and/or arranged for its disposal at the BKK Class I Facility. To
                   26   date, Defendant Harpers of California has not incurred any response costs at the
                   27   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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                    1          494. According to historical BKK Corp. records, Defendant Harris Tube
                    2   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Harris Tube Inc. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Harris Tube Inc. has not incurred any response costs at the BKK Class I Facility nor
                    6   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8          495. According to historical BKK Corp. records, Defendant Hartley Co.
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Hartley Co. generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Hartley
                   12   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14          496. According to historical BKK Corp. records, Defendant Hartwell Corp.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Hartwell Corp. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Hartwell
                   18   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   19   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   20   Facility.
                   21          497. According to historical BKK Corp. records, Defendant Headnall Inc.
                   22   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   23   contained Hazardous Substances that Defendant Headnall Inc. generated and/or
                   24   arranged for its disposal at the BKK Class I Facility. To date, Defendant Headnall
                   25   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   26   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27          498. According to historical BKK Corp. records, Defendant Heads Up
                   28   Industries contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant Heads Up
                    2   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                    3   date, Defendant Heads Up Industries has not incurred any response costs at the
                    4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    5   Plaintiffs at the BKK Class I Facility.
                    6          499. According to historical BKK Corp. records, Defendant Heist
                    7   Maintenance Services Inc. contributed manifested waste to the BKK Class I
                    8   Facility. This manifested waste contained Hazardous Substances that Defendant
                    9   Heist Maintenance Services Inc. generated and/or arranged for its disposal at the
                   10   BKK Class I Facility. To date, Defendant Heist Maintenance Services Inc. has not
                   11   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   12   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13          500. According to historical BKK Corp. records, Defendant Helene Curtis
                   14   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   15   contained Hazardous Substances that Defendant Helene Curtis generated and/or
                   16   arranged for its disposal at the BKK Class I Facility. To date, Defendant Helene
                   17   Curtis has not incurred any response costs at the BKK Class I Facility nor has it
                   18   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   19   Facility.
                   20          501. According to historical BKK Corp. records, Defendant Henry Soss &
                   21   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   22   waste contained Hazardous Substances that Defendant Henry Soss & Co. Inc.
                   23   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   24   Defendant Henry Soss & Co. Inc. has not incurred any response costs at the BKK
                   25   Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27          502. According to historical BKK Corp. records, Defendant Hercules Oil
                   28   Co. contributed manifested waste to the BKK Class I Facility. This manifested
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                    1   waste contained Hazardous Substances that Defendant Hercules Oil Co. generated
                    2   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    3   Hercules Oil Co. has not incurred any response costs at the BKK Class I Facility
                    4   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    5   Class I Facility.
                    6         503. According to historical BKK Corp. records, Defendant Herman
                    7   Weissker contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Herman
                    9   Weissker generated and/or arranged for its disposal at the BKK Class I Facility. To
                   10   date, Defendant Herman Weissker has not incurred any response costs at the BKK
                   11   Class I Facility nor has it paid its fair share of response costs incurred by the
                   12   Plaintiffs at the BKK Class I Facility.
                   13         504. According to historical BKK Corp. records, Defendant Hermetic
                   14   Systems Inc. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Hermetic
                   16   Systems Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   17   To date, Defendant Hermetic Systems Inc. has not incurred any response costs at
                   18   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   19   the Plaintiffs at the BKK Class I Facility.
                   20         505. According to historical BKK Corp. records, Defendant Highland
                   21   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant Highland Plating
                   23   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   24   Defendant Highland Plating Co. has not incurred any response costs at the BKK
                   25   Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27         506. According to historical BKK Corp. records, Defendant Hillcrest
                   28   Beverly Oil Corp. contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant Hillcrest Beverly
                    2   Oil Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    3   date, Defendant Hillcrest Beverly Oil Corp. has not incurred any response costs at
                    4   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    5   the Plaintiffs at the BKK Class I Facility.
                    6         507. According to historical BKK Corp. records, Defendant Hines
                    7   Wholesale Nurseries contributed manifested waste to the BKK Class I Facility.
                    8   This manifested waste contained Hazardous Substances that Defendant Hines
                    9   Wholesale Nurseries generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Hines Wholesale Nurseries has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         508. According to historical BKK Corp. records, Defendant Hi-Production
                   14   Forge Co. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Hi-Production
                   16   Forge Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   17   date, Defendant Hi-Production Forge Co. has not incurred any response costs at the
                   18   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20         509. According to historical BKK Corp. records, Defendant Hixson Metal
                   21   Finishing contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant Hixson Metal
                   23   Finishing generated and/or arranged for its disposal at the BKK Class I Facility. To
                   24   date, Defendant Hixson Metal Finishing has not incurred any response costs at the
                   25   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27         510. According to historical BKK Corp. records, Defendant Hoffman
                   28   Electronics contributed manifested waste to the BKK Class I Facility. This
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   manifested waste contained Hazardous Substances that Defendant Hoffman
                    2   Electronics generated and/or arranged for its disposal at the BKK Class I Facility.
                    3   To date, Defendant Hoffman Electronics has not incurred any response costs at the
                    4   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    5   Plaintiffs at the BKK Class I Facility.
                    6          511. According to historical BKK Corp. records, Defendant Homexx
                    7   International Corp. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Homexx
                    9   International Corp. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Homexx International Corp. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13          512. According to historical BKK Corp. records, Defendant Hon Industries
                   14   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   15   contained Hazardous Substances that Defendant Hon Industries generated and/or
                   16   arranged for its disposal at the BKK Class I Facility. To date, Defendant Hon
                   17   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   18   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   19   Facility.
                   20          513. According to historical BKK Corp. records, Defendant Hooker
                   21   Industries contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant Hooker
                   23   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   24   date, Defendant Hooker Industries has not incurred any response costs at the BKK
                   25   Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27          514. According to historical BKK Corp. records, Defendant Hordis
                   28   Brothers contributed manifested waste to the BKK Class I Facility. This manifested
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   waste contained Hazardous Substances that Defendant Hordis Brothers generated
                    2   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    3   Hordis Brothers has not incurred any response costs at the BKK Class I Facility nor
                    4   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    5   Class I Facility.
                    6         515. According to historical BKK Corp. records, Defendant Hoya Lens of
                    7   America Inc. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Hoya Lens of
                    9   America Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   10   To date, Defendant Hoya Lens of America Inc. has not incurred any response costs
                   11   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   12   by the Plaintiffs at the BKK Class I Facility.
                   13         516. According to historical BKK Corp. records, Defendant Huck
                   14   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Huck
                   16   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   17   Facility. To date, Defendant Huck Manufacturing Co. has not incurred any response
                   18   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   19   incurred by the Plaintiffs at the BKK Class I Facility.
                   20         517. According to historical BKK Corp. records, Defendant Huffman
                   21   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant Huffman
                   23   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   24   Facility. To date, Defendant Huffman Manufacturing Co. has not incurred any
                   25   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   26   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27         518. According to historical BKK Corp. records, Defendant Humco
                   28   Products contributed manifested waste to the BKK Class I Facility. This manifested
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   waste contained Hazardous Substances that Defendant Humco Products generated
                    2   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    3   Humco Products has not incurred any response costs at the BKK Class I Facility
                    4   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    5   Class I Facility.
                    6         519. According to historical BKK Corp. records, Defendant Huntington
                    7   Signal Oil Co. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Huntington
                    9   Signal Oil Co. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant Huntington Signal Oil Co. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13         520. According to historical BKK Corp. records, Defendant Huntington
                   14   Tile Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   15   waste contained Hazardous Substances that Defendant Huntington Tile Inc.
                   16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   17   Defendant Huntington Tile Inc. has not incurred any response costs at the BKK
                   18   Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20         521. According to historical BKK Corp. records, Defendant Huntmix Inc.
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Huntmix Inc. generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Huntmix
                   24   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   25   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         522. According to historical BKK Corp. records, Defendant Hyatt Die Cast
                   27   & Engineering Corp. contributed manifested waste to the BKK Class I Facility.
                   28   This manifested waste contained Hazardous Substances that Defendant Hyatt Die
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Cast & Engineering Corp. generated and/or arranged for its disposal at the BKK
                    2   Class I Facility. To date, Defendant Hyatt Die Cast & Engineering Corp. has not
                    3   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    4   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         523. According to historical BKK Corp. records, Defendant Hydraulic
                    6   Units Inc. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Hydraulic Units
                    8   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant Hydraulic Units Inc. has not incurred any response costs at the BKK
                   10   Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12         524. According to historical BKK Corp. records, Defendant Hydrochem
                   13   Industrial Services Inc. contributed manifested waste to the BKK Class I Facility.
                   14   This manifested waste contained Hazardous Substances that Defendant Hydrochem
                   15   Industrial Services Inc. generated and/or arranged for its disposal at the BKK Class
                   16   I Facility. To date, Defendant Hydrochem Industrial Services Inc. has not incurred
                   17   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   18   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         525. According to historical BKK Corp. records, Defendant Ibis Systems
                   20   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   21   waste contained Hazardous Substances that Defendant Ibis Systems Inc. generated
                   22   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Ibis
                   23   Systems Inc. has not incurred any response costs at the BKK Class I Facility nor
                   24   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   25   Class I Facility.
                   26         526. According to historical BKK Corp. records, Defendant ICN
                   27   Pharmaceuticals contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant ICN
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Pharmaceuticals generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant ICN Pharmaceuticals has not incurred any response
                    3   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    4   incurred by the Plaintiffs at the BKK Class I Facility.
                    5          527. According to historical BKK Corp. records, Defendant Ideal Uniform
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant Ideal Uniform generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ideal
                    9   Uniform has not incurred any response costs at the BKK Class I Facility nor has it
                   10   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   11   Facility.
                   12          528. According to historical BKK Corp. records, Defendant IMCO
                   13   Container contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant IMCO Container
                   15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant IMCO Container has not incurred any response costs at the BKK Class I
                   17   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   18   the BKK Class I Facility.
                   19          529. According to historical BKK Corp. records, Defendant Imperial
                   20   Metals Corp. of America contributed manifested waste to the BKK Class I Facility.
                   21   This manifested waste contained Hazardous Substances that Defendant Imperial
                   22   Metals Corp. of America generated and/or arranged for its disposal at the BKK
                   23   Class I Facility. To date, Defendant Imperial Metals Corp. of America has not
                   24   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   25   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26          530. According to historical BKK Corp. records, Defendant Inca Products
                   27   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant Inca Products Co. generated
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    2   Inca Products Co. has not incurred any response costs at the BKK Class I Facility
                    3   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    4   Class I Facility.
                    5         531. According to historical BKK Corp. records, Defendant Inco United
                    6   States Inc. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Inco United
                    8   States Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    9   To date, Defendant Inco United States Inc. has not incurred any response costs at
                   10   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   11   the Plaintiffs at the BKK Class I Facility.
                   12         532. According to historical BKK Corp. records, Defendant Industrial
                   13   Circuits contributed manifested waste to the BKK Class I Facility. This manifested
                   14   waste contained Hazardous Substances that Defendant Industrial Circuits generated
                   15   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   16   Industrial Circuits has not incurred any response costs at the BKK Class I Facility
                   17   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   18   Class I Facility.
                   19         533. According to historical BKK Corp. records, Defendant Industrial
                   20   Insulators & Supply Inc. contributed manifested waste to the BKK Class I Facility.
                   21   This manifested waste contained Hazardous Substances that Defendant Industrial
                   22   Insulators & Supply Inc. generated and/or arranged for its disposal at the BKK
                   23   Class I Facility. To date, Defendant Industrial Insulators & Supply Inc. has not
                   24   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   25   of response costs incurred by the Plaintiffs at the BKK Class I Facility
                   26         534. According to historical BKK Corp. records, Defendant Industrial
                   27   International Corp. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Industrial
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   International Corp. generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant Industrial International Corp. has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         535. According to historical BKK Corp. records, Defendant Industrial
                    6   Rubber Cement Co. Inc. contributed manifested waste to the BKK Class I Facility.
                    7   This manifested waste contained Hazardous Substances that Defendant Industrial
                    8   Rubber Cement Co. Inc. generated and/or arranged for its disposal at the BKK
                    9   Class I Facility. To date, Defendant Industrial Rubber Cement Co. Inc. has not
                   10   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   11   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12         536. According to historical BKK Corp. records, Defendant Industrial Steel
                   13   Treating Co. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Industrial Steel
                   15   Treating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   16   To date, Defendant Industrial Steel Treating Co. has not incurred any response
                   17   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   18   incurred by the Plaintiffs at the BKK Class I Facility.
                   19         537. According to historical BKK Corp. records, Defendant Industrial
                   20   Tectonics Bearings contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Industrial
                   22   Tectonics Bearings generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant Industrial Tectonics Bearings has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         538. According to historical BKK Corp. records, Defendant Industrial
                   27   Uniform contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant Industrial Uniform
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant Industrial Uniform has not incurred any response costs at the BKK Class
                    3   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    4   the BKK Class I Facility.
                    5         539. According to historical BKK Corp. records, Defendant Industrial
                    6   Waste Engineering contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Industrial Waste
                    8   Engineering generated and/or arranged for its disposal at the BKK Class I Facility.
                    9   To date, Defendant Industrial Waste Engineering has not incurred any response
                   10   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   11   incurred by the Plaintiffs at the BKK Class I Facility.
                   12         540. According to historical BKK Corp. records, Defendant Industrial Wire
                   13   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   14   waste contained Hazardous Substances that Defendant Industrial Wire Corp.
                   15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant Industrial Wire Corp. has not incurred any response costs at the BKK
                   17   Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19         541. According to historical BKK Corp. records, Defendant Inglewood
                   20   Unified School District contributed manifested waste to the BKK Class I Facility.
                   21   This manifested waste contained Hazardous Substances that Defendant Inglewood
                   22   Unified School District generated and/or arranged for its disposal at the BKK Class
                   23   I Facility. To date, Defendant Inglewood Unified School District has not incurred
                   24   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   25   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         542. According to historical BKK Corp. records, Defendant Inland
                   27   Container Corp. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Inland Container
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    2   date, Defendant Inland Container Corp. has not incurred any response costs at the
                    3   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5         543. According to historical BKK Corp. records, Defendant Inland
                    6   Shopping Center contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Inland Shopping
                    8   Center generated and/or arranged for its disposal at the BKK Class I Facility. To
                    9   date, Defendant Inland Shopping Center has not incurred any response costs at the
                   10   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12         544. According to historical BKK Corp. records, Defendant Innovated
                   13   Electronics contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Innovated
                   15   Electronics generated and/or arranged for its disposal at the BKK Class I Facility.
                   16   To date, Defendant Innovated Electronics has not incurred any response costs at the
                   17   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19         545. According to historical BKK Corp. records, Defendant International
                   20   Decoratives Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant International
                   22   Decoratives Inc. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant International Decoratives Inc. has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         546. According to historical BKK Corp. records, Defendant International
                   27   Electronic Research Corp. contributed manifested waste to the BKK Class I
                   28   Facility. This manifested waste contained Hazardous Substances that Defendant
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   International Electronic Research Corp. generated and/or arranged for its disposal at
                    2   the BKK Class I Facility. To date, Defendant International Electronic Research
                    3   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    4   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    5   Facility.
                    6          547. According to historical BKK Corp. records, Defendant International
                    7   Extrusion Corp. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant International
                    9   Extrusion Corp. generated and/or arranged for its disposal at the BKK Class I
                   10   Facility. To date, Defendant International Extrusion Corp. has not incurred any
                   11   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   12   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   13          548. According to historical BKK Corp. records, Defendant International
                   14   Polymer Corp. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant International
                   16   Polymer Corp. generated and/or arranged for its disposal at the BKK Class I
                   17   Facility. To date, Defendant International Polymer Corp. has not incurred any
                   18   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   19   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   20          549. According to historical BKK Corp. records, Defendant Interweb
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Interweb generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Interweb
                   24   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   25   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26          550. According to historical BKK Corp. records, Defendant Investment
                   27   Recovery Services Inc. contributed manifested waste to the BKK Class I Facility.
                   28   This manifested waste contained Hazardous Substances that Defendant Investment
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Recovery Services Inc. generated and/or arranged for its disposal at the BKK Class
                    2   I Facility. To date, Defendant Investment Recovery Services Inc. has not incurred
                    3   any response costs at the BKK Class I Facility nor has it paid its fair share of
                    4   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         551. According to historical BKK Corp. records, Defendant Isaac Cohen &
                    6   Son Metals contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Isaac Cohen &
                    8   Son Metals generated and/or arranged for its disposal at the BKK Class I Facility.
                    9   To date, Defendant Isaac Cohen & Son Metals has not incurred any response costs
                   10   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   11   by the Plaintiffs at the BKK Class I Facility.
                   12         552. According to historical BKK Corp. records, Defendant ITT Courier
                   13   Terminal Systems Inc. contributed manifested waste to the BKK Class I Facility.
                   14   This manifested waste contained Hazardous Substances that Defendant ITT Courier
                   15   Terminal Systems Inc. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant ITT Courier Terminal Systems Inc. has not incurred
                   17   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   18   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         553. According to historical BKK Corp. records, Defendant J. & S. Chrome
                   20   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant J. & S. Chrome
                   22   Plating Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant J. & S. Chrome Plating Co. Inc. has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         554. According to historical BKK Corp. records, Defendant J. & S.
                   27   Laboratories Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant J. & S.
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Laboratories Inc. generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant J. & S. Laboratories Inc. has not incurred any response
                    3   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    4   incurred by the Plaintiffs at the BKK Class I Facility.
                    5         555. According to historical BKK Corp. records, Defendant J. C. Inc.
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant J. C. Inc. generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant J. C. Inc.
                    9   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   10   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         556. According to historical BKK Corp. records, Defendant J. L. Jones &
                   12   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   13   waste contained Hazardous Substances that Defendant J. L. Jones & Co. generated
                   14   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant J.
                   15   L. Jones & Co. has not incurred any response costs at the BKK Class I Facility nor
                   16   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   17   Class I Facility.
                   18         557. According to historical BKK Corp. records, Defendant J. L. Manta
                   19   Plant Services contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant J. L. Manta Plant
                   21   Services generated and/or arranged for its disposal at the BKK Class I Facility. To
                   22   date, Defendant J. L. Manta Plant Services has not incurred any response costs at
                   23   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   24   the Plaintiffs at the BKK Class I Facility.
                   25         558. According to historical BKK Corp. records, Defendant J. W. Carrol &
                   26   Sons contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant J. W. Carrol & Sons
                   28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Defendant J. W. Carrol & Sons has not incurred any response costs at the BKK
                    2   Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4         559. According to historical BKK Corp. records, Defendant Jacat Oil Co.
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Jacat Oil Co. generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Jacat Oil
                    8   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    9   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         560. According to historical BKK Corp. records, Defendant Jack Cline
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Jack Cline generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Jack Cline
                   14   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   15   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         561. According to historical BKK Corp. records, Defendant James Jones
                   17   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant James Jones Co. Inc.
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant James Jones Co. Inc. has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         562. According to historical BKK Corp. records, Defendant Jay Die Casting
                   24   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   25   contained Hazardous Substances that Defendant Jay Die Casting generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Jay Die
                   27   Casting has not incurred any response costs at the BKK Class I Facility nor has it
                   28
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          563. According to historical BKK Corp. records, Defendant Jaybee
                    4   Manufacturing Corp. contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Jaybee
                    6   Manufacturing Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Jaybee Manufacturing Corp. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          564. According to historical BKK Corp. records, Defendant JCX
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant JCX generated and/or arranged for
                   13   its disposal at the BKK Class I Facility. To date, Defendant JCX has not incurred
                   14   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   15   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16          565. According to historical BKK Corp. records, Defendant Jenkins Oil Co.
                   17   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Jenkins Oil Co. Inc.
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Jenkins Oil Co. Inc. has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23          566. According to historical BKK Corp. records, Defendant Jennings
                   24   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Jennings Plating
                   26   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Jennings Plating Co. Inc. has not incurred any response costs at the
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          567. According to historical BKK Corp. records, Defendant Jerrald
                    4   Properties contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Jerrald
                    6   Properties generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Jerrald Properties has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          568. According to historical BKK Corp. records, Defendant Jerry Goodwill
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Jerry Goodwill generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Jerry
                   14   Goodwill has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          569. According to historical BKK Corp. records, Defendant Jersey Maid
                   18   Milk Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Jersey Maid
                   20   Milk Products Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Jersey Maid Milk Products Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          570. According to historical BKK Corp. records, Defendant Jetronic
                   25   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Jetronic
                   27   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Jetronic Industries Inc. has not incurred any response
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         571. According to historical BKK Corp. records, Defendant JMB Property
                    4   Management contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant JMB Property
                    6   Management generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant JMB Property Management has not incurred any response costs
                    8   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    9   by the Plaintiffs at the BKK Class I Facility.
                   10         572. According to historical BKK Corp. records, Defendant John D. Lusk
                   11   & Sons contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant John D. Lusk & Sons
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant John D. Lusk & Sons has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         573. According to historical BKK Corp. records, Defendant Johnston Pump
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Johnston Pump Co.
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Johnston Pump Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         574. According to historical BKK Corp. records, Defendant Jones Chemical
                   25   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Jones Chemical Co.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Jones Chemical Co. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         575. According to historical BKK Corp. records, Defendant Jorco Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Jorco Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Jorco Inc.
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         576. According to historical BKK Corp. records, Defendant Joy Petroleum
                   10   Equipment contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Joy Petroleum
                   12   Equipment generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Joy Petroleum Equipment has not incurred any response costs at
                   14   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   15   the Plaintiffs at the BKK Class I Facility.
                   16         577. According to historical BKK Corp. records, Defendant K. L. Redfern
                   17   Construction Co. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant K. L. Redfern
                   19   Construction Co. generated and/or arranged for its disposal at the BKK Class I
                   20   Facility. To date, Defendant K. L. Redfern Construction Co. has not incurred any
                   21   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   22   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         578. According to historical BKK Corp. records, Defendant Kaiser
                   24   Aerospace contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Kaiser
                   26   Aerospace generated and/or arranged for its disposal at the BKK Class I Facility.
                   27   To date, Defendant Kaiser Aerospace has not incurred any response costs at the
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          579. According to historical BKK Corp. records, Defendant Kaiser Pipes &
                    4   Casing contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Kaiser Pipes & Casing
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Kaiser Pipes & Casing has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          580. According to historical BKK Corp. records, Defendant Kaiser Rollmet
                   11   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Kaiser Rollmet Inc.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Kaiser Rollmet Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          581. According to historical BKK Corp. records, Defendant Kay Brunner
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Kay Brunner generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Kay
                   21   Brunner has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          582. According to historical BKK Corp. records, Defendant Kaynar
                   25   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Kaynar
                   27   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Kaynar Manufacturing Co. has not incurred any
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         583. According to historical BKK Corp. records, Defendant Keeco
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Keeco generated and/or arranged
                    6   for its disposal at the BKK Class I Facility. To date, Defendant Keeco has not
                    7   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    8   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         584. According to historical BKK Corp. records, Defendant Keller Street
                   10   Development Co. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Keller Street
                   12   Development Co. generated and/or arranged for its disposal at the BKK Class I
                   13   Facility. To date, Defendant Keller Street Development Co. has not incurred any
                   14   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   15   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         585. According to historical BKK Corp. records, Defendant Kelley
                   17   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Kelley
                   19   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   20   Facility. To date, Defendant Kelley Manufacturing Co. has not incurred any
                   21   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   22   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         586. According to historical BKK Corp. records, Defendant Kelly Moore
                   24   Paint Co. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Kelly Moore
                   26   Paint Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Kelly Moore Paint Co. has not incurred any response costs at the
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         587. According to historical BKK Corp. records, Defendant Ken-Air Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Ken-Air Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ken-Air
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         588. According to historical BKK Corp. records, Defendant Kenetex
                   10   Chemicals contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Kenetex
                   12   Chemicals generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Kenetex Chemicals has not incurred any response costs at the
                   14   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   15   Plaintiffs at the BKK Class I Facility.
                   16         589. According to historical BKK Corp. records, Defendant Kenosha Auto
                   17   Transport contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Kenosha Auto
                   19   Transport generated and/or arranged for its disposal at the BKK Class I Facility. To
                   20   date, Defendant Kenosha Auto Transport has not incurred any response costs at the
                   21   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         590. According to historical BKK Corp. records, Defendant Kern Foods
                   24   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Kern Foods Inc. generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Kern Foods Inc. has not incurred any response costs at the BKK Class I Facility nor
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         591. According to historical BKK Corp. records, Defendant Kern Union
                    4   High School District contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Kern Union
                    6   High School District generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Kern Union High School District has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         592. According to historical BKK Corp. records, Defendant Ketema
                   11   Aluminum Extrusion contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Ketema
                   13   Aluminum Extrusion generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Ketema Aluminum Extrusion has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         593. According to historical BKK Corp. records, Defendant Keuffel &
                   18   Esser Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Keuffel & Esser
                   20   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Keuffel & Esser Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         594. According to historical BKK Corp. records, Defendant Keystone
                   25   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Keystone
                   27   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Keystone Products Inc. has not incurred any response costs at
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         595. According to historical BKK Corp. records, Defendant Kimco
                    4   Manufacturing Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Kimco
                    6   Manufacturing Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Kimco Manufacturing Inc. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         596. According to historical BKK Corp. records, Defendant Kinsbursky
                   11   Brothers Supply Inc. contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Kinsbursky
                   13   Brothers Supply Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Kinsbursky Brothers Supply Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         597. According to historical BKK Corp. records, Defendant Kirkhill Inc.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Kirkhill Inc. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Kirkhill
                   21   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         598. According to historical BKK Corp. records, Defendant Kleer Pak
                   24   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   25   contained Hazardous Substances that Defendant Kleer Pak generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Kleer Pak
                   27   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   28   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1          599. According to historical BKK Corp. records, Defendant KLM Oil Co.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant KLM Oil Co. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant KLM Oil
                    5   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    6   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7          600. According to historical BKK Corp. records, Defendant Knape & Vogt
                    8   Manufacturing contributed manifested waste to the BKK Class I Facility. This
                    9   manifested waste contained Hazardous Substances that Defendant Knape & Vogt
                   10   Manufacturing generated and/or arranged for its disposal at the BKK Class I
                   11   Facility. To date, Defendant Knape & Vogt Manufacturing has not incurred any
                   12   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   13   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14          601. According to historical BKK Corp. records, Defendant Knudsen Corp.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Knudsen Corp. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Knudsen
                   18   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   19   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   20   Facility.
                   21          602. According to historical BKK Corp. records, Defendant Koboway
                   22   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   23   contained Hazardous Substances that Defendant Koboway generated and/or
                   24   arranged for its disposal at the BKK Class I Facility. To date, Defendant Koboway
                   25   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   26   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27          603. According to historical BKK Corp. records, Defendant Koch Asphalt
                   28   Co. Oil contributed manifested waste to the BKK Class I Facility. This manifested
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   waste contained Hazardous Substances that Defendant Koch Asphalt Co. Oil
                    2   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    3   Defendant Koch Asphalt Co. Oil has not incurred any response costs at the BKK
                    4   Class I Facility nor has it paid its fair share of response costs incurred by the
                    5   Plaintiffs at the BKK Class I Facility.
                    6         604. According to historical BKK Corp. records, Defendant Koppers Co.
                    7   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    8   waste contained Hazardous Substances that Defendant Koppers Co. Inc. generated
                    9   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   10   Koppers Co. Inc. has not incurred any response costs at the BKK Class I Facility
                   11   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   12   Class I Facility.
                   13         605. According to historical BKK Corp. records, Defendant Korody Colyer
                   14   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   15   waste contained Hazardous Substances that Defendant Korody Colyer Corp.
                   16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   17   Defendant Korody Colyer Corp. has not incurred any response costs at the BKK
                   18   Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20         606. According to historical BKK Corp. records, Defendant Krazy Glue
                   21   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   22   waste contained Hazardous Substances that Defendant Krazy Glue Inc. generated
                   23   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   24   Krazy Glue Inc. has not incurred any response costs at the BKK Class I Facility nor
                   25   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   26   Class I Facility.
                   27         607. According to historical BKK Corp. records, Defendant Kulberg
                   28   Development Corp. contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant Kulberg
                    2   Development Corp. generated and/or arranged for its disposal at the BKK Class I
                    3   Facility. To date, Defendant Kulberg Development Corp. has not incurred any
                    4   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    5   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    6         608. According to historical BKK Corp. records, Defendant L. & L. Tank
                    7   Lines Inc. contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant L. & L. Tank
                    9   Lines Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   10   date, Defendant L. & L. Tank Lines Inc. has not incurred any response costs at the
                   11   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   12   Plaintiffs at the BKK Class I Facility.
                   13         609. According to historical BKK Corp. records, Defendant La Fon
                   14   Equipment Co. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant La Fon
                   16   Equipment Co. generated and/or arranged for its disposal at the BKK Class I
                   17   Facility. To date, Defendant La Fon Equipment Co. has not incurred any response
                   18   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   19   incurred by the Plaintiffs at the BKK Class I Facility.
                   20         610. According to historical BKK Corp. records, Defendant LA Screw
                   21   Products contributed manifested waste to the BKK Class I Facility. This manifested
                   22   waste contained Hazardous Substances that Defendant LA Screw Products
                   23   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   24   Defendant LA Screw Products has not incurred any response costs at the BKK
                   25   Class I Facility nor has it paid its fair share of response costs incurred by the
                   26   Plaintiffs at the BKK Class I Facility.
                   27         611. According to historical BKK Corp. records, Defendant La Victoria
                   28   Foods contributed manifested waste to the BKK Class I Facility. This manifested
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                    1   waste contained Hazardous Substances that Defendant La Victoria Foods generated
                    2   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant La
                    3   Victoria Foods has not incurred any response costs at the BKK Class I Facility nor
                    4   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    5   Class I Facility.
                    6         612. According to historical BKK Corp. records, Defendant Labricating
                    7   Specialties contributed manifested waste to the BKK Class I Facility. This
                    8   manifested waste contained Hazardous Substances that Defendant Labricating
                    9   Specialties generated and/or arranged for its disposal at the BKK Class I Facility.
                   10   To date, Defendant Labricating Specialties has not incurred any response costs at
                   11   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   12   the Plaintiffs at the BKK Class I Facility.
                   13         613. According to historical BKK Corp. records, Defendant Lackawanna
                   14   Leather contributed manifested waste to the BKK Class I Facility. This manifested
                   15   waste contained Hazardous Substances that Defendant Lackawanna Leather
                   16   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   17   Defendant Lackawanna Leather has not incurred any response costs at the BKK
                   18   Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20         614. According to historical BKK Corp. records, Defendant Lakewood Oil
                   21   Service Inc. contributed manifested waste to the BKK Class I Facility. This
                   22   manifested waste contained Hazardous Substances that Defendant Lakewood Oil
                   23   Service Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   24   To date, Defendant Lakewood Oil Service Inc. has not incurred any response costs
                   25   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   26   by the Plaintiffs at the BKK Class I Facility.
                   27         615. According to historical BKK Corp. records, Defendant Lambda
                   28   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
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                    1   manifested waste contained Hazardous Substances that Defendant Lambda
                    2   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
                    3   Facility. To date, Defendant Lambda Electronics Inc. has not incurred any response
                    4   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    5   incurred by the Plaintiffs at the BKK Class I Facility.
                    6         616. According to historical BKK Corp. records, Defendant Lamin Arts
                    7   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    8   contained Hazardous Substances that Defendant Lamin Arts generated and/or
                    9   arranged for its disposal at the BKK Class I Facility. To date, Defendant Lamin
                   10   Arts has not incurred any response costs at the BKK Class I Facility nor has it paid
                   11   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12         617. According to historical BKK Corp. records, Defendant Lamination
                   13   Technology Inc. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Lamination
                   15   Technology Inc. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Lamination Technology Inc. has not incurred any
                   17   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   18   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         618. According to historical BKK Corp. records, Defendant Langlois Flour
                   20   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   21   waste contained Hazardous Substances that Defendant Langlois Flour Co.
                   22   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   23   Defendant Langlois Flour Co. has not incurred any response costs at the BKK Class
                   24   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   25   the BKK Class I Facility.
                   26         619. According to historical BKK Corp. records, Defendant Lansco Die
                   27   Casting Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Lansco Die
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                    1   Casting Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    2   To date, Defendant Lansco Die Casting Inc. has not incurred any response costs at
                    3   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    4   the Plaintiffs at the BKK Class I Facility.
                    5         620. According to historical BKK Corp. records, Defendant Larry Fricker
                    6   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Larry Fricker Co. Inc.
                    8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant Larry Fricker Co. Inc. has not incurred any response costs at the BKK
                   10   Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12         621. According to historical BKK Corp. records, Defendant Latchford
                   13   Glass Co. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Latchford Glass
                   15   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant Latchford Glass Co. has not incurred any response costs at the BKK
                   17   Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19         622. According to historical BKK Corp. records, Defendant Le Fiell
                   20   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Le Fiell
                   22   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant Le Fiell Manufacturing Co. has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         623. According to historical BKK Corp. records, Defendant Leach Corp.
                   27   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   28   contained Hazardous Substances that Defendant Leach Corp. generated and/or
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                    1   arranged for its disposal at the BKK Class I Facility. To date, Defendant Leach
                    2   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    3   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    4   Facility.
                    5          624. According to historical BKK Corp. records, Defendant Lear Siegler
                    6   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Lear Siegler Inc. generated
                    8   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    9   Lear Siegler Inc. has not incurred any response costs at the BKK Class I Facility
                   10   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   11   Class I Facility.
                   12          625. According to historical BKK Corp. records, Defendant Lee
                   13   Pharmaceuticals Bronco Enterprises contributed manifested waste to the BKK
                   14   Class I Facility. This manifested waste contained Hazardous Substances that
                   15   Defendant Lee Pharmaceuticals Bronco Enterprises generated and/or arranged for
                   16   its disposal at the BKK Class I Facility. To date, Defendant Lee Pharmaceuticals
                   17   Bronco Enterprises has not incurred any response costs at the BKK Class I Facility
                   18   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   19   Class I Facility.
                   20          626. According to historical BKK Corp. records, Defendant Lewis Foods
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Lewis Foods generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Lewis
                   24   Foods has not incurred any response costs at the BKK Class I Facility nor has it
                   25   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   26   Facility.
                   27          627. According to historical BKK Corp. records, Defendant Libbey Glass
                   28   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
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                    1   waste contained Hazardous Substances that Defendant Libbey Glass Inc. generated
                    2   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    3   Libbey Glass Inc. has not incurred any response costs at the BKK Class I Facility
                    4   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    5   Class I Facility.
                    6          628. According to historical BKK Corp. records, Defendant Libbonia West
                    7   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    8   contained Hazardous Substances that Defendant Libbonia West generated and/or
                    9   arranged for its disposal at the BKK Class I Facility. To date, Defendant Libbonia
                   10   West has not incurred any response costs at the BKK Class I Facility nor has it paid
                   11   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12          629. According to historical BKK Corp. records, Defendant Life Paint
                   13   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   14   waste contained Hazardous Substances that Defendant Life Paint Corp. generated
                   15   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Life
                   16   Paint Corp. has not incurred any response costs at the BKK Class I Facility nor has
                   17   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   18   Facility.
                   19          630. According to historical BKK Corp. records, Defendant Lightolier West
                   20   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   21   contained Hazardous Substances that Defendant Lightolier West generated and/or
                   22   arranged for its disposal at the BKK Class I Facility. To date, Defendant Lightolier
                   23   West has not incurred any response costs at the BKK Class I Facility nor has it paid
                   24   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   25          631. According to historical BKK Corp. records, Defendant Lilly Industrial
                   26   Coatings Inc. contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Lilly Industrial
                   28   Coatings Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   To date, Defendant Lilly Industrial Coatings Inc. has not incurred any response
                    2   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    3   incurred by the Plaintiffs at the BKK Class I Facility.
                    4         632. According to historical BKK Corp. records, Defendant Liquid Waste
                    5   Management contributed manifested waste to the BKK Class I Facility. This
                    6   manifested waste contained Hazardous Substances that Defendant Liquid Waste
                    7   Management generated and/or arranged for its disposal at the BKK Class I Facility.
                    8   To date, Defendant Liquid Waste Management has not incurred any response costs
                    9   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   10   by the Plaintiffs at the BKK Class I Facility.
                   11         633. According to historical BKK Corp. records, Defendant Lockhart
                   12   Industries contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Lockhart
                   14   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   15   date, Defendant Lockhart Industries has not incurred any response costs at the BKK
                   16   Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18         634. According to historical BKK Corp. records, Defendant Long & Co.
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Long & Co. generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Long &
                   22   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   23   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         635. According to historical BKK Corp. records, Defendant Long Beach
                   25   Fabricators Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Long Beach
                   27   Fabricators Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Long Beach Fabricators Inc. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         636. According to historical BKK Corp. records, Defendant Long Beach
                    4   Oil Development Co. contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Long Beach
                    6   Oil Development Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Long Beach Oil Development Co. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         637. According to historical BKK Corp. records, Defendant Long Beach
                   11   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Long Beach
                   13   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Long Beach Plating Co. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         638. According to historical BKK Corp. records, Defendant Long Beach
                   18   Unified School District contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Long Beach
                   20   Unified School District generated and/or arranged for its disposal at the BKK Class
                   21   I Facility. To date, Defendant Long Beach Unified School District has not incurred
                   22   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   23   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         639. According to historical BKK Corp. records, Defendant Los Angeles
                   25   Gauge Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Los Angeles
                   27   Gauge Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Los Angeles Gauge Co. has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         640. According to historical BKK Corp. records, Defendant Los Angeles
                    4   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Los Angeles
                    6   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Los Angeles Plating Co. has not incurred any response costs at
                    8   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    9   the Plaintiffs at the BKK Class I Facility.
                   10         641. According to historical BKK Corp. records, Defendant Los Angeles
                   11   Screw Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Los Angeles
                   13   Screw Products Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Los Angeles Screw Products Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         642. According to historical BKK Corp. records, Defendant Los Angeles
                   18   Tanning Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Los Angeles
                   20   Tanning Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Los Angeles Tanning Co. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         643. According to historical BKK Corp. records, Defendant Los Angeles
                   25   Unified School District contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Los
                   27   Angeles Unified School District generated and/or arranged for its disposal at the
                   28   BKK Class I Facility. To date, Defendant Los Angeles Unified School District has
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                    1   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                    2   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         644. According to historical BKK Corp. records, Defendant Lube Co. Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Lube Co. Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Lube Co.
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         645. According to historical BKK Corp. records, Defendant Lubrication Co.
                   10   of America contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Lubrication Co.
                   12   of America generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Lubrication Co. of America has not incurred any response costs
                   14   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   15   by the Plaintiffs at the BKK Class I Facility.
                   16         646. According to historical BKK Corp. records, Defendant Lucky Stores
                   17   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Lucky Stores Inc. generated
                   19   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   20   Lucky Stores Inc. has not incurred any response costs at the BKK Class I Facility
                   21   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   22   Class I Facility.
                   23         647. According to historical BKK Corp. records, Defendant Lumidor
                   24   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Lumidor
                   26   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   27   Facility. To date, Defendant Lumidor Manufacturing Co. has not incurred any
                   28
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         648. According to historical BKK Corp. records, Defendant Lundeen Rail
                    4   Car Repair Service contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Lundeen Rail
                    6   Car Repair Service generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Lundeen Rail Car Repair Service has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         649. According to historical BKK Corp. records, Defendant Lyco Food
                   11   Products contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Lyco Food Products
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Lyco Food Products has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         650. According to historical BKK Corp. records, Defendant Lyle Van
                   18   Patten Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Lyle Van Patten
                   20   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Lyle Van Patten Co. Inc. has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         651. According to historical BKK Corp. records, Defendant M. P.
                   25   McCaffrey Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant M. P. McCaffrey
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant M. P. McCaffrey Inc. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         652. According to historical BKK Corp. records, Defendant M. Slayen &
                    4   Associates contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant M. Slayen &
                    6   Associates generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant M. Slayen & Associates has not incurred any response costs at
                    8   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    9   the Plaintiffs at the BKK Class I Facility.
                   10         653. According to historical BKK Corp. records, Defendant M. V. Japan
                   11   Canela contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant M. V. Japan Canela
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant M. V. Japan Canela has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         654. According to historical BKK Corp. records, Defendant Macdermid
                   18   Printing Solutions contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Macdermid
                   20   Printing Solutions generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Macdermid Printing Solutions has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         655. According to historical BKK Corp. records, Defendant Mack Trucks
                   25   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Mack Trucks Inc. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Mack Trucks Inc. has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  203                                2:18-CV-5810
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         656. According to historical BKK Corp. records, Defendant Macmillan Oil
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Macmillan Oil Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Macmillan Oil Co. has not incurred any response costs at the BKK Class
                    8   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10         657. According to historical BKK Corp. records, Defendant Magna Mill
                   11   Prod. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Magna Mill Prod. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Magna Mill Prod. has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         658. According to historical BKK Corp. records, Defendant Maness
                   18   Excavating contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Maness
                   20   Excavating generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Maness Excavating has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         659. According to historical BKK Corp. records, Defendant Manta Plant
                   25   Services Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Manta Plant
                   27   Services Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Manta Plant Services Co. has not incurred any response costs at
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                     COMPLAINT
   LOS ANGELES B                                                   204                                2:18-CV-5810
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         660. According to historical BKK Corp. records, Defendant Marbeth
                    4   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Marbeth
                    6   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Marbeth Chemical Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         661. According to historical BKK Corp. records, Defendant Marco
                   11   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Marco Chemical
                   13   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Marco Chemical Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         662. According to historical BKK Corp. records, Defendant Marcrest
                   18   Pacific Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Marcrest Pacific
                   20   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Marcrest Pacific Co. Inc. has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         663. According to historical BKK Corp. records, Defendant Marina
                   25   Pacifica contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Marina Pacifica generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Marina Pacifica has not incurred any response costs at the BKK Class I Facility nor
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  205                                2:18-CV-5810
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         664. According to historical BKK Corp. records, Defendant Mark
                    4   Industries contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Mark Industries
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Mark Industries has not incurred any response costs at the BKK Class I
                    8   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10         665. According to historical BKK Corp. records, Defendant Marlex Oil &
                   11   Refining Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Marlex Oil &
                   13   Refining Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Marlex Oil & Refining Inc. has not incurred any response costs
                   15   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   16   by the Plaintiffs at the BKK Class I Facility.
                   17         666. According to historical BKK Corp. records, Defendant Marmac
                   18   Resource Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Marmac
                   20   Resource Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Marmac Resource Co. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         667. According to historical BKK Corp. records, Defendant Marquadt Co.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Marquadt Co. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Marquadt
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
   LOS ANGELES B                                                  206                                 2:18-CV-5810
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                    1   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         668. According to historical BKK Corp. records, Defendant Marquis
                    4   Industries contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Marquis
                    6   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Marquis Industries has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         669. According to historical BKK Corp. records, Defendant Marten
                   11   Management Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Marten
                   13   Management Co. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Marten Management Co. has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17         670. According to historical BKK Corp. records, Defendant Mask-Off Co.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Mask-Off Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Mask-Off
                   21   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         671. According to historical BKK Corp. records, Defendant Master Fence
                   24   Fittings contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Master Fence Fittings
                   26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   27   Defendant Master Fence Fittings has not incurred any response costs at the BKK
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  207                                2:18-CV-5810
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         672. According to historical BKK Corp. records, Defendant Master
                    4   Products Manufacturing Co. contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   Master Products Manufacturing Co. generated and/or arranged for its disposal at the
                    7   BKK Class I Facility. To date, Defendant Master Products Manufacturing Co. has
                    8   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                    9   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         673. According to historical BKK Corp. records, Defendant Matrix Science
                   11   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Matrix Science Corp.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Matrix Science Corp. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         674. According to historical BKK Corp. records, Defendant Matson
                   18   Terminals contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Matson
                   20   Terminals generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Matson Terminals has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         675. According to historical BKK Corp. records, Defendant Maxwell
                   25   Laboratories Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Maxwell
                   27   Laboratories Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Maxwell Laboratories Inc. has not incurred any
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  208                                2:18-CV-5810
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          676. According to historical BKK Corp. records, Defendant May Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant May Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant May Co.
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9          677. According to historical BKK Corp. records, Defendant Mayon Foods
                   10   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   11   contained Hazardous Substances that Defendant Mayon Foods generated and/or
                   12   arranged for its disposal at the BKK Class I Facility. To date, Defendant Mayon
                   13   Foods has not incurred any response costs at the BKK Class I Facility nor has it
                   14   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   15   Facility.
                   16          678. According to historical BKK Corp. records, Defendant MCA
                   17   Laboratories contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant MCA
                   19   Laboratories generated and/or arranged for its disposal at the BKK Class I Facility.
                   20   To date, Defendant MCA Laboratories has not incurred any response costs at the
                   21   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23          679. According to historical BKK Corp. records, Defendant McAlmond Oil
                   24   & Gas contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant McAlmond Oil & Gas
                   26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   27   Defendant McAlmond Oil & Gas has not incurred any response costs at the BKK
                   28
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
   LOS ANGELES B                                                  209                              2:18-CV-5810
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         680. According to historical BKK Corp. records, Defendant McAuley Oil
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant McAuley Oil Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   McAuley Oil Co. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility
                   10         681. According to historical BKK Corp. records, Defendant McCalla
                   11   Brothers Drilling contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant McCalla
                   13   Brothers Drilling generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant McCalla Brothers Drilling has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         682. According to historical BKK Corp. records, Defendant McCulloch
                   18   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant McCulloch Corp. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   McCulloch Corp. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         683. According to historical BKK Corp. records, Defendant McCurdy
                   25   Circuits contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant McCurdy Circuits generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   McCurdy Circuits has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  210                                2:18-CV-5810
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          684. According to historical BKK Corp. records, Defendant McGean
                    4   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant McGean
                    6   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant McGean Chemical Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10          685. According to historical BKK Corp. records, Defendant McGill Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant McGill Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant McGill
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          686. According to historical BKK Corp. records, Defendant McKay
                   18   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant McKay
                   20   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant McKay Chemical Co. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24          687. According to historical BKK Corp. records, Defendant McMahon
                   25   Development contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant McMahon
                   27   Development generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant McMahon Development has not incurred any response costs at
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
   LOS ANGELES B                                                 211                                2:18-CV-5810
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         688. According to historical BKK Corp. records, Defendant McNottingham
                    4   Co. of Southern California contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   McNottingham Co. of Southern California generated and/or arranged for its
                    7   disposal at the BKK Class I Facility. To date, Defendant McNottingham Co. of
                    8   Southern California has not incurred any response costs at the BKK Class I Facility
                    9   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   10   Class I Facility.
                   11         689. According to historical BKK Corp. records, Defendant Mercury Air
                   12   Center contributed manifested waste to the BKK Class I Facility. This manifested
                   13   waste contained Hazardous Substances that Defendant Mercury Air Center
                   14   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant Mercury Air Center has not incurred any response costs at the BKK
                   16   Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18         690. According to historical BKK Corp. records, Defendant Merel Co. Inc.
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Merel Co. Inc. generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Merel Co.
                   22   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   23   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         691. According to historical BKK Corp. records, Defendant Merit Oil Co.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Merit Oil Co. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Merit Oil
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  212                                2:18-CV-5810
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                    1   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         692. According to historical BKK Corp. records, Defendant Metal Box Can
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Metal Box Can generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Metal Box
                    7   Can has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         693. According to historical BKK Corp. records, Defendant Metal Surfaces
                   10   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Metal Surfaces Inc.
                   12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Metal Surfaces Inc. has not incurred any response costs at the BKK
                   14   Class I Facility nor has it paid its fair share of response costs incurred by the
                   15   Plaintiffs at the BKK Class I Facility.
                   16         694. According to historical BKK Corp. records, Defendant Metal Treaters
                   17   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Metal Treaters Inc.
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Metal Treaters Inc. has not incurred any response costs at the BKK Class
                   21   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   22   the BKK Class I Facility.
                   23         695. According to historical BKK Corp. records, Defendant Metlox Pottery
                   24   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   25   contained Hazardous Substances that Defendant Metlox Pottery generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Metlox
                   27   Pottery has not incurred any response costs at the BKK Class I Facility nor has it
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
   LOS ANGELES B                                                   213                                2:18-CV-5810
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          696. According to historical BKK Corp. records, Defendant Metropolitan
                    4   Distribution Centers Inc. contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant
                    6   Metropolitan Distribution Centers Inc. generated and/or arranged for its disposal at
                    7   the BKK Class I Facility. To date, Defendant Metropolitan Distribution Centers
                    8   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    9   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          697. According to historical BKK Corp. records, Defendant Metropolitan
                   11   Wire contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Metropolitan Wire generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Metropolitan Wire has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17          698. According to historical BKK Corp. records, Defendant Metropolitan
                   18   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Metropolitan
                   20   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Metropolitan Circuits Inc. has not incurred any response costs
                   22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   23   by the Plaintiffs at the BKK Class I Facility.
                   24          699. According to historical BKK Corp. records, Defendant MGF
                   25   Industries contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant MGF Industries
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant MGF Industries has not incurred any response costs at the BKK Class I
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
   LOS ANGELES B                                                  214                               2:18-CV-5810
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                    1   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    2   the BKK Class I Facility.
                    3          700. According to historical BKK Corp. records, Defendant Mica Corp.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Mica Corp. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Mica
                    7   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          701. According to historical BKK Corp. records, Defendant Miller Brewing
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Miller Brewing Co.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Miller Brewing Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          702. According to historical BKK Corp. records, Defendant Miller Dial
                   18   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Miller Dial Corp. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Miller Dial Corp. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          703. According to historical BKK Corp. records, Defendant Milo
                   25   Equipment Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Milo Equipment
                   27   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Milo Equipment Co. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
   LOS ANGELES B                                                  215                                 2:18-CV-5810
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         704. According to historical BKK Corp. records, Defendant Mission Plating
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Mission Plating Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Mission Plating Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         705. According to historical BKK Corp. records, Defendant Modern
                   11   Coatings Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Modern Coatings
                   13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Modern Coatings Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         706. According to historical BKK Corp. records, Defendant Modern Plating
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Modern Plating Co.
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Modern Plating Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         707. According to historical BKK Corp. records, Defendant Modine
                   25   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Modine
                   27   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Modine Manufacturing Co. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         708. According to historical BKK Corp. records, Defendant Mola
                    4   Development Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Mola
                    6   Development Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Mola Development Inc. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         709. According to historical BKK Corp. records, Defendant Monarch
                   11   Mirror Door Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Monarch Mirror
                   13   Door Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Monarch Mirror Door Co. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         710. According to historical BKK Corp. records, Defendant Monitor
                   18   Plating & Anodizing contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Monitor
                   20   Plating & Anodizing generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Monitor Plating & Anodizing has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         711. According to historical BKK Corp. records, Defendant
                   25   Monogram/Peacock Manufacturing contributed manifested waste to the BKK Class
                   26   I Facility. This manifested waste contained Hazardous Substances that Defendant
                   27   Monogram/Peacock Manufacturing generated and/or arranged for its disposal at the
                   28   BKK Class I Facility. To date, Defendant Monogram/Peacock Manufacturing has
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                    1   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                    2   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          712. According to historical BKK Corp. records, Defendant Motor
                    4   Processors Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Motor
                    6   Processors Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Motor Processors Inc. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10          713. According to historical BKK Corp. records, Defendant MPC Industries
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant MPC Industries generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant MPC
                   14   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          714. According to historical BKK Corp. records, Defendant Mustang
                   18   Equipment Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Mustang
                   20   Equipment Co. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Mustang Equipment Co. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24          715. According to historical BKK Corp. records, Defendant N. L. Industries
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant N. L. Industries generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant N. L.
                   28   Industries has not incurred any response costs at the BKK Class I Facility nor has it
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          716. According to historical BKK Corp. records, Defendant Namolco Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Namolco Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Namolco
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9          717. According to historical BKK Corp. records, Defendant Nardon
                   10   Manufacturing Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   11   This manifested waste contained Hazardous Substances that Defendant Nardon
                   12   Manufacturing Co. Inc. generated and/or arranged for its disposal at the BKK Class
                   13   I Facility. To date, Defendant Nardon Manufacturing Co. Inc. has not incurred any
                   14   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   15   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16          718. According to historical BKK Corp. records, Defendant Narmco
                   17   Materials Inc. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Narmco
                   19   Materials Inc. generated and/or arranged for its disposal at the BKK Class I
                   20   Facility. To date, Defendant Narmco Materials Inc. has not incurred any response
                   21   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   22   incurred by the Plaintiffs at the BKK Class I Facility.
                   23          719. According to historical BKK Corp. records, Defendant National Metal
                   24   & Steel Corp. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant National Metal
                   26   & Steel Corp. generated and/or arranged for its disposal at the BKK Class I
                   27   Facility. To date, Defendant National Metal & Steel Corp. has not incurred any
                   28
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         720. According to historical BKK Corp. records, Defendant National Paint
                    4   & Varnish Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant National Paint &
                    6   Varnish Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant National Paint & Varnish Co. Inc. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         721. According to historical BKK Corp. records, Defendant National
                   11   Semiconductor Corp. contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant National
                   13   Semiconductor Corp. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant National Semiconductor Corp. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         722. According to historical BKK Corp. records, Defendant National
                   18   Standard Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant National
                   20   Standard Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant National Standard Co. has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         723. According to historical BKK Corp. records, Defendant National
                   25   Technology contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant National
                   27   Technology generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant National Technology has not incurred any response costs at the
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         724. According to historical BKK Corp. records, Defendant Nattier
                    4   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Nattier
                    6   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Nattier Manufacturing Co. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         725. According to historical BKK Corp. records, Defendant Nelco Oil
                   11   Refining Corp. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Nelco Oil
                   13   Refining Corp. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Nelco Oil Refining Corp. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         726. According to historical BKK Corp. records, Defendant Nelson Name
                   18   Plate Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Nelson Name
                   20   Plate Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Nelson Name Plate Co. has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         727. According to historical BKK Corp. records, Defendant New Fashion
                   25   Cleaners contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant New Fashion Cleaners
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant New Fashion Cleaners has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         728. According to historical BKK Corp. records, Defendant Newark Sierra
                    4   Paperboard Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Newark Sierra
                    6   Paperboard Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Newark Sierra Paperboard Corp. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         729. According to historical BKK Corp. records, Defendant Newhall
                   11   Refining Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Newhall
                   13   Refining Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Newhall Refining Co. Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         730. According to historical BKK Corp. records, Defendant Newport
                   18   Electronics Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Newport
                   20   Electronics Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Newport Electronics Inc. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24         731. According to historical BKK Corp. records, Defendant Nippondenso
                   25   of Los Angeles contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Nippondenso of
                   27   Los Angeles generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Nippondenso of Los Angeles has not incurred any response
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         732. According to historical BKK Corp. records, Defendant Norac Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Norac Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Norac Co.
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         733. According to historical BKK Corp. records, Defendant Nordskog Co.
                   10   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Nordskog Co. Inc. generated
                   12   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   13   Nordskog Co. Inc. has not incurred any response costs at the BKK Class I Facility
                   14   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   15   Class I Facility.
                   16         734. According to historical BKK Corp. records, Defendant Norman High
                   17   Demolition contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Norman High
                   19   Demolition generated and/or arranged for its disposal at the BKK Class I Facility.
                   20   To date, Defendant Norman High Demolition has not incurred any response costs at
                   21   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   22   the Plaintiffs at the BKK Class I Facility.
                   23         735. According to historical BKK Corp. records, Defendant North
                   24   American Car Corp. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant North American
                   26   Car Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant North American Car Corp. has not incurred any response costs at
                   28
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         736. According to historical BKK Corp. records, Defendant Northern
                    4   Telecom contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Northern Telecom generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Northern Telecom has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         737. According to historical BKK Corp. records, Defendant Norton & Son
                   11   of California Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Norton & Son of
                   13   California Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Norton & Son of California Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         738. According to historical BKK Corp. records, Defendant Now
                   18   Construction Corp. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Now
                   20   Construction Corp. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Now Construction Corp. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24         739. According to historical BKK Corp. records, Defendant Nu Way
                   25   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Nu Way Plating
                   27   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Nu Way Plating Co. Inc. has not incurred any response costs at the
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         740. According to historical BKK Corp. records, Defendant Oakite
                    4   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Oakite Products
                    6   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Oakite Products Inc. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         741. According to historical BKK Corp. records, Defendant Occidental
                   11   Coating Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Occidental
                   13   Coating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Occidental Coating Co. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         742. According to historical BKK Corp. records, Defendant O’Donnell Oil
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant O’Donnell Oil Co. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   O’Donnell Oil Co. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         743. According to historical BKK Corp. records, Defendant Oil Base Inc.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Oil Base Inc. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Oil Base
                   28
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                    1   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         744. According to historical BKK Corp. records, Defendant Oil Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Oil Co. generated and/or arranged
                    6   for its disposal at the BKK Class I Facility. To date, Defendant Oil Co. has not
                    7   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    8   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         745. According to historical BKK Corp. records, Defendant Oilfields
                   10   Trucking Co. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Oilfields
                   12   Trucking Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Oilfields Trucking Co. has not incurred any response costs at
                   14   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   15   the Plaintiffs at the BKK Class I Facility.
                   16         746. According to historical BKK Corp. records, Defendant Old Quaker
                   17   Paint Co. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Old Quaker Paint
                   19   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Old Quaker Paint Co. has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         747. According to historical BKK Corp. records, Defendant Olmstead
                   24   Trucking contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Olmstead
                   26   Trucking generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Olmstead Trucking has not incurred any response costs at the BKK
                   28
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         748. According to historical BKK Corp. records, Defendant Olympic
                    4   Plating & Polishing Inc. contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Olympic
                    6   Plating & Polishing Inc. generated and/or arranged for its disposal at the BKK
                    7   Class I Facility. To date, Defendant Olympic Plating & Polishing Inc. has not
                    8   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    9   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         749. According to historical BKK Corp. records, Defendant Omar
                   11   Industries contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Omar Industries
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Omar Industries has not incurred any response costs at the BKK Class I
                   15   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   16   the BKK Class I Facility.
                   17         750. According to historical BKK Corp. records, Defendant Omega Oil Co.
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Omega Oil Co. Inc.
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Omega Oil Co. Inc. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         751. According to historical BKK Corp. records, Defendant Ontario Auto
                   25   Truck Plaza contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Ontario Auto
                   27   Truck Plaza generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Ontario Auto Truck Plaza has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         752. According to historical BKK Corp. records, Defendant Orange Co.
                    4   Machine Works contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Orange Co.
                    6   Machine Works generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Orange Co. Machine Works has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         753. According to historical BKK Corp. records, Defendant Orange Coast
                   11   Plating Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Orange Coast
                   13   Plating Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Orange Coast Plating Inc. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         754. According to historical BKK Corp. records, Defendant Orange County
                   18   Dust Control Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Orange County
                   20   Dust Control Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Orange County Dust Control Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         755. According to historical BKK Corp. records, Defendant Orange County
                   25   Electronics Corp. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Orange County
                   27   Electronics Corp. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Orange County Electronics Corp. has not incurred any
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         756. According to historical BKK Corp. records, Defendant Orange Heights
                    4   Orange Association contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Orange Heights
                    6   Orange Association generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Orange Heights Orange Association has not incurred
                    8   any response costs at the BKK Class I Facility nor has it paid its fair share of
                    9   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         757. According to historical BKK Corp. records, Defendant Orange
                   11   Precision Circuits contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Orange Precision
                   13   Circuits generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Orange Precision Circuits has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         758. According to historical BKK Corp. records, Defendant Orchids Paper
                   18   Products Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Orchids Paper
                   20   Products Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Orchids Paper Products Co. has not incurred any response costs
                   22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   23   by the Plaintiffs at the BKK Class I Facility.
                   24         759. Upon information and belief, Oryx Energy Company is the successor
                   25   to Sun Exploration and/or otherwise liable for such manifested waste that was
                   26   contributed to the BKK Class I Facility by Sun Exploration. According to
                   27   historical BKK Corp. records, Defendant Sun Exploration contributed manifested
                   28   waste to the BKK Class I Facility. This manifested waste contained Hazardous
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Substances that Defendant Sun Exploration generated and/or arranged for its
                    2   disposal at the BKK Class I Facility. To date, Defendant Sun Exploration has not
                    3   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    4   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5          760. According to historical BKK Corp. records, Defendant Ozalid Corp.
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant Ozalid Corp. generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Ozalid
                    9   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   10   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   11   Facility.
                   12          761. According to historical BKK Corp. records, Defendant Ozite
                   13   Corporation contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Ozite
                   15   Corporation generated and/or arranged for its disposal at the BKK Class I Facility.
                   16   To date, Defendant Ozite Corporation has not incurred any response costs at the
                   17   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19          762. According to historical BKK Corp. records, Defendant P. C. World
                   20   Orange County contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant P. C. World
                   22   Orange County generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant P. C. World Orange County has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26          763. According to historical BKK Corp. records, Defendant P. W. Stephens
                   27   Contractors Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant P. W. Stephens
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Contractors Inc. generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant P. W. Stephens Contractors Inc. has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         764. According to historical BKK Corp. records, Defendant Pabst Brewing
                    6   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Pabst Brewing Co.
                    8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant Pabst Brewing Co. has not incurred any response costs at the BKK Class
                   10   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   11   the BKK Class I Facility.
                   12         765. According to historical BKK Corp. records, Defendant Pacific
                   13   Airmotive Corp. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Pacific
                   15   Airmotive Corp. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Pacific Airmotive Corp. has not incurred any response
                   17   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   18   incurred by the Plaintiffs at the BKK Class I Facility.
                   19         766. According to historical BKK Corp. records, Defendant Pacific
                   20   Building Management Inc. contributed manifested waste to the BKK Class I
                   21   Facility. This manifested waste contained Hazardous Substances that Defendant
                   22   Pacific Building Management Inc. generated and/or arranged for its disposal at the
                   23   BKK Class I Facility. To date, Defendant Pacific Building Management Inc. has
                   24   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                   25   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         767. According to historical BKK Corp. records, Defendant Pacific Coast
                   27   Warehouse Corp. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Pacific Coast
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   Warehouse Corp. generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant Pacific Coast Warehouse Corp. has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5          768. According to historical BKK Corp. records, Defendant Pacific
                    6   Electricord Co. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Pacific
                    8   Electricord Co. generated and/or arranged for its disposal at the BKK Class I
                    9   Facility. To date, Defendant Pacific Electricord Co. has not incurred any response
                   10   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   11   incurred by the Plaintiffs at the BKK Class I Facility.
                   12          769. According to historical BKK Corp. records, Defendant Pacific Engine
                   13   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   14   contained Hazardous Substances that Defendant Pacific Engine generated and/or
                   15   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pacific
                   16   Engine has not incurred any response costs at the BKK Class I Facility nor has it
                   17   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   18   Facility.
                   19          770. According to historical BKK Corp. records, Defendant Pacific
                   20   Financial Center contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Pacific Financial
                   22   Center generated and/or arranged for its disposal at the BKK Class I Facility. To
                   23   date, Defendant Pacific Financial Center has not incurred any response costs at the
                   24   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   25   Plaintiffs at the BKK Class I Facility.
                   26          771. According to historical BKK Corp. records, Defendant Pacific
                   27   Intermountain Express contributed manifested waste to the BKK Class I Facility.
                   28   This manifested waste contained Hazardous Substances that Defendant Pacific
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Intermountain Express generated and/or arranged for its disposal at the BKK Class
                    2   I Facility. To date, Defendant Pacific Intermountain Express has not incurred any
                    3   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    4   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         772. According to historical BKK Corp. records, Defendant Pacific Oasis
                    6   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    7   contained Hazardous Substances that Defendant Pacific Oasis generated and/or
                    8   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pacific
                    9   Oasis has not incurred any response costs at the BKK Class I Facility nor has it paid
                   10   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         773. According to historical BKK Corp. records, Defendant Pacific
                   12   Precision Metals contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Pacific Precision
                   14   Metals generated and/or arranged for its disposal at the BKK Class I Facility. To
                   15   date, Defendant Pacific Precision Metals has not incurred any response costs at the
                   16   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18         774. According to historical BKK Corp. records, Defendant Pacific Press
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Pacific Press generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pacific
                   22   Press has not incurred any response costs at the BKK Class I Facility nor has it paid
                   23   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         775. According to historical BKK Corp. records, Defendant Pacific
                   25   Southwest Airlines contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Pacific
                   27   Southwest Airlines generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Pacific Southwest Airlines has not incurred any
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         776. According to historical BKK Corp. records, Defendant Pacific
                    4   Treatment Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Pacific
                    6   Treatment Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Pacific Treatment Corp. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         777. According to historical BKK Corp. records, Defendant Pacific Tube
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Pacific Tube Co. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Pacific Tube Co. has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         778. According to historical BKK Corp. records, Defendant Pacific
                   18   Vacuum Truck Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Pacific Vacuum
                   20   Truck Co. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Pacific Vacuum Truck Co. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         779. According to historical BKK Corp. records, Defendant Pacific Valves
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Pacific Valves generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pacific
                   28   Valves has not incurred any response costs at the BKK Class I Facility nor has it
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    2   Facility.
                    3          780. According to historical BKK Corp. records, Defendant Pacifica Plating
                    4   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Pacifica Plating Inc.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Pacifica Plating Inc. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          781. According to historical BKK Corp. records, Defendant Packaging
                   11   Corp. of America contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Packaging Corp.
                   13   of America generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Packaging Corp. of America has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17          782. According to historical BKK Corp. records, Defendant Pactra Co.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Pactra Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pactra Co.
                   21   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   22   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23          783. According to historical BKK Corp. records, Defendant Paint &
                   24   Coatings Corp. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Paint & Coatings
                   26   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Paint & Coatings Corp. has not incurred any response costs at the
                   28
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          784. According to historical BKK Corp. records, Defendant Palace Plating
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Palace Plating Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Palace Plating Co. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10          785. According to historical BKK Corp. records, Defendant Pan Western
                   11   Oil Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Pan Western Oil Co.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Pan Western Oil Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          786. According to historical BKK Corp. records, Defendant Panel Air Corp.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Panel Air Corp. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Panel Air
                   21   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          787. According to historical BKK Corp. records, Defendant Paramount
                   25   Petroleum Corp. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Paramount
                   27   Petroleum Corp. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Paramount Petroleum Corp. has not incurred any
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         788. According to historical BKK Corp. records, Defendant Park Metal Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Park Metal Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Park Metal
                    7   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         789. According to historical BKK Corp. records, Defendant Parsley &
                   10   Kennedy contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Parsley & Kennedy
                   12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Parsley & Kennedy has not incurred any response costs at the BKK
                   14   Class I Facility nor has it paid its fair share of response costs incurred by the
                   15   Plaintiffs at the BKK Class I Facility.
                   16         790. According to historical BKK Corp. records, Defendant Pascoe
                   17   Building Systems contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Pascoe Building
                   19   Systems generated and/or arranged for its disposal at the BKK Class I Facility. To
                   20   date, Defendant Pascoe Building Systems has not incurred any response costs at the
                   21   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         791. According to historical BKK Corp. records, Defendant Pasha
                   24   Industries contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Pasha Industries
                   26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   27   Defendant Pasha Industries has not incurred any response costs at the BKK Class I
                   28
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  237                                2:18-CV-5810
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                    1   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    2   the BKK Class I Facility.
                    3         792. According to historical BKK Corp. records, Defendant Pauley
                    4   Petroleum Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Pauley
                    6   Petroleum Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Pauley Petroleum Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         793. According to historical BKK Corp. records, Defendant PCA Metal
                   11   Finishing Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant PCA Metal
                   13   Finishing Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant PCA Metal Finishing Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         794. According to historical BKK Corp. records, Defendant Peairs
                   18   Engineers contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Peairs Engineers
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Peairs Engineers has not incurred any response costs at the BKK Class I
                   22   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   23   the BKK Class I Facility.
                   24         795. According to historical BKK Corp. records, Defendant Pease & Curren
                   25   Reliable Recovery Inc. contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Pease &
                   27   Curren Reliable Recovery Inc. generated and/or arranged for its disposal at the
                   28   BKK Class I Facility. To date, Defendant Pease & Curren Reliable Recovery Inc.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    2   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          796. According to historical BKK Corp. records, Defendant Peat
                    4   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Peat
                    6   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Peat Manufacturing Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10          797. According to historical BKK Corp. records, Defendant Penetone Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Penetone Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Penetone
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          798. According to historical BKK Corp. records, Defendant Pepper
                   18   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Pepper Industries
                   20   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Pepper Industries Inc. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          799. According to historical BKK Corp. records, Defendant Perlite
                   25   Processing contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Perlite
                   27   Processing generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Perlite Processing has not incurred any response costs at the
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
   LOS ANGELES B                                                  239                                2:18-CV-5810
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          800. According to historical BKK Corp. records, Defendant Permalab
                    4   Equipment Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Permalab
                    6   Equipment Corp. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Permalab Equipment Corp. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          801. According to historical BKK Corp. records, Defendant Pervo Paint Co.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Pervo Paint Co. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Pervo
                   14   Paint Co. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          802. According to historical BKK Corp. records, Defendant Peterson
                   18   Manufacturing Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Peterson
                   20   Manufacturing Co. Inc. generated and/or arranged for its disposal at the BKK Class
                   21   I Facility. To date, Defendant Peterson Manufacturing Co. Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          803. According to historical BKK Corp. records, Defendant Peterson
                   25   Puritan Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Peterson Puritan
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Peterson Puritan Inc. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         804. According to historical BKK Corp. records, Defendant Petro Lewis
                    4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Petro Lewis Corp. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Petro Lewis Corp. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         805. According to historical BKK Corp. records, Defendant Petrochemicals
                   11   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Petrochemicals Co. Inc.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Petrochemicals Co. Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         806. According to historical BKK Corp. records, Defendant Petroleum
                   18   Contractors Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Petroleum
                   20   Contractors Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Petroleum Contractors Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         807. According to historical BKK Corp. records, Defendant PGP Industries
                   25   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant PGP Industries Inc.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant PGP Industries Inc. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         808. According to historical BKK Corp. records, Defendant Phototron
                    4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Phototron Corp. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Phototron Corp. has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         809. According to historical BKK Corp. records, Defendant Pichel
                   11   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Pichel Industries
                   13   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Pichel Industries Inc. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         810. According to historical BKK Corp. records, Defendant Pilot Chemical
                   18   of California contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Pilot Chemical
                   20   of California generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Pilot Chemical of California has not incurred any response costs
                   22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   23   by the Plaintiffs at the BKK Class I Facility.
                   24         811. According to historical BKK Corp. records, Defendant Plastic
                   25   Materials Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Plastic Materials
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Plastic Materials Inc. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         812. According to historical BKK Corp. records, Defendant Poly Disc
                    4   System Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Poly Disc
                    6   System Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Poly Disc System Inc. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         813. According to historical BKK Corp. records, Defendant Polycarbon Inc.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Polycarbon Inc. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Polycarbon Inc. has not incurred any response costs at the BKK Class I Facility nor
                   15   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         814. According to historical BKK Corp. records, Defendant Polyester
                   18   Hutco Group contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Polyester Hutco
                   20   Group generated and/or arranged for its disposal at the BKK Class I Facility. To
                   21   date, Defendant Polyester Hutco Group has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         815. According to historical BKK Corp. records, Defendant Polymer
                   25   Development Labs Inc. contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Polymer
                   27   Development Labs Inc. generated and/or arranged for its disposal at the BKK Class
                   28   I Facility. To date, Defendant Polymer Development Labs Inc. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         816. According to historical BKK Corp. records, Defendant Post
                    4   Transportation Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Post
                    6   Transportation Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Post Transportation Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         817. According to historical BKK Corp. records, Defendant Power One Inc.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Power One Inc. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Power One
                   14   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   15   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         818. According to historical BKK Corp. records, Defendant Powerline
                   17   Sales contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Powerline Sales generated
                   19   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   20   Powerline Sales has not incurred any response costs at the BKK Class I Facility nor
                   21   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   22   Class I Facility.
                   23         819. According to historical BKK Corp. records, Defendant Pratt &
                   24   Lambert Paint Inc. contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Pratt & Lambert
                   26   Paint Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   27   date, Defendant Pratt & Lambert Paint Inc. has not incurred any response costs at
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         820. According to historical BKK Corp. records, Defendant Pre Delivery
                    4   Service contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Pre Delivery Service
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Pre Delivery Service has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         821. According to historical BKK Corp. records, Defendant Pre Recording
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Pre Recording Co. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Pre
                   14   Recording Co. has not incurred any response costs at the BKK Class I Facility nor
                   15   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         822. According to historical BKK Corp. records, Defendant Precipitator
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Precipitator Inc. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Precipitator Inc. has not incurred any response costs at the BKK Class I Facility nor
                   22   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         823. According to historical BKK Corp. records, Defendant Precision
                   25   Anodizing & Plating Inc. contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Precision
                   27   Anodizing & Plating Inc. generated and/or arranged for its disposal at the BKK
                   28   Class I Facility. To date, Defendant Precision Anodizing & Plating Inc. has not
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    2   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         824. According to historical BKK Corp. records, Defendant Precision Heat
                    4   Treating Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Precision Heat
                    6   Treating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Precision Heat Treating Co. has not incurred any response costs
                    8   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    9   by the Plaintiffs at the BKK Class I Facility.
                   10         825. According to historical BKK Corp. records, Defendant Premiere
                   11   Alum. Prod. Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Premiere Alum.
                   13   Prod. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Premiere Alum. Prod. Inc. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         826. According to historical BKK Corp. records, Defendant President
                   18   Lincoln contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant President Lincoln generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   President Lincoln has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         827. According to historical BKK Corp. records, Defendant Prime
                   25   Measurement Products LLC contributed manifested waste to the BKK Class I
                   26   Facility. This manifested waste contained Hazardous Substances that Defendant
                   27   Prime Measurement Products LLC generated and/or arranged for its disposal at the
                   28   BKK Class I Facility. To date, Defendant Prime Measurement Products LLC has
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                    2   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         828. According to historical BKK Corp. records, Defendant Process
                    4   Technology Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Process
                    6   Technology Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Process Technology Co. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         829. According to historical BKK Corp. records, Defendant Production
                   11   Plating Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Production
                   13   Plating Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Production Plating Co. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         830. According to historical BKK Corp. records, Defendant Products
                   18   Engineering Corp. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Products
                   20   Engineering Corp. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Products Engineering Corp. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         831. According to historical BKK Corp. records, Defendant Products
                   25   Research & Chemical Corp. contributed manifested waste to the BKK Class I
                   26   Facility. This manifested waste contained Hazardous Substances that Defendant
                   27   Products Research & Chemical Corp. generated and/or arranged for its disposal at
                   28   the BKK Class I Facility. To date, Defendant Products Research & Chemical Corp.
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                    1   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    2   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         832. According to historical BKK Corp. records, Defendant Proto Tool
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Proto Tool generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Proto Tool
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         833. According to historical BKK Corp. records, Defendant Prototech
                   10   Circuitry contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Prototech Circuitry
                   12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Prototech Circuitry has not incurred any response costs at the BKK
                   14   Class I Facility nor has it paid its fair share of response costs incurred by the
                   15   Plaintiffs at the BKK Class I Facility.
                   16         834. According to historical BKK Corp. records, Defendant PSI West
                   17   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   18   contained Hazardous Substances that Defendant PSI West generated and/or
                   19   arranged for its disposal at the BKK Class I Facility. To date, Defendant PSI West
                   20   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   21   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         835. According to historical BKK Corp. records, Defendant Punch Press
                   23   Products contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Punch Press Products
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Punch Press Products has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          836. According to historical BKK Corp. records, Defendant Purex Corp.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Purex Corp. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Purex
                    5   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          837. According to historical BKK Corp. records, Defendant PVO
                    9   International contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant PVO
                   11   International generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant PVO International has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15          838. According to historical BKK Corp. records, Defendant Pyro
                   16   Engineering contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Pyro
                   18   Engineering generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Pyro Engineering has not incurred any response costs at the
                   20   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22          839. According to historical BKK Corp. records, Defendant Quality
                   23   Aluminum Forge Co. contributed manifested waste to the BKK Class I Facility.
                   24   This manifested waste contained Hazardous Substances that Defendant Quality
                   25   Aluminum Forge Co. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Quality Aluminum Forge Co. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                  COMPLAINT
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                    1          840. According to historical BKK Corp. records, Defendant Quality Farms
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Quality Farms generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Quality
                    5   Farms has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          841. According to historical BKK Corp. records, Defendant Quality Metal
                    9   Finishing Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Quality Metal
                   11   Finishing Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Quality Metal Finishing Co. has not incurred any response costs
                   13   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   14   by the Plaintiffs at the BKK Class I Facility.
                   15          842. According to historical BKK Corp. records, Defendant Quality
                   16   Sprayers Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Quality Sprayers
                   18   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Quality Sprayers Inc. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22          843. According to historical BKK Corp. records, Defendant Quintec
                   23   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Quintec
                   25   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Quintec Manufacturing Co. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         844. According to historical BKK Corp. records, Defendant R. & D. Latex
                    2   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant R. & D. Latex Co. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant R.
                    5   & D. Latex Co. has not incurred any response costs at the BKK Class I Facility nor
                    6   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8         845. According to historical BKK Corp. records, Defendant R. & E. Plating
                    9   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant R. & E. Plating Co.
                   11   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant R. & E. Plating Co. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         846. According to historical BKK Corp. records, Defendant R. & R.
                   16   Industrial Waste Haulers Inc. contributed manifested waste to the BKK Class I
                   17   Facility. This manifested waste contained Hazardous Substances that Defendant R.
                   18   & R. Industrial Waste Haulers Inc. generated and/or arranged for its disposal at the
                   19   BKK Class I Facility. To date, Defendant R. & R. Industrial Waste Haulers Inc. has
                   20   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                   21   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   22         847. According to historical BKK Corp. records, Defendant R. G. Wallace
                   23   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant R. G. Wallace Co. Inc.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant R. G. Wallace Co. Inc. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         848. According to historical BKK Corp. records, Defendant Rainbow
                    2   Trucking Co. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Rainbow
                    4   Trucking Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                    5   To date, Defendant Rainbow Trucking Co. has not incurred any response costs at
                    6   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    7   the Plaintiffs at the BKK Class I Facility.
                    8         849. According to historical BKK Corp. records, Defendant Ralph M.
                    9   Parsons Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Ralph M.
                   11   Parsons Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   12   To date, Defendant Ralph M. Parsons Co. has not incurred any response costs at the
                   13   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         850. According to historical BKK Corp. records, Defendant Ralphs Grocery
                   16   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Ralphs Grocery Co.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Ralphs Grocery Co. has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         851. According to historical BKK Corp. records, Defendant Raybestos
                   23   Manhattan contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Raybestos
                   25   Manhattan generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Raybestos Manhattan has not incurred any response costs at the
                   27   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         852. According to historical BKK Corp. records, Defendant Real Property
                    2   West Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Real Property
                    4   West Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    5   date, Defendant Real Property West Inc. has not incurred any response costs at the
                    6   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8         853. According to historical BKK Corp. records, Defendant Rebel Oil Co.
                    9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Rebel Oil Co. Inc. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Rebel Oil Co. Inc. has not incurred any response costs at the BKK Class I Facility
                   13   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         854. According to historical BKK Corp. records, Defendant Redi-Strip Co.
                   16   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Redi-Strip Co. Inc.
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Redi-Strip Co. Inc. has not incurred any response costs at the BKK Class
                   20   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   21   the BKK Class I Facility.
                   22         855. According to historical BKK Corp. records, Defendant Redken
                   23   Laboratories Inc. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Redken
                   25   Laboratories Inc. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Redken Laboratories Inc. has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1          856. According to historical BKK Corp. records, Defendant Redondo Oil
                    2   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Redondo Oil Co. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Redondo Oil Co. has not incurred any response costs at the BKK Class I Facility
                    6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8          857. According to historical BKK Corp. records, Defendant Refiners
                    9   Marketing Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Refiners
                   11   Marketing Co. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Refiners Marketing Co. has not incurred any response
                   13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   14   incurred by the Plaintiffs at the BKK Class I Facility.
                   15          858. According to historical BKK Corp. records, Defendant Register
                   16   Properties Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Register
                   18   Properties Inc. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Register Properties Inc. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22          859. According to historical BKK Corp. records, Defendant Rehrig Pacific
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Rehrig Pacific generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Rehrig
                   26   Pacific has not incurred any response costs at the BKK Class I Facility nor has it
                   27   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   28   Facility.
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1          860. According to historical BKK Corp. records, Defendant Reisner Metals
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Reisner Metals generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Reisner
                    5   Metals has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          861. According to historical BKK Corp. records, Defendant Reliable
                    9   Recovery Inc. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Reliable
                   11   Recovery Inc. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Reliable Recovery Inc. has not incurred any response
                   13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   14   incurred by the Plaintiffs at the BKK Class I Facility.
                   15          862. According to historical BKK Corp. records, Defendant Reliance
                   16   Universal Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Reliance
                   18   Universal Inc. generated and/or arranged for its disposal at the BKK Class I
                   19   Facility. To date, Defendant Reliance Universal Inc. has not incurred any response
                   20   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   21   incurred by the Plaintiffs at the BKK Class I Facility.
                   22          863. According to historical BKK Corp. records, Defendant Renu Plating
                   23   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Renu Plating Co. Inc.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Renu Plating Co. Inc. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          864. According to historical BKK Corp. records, Defendant Replacement
                    2   Parts Manufacturing contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Replacement
                    4   Parts Manufacturing generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Replacement Parts Manufacturing has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8          865. According to historical BKK Corp. records, Defendant Revere
                    9   Extruders Inc. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Revere Extruders
                   11   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant Revere Extruders Inc. has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15          866. According to historical BKK Corp. records, Defendant Rex Precision
                   16   Products Inc. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Rex Precision
                   18   Products Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Rex Precision Products Inc. has not incurred any response costs
                   20   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   21   by the Plaintiffs at the BKK Class I Facility.
                   22          867. According to historical BKK Corp. records, Defendant Rexart Corp.
                   23   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   24   contained Hazardous Substances that Defendant Rexart Corp. generated and/or
                   25   arranged for its disposal at the BKK Class I Facility. To date, Defendant Rexart
                   26   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   27   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   28   Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          868. According to historical BKK Corp. records, Defendant Rheem Metals
                    2   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Rheem Metals Inc.
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Rheem Metals Inc. has not incurred any response costs at the BKK Class
                    6   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    7   the BKK Class I Facility.
                    8          869. According to historical BKK Corp. records, Defendant Rho Chem
                    9   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Rho Chem Corp. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Rho
                   12   Chem Corp. has not incurred any response costs at the BKK Class I Facility nor has
                   13   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   14   Facility.
                   15          870. According to historical BKK Corp. records, Defendant RHS Carpet
                   16   Mill contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant RHS Carpet Mill generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   RHS Carpet Mill has not incurred any response costs at the BKK Class I Facility
                   20   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22          871. According to historical BKK Corp. records, Defendant Richardson &
                   23   Holland contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Richardson & Holland
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Richardson & Holland has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1         872. According to historical BKK Corp. records, Defendant Richlynn
                    2   Technology Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Richlynn
                    4   Technology Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Richlynn Technology Inc. has not incurred any
                    6   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    7   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         873. According to historical BKK Corp. records, Defendant Rinchem Co.
                    9   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Rinchem Co. Inc. generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Rinchem Co. Inc. has not incurred any response costs at the BKK Class I Facility
                   13   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         874. According to historical BKK Corp. records, Defendant Riverside
                   16   Cement Co. contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Riverside
                   18   Cement Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   19   To date, Defendant Riverside Cement Co. has not incurred any response costs at the
                   20   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         875. According to historical BKK Corp. records, Defendant Robert Keith &
                   23   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Robert Keith & Co. Inc.
                   25   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   26   Defendant Robert Keith & Co. Inc. has not incurred any response costs at the BKK
                   27   Class I Facility nor has it paid its fair share of response costs incurred by the
                   28   Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         876. According to historical BKK Corp. records, Defendant Roberts
                    2   Consolidated Industries Inc. contributed manifested waste to the BKK Class I
                    3   Facility. This manifested waste contained Hazardous Substances that Defendant
                    4   Roberts Consolidated Industries Inc. generated and/or arranged for its disposal at
                    5   the BKK Class I Facility. To date, Defendant Roberts Consolidated Industries Inc.
                    6   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    7   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    8         877. According to historical BKK Corp. records, Defendant Roberts
                    9   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Roberts
                   11   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Roberts Manufacturing Co. has not incurred any
                   13   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   14   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         878. According to historical BKK Corp. records, Defendant Rocket
                   16   Industries contributed manifested waste to the BKK Class I Facility. This
                   17   manifested waste contained Hazardous Substances that Defendant Rocket
                   18   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   19   date, Defendant Rocket Industries has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         879. According to historical BKK Corp. records, Defendant Rodding
                   23   Cleaning Service contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Rodding
                   25   Cleaning Service generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Rodding Cleaning Service has not incurred any
                   27   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   28   costs incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         880. According to historical BKK Corp. records, Defendant Roehl Disposal
                    2   Services contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Roehl Disposal Services
                    4   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    5   Defendant Roehl Disposal Services has not incurred any response costs at the BKK
                    6   Class I Facility nor has it paid its fair share of response costs incurred by the
                    7   Plaintiffs at the BKK Class I Facility.
                    8         881. According to historical BKK Corp. records, Defendant Rohrig
                    9   Brothers contributed manifested waste to the BKK Class I Facility. This manifested
                   10   waste contained Hazardous Substances that Defendant Rohrig Brothers generated
                   11   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   12   Rohrig Brothers has not incurred any response costs at the BKK Class I Facility nor
                   13   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   14   Class I Facility.
                   15         882. According to historical BKK Corp. records, Defendant Ronald M.
                   16   Jones contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Ronald M. Jones generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   Ronald M. Jones has not incurred any response costs at the BKK Class I Facility
                   20   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22         883. According to historical BKK Corp. records, Defendant Ronson
                   23   Hydraulic Corp. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Ronson
                   25   Hydraulic Corp. generated and/or arranged for its disposal at the BKK Class I
                   26   Facility. To date, Defendant Ronson Hydraulic Corp. has not incurred any response
                   27   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   28   incurred by the Plaintiffs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1          884. According to historical BKK Corp. records, Defendant Rose Hills
                    2   Memorial Park Association contributed manifested waste to the BKK Class I
                    3   Facility. This manifested waste contained Hazardous Substances that Defendant
                    4   Rose Hills Memorial Park Association generated and/or arranged for its disposal at
                    5   the BKK Class I Facility. To date, Defendant Rose Hills Memorial Park
                    6   Association has not incurred any response costs at the BKK Class I Facility nor has
                    7   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    8   Facility.
                    9          885. According to historical BKK Corp. records, Defendant Rosens Elect.
                   10   Equip. Co. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Rosens Elect.
                   12   Equip. Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Rosens Elect. Equip. Co. has not incurred any response costs at
                   14   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   15   the Plaintiffs at the BKK Class I Facility.
                   16          886. According to historical BKK Corp. records, Defendant Rotary Offset
                   17   Printers contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Rotary Offset Printers
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Rotary Offset Printers has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23          887. According to historical BKK Corp. records, Defendant Routh
                   24   Transportation contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Routh
                   26   Transportation generated and/or arranged for its disposal at the BKK Class I
                   27   Facility. To date, Defendant Routh Transportation has not incurred any response
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         888. According to historical BKK Corp. records, Defendant Royal
                    4   Aluminum Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Royal Aluminum
                    6   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Royal Aluminum Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         889. According to historical BKK Corp. records, Defendant Royal Plating
                   11   Works contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Royal Plating Works
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Royal Plating Works has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         890. According to historical BKK Corp. records, Defendant Rupes
                   18   Hydraulics contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Rupes
                   20   Hydraulics generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Rupes Hydraulics has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         891. According to historical BKK Corp. records, Defendant Russell
                   25   Burdsall & Ward Inc. contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Russell
                   27   Burdsall & Ward Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Russell Burdsall & Ward Inc. has not incurred any
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         892. According to historical BKK Corp. records, Defendant Rutherford Oil
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Rutherford Oil Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Rutherford Oil Co. has not incurred any response costs at the BKK Class
                    8   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10         893. According to historical BKK Corp. records, Defendant S. E. Rykoff &
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant S. E. Rykoff & Co.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant S. E. Rykoff & Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         894. According to historical BKK Corp. records, Defendant S. Rose
                   18   Cooperage contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant S. Rose
                   20   Cooperage generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant S. Rose Cooperage has not incurred any response costs at the
                   22   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         895. According to historical BKK Corp. records, Defendant S. T. & I. Inc.
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant S. T. & I. Inc. generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant S. T. & I.
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          896. According to historical BKK Corp. records, Defendant Safetran
                    4   Systems Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Safetran Systems
                    6   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Safetran Systems Corp. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          897. According to historical BKK Corp. records, Defendant Saint Joseph
                   11   Hospital contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Saint Joseph Hospital
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Saint Joseph Hospital has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          898. According to historical BKK Corp. records, Defendant Sals Plating
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Sals Plating generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Sals
                   21   Plating has not incurred any response costs at the BKK Class I Facility nor has it
                   22   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   23   Facility.
                   24          899. According to historical BKK Corp. records, Defendant San Diego Pipe
                   25   Line Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant San Diego Pipe Line Co.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant San Diego Pipe Line Co. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         900. According to historical BKK Corp. records, Defendant San Fernando
                    4   Electric Manufacturing Co. contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   San Fernando Electric Manufacturing Co. generated and/or arranged for its disposal
                    7   at the BKK Class I Facility. To date, Defendant San Fernando Electric
                    8   Manufacturing Co. has not incurred any response costs at the BKK Class I Facility
                    9   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   10   Class I Facility.
                   11         901. According to historical BKK Corp. records, Defendant San Fernando
                   12   Laboratories contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant San Fernando
                   14   Laboratories generated and/or arranged for its disposal at the BKK Class I Facility.
                   15   To date, Defendant San Fernando Laboratories has not incurred any response costs
                   16   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   17   by the Plaintiffs at the BKK Class I Facility.
                   18         902. According to historical BKK Corp. records, Defendant Santa Ana
                   19   Diesel contributed manifested waste to the BKK Class I Facility. This manifested
                   20   waste contained Hazardous Substances that Defendant Santa Ana Diesel generated
                   21   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   22   Santa Ana Diesel has not incurred any response costs at the BKK Class I Facility
                   23   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   24   Class I Facility.
                   25         903. According to historical BKK Corp. records, Defendant Santa Monica
                   26   College contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant Santa Monica College
                   28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
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                    1   Defendant Santa Monica College has not incurred any response costs at the BKK
                    2   Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4         904. According to historical BKK Corp. records, Defendant Sargent
                    5   Fletcher Inc. contributed manifested waste to the BKK Class I Facility. This
                    6   manifested waste contained Hazardous Substances that Defendant Sargent Fletcher
                    7   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    8   Defendant Sargent Fletcher Inc. has not incurred any response costs at the BKK
                    9   Class I Facility nor has it paid its fair share of response costs incurred by the
                   10   Plaintiffs at the BKK Class I Facility.
                   11         905. According to historical BKK Corp. records, Defendant Sargent
                   12   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Sargent
                   14   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant Sargent Industries Inc. has not incurred any response
                   16   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   17   incurred by the Plaintiffs at the BKK Class I Facility.
                   18         906. According to historical BKK Corp. records, Defendant Schlitz
                   19   Brewing Co. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Schlitz Brewing
                   21   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   22   Defendant Schlitz Brewing Co. has not incurred any response costs at the BKK
                   23   Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25         907. According to historical BKK Corp. records, Defendant Schroeder Tool
                   26   & Die Corp. contributed manifested waste to the BKK Class I Facility. This
                   27   manifested waste contained Hazardous Substances that Defendant Schroeder Tool
                   28   & Die Corp. generated and/or arranged for its disposal at the BKK Class I Facility.
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                    1   To date, Defendant Schroeder Tool & Die Corp. has not incurred any response
                    2   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    3   incurred by the Plaintiffs at the BKK Class I Facility.
                    4          908. According to historical BKK Corp. records, Defendant Scovill Inc.
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Scovill Inc. generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Scovill
                    8   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    9   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10          909. According to historical BKK Corp. records, Defendant SCS Industries
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant SCS Industries generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant SCS
                   14   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          910. According to historical BKK Corp. records, Defendant Sea Land
                   18   Service Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Sea Land Service
                   20   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Sea Land Service Inc. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          911. According to historical BKK Corp. records, Defendant Sea Lift
                   25   Maritime contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Sea Lift
                   27   Maritime generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Sea Lift Maritime has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         912. According to historical BKK Corp. records, Defendant Sealright Co.
                    4   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Sealright Co. Inc. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Sealright Co. Inc. has not incurred any response costs at the BKK Class I Facility
                    8   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         913. According to historical BKK Corp. records, Defendant Security
                   11   Environmental Systems contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant Security
                   13   Environmental Systems generated and/or arranged for its disposal at the BKK Class
                   14   I Facility. To date, Defendant Security Environmental Systems has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         914. According to historical BKK Corp. records, Defendant Service
                   18   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Service
                   20   Chemical Co. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Service Chemical Co. has not incurred any response
                   22   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   23   incurred by the Plaintiffs at the BKK Class I Facility.
                   24         915. According to historical BKK Corp. records, Defendant Shafco
                   25   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Shafco Industries
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Shafco Industries Inc. has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         916. According to historical BKK Corp. records, Defendant Shasta Pan Oil
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Shasta Pan Oil Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Shasta Pan Oil Co. has not incurred any response costs at the BKK Class
                    8   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    9   the BKK Class I Facility.
                   10         917. According to historical BKK Corp. records, Defendant Shoring
                   11   Engineers contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Shoring
                   13   Engineers generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Shoring Engineers has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         918. According to historical BKK Corp. records, Defendant Sierra Pacific
                   18   Container Corp. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Sierra Pacific
                   20   Container Corp. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Sierra Pacific Container Corp. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         919. According to historical BKK Corp. records, Defendant Sierracin
                   25   Thermal System contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Sierracin
                   27   Thermal System generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Sierracin Thermal System has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         920. According to historical BKK Corp. records, Defendant Silicon
                    4   Systems contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Silicon Systems generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Silicon Systems has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         921. According to historical BKK Corp. records, Defendant Simpson Paper
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Simpson Paper Co.
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Simpson Paper Co. has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         922. According to historical BKK Corp. records, Defendant Sinclair Paint
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant Sinclair Paint generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant Sinclair
                   21   Paint has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         923. According to historical BKK Corp. records, Defendant Singer
                   24   Aerospace contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Singer
                   26   Aerospace generated and/or arranged for its disposal at the BKK Class I Facility.
                   27   To date, Defendant Singer Aerospace has not incurred any response costs at the
                   28
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         924. According to historical BKK Corp. records, Defendant Snow Summit
                    4   Ski Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Snow Summit
                    6   Ski Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Snow Summit Ski Corp. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         925. According to historical BKK Corp. records, Defendant Soabar Co.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Soabar Co. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Soabar Co.
                   14   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   15   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         926. According to historical BKK Corp. records, Defendant SoCal
                   17   Finishing Co. contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant SoCal Finishing
                   19   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant SoCal Finishing Co. has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         927. According to historical BKK Corp. records, Defendant Southern
                   24   California Waste Reduction contributed manifested waste to the BKK Class I
                   25   Facility. This manifested waste contained Hazardous Substances that Defendant
                   26   Southern California Waste Reduction generated and/or arranged for its disposal at
                   27   the BKK Class I Facility. To date, Defendant Southern California Waste Reduction
                   28
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                    1   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    2   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3          928. According to historical BKK Corp. records, Defendant Soule Steel Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Soule Steel Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Soule
                    7   Steel Co. has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          929. According to historical BKK Corp. records, Defendant South Coast
                   11   County Water District contributed manifested waste to the BKK Class I Facility.
                   12   This manifested waste contained Hazardous Substances that Defendant South Coast
                   13   County Water District generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant South Coast County Water District has not incurred
                   15   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   16   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17          930. According to historical BKK Corp. records, Defendant South West
                   18   Forest Products contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant South West
                   20   Forest Products generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant South West Forest Products has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          931. According to historical BKK Corp. records, Defendant Southern
                   25   California Drum Co. contributed manifested waste to the BKK Class I Facility.
                   26   This manifested waste contained Hazardous Substances that Defendant Southern
                   27   California Drum Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Southern California Drum Co. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         932. According to historical BKK Corp. records, Defendant Southern
                    4   California Chemical contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Southern
                    6   California Chemical generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Southern California Chemical has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility
                   10         933. According to historical BKK Corp. records, Defendant Southwest
                   11   Aircraft Services contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Southwest
                   13   Aircraft Services generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Southwest Aircraft Services has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         934. According to historical BKK Corp. records, Defendant Southwest
                   18   Metal Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Southwest Metal
                   20   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Southwest Metal Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         935. According to historical BKK Corp. records, Defendant Southwest
                   25   Petro Chemical contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Southwest Petro
                   27   Chemical generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Southwest Petro Chemical has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         936. According to historical BKK Corp. records, Defendant Southwest
                    4   Processors Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Southwest
                    6   Processors Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Southwest Processors Inc. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         937. According to historical BKK Corp. records, Defendant Southwest
                   11   Steel Rolling Mills contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Southwest Steel
                   13   Rolling Mills generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Southwest Steel Rolling Mills has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17         938. According to historical BKK Corp. records, Defendant Southwestern
                   18   Alloys Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Southwestern
                   20   Alloys Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Southwestern Alloys Inc. has not incurred any response costs at
                   22   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   23   the Plaintiffs at the BKK Class I Facility.
                   24         939. According to historical BKK Corp. records, Defendant Southwestern
                   25   Engineering contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Southwestern
                   27   Engineering generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Southwestern Engineering has not incurred any response costs
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                    1   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    2   by the Plaintiffs at the BKK Class I Facility.
                    3         940. According to historical BKK Corp. records, Defendant Space
                    4   Ordinance Systems contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Space Ordinance
                    6   Systems generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Space Ordinance Systems has not incurred any response costs at
                    8   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    9   the Plaintiffs at the BKK Class I Facility.
                   10         941. According to historical BKK Corp. records, Defendant Specific
                   11   Plating Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Specific Plating
                   13   Co. Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   14   date, Defendant Specific Plating Co. Inc. has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         942. According to historical BKK Corp. records, Defendant Spectrum
                   18   Chemical Manufacturing Inc. contributed manifested waste to the BKK Class I
                   19   Facility. This manifested waste contained Hazardous Substances that Defendant
                   20   Spectrum Chemical Manufacturing Inc. generated and/or arranged for its disposal at
                   21   the BKK Class I Facility. To date, Defendant Spectrum Chemical Manufacturing
                   22   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   23   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         943. According to historical BKK Corp. records, Defendant Spirit
                   25   Silkscreen contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Spirit Silkscreen
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Spirit Silkscreen has not incurred any response costs at the BKK Class I
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                    1   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    2   the BKK Class I Facility.
                    3         944. According to historical BKK Corp. records, Defendant SSP
                    4   Construction Equipment Inc. contributed manifested waste to the BKK Class I
                    5   Facility. This manifested waste contained Hazardous Substances that Defendant
                    6   SSP Construction Equipment Inc. generated and/or arranged for its disposal at the
                    7   BKK Class I Facility. To date, Defendant SSP Construction Equipment Inc. has not
                    8   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    9   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         945. According to historical BKK Corp. records, Defendant Sta Rite
                   11   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Sta Rite
                   13   Industries Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Sta Rite Industries Inc. has not incurred any response
                   15   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   16   incurred by the Plaintiffs at the BKK Class I Facility.
                   17         946. According to historical BKK Corp. records, Defendant Standard
                   18   Brands Paint Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Standard
                   20   Brands Paint Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Standard Brands Paint Co. Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         947. According to historical BKK Corp. records, Defendant Standard
                   25   Concrete contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Standard Concrete generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Standard Concrete has not incurred any response costs at the BKK Class I Facility
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         948. According to historical BKK Corp. records, Defendant Standard
                    4   Crankshaft Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Standard
                    6   Crankshaft Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Standard Crankshaft Inc. has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         949. According to historical BKK Corp. records, Defendant Standard Felt
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Standard Felt Co. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Standard Felt Co. has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         950. According to historical BKK Corp. records, Defendant Standard
                   18   Industrial Towel & Uniform contributed manifested waste to the BKK Class I
                   19   Facility. This manifested waste contained Hazardous Substances that Defendant
                   20   Standard Industrial Towel & Uniform generated and/or arranged for its disposal at
                   21   the BKK Class I Facility. To date, Defendant Standard Industrial Towel & Uniform
                   22   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   23   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         951. According to historical BKK Corp. records, Defendant Standard
                   25   Nickel Chromium Plating contributed manifested waste to the BKK Class I
                   26   Facility. This manifested waste contained Hazardous Substances that Defendant
                   27   Standard Nickel Chromium Plating generated and/or arranged for its disposal at the
                   28   BKK Class I Facility. To date, Defendant Standard Nickel Chromium Plating has
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                    1   not incurred any response costs at the BKK Class I Facility nor has it paid its fair
                    2   share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         952. According to historical BKK Corp. records, Defendant Standun Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Standun Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Standun
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         953. According to historical BKK Corp. records, Defendant Stang
                   10   Hydronics contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Stang Hydronics
                   12   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   13   Defendant Stang Hydronics has not incurred any response costs at the BKK Class I
                   14   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   15   the BKK Class I Facility.
                   16         954. According to historical BKK Corp. records, Defendant Stanley Door
                   17   Systems contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Stanley Door Systems
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Stanley Door Systems has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         955. According to historical BKK Corp. records, Defendant Stanton
                   24   Construction contributed manifested waste to the BKK Class I Facility. This
                   25   manifested waste contained Hazardous Substances that Defendant Stanton
                   26   Construction generated and/or arranged for its disposal at the BKK Class I Facility.
                   27   To date, Defendant Stanton Construction has not incurred any response costs at the
                   28
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 BOCKIUS LLP
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                    1   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          956. According to historical BKK Corp. records, Defendant Star Nameplate
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Star Nameplate Co.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Star Nameplate Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          957. According to historical BKK Corp. records, Defendant Statek Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Statek Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Statek
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          958. According to historical BKK Corp. records, Defendant Statewide
                   18   Environmental Services contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Statewide
                   20   Environmental Services generated and/or arranged for its disposal at the BKK Class
                   21   I Facility. To date, Defendant Statewide Environmental Services has not incurred
                   22   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   23   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          959. According to historical BKK Corp. records, Defendant Stephen C.
                   25   Groat Development contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Stephen C. Groat
                   27   Development generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Stephen C. Groat Development has not incurred any response
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         960. According to historical BKK Corp. records, Defendant Steponovich &
                    4   Long contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Steponovich & Long
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Steponovich & Long has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         961. According to historical BKK Corp. records, Defendant Steverson Bros
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Steverson Bros generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Steverson
                   14   Bros has not incurred any response costs at the BKK Class I Facility nor has it paid
                   15   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         962. According to historical BKK Corp. records, Defendant Stinnes
                   17   Western Chemical Corp. contributed manifested waste to the BKK Class I Facility.
                   18   This manifested waste contained Hazardous Substances that Defendant Stinnes
                   19   Western Chemical Corp. generated and/or arranged for its disposal at the BKK
                   20   Class I Facility. To date, Defendant Stinnes Western Chemical Corp. has not
                   21   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   22   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         963. According to historical BKK Corp. records, Defendant Stutzman
                   24   Plating contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Stutzman Plating generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Stutzman Plating has not incurred any response costs at the BKK Class I Facility
                   28
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         964. According to historical BKK Corp. records, Defendant Summit Ink
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Summit Ink Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Summit Ink Co. has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         965. According to historical BKK Corp. records, Defendant Summit
                   11   Lighthouse contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Summit
                   13   Lighthouse generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Summit Lighthouse has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         966. According to historical BKK Corp. records, Defendant Sun
                   18   Exploration contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Sun Exploration
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Sun Exploration has not incurred any response costs at the BKK Class I
                   22   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   23   the BKK Class I Facility.
                   24         967. According to historical BKK Corp. records, Defendant Super Tech
                   25   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   26   contained Hazardous Substances that Defendant Super Tech generated and/or
                   27   arranged for its disposal at the BKK Class I Facility. To date, Defendant Super
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   Tech has not incurred any response costs at the BKK Class I Facility nor has it paid
                    2   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         968. According to historical BKK Corp. records, Defendant Superchrome
                    4   Engineering Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Superchrome
                    6   Engineering Co. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Superchrome Engineering Co. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         969. According to historical BKK Corp. records, Defendant Superior
                   11   Industrial Pumping contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Superior
                   13   Industrial Pumping generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Superior Industrial Pumping has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         970. According to historical BKK Corp. records, Defendant Superior
                   18   Pacific Galvanizing Co. contributed manifested waste to the BKK Class I Facility.
                   19   This manifested waste contained Hazardous Substances that Defendant Superior
                   20   Pacific Galvanizing Co. generated and/or arranged for its disposal at the BKK Class
                   21   I Facility. To date, Defendant Superior Pacific Galvanizing Co. has not incurred
                   22   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   23   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         971. According to historical BKK Corp. records, Defendant Superior
                   25   Plating contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Superior Plating generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Superior Plating has not incurred any response costs at the BKK Class I Facility nor
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         972. According to historical BKK Corp. records, Defendant Synres
                    4   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Synres Chemical
                    6   Corp. generated and/or arranged for its disposal at the BKK Class I Facility. To
                    7   date, Defendant Synres Chemical Corp. has not incurred any response costs at the
                    8   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         973. According to historical BKK Corp. records, Defendant Systems
                   11   Furniture Co. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Systems
                   13   Furniture Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Systems Furniture Co. has not incurred any response costs at
                   15   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   16   the Plaintiffs at the BKK Class I Facility.
                   17         974. According to historical BKK Corp. records, Defendant T. P. Hearne
                   18   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant T. P. Hearne Co. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant T.
                   21   P. Hearne Co. has not incurred any response costs at the BKK Class I Facility nor
                   22   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         975. According to historical BKK Corp. records, Defendant T. P. Industrial
                   25   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant T. P. Industrial Inc.
                   27   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant T. P. Industrial Inc. has not incurred any response costs at the BKK
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          976. According to historical BKK Corp. records, Defendant Tac Aluminum
                    4   Processing contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Tac Aluminum
                    6   Processing generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Tac Aluminum Processing has not incurred any response costs
                    8   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                    9   by the Plaintiffs at the BKK Class I Facility.
                   10          977. According to historical BKK Corp. records, Defendant Tapmatic Corp.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Tapmatic Corp. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Tapmatic
                   14   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          978. According to historical BKK Corp. records, Defendant Target
                   18   Chemical Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Target Chemical
                   20   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Target Chemical Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          979. According to historical BKK Corp. records, Defendant Tarnutzer
                   25   Venture contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Tarnutzer Venture generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Tarnutzer Venture has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          980. According to historical BKK Corp. records, Defendant Teal Industries
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Teal Industries generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Teal
                    7   Industries has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          981. According to historical BKK Corp. records, Defendant Technibilt
                   11   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Technibilt Corp. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   14   Technibilt Corp. has not incurred any response costs at the BKK Class I Facility
                   15   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17          982. According to historical BKK Corp. records, Defendant Ted Levine
                   18   Drum contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Ted Levine Drum generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Ted
                   21   Levine Drum has not incurred any response costs at the BKK Class I Facility nor
                   22   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          983. According to historical BKK Corp. records, Defendant Tenneco Oil
                   25   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Tenneco Oil Co. generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Tenneco Oil Co. has not incurred any response costs at the BKK Class I Facility
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         984. According to historical BKK Corp. records, Defendant Teradyne
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Teradyne generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Teradyne
                    7   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    8   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         985. According to historical BKK Corp. records, Defendant Texas
                   10   Instruments Inc. contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Texas
                   12   Instruments Inc. generated and/or arranged for its disposal at the BKK Class I
                   13   Facility. To date, Defendant Texas Instruments Inc. has not incurred any response
                   14   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   15   incurred by the Plaintiffs at the BKK Class I Facility.
                   16         986. According to historical BKK Corp. records, Defendant Texas
                   17   Polymers contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Texas Polymers
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Texas Polymers has not incurred any response costs at the BKK Class I
                   21   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   22   the BKK Class I Facility.
                   23         987. According to historical BKK Corp. records, Defendant Textured
                   24   Coatings contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Textured Coatings generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Textured Coatings has not incurred any response costs at the BKK Class I Facility
                   28
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 ATTORNEYS AT LAW                                                                                     COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          988. According to historical BKK Corp. records, Defendant TGI Fridays
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant TGI Fridays generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant TGI
                    7   Fridays has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          989. According to historical BKK Corp. records, Defendant Thatcher Glass
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Thatcher Glass generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Thatcher
                   14   Glass has not incurred any response costs at the BKK Class I Facility nor has it paid
                   15   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16          990. According to historical BKK Corp. records, Defendant Thompson
                   17   Tank Construction contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Thompson Tank
                   19   Construction generated and/or arranged for its disposal at the BKK Class I Facility.
                   20   To date, Defendant Thompson Tank Construction has not incurred any response
                   21   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   22   incurred by the Plaintiffs at the BKK Class I Facility.
                   23          991. According to historical BKK Corp. records, Defendant Thrifty Mart
                   24   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Thrifty Mart Co. generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Thrifty Mart Co. has not incurred any response costs at the BKK Class I Facility
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         992. According to historical BKK Corp. records, Defendant Thrifty Oil Co.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Thrifty Oil Co. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Thrifty Oil
                    7   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         993. According to historical BKK Corp. records, Defendant Timco
                   10   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   11   contained Hazardous Substances that Defendant Timco generated and/or arranged
                   12   for its disposal at the BKK Class I Facility. To date, Defendant Timco has not
                   13   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   14   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   15         994. According to historical BKK Corp. records, Defendant Times Mirror
                   16   Press contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Times Mirror Press
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Times Mirror Press has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         995. According to historical BKK Corp. records, Defendant Tiodize Co.
                   23   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Tiodize Co. Inc. generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Tiodize Co. Inc. has not incurred any response costs at the BKK Class I Facility nor
                   27   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         996. According to historical BKK Corp. records, Defendant Titech
                    2   International Inc. contributed manifested waste to the BKK Class I Facility. This
                    3   manifested waste contained Hazardous Substances that Defendant Titech
                    4   International Inc. generated and/or arranged for its disposal at the BKK Class I
                    5   Facility. To date, Defendant Titech International Inc. has not incurred any response
                    6   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    7   incurred by the Plaintiffs at the BKK Class I Facility.
                    8         997. According to historical BKK Corp. records, Defendant TMC
                    9   Properties LLC contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant TMC Properties
                   11   LLC generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   12   Defendant TMC Properties LLC has not incurred any response costs at the BKK
                   13   Class I Facility nor has it paid its fair share of response costs incurred by the
                   14   Plaintiffs at the BKK Class I Facility.
                   15         998. According to historical BKK Corp. records, Defendant Tomadur
                   16   Engine contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Tomadur Engine generated
                   18   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   19   Tomadur Engine has not incurred any response costs at the BKK Class I Facility
                   20   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   21   Class I Facility.
                   22         999. According to historical BKK Corp. records, Defendant Tool & Jig
                   23   Plating contributed manifested waste to the BKK Class I Facility. This manifested
                   24   waste contained Hazardous Substances that Defendant Tool & Jig Plating generated
                   25   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   26   Tool & Jig Plating has not incurred any response costs at the BKK Class I Facility
                   27   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   28   Class I Facility.
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 ATTORNEYS AT LAW                                                                                    COMPLAINT
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                    1         1000. According to historical BKK Corp. records, Defendant Tooley & Co.
                    2   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    3   waste contained Hazardous Substances that Defendant Tooley & Co. Inc. generated
                    4   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    5   Tooley & Co. Inc. has not incurred any response costs at the BKK Class I Facility
                    6   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    7   Class I Facility.
                    8         1001. According to historical BKK Corp. records, Defendant Torrance
                    9   Business Park contributed manifested waste to the BKK Class I Facility. This
                   10   manifested waste contained Hazardous Substances that Defendant Torrance
                   11   Business Park generated and/or arranged for its disposal at the BKK Class I
                   12   Facility. To date, Defendant Torrance Business Park has not incurred any response
                   13   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   14   incurred by the Plaintiffs at the BKK Class I Facility.
                   15         1002. According to historical BKK Corp. records, Defendant Trans Harbor
                   16   Service contributed manifested waste to the BKK Class I Facility. This manifested
                   17   waste contained Hazardous Substances that Defendant Trans Harbor Service
                   18   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   19   Defendant Trans Harbor Service has not incurred any response costs at the BKK
                   20   Class I Facility nor has it paid its fair share of response costs incurred by the
                   21   Plaintiffs at the BKK Class I Facility.
                   22         1003. According to historical BKK Corp. records, Defendant Transequip
                   23   Pacific Inc. contributed manifested waste to the BKK Class I Facility. This
                   24   manifested waste contained Hazardous Substances that Defendant Transequip
                   25   Pacific Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   26   To date, Defendant Transequip Pacific Inc. has not incurred any response costs at
                   27   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   28   the Plaintiffs at the BKK Class I Facility.
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                    1         1004. According to historical BKK Corp. records, Defendant TRE Corp.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant TRE Corp. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant TRE Corp.
                    5   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                    6   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    7         1005. According to historical BKK Corp. records, Defendant Treatolite
                    8   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    9   waste contained Hazardous Substances that Defendant Treatolite Corp. generated
                   10   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   11   Treatolite Corp. has not incurred any response costs at the BKK Class I Facility nor
                   12   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   13   Class I Facility.
                   14         1006. According to historical BKK Corp. records, Defendant Trent Tube Co.
                   15   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   16   contained Hazardous Substances that Defendant Trent Tube Co. generated and/or
                   17   arranged for its disposal at the BKK Class I Facility. To date, Defendant Trent Tube
                   18   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   19   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   20         1007. According to historical BKK Corp. records, Defendant Trewax Co.
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Trewax Co. generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Trewax
                   24   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   25   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26         1008. According to historical BKK Corp. records, Defendant Triad Marine &
                   27   Industrial Cleaning contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Triad Marine &
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                    1   Industrial Cleaning generated and/or arranged for its disposal at the BKK Class I
                    2   Facility. To date, Defendant Triad Marine & Industrial Cleaning has not incurred
                    3   any response costs at the BKK Class I Facility nor has it paid its fair share of
                    4   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    5         1009. According to historical BKK Corp. records, Defendant Trico
                    6   Industries Inc. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Trico Industries
                    8   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant Trico Industries Inc. has not incurred any response costs at the BKK
                   10   Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12         1010. According to historical BKK Corp. records, Defendant Tri-County
                   13   Insulation Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Tri-County
                   15   Insulation Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   16   Facility. To date, Defendant Tri-County Insulation Co. Inc. has not incurred any
                   17   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   18   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   19         1011. According to historical BKK Corp. records, Defendant Trimm
                   20   Industries contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Trimm Industries
                   22   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   23   Defendant Trimm Industries has not incurred any response costs at the BKK Class I
                   24   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   25   the BKK Class I Facility.
                   26         1012. According to historical BKK Corp. records, Defendant Trizec
                   27   Properties contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant Trizec Properties
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                    1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant Trizec Properties has not incurred any response costs at the BKK Class I
                    3   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                    4   the BKK Class I Facility.
                    5         1013. According to historical BKK Corp. records, Defendant Trojan Battery
                    6   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant Trojan Battery Co.
                    8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant Trojan Battery Co. has not incurred any response costs at the BKK Class
                   10   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   11   the BKK Class I Facility.
                   12         1014. According to historical BKK Corp. records, Defendant Truck
                   13   Transport contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Truck Transport
                   15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant Truck Transport has not incurred any response costs at the BKK Class I
                   17   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   18   the BKK Class I Facility.
                   19         1015. According to historical BKK Corp. records, Defendant Trumbull
                   20   Asphalt Co. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Trumbull
                   22   Asphalt Co. generated and/or arranged for its disposal at the BKK Class I Facility.
                   23   To date, Defendant Trumbull Asphalt Co. has not incurred any response costs at the
                   24   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   25   Plaintiffs at the BKK Class I Facility.
                   26         1016. According to historical BKK Corp. records, Defendant Tubing Seal
                   27   Cap Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant Tubing Seal Cap Co.
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                    1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant Tubing Seal Cap Co. has not incurred any response costs at the BKK
                    3   Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5          1017. According to historical BKK Corp. records, Defendant U.S. Borax &
                    6   Chemical Corp. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant U.S. Borax &
                    8   Chemical Corp. generated and/or arranged for its disposal at the BKK Class I
                    9   Facility. To date, Defendant U.S. Borax & Chemical Corp. has not incurred any
                   10   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   11   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12          1018. According to historical BKK Corp. records, Defendant U.S. Brass
                   13   Division contributed manifested waste to the BKK Class I Facility. This manifested
                   14   waste contained Hazardous Substances that Defendant U.S. Brass Division
                   15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant U.S. Brass Division has not incurred any response costs at the BKK
                   17   Class I Facility nor has it paid its fair share of response costs incurred by the
                   18   Plaintiffs at the BKK Class I Facility.
                   19          1019. According to historical BKK Corp. records, Defendant U.S. Filters
                   20   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   21   contained Hazardous Substances that Defendant U.S. Filters generated and/or
                   22   arranged for its disposal at the BKK Class I Facility. To date, Defendant U.S.
                   23   Filters has not incurred any response costs at the BKK Class I Facility nor has it
                   24   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   25   Facility.
                   26          1020. According to historical BKK Corp. records, Defendant U.S. Reduction
                   27   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant U.S. Reduction Co.
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                    1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant U.S. Reduction Co. has not incurred any response costs at the BKK
                    3   Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5          1021. According to historical BKK Corp. records, Defendant Union
                    6   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Union
                    8   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                    9   Facility. To date, Defendant Union Manufacturing Co. has not incurred any
                   10   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   11   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12          1022. According to historical BKK Corp. records, Defendant Union Packing
                   13   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   14   contained Hazardous Substances that Defendant Union Packing generated and/or
                   15   arranged for its disposal at the BKK Class I Facility. To date, Defendant Union
                   16   Packing has not incurred any response costs at the BKK Class I Facility nor has it
                   17   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   18   Facility.
                   19          1023. According to historical BKK Corp. records, Defendant Union Tribune
                   20   Publishing Co. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Union Tribune
                   22   Publishing Co. generated and/or arranged for its disposal at the BKK Class I
                   23   Facility. To date, Defendant Union Tribune Publishing Co. has not incurred any
                   24   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   25   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   26          1024. According to historical BKK Corp. records, Defendant United
                   27   Coatings Inc. contributed manifested waste to the BKK Class I Facility. This
                   28   manifested waste contained Hazardous Substances that Defendant United Coatings
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                    1   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant United Coatings Inc. has not incurred any response costs at the BKK
                    3   Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5         1025. According to historical BKK Corp. records, Defendant United Foam
                    6   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    7   waste contained Hazardous Substances that Defendant United Foam Corp.
                    8   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    9   Defendant United Foam Corp. has not incurred any response costs at the BKK
                   10   Class I Facility nor has it paid its fair share of response costs incurred by the
                   11   Plaintiffs at the BKK Class I Facility.
                   12         1026. According to historical BKK Corp. records, Defendant Unitog Rental
                   13   Services Inc. contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant Unitog Rental
                   15   Services Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   16   To date, Defendant Unitog Rental Services Inc. has not incurred any response costs
                   17   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   18   by the Plaintiffs at the BKK Class I Facility.
                   19         1027. According to historical BKK Corp. records, Defendant Universal
                   20   Circuits Inc. contributed manifested waste to the BKK Class I Facility. This
                   21   manifested waste contained Hazardous Substances that Defendant Universal
                   22   Circuits Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   23   To date, Defendant Universal Circuits Inc. has not incurred any response costs at
                   24   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   25   the Plaintiffs at the BKK Class I Facility.
                   26         1028. According to historical BKK Corp. records, Defendant Universal Paint
                   27   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   28   waste contained Hazardous Substances that Defendant Universal Paint Corp.
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                    1   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    2   Defendant Universal Paint Corp. has not incurred any response costs at the BKK
                    3   Class I Facility nor has it paid its fair share of response costs incurred by the
                    4   Plaintiffs at the BKK Class I Facility.
                    5          1029. According to historical BKK Corp. records, Defendant Universal
                    6   Propulsion Co. contributed manifested waste to the BKK Class I Facility. This
                    7   manifested waste contained Hazardous Substances that Defendant Universal
                    8   Propulsion Co. generated and/or arranged for its disposal at the BKK Class I
                    9   Facility. To date, Defendant Universal Propulsion Co. has not incurred any
                   10   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   11   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   12          1030. According to historical BKK Corp. records, Defendant USA
                   13   Petroleum contributed manifested waste to the BKK Class I Facility. This
                   14   manifested waste contained Hazardous Substances that Defendant USA Petroleum
                   15   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   16   Defendant USA Petroleum has not incurred any response costs at the BKK Class I
                   17   Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   18   the BKK Class I Facility.
                   19          1031. According to historical BKK Corp. records, Defendant Val Circuits
                   20   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   21   waste contained Hazardous Substances that Defendant Val Circuits Inc. generated
                   22   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant Val
                   23   Circuits Inc. has not incurred any response costs at the BKK Class I Facility nor has
                   24   it paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   25   Facility.
                   26          1032. According to historical BKK Corp. records, Defendant Valco
                   27   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   28   contained Hazardous Substances that Defendant Valco generated and/or arranged
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                    1   for its disposal at the BKK Class I Facility. To date, Defendant Valco has not
                    2   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                    3   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    4         1033. According to historical BKK Corp. records, Defendant Valentec
                    5   International Corp. contributed manifested waste to the BKK Class I Facility. This
                    6   manifested waste contained Hazardous Substances that Defendant Valentec
                    7   International Corp. generated and/or arranged for its disposal at the BKK Class I
                    8   Facility. To date, Defendant Valentec International Corp. has not incurred any
                    9   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   10   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   11         1034. According to historical BKK Corp. records, Defendant Valley Brake
                   12   Bond Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Valley Brake
                   14   Bond Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   15   Facility. To date, Defendant Valley Brake Bond Co. Inc. has not incurred any
                   16   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   17   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   18         1035. According to historical BKK Corp. records, Defendant Valley Friction
                   19   Materials contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Valley Friction
                   21   Materials generated and/or arranged for its disposal at the BKK Class I Facility. To
                   22   date, Defendant Valley Friction Materials has not incurred any response costs at the
                   23   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25         1036. According to historical BKK Corp. records, Defendant Van De Kamp
                   26   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   27   contained Hazardous Substances that Defendant Van De Kamp generated and/or
                   28   arranged for its disposal at the BKK Class I Facility. To date, Defendant Van De
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                    1   Kamp has not incurred any response costs at the BKK Class I Facility nor has it
                    2   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    3   Facility.
                    4          1037. According to historical BKK Corp. records, Defendant Van Der Horst
                    5   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    6   waste contained Hazardous Substances that Defendant Van Der Horst Corp.
                    7   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    8   Defendant Van Der Horst Corp. has not incurred any response costs at the BKK
                    9   Class I Facility nor has it paid its fair share of response costs incurred by the
                   10   Plaintiffs at the BKK Class I Facility.
                   11          1038. According to historical BKK Corp. records, Defendant Vantico A. &
                   12   T. US Inc. contributed manifested waste to the BKK Class I Facility. This
                   13   manifested waste contained Hazardous Substances that Defendant Vantico A. & T.
                   14   US Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To
                   15   date, Defendant Vantico A. & T. US Inc. has not incurred any response costs at the
                   16   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   17   Plaintiffs at the BKK Class I Facility.
                   18          1039. According to historical BKK Corp. records, Defendant Ventura
                   19   Transfer Co. contributed manifested waste to the BKK Class I Facility. This
                   20   manifested waste contained Hazardous Substances that Defendant Ventura Transfer
                   21   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   22   Defendant Ventura Transfer Co. has not incurred any response costs at the BKK
                   23   Class I Facility nor has it paid its fair share of response costs incurred by the
                   24   Plaintiffs at the BKK Class I Facility.
                   25          1040. According to historical BKK Corp. records, Defendant Vernon Leather
                   26   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   27   waste contained Hazardous Substances that Defendant Vernon Leather Co.
                   28   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
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                    1   Defendant Vernon Leather Co. has not incurred any response costs at the BKK
                    2   Class I Facility nor has it paid its fair share of response costs incurred by the
                    3   Plaintiffs at the BKK Class I Facility.
                    4          1041. According to historical BKK Corp. records, Defendant Visitron Corp.
                    5   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    6   contained Hazardous Substances that Defendant Visitron Corp. generated and/or
                    7   arranged for its disposal at the BKK Class I Facility. To date, Defendant Visitron
                    8   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    9   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   10   Facility.
                   11          1042. According to historical BKK Corp. records, Defendant Vista Metals
                   12   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   13   waste contained Hazardous Substances that Defendant Vista Metals Corp.
                   14   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   15   Defendant Vista Metals Corp. has not incurred any response costs at the BKK Class
                   16   I Facility nor has it paid its fair share of response costs incurred by the Plaintiffs at
                   17   the BKK Class I Facility.
                   18          1043. According to historical BKK Corp. records, Defendant Voi Shan
                   19   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   20   contained Hazardous Substances that Defendant Voi Shan generated and/or
                   21   arranged for its disposal at the BKK Class I Facility. To date, Defendant Voi Shan
                   22   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   23   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24          1044. According to historical BKK Corp. records, Defendant Vons
                   25   Companies Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Vons Companies
                   27   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   28   Defendant Vons Companies Inc. has not incurred any response costs at the BKK
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3         1045. According to historical BKK Corp. records, Defendant W. L.
                    4   Chapman Co. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant W. L. Chapman
                    6   Co. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant W. L. Chapman Co. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         1046. According to historical BKK Corp. records, Defendant W. S. Hatch
                   11   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant W. S. Hatch Co. generated
                   13   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant W.
                   14   S. Hatch Co. has not incurred any response costs at the BKK Class I Facility nor
                   15   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   16   Class I Facility.
                   17         1047. According to historical BKK Corp. records, Defendant W. Smith Co.
                   18   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   19   contained Hazardous Substances that Defendant W. Smith Co. generated and/or
                   20   arranged for its disposal at the BKK Class I Facility. To date, Defendant W. Smith
                   21   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   22   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         1048. According to historical BKK Corp. records, Defendant W. W. Henry
                   24   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant W. W. Henry Co. generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant W.
                   27   W. Henry Co. has not incurred any response costs at the BKK Class I Facility nor
                   28
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         1049. According to historical BKK Corp. records, Defendant W. W. Irwin
                    4   Co. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant W. W. Irwin Co. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant W.
                    7   W. Irwin Co. has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         1050. According to historical BKK Corp. records, Defendant Wadco
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Wadco generated and/or arranged
                   13   for its disposal at the BKK Class I Facility. To date, Defendant Wadco has not
                   14   incurred any response costs at the BKK Class I Facility nor has it paid its fair share
                   15   of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         1051. According to historical BKK Corp. records, Defendant Warners Dead
                   17   Stock contributed manifested waste to the BKK Class I Facility. This manifested
                   18   waste contained Hazardous Substances that Defendant Warners Dead Stock
                   19   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   20   Defendant Warners Dead Stock has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         1052. According to historical BKK Corp. records, Defendant Waterfront
                   24   Services contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Waterfront Services
                   26   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   27   Defendant Waterfront Services has not incurred any response costs at the BKK
                   28
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                    1   Class I Facility nor has it paid its fair share of response costs incurred by the
                    2   Plaintiffs at the BKK Class I Facility.
                    3          1053. According to historical BKK Corp. records, Defendant Waymire Drum
                    4   Co. Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Waymire Drum Co. Inc.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Waymire Drum Co. Inc. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10          1054. According to historical BKK Corp. records, Defendant Weber Aircraft
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Weber Aircraft generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Weber
                   14   Aircraft has not incurred any response costs at the BKK Class I Facility nor has it
                   15   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   16   Facility.
                   17          1055. According to historical BKK Corp. records, Defendant Weber Metals
                   18   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Weber Metals Inc. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Weber Metals Inc. has not incurred any response costs at the BKK Class I Facility
                   22   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24          1056. According to historical BKK Corp. records, Defendant Welchs
                   25   Uniform contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Welchs Uniform generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Welchs Uniform has not incurred any response costs at the BKK Class I Facility
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         1057. According to historical BKK Corp. records, Defendant Well Tech Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Well Tech Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Well Tech
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         1058. According to historical BKK Corp. records, Defendant Wells Marine
                   10   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                   11   waste contained Hazardous Substances that Defendant Wells Marine Inc. generated
                   12   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   13   Wells Marine Inc. has not incurred any response costs at the BKK Class I Facility
                   14   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   15   Class I Facility.
                   16         1059. According to historical BKK Corp. records, Defendant Wescal
                   17   Industries contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Wescal
                   19   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   20   date, Defendant Wescal Industries has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         1060. According to historical BKK Corp. records, Defendant Wesco
                   24   Products contributed manifested waste to the BKK Class I Facility. This manifested
                   25   waste contained Hazardous Substances that Defendant Wesco Products generated
                   26   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Wesco Products has not incurred any response costs at the BKK Class I Facility nor
                   28
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3          1061. According to historical BKK Corp. records, Defendant Weslock Corp.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Weslock Corp. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Weslock
                    7   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    8   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    9   Facility.
                   10          1062. According to historical BKK Corp. records, Defendant West American
                   11   Rubber contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant West American Rubber
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant West American Rubber has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17          1063. According to historical BKK Corp. records, Defendant West Valley
                   18   Toyota contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant West Valley Toyota
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant West Valley Toyota has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24          1064. According to historical BKK Corp. records, Defendant Western
                   25   Circuits contributed manifested waste to the BKK Class I Facility. This manifested
                   26   waste contained Hazardous Substances that Defendant Western Circuits generated
                   27   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   28   Western Circuits has not incurred any response costs at the BKK Class I Facility
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                    1   nor has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         1065. According to historical BKK Corp. records, Defendant Western
                    4   Dyeing & Finishing contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Western Dyeing
                    6   & Finishing generated and/or arranged for its disposal at the BKK Class I Facility.
                    7   To date, Defendant Western Dyeing & Finishing has not incurred any response
                    8   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    9   incurred by the Plaintiffs at the BKK Class I Facility.
                   10         1066. According to historical BKK Corp. records, Defendant Western
                   11   Electroplating Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Western
                   13   Electroplating Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Western Electroplating Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         1067. According to historical BKK Corp. records, Defendant Western Fuel
                   18   Oil Co. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Western Fuel Oil Co.
                   20   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   21   Defendant Western Fuel Oil Co. has not incurred any response costs at the BKK
                   22   Class I Facility nor has it paid its fair share of response costs incurred by the
                   23   Plaintiffs at the BKK Class I Facility.
                   24         1068. According to historical BKK Corp. records, Defendant Western
                   25   Galvanizing Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Western
                   27   Galvanizing Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Western Galvanizing Co. has not incurred any
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                    1   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    2   costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         1069. According to historical BKK Corp. records, Defendant Western Kraft
                    4   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Western Kraft Corp.
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Western Kraft Corp. has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         1070. According to historical BKK Corp. records, Defendant Western
                   11   Lithograph contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Western
                   13   Lithograph generated and/or arranged for its disposal at the BKK Class I Facility.
                   14   To date, Defendant Western Lithograph has not incurred any response costs at the
                   15   BKK Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         1071. According to historical BKK Corp. records, Defendant Western Oil &
                   18   Refining Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Western Oil &
                   20   Refining Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Western Oil & Refining Co. Inc. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         1072. According to historical BKK Corp. records, Defendant Western
                   25   Rebuilder Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Western
                   27   Rebuilder Inc. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Western Rebuilder Inc. has not incurred any response
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                    1   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                    2   incurred by the Plaintiffs at the BKK Class I Facility.
                    3         1073. According to historical BKK Corp. records, Defendant Western
                    4   Specialty Coatings Co. contributed manifested waste to the BKK Class I Facility.
                    5   This manifested waste contained Hazardous Substances that Defendant Western
                    6   Specialty Coatings Co. generated and/or arranged for its disposal at the BKK Class
                    7   I Facility. To date, Defendant Western Specialty Coatings Co. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         1074. According to historical BKK Corp. records, Defendant Western States
                   11   Refining contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Western States Refining
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Western States Refining has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         1075. According to historical BKK Corp. records, Defendant Western
                   18   Synthetic Felt Co. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Western
                   20   Synthetic Felt Co. generated and/or arranged for its disposal at the BKK Class I
                   21   Facility. To date, Defendant Western Synthetic Felt Co. has not incurred any
                   22   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   23   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   24         1076. According to historical BKK Corp. records, Defendant Western Wheel
                   25   Manufacturing Co. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Western Wheel
                   27   Manufacturing Co. generated and/or arranged for its disposal at the BKK Class I
                   28   Facility. To date, Defendant Western Wheel Manufacturing Co. has not incurred
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                    1   any response costs at the BKK Class I Facility nor has it paid its fair share of
                    2   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    3         1077. According to historical BKK Corp. records, Defendant Westminster
                    4   Ceramics Inc. contributed manifested waste to the BKK Class I Facility. This
                    5   manifested waste contained Hazardous Substances that Defendant Westminster
                    6   Ceramics Inc. generated and/or arranged for its disposal at the BKK Class I
                    7   Facility. To date, Defendant Westminster Ceramics Inc. has not incurred any
                    8   response costs at the BKK Class I Facility nor has it paid its fair share of response
                    9   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   10         1078. According to historical BKK Corp. records, Defendant Westway
                   11   Terminal Co. Inc. contributed manifested waste to the BKK Class I Facility. This
                   12   manifested waste contained Hazardous Substances that Defendant Westway
                   13   Terminal Co. Inc. generated and/or arranged for its disposal at the BKK Class I
                   14   Facility. To date, Defendant Westway Terminal Co. Inc. has not incurred any
                   15   response costs at the BKK Class I Facility nor has it paid its fair share of response
                   16   costs incurred by the Plaintiffs at the BKK Class I Facility.
                   17         1079. According to historical BKK Corp. records, Defendant Wheel Service
                   18   Group Inc. contributed manifested waste to the BKK Class I Facility. This
                   19   manifested waste contained Hazardous Substances that Defendant Wheel Service
                   20   Group Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   21   To date, Defendant Wheel Service Group Inc. has not incurred any response costs
                   22   at the BKK Class I Facility nor has it paid its fair share of response costs incurred
                   23   by the Plaintiffs at the BKK Class I Facility.
                   24         1080. According to historical BKK Corp. records, Defendant Whitcomb
                   25   Plating Inc. contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Whitcomb
                   27   Plating Inc. generated and/or arranged for its disposal at the BKK Class I Facility.
                   28   To date, Defendant Whitcomb Plating Inc. has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         1081. According to historical BKK Corp. records, Defendant Whiteworth
                    4   Inc. contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Whiteworth Inc. generated
                    6   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                    7   Whiteworth Inc. has not incurred any response costs at the BKK Class I Facility nor
                    8   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    9   Class I Facility.
                   10         1082. According to historical BKK Corp. records, Defendant Whitfield Tank
                   11   Lines contributed manifested waste to the BKK Class I Facility. This manifested
                   12   waste contained Hazardous Substances that Defendant Whitfield Tank Lines
                   13   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   14   Defendant Whitfield Tank Lines has not incurred any response costs at the BKK
                   15   Class I Facility nor has it paid its fair share of response costs incurred by the
                   16   Plaintiffs at the BKK Class I Facility.
                   17         1083. According to historical BKK Corp. records, Defendant Whittaker
                   18   Corp. contributed manifested waste to the BKK Class I Facility. This manifested
                   19   waste contained Hazardous Substances that Defendant Whittaker Corp. generated
                   20   and/or arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   21   Whittaker Corp. has not incurred any response costs at the BKK Class I Facility nor
                   22   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                   23   Class I Facility.
                   24         1084. According to historical BKK Corp. records, Defendant Whittier
                   25   Chrome & Plating contributed manifested waste to the BKK Class I Facility. This
                   26   manifested waste contained Hazardous Substances that Defendant Whittier Chrome
                   27   & Plating generated and/or arranged for its disposal at the BKK Class I Facility. To
                   28   date, Defendant Whittier Chrome & Plating has not incurred any response costs at
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                    1   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                    2   the Plaintiffs at the BKK Class I Facility.
                    3         1085. According to historical BKK Corp. records, Defendant Wilcor Inc.
                    4   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    5   contained Hazardous Substances that Defendant Wilcor Inc. generated and/or
                    6   arranged for its disposal at the BKK Class I Facility. To date, Defendant Wilcor
                    7   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                    8   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                    9         1086. According to historical BKK Corp. records, Defendant Wilmington
                   10   Liquid Bulk contributed manifested waste to the BKK Class I Facility. This
                   11   manifested waste contained Hazardous Substances that Defendant Wilmington
                   12   Liquid Bulk generated and/or arranged for its disposal at the BKK Class I Facility.
                   13   To date, Defendant Wilmington Liquid Bulk has not incurred any response costs at
                   14   the BKK Class I Facility nor has it paid its fair share of response costs incurred by
                   15   the Plaintiffs at the BKK Class I Facility.
                   16         1087. According to historical BKK Corp. records, Defendant Wilshire
                   17   Industries contributed manifested waste to the BKK Class I Facility. This
                   18   manifested waste contained Hazardous Substances that Defendant Wilshire
                   19   Industries generated and/or arranged for its disposal at the BKK Class I Facility. To
                   20   date, Defendant Wilshire Industries has not incurred any response costs at the BKK
                   21   Class I Facility nor has it paid its fair share of response costs incurred by the
                   22   Plaintiffs at the BKK Class I Facility.
                   23         1088. According to historical BKK Corp. records, Defendant Winchester Inn
                   24   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   25   contained Hazardous Substances that Defendant Winchester Inn generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant
                   27   Winchester Inn has not incurred any response costs at the BKK Class I Facility nor
                   28
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                    1   has it paid its fair share of response costs incurred by the Plaintiffs at the BKK
                    2   Class I Facility.
                    3         1089. According to historical BKK Corp. records, Defendant Windowmaster
                    4   Products contributed manifested waste to the BKK Class I Facility. This manifested
                    5   waste contained Hazardous Substances that Defendant Windowmaster Products
                    6   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                    7   Defendant Windowmaster Products has not incurred any response costs at the BKK
                    8   Class I Facility nor has it paid its fair share of response costs incurred by the
                    9   Plaintiffs at the BKK Class I Facility.
                   10         1090. According to historical BKK Corp. records, Defendant Winonics Inc.
                   11   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   12   contained Hazardous Substances that Defendant Winonics Inc. generated and/or
                   13   arranged for its disposal at the BKK Class I Facility. To date, Defendant Winonics
                   14   Inc. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   15   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   16         1091. According to historical BKK Corp. records, Defendant Wyndham
                   17   Manufacturing Co. Inc. contributed manifested waste to the BKK Class I Facility.
                   18   This manifested waste contained Hazardous Substances that Defendant Wyndham
                   19   Manufacturing Co. Inc. generated and/or arranged for its disposal at the BKK Class
                   20   I Facility. To date, Defendant Wyndham Manufacturing Co. Inc. has not incurred
                   21   any response costs at the BKK Class I Facility nor has it paid its fair share of
                   22   response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   23         1092. According to historical BKK Corp. records, Defendant Wynn Oil Co.
                   24   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   25   contained Hazardous Substances that Defendant Wynn Oil Co. generated and/or
                   26   arranged for its disposal at the BKK Class I Facility. To date, Defendant Wynn Oil
                   27   Co. has not incurred any response costs at the BKK Class I Facility nor has it paid
                   28   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
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                    1          1093. According to historical BKK Corp. records, Defendant Xidex Corp.
                    2   contributed manifested waste to the BKK Class I Facility. This manifested waste
                    3   contained Hazardous Substances that Defendant Xidex Corp. generated and/or
                    4   arranged for its disposal at the BKK Class I Facility. To date, Defendant Xidex
                    5   Corp. has not incurred any response costs at the BKK Class I Facility nor has it
                    6   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    7   Facility.
                    8          1094. According to historical BKK Corp. records, Defendant Yoplait USA
                    9   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   10   contained Hazardous Substances that Defendant Yoplait USA generated and/or
                   11   arranged for its disposal at the BKK Class I Facility. To date, Defendant Yoplait
                   12   USA has not incurred any response costs at the BKK Class I Facility nor has it paid
                   13   its fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   14          1095. According to historical BKK Corp. records, Defendant Zapata
                   15   Construction Inc. contributed manifested waste to the BKK Class I Facility. This
                   16   manifested waste contained Hazardous Substances that Defendant Zapata
                   17   Construction Inc. generated and/or arranged for its disposal at the BKK Class I
                   18   Facility. To date, Defendant Zapata Construction Inc. has not incurred any response
                   19   costs at the BKK Class I Facility nor has it paid its fair share of response costs
                   20   incurred by the Plaintiffs at the BKK Class I Facility.
                   21          1096. According to historical BKK Corp. records, Defendant Zero Corp.
                   22   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   23   contained Hazardous Substances that Defendant Zero Corp. generated and/or
                   24   arranged for its disposal at the BKK Class I Facility. To date, Defendant Zero Corp.
                   25   has not incurred any response costs at the BKK Class I Facility nor has it paid its
                   26   fair share of response costs incurred by the Plaintiffs at the BKK Class I Facility.
                   27          1097. According to historical BKK Corp. records, Defendant Zim Container
                   28   contributed manifested waste to the BKK Class I Facility. This manifested waste
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                    1   contained Hazardous Substances that Defendant Zim Container generated and/or
                    2   arranged for its disposal at the BKK Class I Facility. To date, Defendant Zim
                    3   Container has not incurred any response costs at the BKK Class I Facility nor has it
                    4   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                    5   Facility.
                    6          1098. According to historical BKK Corp. records, Defendant Zimmers Truck
                    7   Stop contributed manifested waste to the BKK Class I Facility. This manifested
                    8   waste contained Hazardous Substances that Defendant Zimmers Truck Stop
                    9   generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   10   Defendant Zimmers Truck Stop has not incurred any response costs at the BKK
                   11   Class I Facility nor has it paid its fair share of response costs incurred by the
                   12   Plaintiffs at the BKK Class I Facility.
                   13          1099. According to historical BKK Corp. records, Defendant Zolatone
                   14   Process Inc. contributed manifested waste to the BKK Class I Facility. This
                   15   manifested waste contained Hazardous Substances that Defendant Zolatone Process
                   16   Inc. generated and/or arranged for its disposal at the BKK Class I Facility. To date,
                   17   Defendant Zolatone Process Inc. has not incurred any response costs at the BKK
                   18   Class I Facility nor has it paid its fair share of response costs incurred by the
                   19   Plaintiffs at the BKK Class I Facility.
                   20          1100. According to historical BKK Corp. records, Defendant Zonver Drilling
                   21   contributed manifested waste to the BKK Class I Facility. This manifested waste
                   22   contained Hazardous Substances that Defendant Zonver Drilling generated and/or
                   23   arranged for its disposal at the BKK Class I Facility. To date, Defendant Zonver
                   24   Drilling has not incurred any response costs at the BKK Class I Facility nor has it
                   25   paid its fair share of response costs incurred by the Plaintiffs at the BKK Class I
                   26   Facility.
                   27          1101. Each Defendant has declined or not responded to Plaintiffs’ request(s)
                   28   to enter into, or has otherwise not entered into, a tolling agreement to facilitate
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                    1   settlement discussions. A number of other PRPs at the BKK Class I Facility have
                    2   entered into tolling agreements with the Plaintiffs, and Plaintiffs will attempt to
                    3   resolve the liabilities of those PRPs without litigation.
                    4         1102. On information and belief, each Defendant, including any of its
                    5   assignees, predecessors, successors in interest, or alter egos, is a “person” who
                    6   either (a) by contract, agreement, or otherwise, arranged for disposal or treatment,
                    7   or (b) arranged with a transporter for disposal or treatment, of Hazardous
                    8   Substances at the BKK Class I Facility.
                    9         1103. On information and belief, between approximately 1969 and 1987,
                   10   Does 1-50 disposed or arranged for the disposal of Hazardous Substances at the
                   11   BKK Class I Facility.
                   12             FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
                   13         1104. At all times relevant to this action, the BKK Class I Facility was
                   14   operated by BKK Corporation (“BKK Corp.”) and/or other third parties, and was
                   15   also owned by BKK Corp. from approximately 1973 through the present.
                   16         1105. Beginning in at least 1969 and continuing to approximately 1984, the
                   17   BKK Class I Facility accepted manifested waste, which included Hazardous
                   18   Substances, for disposal. After 1984, the BKK Class I Facility continued accepting
                   19   municipal waste, including asbestos.
                   20         1106. The BKK Class I Facility ceased accepting waste in 1987, at which
                   21   time BKK Corp. began to undertake landfill closure and post-closure activities.
                   22         1107. By letters dated October 18 and October 20, 2004, “BKK [Corp.]
                   23   notified DTSC that for financial reasons, BKK [Corp.] would no longer be able to
                   24   perform required post-closure care of the [BKK Class I Facility], including
                   25   operation of the LTP, after November 17, 2004. As a result, DTSC . . . hired a
                   26   contractor to conduct emergency response activities at the [BKK Class I Facility].”
                   27   Imminent and Substantial Endangerment Determination and Order and Remedial
                   28   Action Order Docket No. I/SE-D 04/05-004 (“ISE Order”), 14.
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                    1          1108. On December 2, 2004, DTSC issued the ISE Order to BKK Corp. and
                    2   50 other respondents who were alleged to have “arranged by contract, agreement or
                    3   otherwise for the disposal of [their] disposed hazardous substances/wastes” at the
                    4   BKK Class I Facility, or who were alleged to be an “owner and operator” of the
                    5   BKK Class I Facility. A true and correct copy of the ISE Order is attached hereto
                    6   as Exhibit B.
                    7          1109. In the ISE Order, DTSC asserts that “[t]here has been a ‘release’
                    8   and/or there is a ‘threatened release’ of hazardous substances” at the BKK Class I
                    9   Facility.
                   10          1110. The ISE Order required the recipients of the order to perform certain
                   11   specified environmental response actions and to reimburse DTSC for the response
                   12   actions it had taken at the BKK Class I Facility.
                   13          1111. In 2004, certain recipients of the ISE Order formed the BKK Working
                   14   Group for the purpose of cooperating with DTSC to address conditions at the BKK
                   15   Class I Facility. Immediately thereafter, the BKK Working Group and DTSC
                   16   commenced negotiations to seek a settlement to address conditions at the BKK
                   17   Class I Facility. Prior to finalizing this settlement, the BKK Working Group and
                   18   each of its then-members incurred necessary response costs at the BKK Class I
                   19   Facility that are consistent with the NCP.
                   20          1112. The composition of the BKK Working Group has changed over time
                   21   and continues to change. New members pay an interim allocated share of past and
                   22   ongoing costs. Each Plaintiff, as a member of the BKK Working Group, has
                   23   incurred necessary response costs consistent with the NCP.
                   24          1113. On October 31, 2005, the State of California, through its agency
                   25   DTSC, filed a Complaint against certain members of the BKK Working Group in
                   26   case number CV 05-7746 CAS (JWJx) (C.D. Cal. 2005) (hereinafter “Initial Site
                   27   Action”). In the Initial Site Action Complaint, the State of California sought
                   28   recovery of past response costs pursuant to Section 107 of CERCLA; declaratory
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                    1   relief pursuant to Section 113 of CERCLA; and injunctive relief pursuant to CAL.
                    2   HEALTH & SAFETY CODE § 25358.3(e) from certain members of the BKK Working
                    3   Group relating to the BKK Class I Facility. The Initial Site Action Complaint was
                    4   filed concurrently with the lodging of a consent decree between certain members of
                    5   the BKK Working Group and DTSC that addressed conditions at the BKK Class I
                    6   Facility.
                    7            1114. On February 8, 2006, the State of California, through its agency
                    8   DTSC, lodged an Amended Consent Decree (“First Consent Decree”) in the Initial
                    9   Site Action. The First Consent Decree, attached hereto as Exhibit C, was entered
                   10   on March 9, 2006.
                   11            1115. Among other things, the First Consent Decree obligated certain
                   12   members of the BKK Working Group to perform environmental response actions at
                   13   the BKK Class I Facility, to reimburse DTSC for certain of its past response costs,
                   14   and to pay DTSC for its continuing oversight of the environmental response work
                   15   at the BKK Class I Facility. The response actions have included investigation
                   16   activities.
                   17            1116. The First Consent Decree also “resolves the liability of [the members
                   18   of the BKK Working Group] for Past Response Costs . . . ” and provides members
                   19   of the BKK Working Group with “protection from contribution actions or claims as
                   20   provided by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2) for matters
                   21   addressed in [the First Consent Decree]. The matters addressed in [the First
                   22   Consent Decree] are (a) the Work to be Performed by [the BKK Working Group] . .
                   23   . (b) Past Response Costs; (c) Future Interim Response Costs; (d) Future DTSC
                   24   Oversight Costs; (e) interest on amounts referred to in (b), (c), and (d) above, and
                   25   (f) compliance with the ISE Order from its effective date through the date on which
                   26   it is dismissed as provided in [the First Consent Decree].” First Consent Decree at
                   27   ¶ 8.1.
                   28
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                    1         1117. Upon entry of the First Consent Decree, the BKK Working Group
                    2   began performing environmental response work, including site investigation, at the
                    3   BKK Class I Facility under the oversight of DTSC. All work performed under the
                    4   First Consent Decree is deemed to be, and was, necessary and performed in
                    5   accordance with the NCP.
                    6         1118. On May 5, 2010, the State of California, through its agency DTSC,
                    7   filed a second complaint against certain members of the BKK Working Group in
                    8   case number CV 10-3378 RGK (AJWx) (C.D. Cal. 2010) (hereinafter “Second Site
                    9   Action”). Like the Initial Site Action Complaint, the Second Site Action Complaint
                   10   sought recovery of past response costs, including investigation costs, pursuant to
                   11   Section 107 of CERCLA; declaratory relief pursuant to Section 113 of CERCLA;
                   12   and injunctive relief pursuant to Cal. Health & Safety Code § 25358.3(e) from
                   13   certain members of the BKK Working Group relating to the BKK Class I Facility.
                   14         1119. At that same time, the State of California, through its agency DTSC,
                   15   lodged a Second Consent Decree (“Second Consent Decree”) with the Court,
                   16   obligating the BKK Working Group to perform additional response actions,
                   17   including investigation activities, at the BKK Class I Facility, to reimburse DTSC
                   18   for certain of its past response costs, including investigation costs, and to pay future
                   19   oversight costs to DTSC on an ongoing basis. The Second Consent Decree,
                   20   attached hereto as Exhibit D, was entered on August 10, 2010.
                   21         1120. Among other things, the Second Consent Decree obligates certain
                   22   members of the BKK Working Group to perform environmental response actions,
                   23   including investigation activities, at the BKK Class I Facility, to reimburse DTSC
                   24   for certain of its response costs, including investigation costs, to pay DTSC for its
                   25   continuing oversight of the environmental response work at the BKK Class I
                   26   Facility, and to conduct an Engineering Evaluation/Cost Analysis (“EE/CA”) of the
                   27   BKK Class I Facility. Second Consent Decree at ¶ 4.1.2 and Ex. D (EE/CA
                   28   Statement of Work). The EE/CA is to propose a non-time critical removal action
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                    1   that contributes to the efficient performance of any long-term remedial action for
                    2   the BKK Class I Facility. It is anticipated that a remedial investigation/feasibility
                    3   study and remedial actions will be conducted at the BKK Class I Facility at the
                    4   conclusion of the EE/CA. It is anticipated that DTSC will select further appropriate
                    5   response actions to be performed at the BKK Class Facility based on the EE/CA.
                    6         1121. Among other things, the Second Consent Decree provides certain
                    7   members of the BKK Working Group with “protection from contribution actions or
                    8   claims as provided by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2) for
                    9   matters addressed in the Second Consent Decree. The matters addressed in the
                   10   Second Consent Decree are (a) the Work to be Performed by [the BKK Working
                   11   Group] . . . (b) Past Response Costs . . .; and (c) Future DTSC Oversight Costs . . .
                   12   .” Second Consent Decree at ¶ 8.1.
                   13         1122. From August 10, 2010 until the present, the BKK Working Group
                   14   performed and continues to perform environmental response work, including site
                   15   investigation, at the BKK Class I Facility under the Second Consent Decree. All
                   16   work performed under the Second Consent Decree is deemed to be, and was,
                   17   necessary and performed in accordance with the NCP.
                   18         1123. On February 2, 2015, the State of California, through its agency
                   19   DTSC, filed a third complaint against certain members of the BKK Working Group
                   20   in case number CV 15-729 DDP (AJWx) (C.D. Cal. 2015) (hereinafter “Third Site
                   21   Action”). Like the Initial and Second Site Action Complaints, the Third Site
                   22   Action Complaint sought recovery of past response costs pursuant to Section 107 of
                   23   CERCLA; declaratory relief pursuant to Section 113 of CERCLA; and injunctive
                   24   relief pursuant to Cal. Health & Safety Code § 25358.3(e) from certain members of
                   25   the BKK Working Group relating to the BKK Class I Facility.
                   26         1124. At that same time, the State of California, through its agency DTSC,
                   27   lodged a Third Partial Consent Decree (“Third Partial Consent Decree”) with the
                   28   Court, obligating certain members of the BKK Working Group to perform
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                    1   additional response actions, including investigation activities, at the BKK Class I
                    2   Facility, to reimburse DTSC for certain of its past response costs, including site
                    3   investigation activities, and to pay future oversight costs to DTSC on an ongoing
                    4   basis. The Third Partial Consent Decree, attached hereto as Exhibit E, was entered
                    5   on July 24, 2015.
                    6         1125. Among other things, the Third Partial Consent Decree obligates certain
                    7   members of the BKK Working Group to perform environmental response actions,
                    8   including investigation activities, at the BKK Class I Facility, to reimburse DTSC
                    9   for certain of its response costs, including site investigation costs, to pay DTSC for
                   10   its continuing oversight of the environmental response work at the BKK Class I
                   11   Facility, and to conduct a Remedial Investigation/Feasibility Study (“RI/FS”) for
                   12   the groundwater beneath and around the BKK Class I Facility. Third Partial
                   13   Consent Decree at ¶ 4.1.3 and Exhibit D to the Third Partial Consent Decree (RI/FS
                   14   Statement of Work). The area of groundwater investigation pursuant to the RI/FS
                   15   includes the Class I Landfill and Class I Landfill operation areas, including but not
                   16   limited to, “Trash Island” located on the north side of the landfill; the leachate
                   17   treatment plant (LTP); Barrier 1; the upper detention basin below the LTP; liquid
                   18   piping and other liquid collection and conveyance systems associated with the
                   19   Class I Landfill; the fueling station and truck wash; and wherever hazardous
                   20   substances from such areas have or may come to be located. It is anticipated that
                   21   DTSC will select further appropriate response actions to be performed at and
                   22   around the BKK Class I Facility based on the RI/FS.
                   23         1126. Among other things, the Third Partial Consent Decree provides certain
                   24   members of the BKK Working Group with “protection from contribution actions or
                   25   claims as provided by CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2) for
                   26   matters addressed in the Third Partial Consent Decree. The matters addressed in
                   27   the Third Partial Consent Decree are (a) the Work to be Performed by [members of
                   28
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1   the BKK Working Group] . . . (b) Past Response Costs . . .; and (c) Future DTSC
                    2   Oversight Costs . . ..” Third Partial Consent Decree at ¶ 8.1.
                    3         1127. As reflected in the BKK document archive maintained by DTSC,
                    4   members of the BKK Working Group also entered into additional interim
                    5   settlement agreements with DTSC to reimburse the State for its past response costs
                    6   incurred consistent with the NCP at the BKK Class I Landfill.
                    7         1128. On July 29, 2016, the State of California, through its agency DTSC,
                    8   filed an amended third complaint, which joined as defendants five additional
                    9   members of the BKK Working Group.
                   10         1129. At that same time, the State of California, through its agency DTSC,
                   11   lodged a First Amended Third Partial Consent Decree (“Amended Third Partial
                   12   Consent Decree”), which added the five new defendants as additional Settling
                   13   Defendants. The Amended Third Partial Consent Decree, attached hereto as
                   14   Exhibit F, was approved by the Court on October 18, 2016.
                   15         1130. Among other things, the Amended Third Partial Consent Decree, like
                   16   the Third Partial Consent Decree, obligates certain members of the BKK Working
                   17   Group to perform environmental response actions at the BKK Class I Facility, to
                   18   reimburse DTSC for certain of its response costs, to pay DTSC for its continuing
                   19   oversight of the environmental response work at the BKK Class I Facility, and to
                   20   conduct a Remedial Investigation/Feasibility Study (“RI/FS”) for the groundwater
                   21   beneath and around the BKK Class I Facility. Amended Third Partial Consent
                   22   Decree at ¶ 4.1.3.
                   23         1131. From July 24, 2015 until the present, the BKK Working Group
                   24   performed and continues to perform environmental response work, including site
                   25   investigation, at the BKK Class I Facility under the Amended Third Partial Consent
                   26   Decree. All work performed under the Amended Third Partial Consent Decree is
                   27   deemed to be, and was, necessary and performed in accordance with the NCP.
                   28
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                    1         1132. The response costs, including site investigation costs, incurred by the
                    2   Plaintiffs are necessary to address the release and/or threatened release at the BKK
                    3   Class I Facility and are required by DTSC in the First, Second, Third Partial, and
                    4   Amended Third Partial Consent Decrees. Plaintiffs will continue to incur response
                    5   costs, including site investigation expenses, to conduct response actions at the BKK
                    6   Class I Facility as required by DTSC.
                    7         1133. Plaintiffs have incurred, and continue to incur, necessary response
                    8   costs, including consulting and attorney fees, consistent with the NCP at the BKK
                    9   Class I Facility associated with efforts to identify potentially responsible parties
                   10   (“PRPs”), including Defendants, that arranged for the disposal, or arranged with
                   11   third-party transporters for the disposal, of Hazardous Substances at the BKK Class
                   12   I Facility. Such efforts include working with DTSC to recover handwritten
                   13   manifests and other waste records from the BKK Corp. warehouse and other
                   14   locations, information contained on the computer system utilized by BKK Corp. at
                   15   the BKK Class I Facility, and reviewing information available through the State of
                   16   California regarding manifested and other waste disposed at the BKK Class I
                   17   Facility. This investigation for the purpose of identification of additional PRPs is
                   18   ongoing.
                   19         1134. The environmental conditions at the BKK Class I Facility, and the
                   20   attendant costs that have been and are continuing to be incurred by Plaintiffs are the
                   21   direct result of Defendants having arranged to dispose Hazardous Substances at the
                   22   BKK Class I Facility.
                   23         1135. In 2010, DTSC estimated that necessary response actions to fully
                   24   remediate the BKK Class I Facility would cost nearly $800 million.
                   25         1136. Through mid-2017, Plaintiffs have incurred or are committed to incur
                   26   approximately $250 million in costs associated with the BKK Class I Facility.
                   27         1137. To date, Defendants have failed to participate in or contribute to any
                   28   response work or costs at the BKK Class I Facility.
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 ATTORNEYS AT LAW                                                                                   COMPLAINT
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                    1                                FIRST CLAIM FOR RELIEF
                    2                       Cost Recovery, CERCLA § 107(a) (42 U.S.C. § 9607(a))
                    3           1138. Paragraphs 1-1137 are incorporated by reference.
                    4           1139. Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), provides in pertinent
                    5   part:
                    6                 (a)      Notwithstanding any other provision or rule of law, and subject
                    7                          only to the defenses set forth in subsection (b) of this section –
                    8                                                      ****
                    9                          (3)   any person who by contract, agreement, or otherwise
                   10                                arranged for disposal or treatment, or arranged with a
                   11                                transporter for transport for disposal or treatment of
                   12                                hazardous substances owned or possessed by such person
                   13                                . . . shall be liable for –
                   14                                                      ****
                   15                                (B)    any other necessary costs of response incurred by
                   16                                       any other person consistent with the national
                   17                                       contingency plan . . . .
                   18           1140. Plaintiffs are each a “person” within the meaning of CERCLA
                   19   § 101(21), 42 U.S.C. § 9601(21).
                   20           1141. Defendants are “persons” within the meaning of CERCLA § 101(21),
                   21   42 U.S.C. § 9601(21).
                   22           1142. The BKK Class I Facility is a “facility” within the meaning of
                   23   CERCLA § 101(9), 42 U.S.C. § 9601(9).
                   24           1143. Defendants arranged for disposal or treatment, or arranged with third-
                   25   party transporters for the disposal or treatment, of hazardous substances owned or
                   26   possessed by Defendants at the BKK Class I Facility.
                   27
                   28
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 ATTORNEYS AT LAW                                                                                      COMPLAINT
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                    1         1144. Hazardous Substances at the BKK Class I Facility have been released
                    2   and/or pose a threat of release within the meaning of CERCLA § 101(22), 42
                    3   U.S.C. § 9601(22).
                    4         1145. As a result of a release or threatened release of Hazardous Substances
                    5   at and from the BKK Class I Facility, Plaintiffs have incurred and will continue to
                    6   incur necessary costs of response pursuant to CERCLA § 107(a), 42 U.S.C.
                    7   § 9607(a). Such response costs, including site investigation expenses, have been
                    8   incurred and will continue to be incurred by Plaintiffs consistent with the NCP.
                    9         1146. Defendants are liable jointly and severally to Plaintiffs pursuant to
                   10   CERCLA § 107(a), 42 U.S.C. § 9607(a), for all such necessary response costs,
                   11   including but not limited to, reasonable attorneys’ fees and prejudgment interest,
                   12   incurred as a result of the release or threatened release of Hazardous Substances at
                   13   and from the BKK Class I Facility. Such response costs have been incurred and
                   14   will continue to be incurred consistent with the NCP.
                   15                            SECOND CLAIM FOR RELIEF
                   16                 Contribution, CERCLA § 113(f) (42 U.S.C. § 9613(f))
                   17         1147. Paragraphs 1-1146 are incorporated by reference.
                   18         1148. Section 113(f)(1) of CERCLA, 42 U.S.C. § 9613(f)(1), provides in
                   19   pertinent part:
                   20                Any person may seek contribution from any other person
                                     who is liable or potentially liable under section 9607(a) of
                   21                this title, during or following any civil action under section
                                     9606 of this title or under section 9607 of this title. Such
                   22                claims shall be brought in accordance with this section and
                                     the Federal Rules of Civil Procedure, and shall be governed
                   23                by Federal law. In resolving contribution claims, the court
                                     may allocate response costs among liable parties using
                   24                such equitable factors as the court determines are
                                     appropriate.
                   25
                   26         1149. Section 113(f)(3)(B) of CERCLA, 42 U.S.C. § 9613(f)(3)(B), provides
                   27   in pertinent part:
                   28
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                    1                A person who has resolved its liability to the United States
                                     or a State for some or all of a response action or for some
                    2                or all of the costs of such action in an administrative or
                                     judicially approved settlement may seek contribution from
                    3                any person who is not party to a settlement referred to in
                                     paragraph (2) [i.e., “[a] person who has resolved its liability
                    4                to the United States or a State in an administrative or
                                     judicially approved settlement”].
                    5
                    6         1150. Plaintiffs that are individual members of the BKK Working Group,
                    7   have been subject to three separate civil actions under CERCLA § 9607: the Initial
                    8   Site Action, the Second Site Action, and the Third Site Action.
                    9         1151. The First, Second and Third Partial and Amended Third Partial
                   10   Consent Decrees are judicially-approved settlements that resolve some or all of the
                   11   liability of the member Plaintiffs to the State of California for some or all of the
                   12   response actions taken at the BKK Class I Facility, and for some or all of the costs
                   13   of such response actions.
                   14         1152. The interim settlement agreements entered into between DTSC and
                   15   certain members of the BKK Working Group were administratively approved and
                   16   resolved some of the liability of those Plaintiffs to the State of California for some
                   17   of the response actions taken at the BKK Class I Facility, and for some of the costs
                   18   of such response actions.
                   19         1153. Defendants are “person[s] who [are] liable or potentially liable under
                   20   section 9607(a).”
                   21         1154. Defendants have not resolved their liability to the United States or to
                   22   the State of California in an administrative or judicially approved settlement for
                   23   response costs arising from the BKK Class I Facility.
                   24         1155. Plaintiffs are entitled to contribution from Defendants under CERCLA
                   25   § 113(f)(1), 42 U.S.C. § 9613(f)(1), and CERCLA § 113(f)(3)(B), 42 U.S.C.
                   26   § 9613(f)(3)(B), of an equitable share of all response costs incurred to date as the
                   27   result of a release or threatened release (within the meaning of CERCLA § 101(22),
                   28
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 ATTORNEYS AT LAW                                                                                      COMPLAINT
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                    1   42 U.S.C. § 9601(22)) of Hazardous Substances at and from the BKK Class I
                    2   Facility.
                    3           1156. While Defendants are liable for necessary response costs, including
                    4   site investigation expenses, incurred by Plaintiffs in compliance with the NCP,
                    5   Defendants have not contributed an equitable share of those costs.
                    6           1157. Defendants are liable for contribution to reimburse Plaintiffs for their
                    7   respective equitable shares of all costs and liability incurred by Plaintiffs as a result
                    8   of the release or any threatened release of Hazardous Substances at and from the
                    9   BKK Class I Facility.
                   10           1158. Upon filing this Complaint, Plaintiffs provided a copy of this
                   11   Complaint to the Attorney General of the United States and the Administrator of
                   12   the United States Environmental Protection Agency pursuant to Section 113(l) of
                   13   CERCLA, 42 U.S.C. § 9613(l).
                   14                              THIRD CLAIM FOR RELIEF
                   15           CERCLA Subrogation, CERCLA § 112(c)(2) (42 U.S.C. § 9612(c))
                   16           1159. Paragraphs 1-1158 are incorporated herein by reference.
                   17           1160. CERCLA § 112(c)(2), 42 U.S.C. § 9612(c)(2), provides in pertinent
                   18   part:
                   19                 Any person…who pays compensation pursuant to this
                                      chapter to any claimant for damages or costs resulting from
                   20                 a release of a hazardous substance shall be subrogated to
                                      all rights, claims, and causes of action for such damages
                   21                 and costs of removal that the claimant has under this
                                      chapter or any other law.
                   22
                   23           1161. Plaintiff Stauffer Management Company LLC has paid the response
                   24   costs incurred by Bayer CropScience, Inc. relating to the BKK Class I Facility.
                   25   Plaintiffs Bayer CropScience, Inc. and Stauffer Management Company LLC
                   26   presented a written claim to Defendants prior to the initiation of this litigation for
                   27   reimbursement of their fair share of Bayer CropScience Inc.’s past and future
                   28   response costs incurred at the BKK Class I facility, which Defendants failed to
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                    1   satisfy. Accordingly, pursuant to CERCLA § 112(c)(2), 42 U.S.C. § 9612(c)(2),
                    2   Stauffer Management Company LLC has paid compensation pursuant to CERCLA
                    3   to a claimant, Bayer CropScience, Inc., resulting from a release of a hazardous
                    4   substance, and is therefore subrogated to all rights, claims, and causes of action for
                    5   such damages and costs of removal that BKK Working Group member Bayer
                    6   CropScience, Inc. has under this chapter or any other law and seeks Defendants’
                    7   fair share of costs incurred by Stauffer Management Company LLC through its
                    8   payments made to satisfy Bayer CropScience’s obligations.
                    9         1162. Plaintiff Stauffer Management Company LLC, which has received
                   10   some reimbursement payments from Syngenta Crop Protection, LLC for costs
                   11   Stauffer Management Company LLC incurred paying Bayer CropScience Inc.’s
                   12   obligations for response costs relating to the BKK Class I Facility, has been
                   13   assigned Syngenta Crop Protection, LLC’s rights to subrogation for such payments.
                   14   Syngenta Crop Protection, LLC’s payments were made to Stauffer Management
                   15   Company LLC, which is a claimant within the meaning of CERCLA § 112(c)(2),
                   16   42 U.S.C. § 9612(c)(2), for costs resulting from a release of hazardous substances.
                   17   Therefore, Stauffer Management Company LLC, through assignment of Syngenta
                   18   Crop Protection, LLC’s rights, is entitled to recover from Defendants their fair
                   19   share of those costs incurred by Syngenta Crop Protection, LLC in partially
                   20   reimbursing Stauffer Management Company LLC for the response costs Stauffer
                   21   Management Company LLC paid to satisfy the response cost obligations incurred
                   22   by Bayer CropScience Inc. relating to the BKK Class I Facility.
                   23         1163. Some of the response costs incurred by Plaintiffs that are individual
                   24   members of the BKK Working Group may have been paid by or reimbursed by a
                   25   separate entity. Therefore, Plaintiffs presented a written claim to Defendants prior
                   26   to the initiation of this litigation for reimbursement of their fair share of Plaintiffs’
                   27   past and future response costs incurred at the BKK Class I facility, which
                   28
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                    1   Defendants failed to satisfy. Thus, making them a claimant within the meaning of
                    2   Section 112(c).
                    3                             FOURTH CLAIM FOR RELIEF
                    4            Declaratory Relief, CERCLA § 113(g)(2) (42 U.S.C. § 9613(g)(2))
                    5           1164. Paragraphs 1-1163 are incorporated herein by reference.
                    6           1165. CERCLA § 113(g)(2), 42 U.S.C. § 9613(g)(2), provides in pertinent
                    7   part:
                    8                 In any action described in this subsection the court shall
                                      enter a declaratory judgment on liability for response costs
                    9                 or damages that will be binding on any subsequent action
                                      or actions to recover further response costs or damages.
                   10
                   11           1166. Defendants are jointly and severally liable to Plaintiffs for the
                   12   reimbursement of necessary response costs, including site investigation expenses,
                   13   incurred by Plaintiffs consistent with the NCP under CERCLA § 107(a), 42 U.S.C.
                   14   § 9607(a). Defendants are also severally liable to Plaintiffs under CERCLA §
                   15   113(f)(1), 42 U.S.C. § 9613(f)(1), and CERCLA § 113(f)(3)(B), 42 U.S.C. §
                   16   9613(f)(3)(B) for an equitable share of Plaintiffs’ response costs incurred pursuant
                   17   to the First, Second, Third Partial and Amended Third Partial Consent Decrees, and
                   18   any future consent decrees, as a result of the release or threatened release of
                   19   Hazardous Substances at and from the BKK Class I Facility. Plaintiffs are
                   20   therefore entitled to a declaratory judgment pursuant to CERCLA § 113(g)(2), 42
                   21   U.S.C. § 9613(g)(2) and Boeing Co. v. Cascade Corp., 207 F.3d 1177, 1191 (9th
                   22   Cir. 2000), binding as to any subsequent action or actions by Plaintiffs, declaring
                   23   that Defendants are jointly and severally liable to Plaintiffs for reimbursement of
                   24   their necessary response costs incurred consistent with the NCP under CERCLA
                   25   § 107(a), 42 U.S.C. § 9607(a), and are also severally liable for an equitable share of
                   26   Plaintiffs’ future responses costs incurred pursuant to the First, Second, Third
                   27   Partial and Amended Third Partial Consent Decrees, and any future consent
                   28
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                    1   decrees, to address the release or threatened release of Hazardous Substances at and
                    2   from the BKK Class I Facility.
                    3                             FIFTH CLAIM FOR RELIEF
                    4      Contribution, Hazardous Substance Account Act, California Health and
                    5                            Safety Code section 25300 et seq.
                    6          1167. Paragraphs 1-1166 are incorporated herein by reference.
                    7          1168. The Plaintiffs bring their claim for contribution against all Defendants,
                    8   except the following the City of Carson, the City of Hermosa Beach, the City of
                    9   Riverside, the City of San Diego, the South Coast County Water District, Crescenta
                   10   Valley Water District, Brea High School, Burbank Unified School District, Fresno
                   11   Unified School District, Fullerton Unified School District, Inglewood Unified
                   12   School District, Inglewood Unified School District, Kern Union High School
                   13   District, Long Beach Unified School District, and Los Angeles Unified School
                   14   District.
                   15          1169. The Carpenter-Presley-Tanner Hazardous Substance Account Act
                   16   (“HSAA”), California Health and Safety Code section 25300 et seq., provides a
                   17   statutory right of contribution for those parties who clean up contaminated sites
                   18   from those parties who are responsible for the contamination.
                   19          1170. Section 25363(e) of the HSAA provides that “A person who has
                   20   incurred response or corrective action costs in accordance with this chapter,
                   21   Chapter 6.5 (commencing with Section 25100) or [CERCLA] may seek
                   22   contribution or indemnity from any person who is liable pursuant to this chapter.”
                   23          1171. A “liable person” is defined in section 25323.5(a)(1) of the HSAA as
                   24   “those persons described in section 107(a) of [CERCLA] (42 U.S.C. Section
                   25   9607(a)).”
                   26          1172. Section 107(a) of CERCLA describes, among others, “any person
                   27   who… arranged for disposal or treatment” of Hazardous Substances “owned or
                   28
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                    1   possessed by such person,” or “any person who accepts or accepted any” Hazardous
                    2   Substances “for transport to disposal or treatment facilities.”
                    3          1173. Defendants are each a “person” within the meaning of section 25319
                    4   and 25323.5(a) of the Health and Safety Code.
                    5          1174. There have been releases or threatened releases from the BKK Class I
                    6   Facility.
                    7          1175. As a direct and proximate result of Defendants’ actions that
                    8   contributed to releases of Hazardous Substances at the BKK Class I Facility,
                    9   Plaintiffs have incurred response costs, including site investigation costs, in
                   10   accordance with the HSAA and CERCLA.
                   11          1176. Plaintiffs have given the Director of the Department of Toxic
                   12   Substances Control notice of the commencement of this action as required by
                   13   Health and Safety Code section 25363(d).
                   14          1177. Plaintiffs are entitled to contribution or indemnity from Defendants,
                   15   and each of them, under section 25363 of the Health and Safety Code, for all past,
                   16   present and future necessary responses costs.
                   17                               SIXTH CLAIM FOR RELIEF
                   18                                Equitable Indemnification
                   19          1178. Paragraphs 1-1177 are incorporated herein by reference.
                   20          1179. Plaintiffs have been required to pay environmental response costs at
                   21   the BKK Class I Facility.
                   22          1180. The disposal of wastes containing Hazardous Substances at the BKK
                   23   Class I Facility by Defendants is a substantial factor in causing the environmental
                   24   conditions present at the BKK Class I Facility.
                   25          1181. A substantial portion of the expenses the Plaintiffs have incurred in
                   26   response to the actual or threatened release of Hazardous Substances at and from
                   27   the BKK Class I Facility, including but not limited to investigatory expenses, are
                   28   the result of the conduct of Defendants.
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                    1         1182. As a result, Plaintiffs are entitled to complete or partial indemnity from
                    2   Defendants for such expenses pursuant to the doctrine of equitable indemnification.
                    3                           SEVENTH CLAIM FOR RELIEF
                    4                               Common Law Subrogation
                    5         1183. Paragraphs 1-1182 are incorporated herein by reference.
                    6         1184. As a direct and proximate result of the actions of Defendants, Plaintiff
                    7   Stauffer Management Company LLC has incurred and paid amounts, damages,
                    8   costs, expenses and fees, and may in the future incur additional liabilities through
                    9   its payments of Bayer CropScience, Inc.’s obligations for response costs relating to
                   10   the BKK Class I Facility. It is therefore subrogated to all state and federal causes of
                   11   action Bayer CropScience, Inc. otherwise would have against Defendants.
                   12         1185. Through assignment, Plaintiff Stauffer Management Company LLC
                   13   has the right to recoup costs incurred by Syngenta Crop Protection, LLC in
                   14   reimbursing Stauffer Management Company LLC for response costs Stauffer
                   15   Management Company LLC incurred paying Bayer Crop Science, Inc.’s
                   16   obligations for response costs relating to the BKK Class I Facility. Based on those
                   17   reimbursement payments, and to the extent of those payments, Syngenta Crop
                   18   Protection, LLC is subrogated to all state and federal causes of action Bayer
                   19   CropScience, Inc. and/or Stauffer Management Company LLC otherwise would
                   20   have against Defendants.
                   21                            EIGHTH CLAIM FOR RELIEF
                   22             Declaratory Relief, CAL. CODE OF CIVIL PROCEDURE § 1060
                   23         1186. Paragraphs 1-1185 are incorporated herein by reference.
                   24         1187. Cal. Code of Civil Procedure § 1060 provides in pertinent part:
                   25                Any person . . . who desires a declaration of his or her rights
                                     or duties with respect to another, or in respect to property .
                   26                . . may, in a case of actual controversy relating to the legal
                                     rights and duties of the respective parties, bring an original
                   27                action or cross-complaint in the superior court . . . for a
                                     declaration of his or her rights and duties in the premises. .
                   28                . . He or she may ask for a declaration of rights or duties
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                    1                either alone or with other relief; and the court may make a
                                     binding declaration of these rights or duties, whether or not
                    2                further relief is claimed at the time.
                    3
                              1188. An actual controversy now exists between Plaintiffs and Defendants
                    4
                        regarding Defendants’ liability for any and all costs and damages incurred and to be
                    5
                        incurred in the future by Plaintiffs arising from the BKK Class I Facility. Plaintiffs
                    6
                        contend that Defendants’ liability in this regard is based on CERCLA § § 107, 112,
                    7
                        and 113, the Hazardous Substances Account Act, California Health and Safety
                    8
                        Code § 25300 et seq., the common law theory of equitable indemnification, and the
                    9
                        common law theory of equitable subrogation (for the indemnitor plaintiffs).
                   10
                              1189. A declaratory judgment under California Code of Civil Procedure §
                   11
                        1060 for recovery of such costs and damages is appropriate and in the public
                   12
                        interest because: it will prevent the need for multiple lawsuits as the Plaintiffs
                   13
                        continue to incur future costs; it will provide a final resolution of the issues of
                   14
                        liability for those costs; and it will insure a prompt and effective response to
                   15
                        environmental conditions at the BKK Class I Facility.
                   16
                                                   NINTH CLAIM FOR RELIEF
                   17
                                  Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.
                   18
                              1190. Paragraphs 1-1189 are incorporated herein by reference.
                   19
                              1191. The Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., provides:
                   20
                                     In a case of actual controversy within its jurisdiction . . .
                   21                any court of the United States . . . may declare the rights
                                     and other legal relations of any interested party seeking
                   22                such declaration, whether or not further relief is sought.
                   23
                              1192. An actual controversy now exists between Plaintiffs and Defendants
                   24
                        regarding Defendants’ liability for any and all costs and damages incurred and to be
                   25
                        incurred in the future by Plaintiffs arising from the BKK Class I Facility. Plaintiffs
                   26
                        contend that Defendants’ liability in this regard is based on CERCLA §§ 107, 112
                   27
                        and 113, the Hazardous Substances Account Act, California Health and Safety
                   28
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                    1   Code § 25300 et seq., the common law theory of equitable indemnification, and the
                    2   common law theory of equitable subrogation (for the indemnitor Plaintiffs).
                    3         1193. A declaratory judgment under the Declaratory Judgment Act for
                    4   recovery of such costs and damages is appropriate and in the public interest
                    5   because: it will prevent the need for multiple lawsuits as the Plaintiffs continue to
                    6   incur future costs; it will provide a final resolution of the issues of liability for those
                    7   costs; and it will insure a prompt and effective response to environmental
                    8   conditions at the BKK Class I Facility.
                    9                                  PRAYER FOR RELIEF
                   10         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
                   11         1.     Recovery of all necessary response costs, cost of abatement, and
                   12   damages incurred by Plaintiffs consistent with the NCP as a result of any release or
                   13   threatened release of Hazardous Substances at and from the BKK Class I Facility;
                   14         2.     Contribution of an equitable share of all necessary response costs
                   15   incurred by Plaintiffs consistent with the NCP as a result of any release or
                   16   threatened release of Hazardous Substances at and from the BKK Class I Facility;
                   17         3.     A declaration binding in any subsequent action or actions brought by
                   18   Plaintiffs, that Defendants are jointly and severally liable for all future response
                   19   costs Plaintiffs incur as a result of the release or threatened release of Hazardous
                   20   Substances at and from the BKK Class I Facility, and are severally liable for an
                   21   equitable share of all future response costs Plaintiffs incur pursuant to the First,
                   22   Second, Third Partial and Amended Third Partial Consent Decrees, and any future
                   23   consent decrees, to address the release or threatened release of Hazardous
                   24   Substances at and from the BKK Class I Facility;
                   25         4.     Indemnification for and/or contribution to all costs, damages and
                   26   liability, in an amount to be proved at trial, that Plaintiffs have incurred as a result
                   27   of the release or threatened release of Hazardous Substances at and from the BKK
                   28   Class I Facility;
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                    1         5.    Retention of jurisdiction over this action by this Court after entry of
                    2   the requested declaratory judgment to grant further relief as may be necessary or
                    3   proper;
                    4         6.    Attorney’s fees and pre-judgment interest (as response costs); and
                    5         7.    Such other relief as the Court may deem just and appropriate.
                    6
                    7   Dated: July 2, 2018                        MORGAN, LEWIS & BOCKIUS LLP
                    8
                    9                                              By /s/ James J. Dragna
                                                                      James J. Dragna
                   10                                                 Attorneys for Plaintiff
                                                                      BKK WORKING GROUP, an
                   11                                                 unincorporated association
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